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                            2013-1665, -1666, -1667



       UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT


                             ADJUSTACAM, LLC,

                                                  Plaintiff-Appellant,
                                        v.

        NEWEGG INC., NEWEGG.COM, INC., & ROSEWILL, INC.,

                                                  Defendants-Cross-Appellants,

                                       and

                      SAKAR INTERNATIONAL, INC.,

                                                  Defendants-Cross-Appellant,


Appeals from the United States District Court for the Eastern District of Texas in
               Case No. 10-cv-329, Chief Judge Leonard Davis


        CORRECTED NON-CONFIDENTIAL JOINT APPENDIX




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Date: December 11, 2014

John J. Edmonds                         Kent E. Baldauf, Jr.
Stephen F. Schlather                    Daniel H. Brean
Shea N. Palavan                         Anthony W. Brooks
COLLINS, EDMONDS, POGORZELSKI,          THE WEBB LAW FIRM
SCHLATHER & TOWER, PLLC                 One Gatewar Center
1616 South Voss Road, Suite 125         420 Fort Duquesne Blvd., Suite 1200
Houston, Texas 77057                    Pittsburgh, PA 15222
Telephone: (281) 501-3425               Telephone: (412) 471-885

                                        Attorneys for Defendant-Cross-
Attorneys for Plaintiff-Appellant       Appellants Newegg, Inc., Newegg.com,
AdjustaCam, LLC                         Inc. and Rosewill, Inc.

                                        Ezra Sutton
                                        EZRA SUTTON, P.A.
                                        900 Route 9, Suite 201
                                        Woodbridge, NJ 07095
                                        Telephone: (732) 634-3520

                                        Attorneys for Defendant-Cross-
                                        Appellants Sakar International, Inc.




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                   AdjustaCam LLC v. Newegg, Inc., et al.

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                    KOHLS CORPORATION D/B/A KOHL'S,
                    Kohl's Illinois, Inc., Micro Electronics, Inc.
                    DBA Micro Center, New Compusa
                    Corporation, Newegg, Inc., Newegg.com,
                    Inc., Office Depot, Inc., Rosewill Inc., Sakar
                    International, Inc., Systemax, Inc. D/B/A
                    Compusa, Target Corp., Tigerdirect, Inc.,



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                  CONFIDENTIAL MATERIAL OMITTED

      Pursuant to Federal Circuit Rule 28(d)(1)(B), material subject to a protective
order entered by a United States District Court has been redacted. Pages noted with
“THE MATERIAL OMITTED DISCLOSES MATERIAL DEEMED
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confidential third party settlement agreements.




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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                       TYLER DIVISION

     ADJUSTACAM, LLC.                                       §
                                                            §
            Plaintiff,                                      §
                                                            §
     vs.                                                    §        CASE NO. 6:10-CV-329
                                                            §        PATENT CASE
                                                            §
     AMAZON.COM, INC., ET AL.                               §
                                                            §
            Defendants.                                     §


                              MEMORANDUM OPINION AND ORDER

           This claim construction opinion construes the disputed terms in U.S. Patent No.

 5,855,343 (“the ‘343 patent”). Plaintiff Adjustacam, LLC (“Adjustacam”) and Defendants1 have

 presented their claim construction positions. (Doc. Nos. 575, “PL.’S BR.;” 595, “DEF.’S RESP.,”

 601, “PL.’S REPLY”). On February 9, 2012, the Court held a claim construction hearing and

 heard further argument (Doc. No. 614). For the reasons stated herein, the Court adopts the

 constructions set forth below.

                               CLAIM CONSTRUCTION PRINCIPLES

           “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the invention

 to which the patentee is entitled the right to exclude.” Phillips v. AWH Corp., 415 F.3d 1303,

 1312 (Fed. Cir. 2005) (quoting Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381

 F.3d 1111, 1115 (Fed. Cir. 2004)). The Court examines a patent’s intrinsic evidence to define

 the patented invention’s scope.          Id. at 1313-1314; Bell Atl. Network Servs., Inc. v. Covad
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   Amazon.com, Inc., Auditek Corp., Best Buy Co., Inc., Best Buy Stores, LP, Bestbuy.com, CDW LLC,
 CompUSA.com, Inc., Digital Innovations, LLC, Fry’s Electronics, Inc., Gear Head, LLC, Hewlett-Packard Co.,
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 Newegg.com, Inc., Office Depot, Inc., Rosewill Inc., Sakar International, Inc., Systemax, Inc., Target Corp.,
 Tigerdirect, Inc., and Wal-Mart Stores, Inc. are referred to collectively as “Defendants.”

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 Commc’ns Group, Inc., 262 F.3d 1258, 1267 (Fed. Cir. 2001). Intrinsic evidence includes the

 claims, the rest of the specification and the prosecution history. Phillips, 415 F.3d at 1312-13;

 Bell Atl. Network Servs., 262 F.3d at 1267. The Court gives claim terms their ordinary and

 customary meaning as understood by one of ordinary skill in the art at the time of the invention.

 Phillips, 415 F.3d at 1312-13; Alloc, Inc. v. Int’l Trade Comm’n, 342 F.3d 1361, 1368 (Fed. Cir.

 2003).

          Claim language guides the Court’s construction of claim terms. Phillips, 415 F.3d at

 1314. “[T]he context in which a term is used in the asserted claim can be highly instructive.” Id.

 Other claims, asserted and unasserted, can provide additional instruction because “terms are

 normally used consistently throughout the patent.” Id. Differences among claims, such as

 additional limitations in dependent claims, can provide further guidance. Id.

          “[C]laims ‘must be read in view of the specification, of which they are a part.’” Id.

 (quoting Markman v. Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995)). “[T]he

 specification ‘is always highly relevant to the claim construction analysis.         Usually, it is

 dispositive; it is the single best guide to the meaning of a disputed term.’” Id. (quoting Vitronics

 Corp.v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996)); Teleflex. Inc. v. Ficosa N. Am.

 Corp., 299 F.3d 1313, 1325 (Fed. Cir. 2002). In the specification, a patentee may define his own

 terms, give a claim term a different meaning that it would otherwise possess, or disclaim or

 disavow some claim scope. Phillips, 415 F.3d at 1316. Although the Court generally presumes

 terms possess their ordinary meaning, this presumption can be overcome by statements of clear

 disclaimer. See SciMed Life Sys., Inc. v. Advanced Cardiovascular Sys., Inc., 242 F.3d 1337,

 1343-44 (Fed. Cir. 2001). This presumption does not arise when the patentee acts as his own



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 lexicographer. See Irdeto Access, Inc. v. EchoStar Satellite Corp., 383 F.3d 1295, 1301 (Fed.

 Cir. 2004).

        The specification may also resolve ambiguous claim terms “where the ordinary and

 accustomed meaning of the words used in the claims lack sufficient clarity to permit the scope of

 the claim to be ascertained from the words alone.” Teleflex, Inc., 299 F.3d at 1325. For

 example, “[a] claim interpretation that excludes a preferred embodiment from the scope of the

 claim ‘is rarely, if ever, correct.” Globetrotter Software, Inc. v. Elam Computer Group Inc., 362

 F.3d 1367, 1381 (Fed. Cir. 2004) (quoting Vitronics Corp., 90 F.3d at 1583). But, “[a]lthough

 the specification may aid the court in interpreting the meaning of disputed language in the

 claims, particular embodiments and examples appearing in the specification will not generally be

 read into the claims.” Constant v. Advanced Micro-Devices, Inc., 848 F.2d 1560, 1571 (Fed. Cir.

 1988); see also Phillips, 415 F.3d at 1323.

        The prosecution history is another tool to supply the proper context for claim

 construction because a patentee may define a term during prosecution of the patent. Home

 Diagnostics Inc. v. LifeScan, Inc., 381 F.3d 1352, 1356 (Fed. Cir. 2004) (“As in the case of the

 specification, a patent applicant may define a term in prosecuting a patent”).         The well

 established doctrine of prosecution disclaimer “preclud[es] patentees from recapturing through

 claim interpretation specific meanings disclaimed during prosecution.” Omega Eng’g Inc. v.

 Raytek Corp., 334 F.3d 1314, 1323 (Fed. Cir. 2003). The prosecution history must show that the

 patentee clearly and unambiguously disclaimed or disavowed the proposed interpretation during

 prosecution to obtain claim allowance. Middleton Inc. v. 3M Co., 311 F.3d 1384, 1388 (Fed. Cir.

 2002). “Indeed, by distinguishing the claimed invention over the prior art, an applicant is



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 indicating what the claims do not cover.” Spectrum Int’l v. Sterilite Corp., 164 F.3d 1372, 1378-

 79 (Fed. Cir. 1988) (quotation omitted).        “As a basic principle of claim interpretation,

 prosecution disclaimer promotes the public notice function of the intrinsic evidence and protects

 the public’s reliance on definitive statements made during prosecution.” Omega Eng’g, Inc., 334

 F.3d at 1324.

        Although, “less significant than the intrinsic record in determining the legally operative

 meaning of claim language,” the Court may rely on extrinsic evidence to “shed useful light on

 the relevant art.” Phillips, 415 F.3d at 1317 (quotation omitted). Technical dictionaries and

 treatises may help the Court understand the underlying technology and the manner in which one

 skilled in the art might use claim terms, but such sources may also provide overly broad

 definitions or may not be indicative of how terms are used in the patent. Id. at 1318. Similarly,

 expert testimony may aid the Court in determining the particular meaning of a term in the

 pertinent field, but “conclusory, unsupported assertions by experts as to the definition of a claim

 term are not useful.” Id. Generally, extrinsic evidence is “less reliable than the patent and its

 prosecution history in determining how to read claim terms.” Id.

                                          DISCUSSION

 A.     Overview of Patents-in-Suit

        The ‘343 patent, entitled “Camera Clip,” is directed at a clip for supporting a portable

 webcam. See ‘343 patent at ABSTRACT. The claimed apparatus is specifically directed to a

 structure supporting a webcam both on a flat surface, like a tabletop, and on an edge of a

 housing, like a laptop computer screen. Id. at 1:4–9. The camera clip is also intended to protect

 the camera lens when the clip is not used as support. Id. Figures 2 and 4 of the patent illustrate



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 the two different configurations of the camera clip, i.e., on a flat surface (Fig. 2) and on an

 inclined object (Fig. 4):




 B.     Disputed Terms

 “Hinge Member” [cls. 1, 8, 10, 17, 19, 20, and 21]:

 Plaintiff’s Proposed Construction              Defendants’ Proposed Construction
 A structural element that joins to another for A structural element that may be joined to
 rotation                                       another so as to form a hinge joint and is
                                                capable of rotating on that hinge joint


        The parties generally agree that the “hinge member” is “a structural element that joins to

 another.” The parties, however, disagree whether the hinge member must form a “hinge joint” or

 can include any form of “joint.”




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        Plaintiff’s proposed construction evolved over the course of the briefing.         Plaintiff

 ultimately argues that the “hinge member” is not limited to hinge joints. Specifically, Plaintiff

 contends that the claims and specification describe the “hinge member” as both “rotatably

 attached” and “hingedly attached.” Therefore, an object that is “rotatably attached” is necessarily

 broader than a “hingedly attached” object. PL.’S BR. at 4–8; PL.’S REPLY at 3–4. Plaintiff raises

 secondary arguments regarding the “rotatably attached” terms and their interplay with the hinge

 member (Id. at 7–8), however, those arguments are discussed in more detail in the section below

 construing the “rotatably attached” terms.

        The claims and the specification of the ‘343 patent disclose the hinge member as both

 “rotatably” and “hingedly” attached to another object. For example, claim 1 of the ‘343 patent

 describes the support frame as “rotatably attached” to the hinge member. ‘343 patent at 58–60.

 On the other hand, claim 19 of the ‘343 patent describes the support frame as “hingedly

 attached” to the hinge member. ‘343 patent at 9:24–26. A plain reading of the claims leads to

 the conclusion that a rotatable attachment is necessarily broader than a hinged attachment.

 Therefore, while a hinge member may include hinge joints and hinged attachments, the claims

 explicitly allow for broader attachments.

        The specification, moreover, describes embodiments of the hinge member incorporating

 the concept of pivots and pivoting. See, e.g., 4:44–48 (“It is recognized that camera 12 may be

 pivoted to any number of positions about second axis 32 in the direction shown by arrow 34.”);

 5:37–41 (“A pivot element 80 at proximal end 76 of body 74 rotatably attaches camera 12 to

 body 74 so the camera may rotate about first axis 26.”). Therefore, Defendants’ proposed




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 construction limiting the hinge member to hinge joints would improperly read out the foregoing

 preferred embodiments. See Globetrotter Software, Inc., 362 F.3d at 1381.

        Defendants’ proposed construction would also render the “rotatably attached” terms

 superfluous by limiting all claimed attachments to “hinged” attachments. Such a result is

 untenable. See Curtiss-Wright Flow Control Corp. v. Velan, Inc., 438 F.3d 1374, 1381 (Fed. Cir.

 2006) (“[C]laim differentiation takes on relevance in the context of claim construction that

 would render additional, or different, language in another independent claim superfluous.”)

 (quoting Fantasy Sports Props. v. Sportsline.com, 287 F.3d 1108, 1115-16(Fed. Cir. 2002)).

 Defendants’ proposed construction is also unnecessarily permissive because it describes the

 hinge member as a structural element that may be joined to another. Neither the specification

 nor claims teach a permissive attachment and such a construction would not meaningfully limit

 the claims.

        As Defendants advocate, the claimed “hinge member” indeed may include a hinge joint.

 However, the claims and the specification disclose that the hinge member is not limited to hinge

 joints. Had the patentee intended to limit the patent in such a way, he or she: (1) could have

 simply used the term hinge joint, and not the broader term member; or (2) would have used

 “hingedly” to describe all the attachments in the claims. Therefore, the Court construes “hinge

 member” as “a structural element that joins to another for rotation.”




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 “Rotatably attached / adapted to be rotatably attached / adapted to rotatably attach” [cls. 1, 10,

 19, 20, and 21]

 Plaintiff’s Proposed Construction           Defendants’ Proposed Construction
 Connected such that the connected object is Connected such that the connected object is
 capable of being rotated                    capable of being adjusted to different
                                             configurations via motion over one axis of
                                             rotation


        The crux of the parties disagreement is whether the ‘343 patent claims allow for a

 “rotatably attached” object to rotate over more than a single axis.         Plaintiff contends that

 “rotatably attached” objects are not limited to one axis of rotation, while Defendants advocate for

 the contrary.

        The Court finds that the claims of the ‘343 patent describe “rotatably attached” objects as

 rotating over a single axis. For example, claim 1 explains that when the hinge member is

 “rotatably attached” to the camera, it rotates “about a first axis of rotation.” ‘343 patent at 6:54–

 57. Claim 1 further describes that when the hinge member is rotatably attached to the support

 frame, it rotates “about a second axis of rotation.” Id. at 6:58–65. In other words, in claim 1, the

 hinge member may rotate about a single axis relative to the camera and a single axis relative to

 the support frame, and the two axes are “generally perpendicular” to one another. Id. All of the

 remaining claims that discuss “rotatably attached” objects are consistent with this understanding.

 See, e.g., ‘343 patent at 7:60–67 (“[A] hinge member . . . rotatably attached to the camera . . .

 rotating[] about a first axis of rotation” and “a support frame rotatably attached [to the] hinge

 member . . . [with] the hinge member rotating about a second axis of rotation to said support

 frame.”); 9:20–32 (“[A] hinge member adapted to be rotatably attached to the camera . . .

 rotating about a first axis of rotation.”); 9:35–47 (same); 10:16–45 (same).


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        The specification is consistent with the claims in disclosing the camera and support frame

 rotating over a first and second axis of rotation. See, e.g., 2:12–18 (“The hinge member is

 rotatably attached to the camera where the camera rotates over a first axis of rotation”); 4:17–19

 (“Hinge member 16 is rotatably attached to camera 12, where camera 12 rotates over a first axis

 26.”). Every reference to a “rotatably attached” object in the specification and claims describes

 the attachment as permitting motion over a single axis of rotation.

        Plaintiff contends that that claims refer to the apparatus as “comprising” a first and

 second axis of rotation; therefore, Plaintiff argues that the use of “comprising” broadens the

 claims to allow attachments which rotate over multiple axes. PL.’S BR. at 7. Plaintiff is

 mistaken. For example, claim 1 recites:




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  ‘343 patent at 6:49–7:6. “Comprising” appears before the individual elements of the claimed

  camera clip, i.e., the hinge member and support frame. Therefore, the word “comprising” may

  suggest that other elements exist beyond the hinge member and support frame. However, the

  term “comprising” does not render each and every word in the claim open-ended as Plaintiff

  suggests. Plaintiff’s position would render the claim language meaningless.

         Plaintiff further contends that the rotatable attachment between the hinge member and the

  camera is a “pivot joint”; therefore, limiting the rotation about a single axis would exclude a

  preferred embodiment. PL.’S BR. at 8. Even assuming the specification does disclose a pivot

  joint, limiting the rotation around a single axis would not read out the embodiment. A pivot

  joint allows for rotation and the specification explicitly describes the “pivot element” as rotating

  around a single axis of rotation. See, e.g., ‘343 patent at 5:38–41 (“A pivot element 80 at

  proximal end 76 of body 74 rotatably attaches camera 12 to body 74 so the camera may rotate

  about first axis 26.”) (emphasis added).

         On the other hand, Defendants’ proposed construction merely restates what is already

  contained in the claims. The claims plainly describe each “rotatably attached” object as rotating

  about a single axis and any further construction would only serve to confuse the jury. In other

  words, Defendants’ construction merely repeats the claim language. Therefore, the Court finds

  that the “rotatably attached” terms do not require construction beyond what is contained in the

  claims. While the Court has not explicitly construed the “rotatably attached” terms, the Court

  has resolved the parties’ dispute regarding the proper scope of the claims, i.e., “rotatably

  attached” objects in the patent-in-suit are limited to a single axis of rotation. See O2 Micro

  Intern. Ltd. v. Beyond Innovation Tech. Co., Ltd., 521 F.3d 1351, 1360 (Fed. Cir. 2008) (“When



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  the parties raise an actual dispute regarding the proper scope of the claims, the court, not the jury,

  must resolve that dispute.”). Therefore, the parties may not contradict the Court’s resolution of

  that dispute.

  “Support Frame” [cls. 1–8, 10, 11, 13–17, and 19–21]:

  Plaintiff’s Proposed Construction          Defendants’ Proposed Construction
  A structural element that supports a hinge A physically distinct structural element whose
  member                                     different dispositions enable support of said
                                             hinge member


           Plaintiff and Defendants both propose functional constructions to the extent that they

  agree that the intended purpose of the support frame is to support the hinge member.2 Indeed,

  the function of the support frame is explicitly recited in the claims. See, e.g., 6:57–59 (“[A]

  support frame rotatably attached to said hinge member and configured to support said hinge

  member.”). Defendants, however, argue that the claim language specifically links the ability of

  the support frame to provide support on particular structural arrangements, specifically the “first

  disposition” and “second disposition.” DEF.’S RESP. at 8. Plaintiff disagrees that the different

  dispositions enable support of the hinge member and argues that the specification and claims

  generally provide the relevant structure of the support frame. PL.’S REPLY at 1–2.

           The claims of the ‘343 patent describe two general structural arrangements of the support

  frame. For example, claim 1 of the ‘343 patent describes the support frame as supporting the

  camera on a horizontal surface and an inclined object. ‘343 patent at 6:58–7:2. The specification

  is consistent with this understanding of the claims. See, e.g., ‘343 patent at 2:1–2 (“The clip may

  be rotated to a first position to support the camera on a surface of a table or desk. The clip may

  2
    The parties agree that the “support frame” is a “structural element that supports” the claimed hinge member. PL.’S
  REPLY at 1. While not explicitly contained in Plaintiff’s proposed construction, Plaintiff also agrees that the support
  frame is distinct from and not part of the hinge member. Id. Thus, the parties only dispute is related to the whether
  the support frame is limited to specific structural arrangements, namely, the “different dispositions.”
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  be rotated to a second position to support the camera on a display screen of a laptop computer.”);

  2:24–26 (“[T]he rear support element and the first and second front support elements support the

  camera in the first position”); 2:39–41 (“[T]he rear support element and the first and second front

  support elements support the camera in a second position on the first surface”); 4:48–54 (same);

  5:2–14 (same).      Therefore, the claims and the specification identify the first and second

  disposition as particular structural arrangements of the support frame.

          Plaintiff and Defendants generally agree that the structure of the support frame is

  provided in the specification and claims. PL.’S BR. at 10; PL.’S REPLY at 1–2. Plaintiff, however,

  proposes a construction that ignores the different structural arrangements of the support frame,

  i.e. different dispositions.   On the other hand, Defendants’ construction unnecessarily requires

  the actual dispositions of the support frame to functionally provide the support frame its ability

  to “support.” The claims are not limited to the extent that “the different dispositions enable

  support” of the hinge member.

          Support frame is an easily understood term and its function and structure are defined in

  the claims. While the support frame must allow for two structural arrangements as described in

  the claims, the ability to support the hinge member is not directly linked to the two structural

  arrangements. As such, the Court finds that “support frame” is sufficiently defined in the claims

  and no construction is necessary. Nevertheless, the Court has resolved the parties’ dispute

  regarding the scope of the claims. See O2 Micro, 521. F.3d at 1360.




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  “Disposition” [cls. 1, 2, 5, 6, and 10]:

  Plaintiff’s Proposed Construction          Defendants’ Proposed Construction
  Plain and ordinary meaning; alternatively, Configuration of the support frame enabling
  configuration or arrangement               support of the hinge member, accomplished
                                             through rotation about the second axis


         Beyond an agreement that a disposition is a “configuration,” the parties’ proposed

  constructions wildly diverge. Plaintiff contends that “disposition” is an easily understood term

  and does not require construction beyond its plain and ordinary meaning. Defendants argue that

  a “disposition” is a functional configuration of the “support frame” and such function can only

  be accomplished through rotational motion through the second axis. DEF.’S RESP. at 11–13.

         A plain reading of the claims discloses that the support frame has two “dispositions” or

  configurations, one allowing for the apparatus to be placed on a generally flat surface, the second

  allowing for the apparatus to be attached to an inclined object. Defendants appear to contend

  that these “dispositions” may only be functionally accomplished through rotational motion of the

  support frame about the second axis. DEF.’S RESP. at 12. On the contrary, the claims describe

  the hinge member, not the support frame, as rotating about the second axis. See, e.g., ‘343 patent

  at 6:60–61 (“[S]aid hinge member rotating about a second axis of rotation.”). Further, the first

  clause of Defendants’ proposed construction is merely a second bite at the same argument they

  advanced in construing “support frame.” The claims, however, do not require the specific

  dispositions of the support frame to enable support of the hinge member.

         Defendants appear to be masquerading a noninfringement position as an issue of claim

  construction by injecting rotation into an easily understood structural term. Accordingly, the

  Court construes “disposition” as “a configuration or arrangement of the support frame.”



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                                           CONCLUSION

         For the foregoing reasons, the Court interprets the claim language in this case in the

  manner set forth above.. For ease of reference, the Court’s claim interpretations are set forth in a

  table as Appendix A.




                         So ORDERED and SIGNED this 10th day of April, 2012.




                                                        ___________________________________
                                                                   JOHN D. LOVE
                                                        UNITED STATES MAGISTRATE JUDGE




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                                         APPENDIX A

  Claim Term                                   Court’s Construction
  Hinge member                                 a structural element that joins to another for
                                               construction
  Rotatably attached / adapted to be rotatably No construction necessary, sufficiently defined
  attached / adapted to rotatably attach       in the claims; subject to the Court’s resolution
                                               of the scope of the claims
  Support Frame                                No construction necessary, sufficiently defined
                                               in the claims; subject to the Court’s resolution
                                               of the scope of the claims
  Disposition                                  a configuration or arrangement of the support
                                               frame




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      United States Patent                                               [19J                        [11]     Patent Number:                          5,855,343
      Krekelberg                                                                                     [45]     Date of Patent:                      Jan.5, 1999

      [54]     CAMERA CLIP                                                                       Primary Examiner-Ramon 0. Ramirez
                                                                                                 Assistant Examiner-Long Dinh Phan
      [75]     Inventor:       David E. Krekelberg, Minnetonka,                                  Attorney, Agent, or Firm--Nawrocki, Rooney & Sivertson,
                               Minn.                                                             P.A.
      (73]     Assignee: iREZ Research, Corporation,                                             [57]                       ABSTRACT
                         Minnetonka, Minn.
                                                                                                 A clip for supporting a portable camera either on a surface
      [21]     Appl. No.: 814,168                                                                or on an edge of a housing, and for protecting the lens of the
                                                                                                 camera when the camera is not being supported. The clip
      [22]     Filed:          Mar. 7, 1997
                                                                                                 provides two axis of rotation to position the camera to any
                          6
      [51]     Int. CJ.   ..................................................... A47G 29/00       desired viewing angle. The clip may be rotated to a first
      [52]     U.S. CJ . ........................... 248/121; 248/126; 248/918                   position to support the camera on a surface of a table or desk.
      [58]     Field of Search ..................................... 248/121, 126,               The clip may be rotated to a second position to support the
                          248/440.1, 166, 176.1, 688, 918; 224/908;                              camera on the display screen of a laptop computer. When the
                                396/421, 422, 423, 424, 425, 426, 427,                           camera is not being supported in the first position or the
                                                                                       428
                                                                                                 second position, the camera may be rotated to be releasably
      [56]                        References Cited                                               held by the clip to protect the camera and lens during
                                                                                                 storage.
                          U.S. PATENT DOCUMENTS
             1,208,344 12/1916 MeAl] ..................................... 248/126                                21 Claims, 2 Drawing Sheets




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                                                Fig. 4
                                                          ,-12

                   Fig. 3                 20




                                                                      60




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                                       Fig. 5




                                                 Fig. 6

                                                                      95

                                          40
                        Fig. 7
                      10\
                 38         ~--.----




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                            CAMERA CLIP                                    desired viewing angle. The clip may be rotated to a first
                                                                           position to support the camera on a surface of a table or desk.
                      FIELD OF THE INVENTION                               The clip may be rotated to a second position to support the
                                                                           camera on a display screen of a laptop computer. When the
          This invention relates to a clip for holding a camera. More      camera is not being supported in the first position or the
      particularly it relates to a clip for supporting a portable          second position, the camera may be rotated to be releasably
      camera either on a surface or on an            of a housing, and     held by the clip to protect the camera and lens during
       for protecting the lens of the camera         the camera is not     storage.
      being supported.                                                        In a preferred embodiment of the present invention, an
                                                                       10 apparatus is provided for supporting a camera on an
                 BACKGROUND OF THE INVENTION                               where the apparatus comprises a hinge· member                 a
          With portable cameras, it is desirable to have an apparatus      support frame. The hinge member is rotatably attached to the
      which can support the camera in any number of desired                camera where the camera rotates over a first axis of rotation
       configurations. The apparatus must easily accommodate               relative to the hinge member. A support frame is hingedly
       repositioning the camera to new orientations during use, and 15 attached to the hinge member to engagingly support the
       must be easily transportable. This is especially true when          hinge member on the object, where the hinge member
      using the camera with a portable computer, such as a laptop          rotates over a second axis of rotation relative to the
       computer. With increasing improvements in technology,               frame. The first axis of rotation is perpendicular to
      both the laptop computer and camera have become smaller             second axis of rotation, and the second axis of rotation is
      over time, emphasizing the need for a compatible camera 20 substantially parallel to a first surface of the object when the
      support apparatus. The camera support apparatus must be              hinge member is engagingly supported on the object. In the
      versatile, light in weight, and be easily transportable to          preferred embodiment, the support frame further has a rear
       accommodate the new camera and laptop designs, and must             support element and first and second front support elements.
      desirably facilitate easy and safe storage of the camera.            In the preferred embodiment, the rear support element and
      Often times portable computers are stored in carry bags 25 the first and second front support elements support the
      which may be fully loaded with other hardware devices,              camera in the first position on the first surface when the rear
      such as disk drives or printers, as well as with personal           support element and the first and second front
      effects, making for cramped storage conditions. The camera          elements are              the first surface when the first
      support apparatus must desirably protect the camera from            is substantially            the preferred embodiment, the rear
      damage during transport under these cramped storage con- 30 support element and the first and second front support
      ditions to avoid the necessity for separate storage means in        elements engage the first surface at three locations in a plane
      order to maintain camera portability.                               of the first surface to prevent rotation of the support frame
          In the past, camera support apparatus were not easily           relative to the first surface in any direction within the plane
      transportable. Often times these apparatus utilized designs         of the first surface. In the preferred embodiment, when the
      which incorporated a tripod approach, or which used one or 35 support frame is in the first position, the object may be the
      more telescoping arms to support the camera. These designs          top of a table where the first surface is a top surface of the
      attempted to support the camera during use, and then col-           table. The object may also be a desk top where the first
      lapse to a smaller size to facilitate storage or transportation.    surface is a top surface of the desk.
      While these designs were transportable, often times even the            In the preferred embodiment, the rear support element and
      collapsed size of the prior art camera support apparatus 40 the first and second front support elements support the
      could not be easily accommodated by a laptop computer               camera in a second position on the first surface adjacent an
      bag. These prior art apparatus also did not provide means to        edge when the first surface is inclined from the substantially
      protect the camera during transport, and if constructed of          level position. The object has a second surface wherein a
      hard, exposed materials, tended to damage the cameras.              thickness between the first surface and the second surface
                                                                       45 defines an          therebetween. The camera is maintained
         Another problem with prior art camera support apparatus
                                                                          adjacent to         edge in the second position where the
      was that they could not easily accommodate the variety of
                                                                          uppermost portion of the object is the edge. The rear support
      applications desired for portable cameras. These applica-
                                                                          element engages a first surface and the first and second
      tions ranged from supporting the camera on the surface of a
                                                                          support elements engage the edge and the second surface.
      desk or table to supporting the camera on the upright display
      screen of a laptop computer. With the prior art, often times
                                                                       so The rear support element and the first and second front
                                                                          support elements, in combination, maintain the camera
      more than one camera support apparatus was necessary in
                                                                          adjacent the edge and prevent rotation of the support frame
      order to support the desired range of applications. This
      unfortunately adversely impacted portability of the camera.         along an axis substantially parallel to the second axis where
                                                                          the second axis is substantially parallel to the edge. In a
         Thus, a desire was created within the industry for a small, 55 preferred embodiment, the rear support element and the first
      easily transportable camera support apparatus for supporting        and second front support elements support the camera in the
      the camera on both horizontal surfaces, such as the surface         second position on the first surface adjacent the edge when
      of a desk or table, and vertical surfaces, such as the display      a first distance from the edge to the position where the rear
      screen of a laptop computer, and to protect the camera              support element engages the first surface is greater than a
      during storage and transport.                                    60 second distance from the edge to the position where the first
                                                                          and second front support elements engage the second sur-
                   SUMMARY OF THE INVENTION                               face. A center of gravity of the camera and the hinge member
         Accordingly, it is an object of the invention to provide a       being adjacent and external to the first surface in combina-
      clip for supporting a portable camera either on a surface or        tion with the first distance being greater than the second
      on an edge of a housing, and for protecting the lens of the 65 distance prevents rotation of the support frame along the
      camera when the camera is no! being supported. 'The clip            axis substantially parallel to the second axis of rotation. In
      provides two axis of rotation to position the camera to any         the preferred embodiment, when the support frame is in the




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      second position, the object may be a display screen for a              FIG. 6 is a detailed side view showing the third mode
      laptop computer, where the second ~urface is the front ?f the       wherein the lens of the camera is being fitably received by
      display screen and the first surface IS the back of the display     the cover; and
      screen.                                                                FIG. 7 is a front view showing the third mode of the
          In the preferred embodiment, the support frame has means       preferred embodiment of the present invention.
       to releasably hold and protect the camera during storage.
      The camera may be rotated about the second axis in a                            DETAILED DESCRIPTION OF THE
      direction from the first and second front support elements                          PREFERRED EMBODIMENTS
      towards the rear support element of the support frame until            Referring now to the drawings, wherein like reference
      the camera is in a position between and is re!easably held by 10 numerals refer to like elements throughout the several
       the rear support element and the first and second front           views, FIG. 1 is a perspective view of the camera clip
      support elements. In the prefened embodiment, the rear             invention. FIG. 1 shows generally a camera apparatus 10
      support element has means to protect a lens of the camera          having a camera 12 and a camera clip 14. Camera clip 14 is
      which is a cover mounted at a distal end of the rear support        further comprised of a hinge member 16 and a support frame
      element. The lens of the camera faces a direction of rotation 15 18. Camera 12 is comprised of housing 20 and lens 22, and
       about the second axis from the first and second front support     bas a housing backside 24 which is the side of the
      elements to the rear support element of the support frame to       opposite of lens 22. Hinge member 16 is rotatably
      allow the lens of the camera to be fitably received into the       to camera 12, where camera 12 rotates over a first axis 26 in
      cover when the camera is releasably held between the rear          a direction shown by arrow 28 relative to hinge member 16.
                 element and the first and second front support          Support frame 18 is hingedly attached to hinge member 16
                                                                         to engagingly support hinge member 16 on an object 30 (see
          In the prefened embodiment, the first and second front                FIG. 2). Hinge member 16 rotates over a second axis
      support elements are spaced a distance apart at a distance         32      the direction shown by arrow 34 relative to
      less than a diameter of a housing of the camera, where the         frame 18. First axis 26 is perpendicular to second
      camera is rotated about the second axis in the direction 25 Second axis 32 is substantially parallel to a first surface 36
      towards the rear support element so that the housing passes        when binge member 16 is engagingly supported on object 30
      between the first and second front support elements. The first     (see also, FIG. 2). Support frame 18 has a first portion
      and second front support elements resiliently and outwardly        consisting of first support element 38 and a second portion
      flex to accommodate passage of the housing. The housing is         consisting of a first front support element 40 and a second
      releasably held after passing between the first and second 30 front support element 42. Housing 20 bas a first indentation
      front support elements by the rear support element engaging        25 and a second indentation 27 to slidably and fittably
      the housing at the lens, where the first and second front          receive distal end 41 of first front support element 40 and
      support elements engage the housing backside at a first            distal end 43 of second front support element 42 when first
      indentation and a second indentation respectively to resil-        front support element 40 and second front support element
      iently urge the housing towards the rear support element. 35 42 are rotated in the direction of arrow 34 to engage housing
          In the preferred embodiment, the hinge member is further       backside 24.
      comprised of a body having a proximal and a distal end                FIG. 2 is a side view showing a first mode of a preferred
      where a pivot element at the proximal end of the body              embodiment of the present invention. Rear support element
      rotatably attaches the cainera to the body so that the camera      38, first front support element 40 and second front support
      rotates about the first axis relative to the body. A hinge 40 element 42 support camera 12 in the first position 44, on the
      element at the distal end of the body hingedly attaches the        first surface 36, when rear support element 38, first front
      body to tbe support frame so that the body rotates about the       support element 40 and second front support element 42 are
      second axis relative to the support frame. In the preferred                    first surface 36 and first surface 36 is substantially
      embodiment, the camera has an electrical wiring harness to                     the first position 44, camera 12 may be pivoted
      couple from an interior to an exterior of the camera, and the 45 upon support frame 18 from a position 46 to a position 48.
      pivot element has a bore parallel to the first axis of rotation    It is recognized that camera 12 may be pivoted to any
      to receive the electrical wiring harness to pass the wiring        number of positions about second axis 32 in the direction
      harness from the interior to the exterior of the camera.           shown by arrow 34. In the preferred embodiment, rear
              BRIEF DESCRIPTION OF THE DRAWINGS                          support element 38, first front support element 40 and
                                                                      50 second front support element 42 support the camera in first
          Other objects. of the present invention and many of the
                                                                         position 44, on first surface 36, when rear support element
      attendant advantages of the present invention will be readily
                                                                         38, first front support element 40 and second front support
      appreciated as the same becomes better understood by
                                                                         element 42 engage first surface 36 at three locations in a
      reference to the following detailed description when con-
                                                                         plane 50 of first surface 36. Engagement of first surface 36
      sidered in connection with the accompanying drawings, in
                                                                      55 at three or more locations prevents rotation of support frame
      which like reference numerals designate like parts through-
                                                                         18 relative to first surface 36 in any direction within
      out the figures thereof and wherein:
                                                                         50 of first surface 36. It is understood that in the
         FIG. 1 i<; a perspective view of the "Camera Clip"              embodiment, rear support element 38, first front
      invention;                                                         element 40 and second front support element 42
         FIG. 2 is a side view showing a first mode of a preferred 60 any number of desired geometries to engage first
      embodinlent of the present invention;                              to prevent rotation of support frame 18 relative to
         FIG. 3 is a detailed front view of the "Camera Clip"            surface 36 in any direction within plane 50 of first surface
      invention;                                                         36..In the preferred embodiment, when support frame 18 is
         FIG. 4 is a side view showing a second mode of the              in the first position 44, the object may be a top of a table and
      preferred embodiment of the present invention;                  65 first surface 36 may be a top surface of the table. Likewise,
         FIG. 5 is a side view showing a third mode of the               object 30 may be a desk top, where first surface 36 is a top
      preferred embodiment of the present invention;                     surface of the desk.




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          FIG. 4 is a side view showing a second mode of the            position, distal end 41 of first support element 40 and distal
      preferred embodiment of the present invention. The second         end 43 of second front support element 42 slidably and
       mode occurs when rear support element 38, first front            fittably engage first indentation 25 and second indentation
      support element 40 and second front support element 42            27 respectively of housing 20 at housing backside 24.
      support camera 12 in a second position 52 on a first surface s Camera 12 is then releasably held between rear support
      54 adjacent an edge 56. Second               52 corresponds to    element 38 and first front support element 40 and second
      first surface 54 being inclined         the substantially level   front support element 42. Rear support element 38 further
      position (see also, FIG. 2). In FIG. 4, object 58 has a second    has means to protect a lens 22 of camera 12, which is cover
      surface 60, where a thickness dl between first surface 54 and     90. Cover 90 is mounted at a distal end 92 of rear support
      second surface 60 defines the edge 56 therebetween. Camera 10 element 38. Lens 22 of camera 12 faces in the direction of
      12 is maintained adjacent edge 56 in second position 52           arrow 92, which is the direction of rotation about second
      when the uppermost portion of object 58 is edge 56. Rear          axis 32 from first front support element 40 and second front
      support element 38 engages first surface 54, and first front      support element 42 to rear support element 38 of support
      support element 40 and second front support element 42            frame 18. Cover 90 fitably receives lens 22 of camera 12.
      engage edge 56 and second surface 60. Rear support element 15 Cover 90 has a raised portion 95 sized to be accommodated
      38, first front support element 40 and second front support       by lens 22 of camera 12. Support frame 14, in a third mode
      element 42, in combination, maintain camera 12 adjacent           of the preferred embodiment of the present invention, releas-
      edge 56 and prevent rotation of support frame 18 along an         ably holds and protects camera 12 during storage.
      axis substantially parallel to second axis 32, where second          FIG. 3 is a detailed front view of the camera clip inven-
      axis 32 is substantially parallel to edge 56. Rear support 20 tion. FIG. 3 shows first front support element 40 and second
      element 38, first front support element 40 and second front       front support element 42 being spaced a distance apart by a
      support element 42 support camera 12 in second position 52        distance 94. Camera 12 further has a housing 20 which may
      on the first surface 54 adjacent edge 56 when a first distance    be spherical in shape in the preferred embodiment. Housing
      64 measured between edge 56 and position 66 is greater than       20 has a diameter shown as distance 96, wherein the
      a second distance 68. Second distance 68 is measured 25 preferred                            distance 96 is greater than distance
      between edge 56 and position 70, where first front support        94. When camera 12 rotated about the second axis 32 in
      element 40 and second front support element 42 engage             the direction towards rear support element 38 in the direc-
      second surface 60. The center of gravity shown in the             tion of arrow 92 so that housing 20 passes between first front
      direction of arrow 72 of camera 12 and hinge member 16            support element 40 and second front support element 42,
      being adjacent and external to first surface 54 in combina- 30 first front support element 40 and second front support
      tion with first distance 64 being greater than second distance    element 42 resiliently and outwardly flex to accommodate
      68 prevent rotation in the direction of arrow 62 of support       passage of             20. Housing 20 is releasably held once
      frame 18. In the preferred embodiment, object 58 may be a         passing between          front support element 40 and second
      display screen for a laptop computer when support frame 18        front support element 42 by rear support element 38 engag-
      is in second position 52, where second surface 60 is the front 35 ing housing 20 at lens 22 and distal end 41 of first front
      of the display screen and first surface 54 is the back of the     support element 40 and distal end 43 of second front support
      display screen. FIG. 4 shows hinge member 16 comprised of         element 42 slidabiy and fittably engaging first indentation 25
      a body 74 having a proximal end 76 and a distal end 78. A         and second indentation 27 respectively of housing 20 at
      pivot element 80 at proximal end 76 of body 74 rotatably          housing backside 24. When housing 20 is releasably held,
      attaches camera 12 to body 74 so the camera may rotate 40 first front support element 40 and second front support
      about first axis 26 relative to       74. A hinge element 82      element 42 resiliently         housing 20 towards rear support
      at distal end 78 of body 74               attaches body 74 to     element 38 so that lens        of camera 12 is fitably received
      support frame 18 so body 74 rotates about second axis 32          into cover 90.
      relative to support frame 18. FIG. 4 further shows camera 12         Having thus described the preferred embodiments of the
      having an electrical wiring harness 84 to couple from an 45 present invention, those of skill in the art will readily
      interior 86 to an exterior 88 of camera 12. Pivot element 80      appreciate that yet other embodiments may be made and
      has a bore 90 parallel to first axis 26 to receive electrical     used within the scope of the claims hereto attached.
      wiring hamess 84 to pass wiring hamess 84 from interior 86           What i..-; claimed:
      to exterior 88 of camera 12. While the embodiments shown             1. Apparatus for supporting a camera, having a lens, on
      in the drawing figures and discussed herein illustrate a 50 any generally horizontal, substantially planar surface and on
      wiring harness 84 passing through a bore 90 parallel to first     an object having a first surface and a second surface and an
      axis 26, it will be understood that other embodiments are         edge intersecting the first surface and the second surface,
      contemplated. For example, wiring harness could enter body        comprising:
      74 at a location angularly spaced upward from bore 90.               a. a hinge member adapted to be rotatably attached to the
         FIGS. 5-7 show various perspectives of a third mode of 55            camera, said camera, when the hinge member is so
      the preferred embodiment of the present invention. FIG. 5 is            attached,           about a first axis of rotation, relative
      a side view, FIG. 6 is a detailed side view showing the lens            to said hinge member; and
      of the camera being fitably received by the cover, and FIG.          b. a support frame rotatably attached to said hinge mem-
      7 is a front view. The third mode of the preferred embodi-              ber and configured to support said hinge member on the
      ment of the present invention is shown when camera 12 ·is 60            surface and the object, said hinge member rotating
      rotated about second axis 32 along the direction shown by               about a second axis of rotation relative to said support
      arrow 34 in a direction from the first front support element             frame, said first axis of rotation b<>ing gen<>rally per-
      40 and the second front support element 42 towards rear                  pendicular to said second axis of rotation, said second
      support element 38 of support frame 18. This rotation is                 axis of rotation       substantially parallel to the first
      continued in the third mode until camera 12 is in a position 65          surface when said         member is supported on the
      between rear support element 38 and first fmnt support                   object, said                 having a first disposition
      element 40 and second front support element 42. In this                  positioned on       generally horizontal, substantially




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              planar surface, and said support frame having a second               frame, said first axis of rotation being generally per-
              disposition attached to the object when said first surface           pendicular to said second axis of rotation, said second
              and said second surface are inclined from a generally                axis of rotation being substantially parallel to the first
              horizontal orientation, the camera being maintained                  surface when said hinge member is support.ed on the
              adjacent said edge in said second disposition of said                object, the support frame having a rear support element
              support frame.                                                       and a first and a second front support element, said
          2. Apparatus according to claim 1 wherein the support                    support frame having a first disposition positioned on
       frame comprises a first portion and a second portion, the                   said generally horizontal, substantially planar surface
       support frame being in the first disposition on the generally              when said rear support element and said first and
       horizontal, substantially planar surface when distal extremi- 10            second front support elements are engaging said gen-
       ties of said first portion and said second portion are engaging             erally horizontal, substantially planar surface, said sup-
       the generally horizontal, substantially planar surface, and the            port frame having a second disposition attached to the
      support frame being in the second disposition on the object                  object when the first surface is inclined from a sub-
      when said first portion is engaging the first surface and said              stantially horizontal position so that an uppermost
      second portion is engaging the second surface, said first 15                extremity of the object is the edge, the support frame
      portion and said second portion in combination maintaining                  being maintained in said second disposition by said rear
      the camera adjacent the edge.                                               support element engaging said first surface and said
          3. Apparatus according to claim 2 wherein the support                   first and second front support elements engaging the
       frame includes a cover adapted to protect the camera lens                  second surface, said rear support element and said first
      when the camera is rotated about the second axis until the 20                and second front support elements in combination
      camera is between the first portion and the second portion.                 preventing rotation of the support frame.
          4. Apparatus according to claim 3 wherein the first portion           11. Apparatus according to claim 10 wherein the support
      of the support frame further includes said cover, said cover          frame adapted to protect the camera when the camera is
      being mounted at the distal end of the first portion and              rotated about the second axis towards the rear support
       adapted the lens of the camera.                                   25 element of the support frame until the camera is between the
          5. Apparatus according to claim 2 wherein the support             rear support element and the first and second front support
      frame is in the first disposition when the first portion and the      elements, and is releasably held between the rear support
      second portion engage the generally horizontal, substantially         element and the first and second front support elements.
      planar surface at three or more locations in a common plane,              12. Apparatus according to claim 11 wherein the first and
      thereby preventing rotation of the support frame relative to 30 second front support elements are spaced a distance apart,
      the generally horizontal, substantially planar surface in any         and wherein said distance is less than a diameter of the
      direction.                                                            housing of the camera so that as the camera is being rotated
          6. Apparatus according to claim 2 wherein the support             about the second axis in the direction towards· the rear
      frame is in the second disposition when a first distance from         support element, said housing passes between the first and
      the edge to a location where the first portion engages the first 35 second front support elements and the first and second front
      surface is greater than a second distance from the edge to a          support elements resiliently flex outwardly to accommodate
      location where the second portion engages the second                  passage of said housing, said housing being releasably held
      surface, thus preventing rotation of the support frame.               once passing between the first and second front support
          7. Apparatus according to claim 1 wherein the object is a         elements by the rear support element engaging said housing
      display screen for a laptop computer, and the second surface 40 at the lens.
      is the front of the display screen and the first surface is the          13. Apparatus according to claim 11 wherein the first
      back of the display screen.                                           portion of the support frame further has a cover, said cover
          8. Apparatus according to claim 1 wherein the hinge               being mounted at a distal end of the rear support element and
      member includes a body having a proximal and a distal end,            adapted to receive the lens of the camera when the camera
      a pivot element at said proximal end of said body adapted to 45 is releasably held between the rear support element and the
      rotatably attach the camera to the body so that the camera            first and second front support elements.
      rotates about the first axis relative to the body, and a hinge           14. Apparatus according to claim 10 wherein the support
      element at said distal end of said body hingedly attaching            frame is in the first disposition when the rear support
      said body to the support frame so that said body rotates,             element and the first and second front support elements
      about the second axis, relative to the support frame.              50 engage the generally horizontal, substantially planar surface
          9. Apparatus according to claim 8 wherein the pivot               at three or more locations in a common plane of the
      element has a bore along the first axis of rotation to receive        generally horizontal, substantially planar surface to prevent
      an electrical wiring harness and pass said wiring harness to          rotation of the support frame relative to the generally
      the camera.                                                           horizontal, substantially planar surface.
          10. Apparatus for supporting a camera, having a housing 55           15. Apparatus according to claim 10 wherein the support
      and a lens, on any generally horizontal, substantially planar         frame is in the first disposition positioned on the generally
      surface and on an object having a first surface and a second          horizontal, substantially planar surface when the rear sup-
      surface, and an edge intersecting the first surface and the           port element and the first and second front support elements
      second surface, comprising:                                           engage the generally horizontal, substantially planar surface
          a. a hinge member adapted to be rotatably attached to the 60 to prevent rotation of the support frame relative to the
             camera, said camera, when the hinge member is so               generally horizontal, substantially planar surface.
           attached, rotating, about a first axis of rotation relative        16. Apparatus according lo claim 10 wherein support
           to said hinge member; and                                 frame is in the second disposition when a first distance from
        b. a support frame rotatably attached to said hinge mem-     the edge to a location where the rear support element
           ber and configured to support said hinge member on the 65 engages the first surface is greater than a second distance
           surface and the object, said hinge member rotating        from the edge to a location where the first and second front
           about a second axis of rotation relative to said support  support elements engage the second surface, the first dis-




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      lance being greater than the second distance thus preventing               support frame having a first portion and a second
      rotation of the support frame.                                             portion wherein said support frame protects the camera
         17. Apparatus according to claim 10 wherein the hinge                   when said hinge member is not supported on the
      member includes a body having a proximal and a distal end,                 generally horizontal, substantially planar surface, and
      a pivot element at said proximal end of said body adapted to               when the camera is rotated around said second axis in
      rotatably attach the camera to the body so that the camera                 a direction from said second portion towards said first
      rotates about the first axis relative to the body, and a hinge             portion of said support frame until the camera is
      element at said distal end of said body hingedly attaching                 between said first portion and said second portion and
      said body to the support frame so that said body rotates                   is releasably held between said first portion and said
      about the second axis relative to the support frame.              10
                                                                                 second portion.
         18. Apparatus according to claim 17 wherein the pivot
                                                                              21. Apparatus for supporting a camera, having a lens, on
      element has a bore along the first axis of rotation to receive
                                                                           an object having a first surface and a second surface,
      said electrical wiring harness and pass said wiring harness to
      the camera.                                                          wherein a thickness measured between the first surface and
         19. A camera clip for supporting a camera on a laptop 15 the second surface defines an edge therebetween, compris-
      computer, the laptop computer having a display screen                ing:
      which can be inclined from a generally horizontal position,             a. a hinge member adapted to be rotatably attached to the
      an uppermost portion of the display screen defining an edge,               camera, said camera, when the hinge member is so
      comprising:                                                                adapted, rotating about a first axis of rotation relative to
         a. a hinge member adapted to be rotatably attached to the 20            said hinge member; and
            camera, said camera rotating about a first axis of               b. a support frame rotatably attached to said hinge mem-
            rotation relative to said hinge member;                              ber and configured to support said hinge member on the
         and                                                                     object, said hinge member rotating about a second axis
                                                                                 of rotation relative to said support frame, said first axis
         b. a support frame hingedly attached to said hinge mem- 25              of rotation being generally perpendicular to said second
            ber to engagingly support said hinge member on the                   axis of rotation, said second axis of rotation being
            display screen, said hinge member rotating over a                    substantially parallel to the first surface when said
            second axis of rotation relative to said support frame,              hinge member is supported by said support frame on
            the camera being maintained adjacent the edge, rotation              the object, said support frame supporting said hinge
            of said support frame being prevented along an axis 30               member on the object when said first surface is inclined
            substantially parallel to said second axis where said                from a substantially horizontal position, the camera
            second axis is substantially parallel to said edge.                  being maintained adjacent the edge when an uppermost
         20. Apparatus for supporting a camera having a lens on a                extremity of the object is the edge, rotation of said
      substantially level surface, comprising:                                   support frame being precluded about an axis substan-
         a. a hinge member adapted to be rotatably attached to the 35            tially parallel to said second axis, said second axis
            camera, the camera rotating about a first axis of rotation           being substantially parallel to said edge, said support
            relative to said hinge member; and                                   frame having a first portion and a second portion
         b. a support frame rotatably attached to said hinge mem-                wherein said support frame releasably holds and pro-
            ber and configured to support said hinge member on a                 tects the camera when said hinge member is not sup-
            generally horizontal, substantially planar surface, said 40          ported by said support frame on the object and the
            hinge member rotating about a second axis of rotation                camera is rotated around said second axis in a direction
            relative to said support frame, said first axis of rotation          from said second portion towards said first portion of
            being generally perpendicular to said second axis of                 said support frame until the camera is between said first
            rotation, said second axis of rotation being substantially           portion and said second portion and is releasably held
            parallel to the generally horizontal, substantially planar 45        between said first portion and said second portion.
            surface when said hinge member is supported on the
            generally horizontal, substantially planar surface, said                                               *




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  United States Patent [191                                                                     [Ill    Patent Number:                         5,855,343
  Krekelberg                                                                                    [45]    Date of Patent:                      Jan. 5, 1999

  [54]     CAMERA CLIP                                                                      Primary Eraminer-Ramon 0. Ramirez
                                                                                            Assistant Examiner-Long Dinh Phan
  [75]     Inventor:      David E. Krekelberg. Minnetonka,                                  Attorney, Agent, or Firm-Nawrocki. Rooney & Sivertson.
                          Minn.                                                             P.A.

  [73]     Assignee: iREZ Research, Corporation.                                            [57]                       ABSTRACT
                     Minnetonka, Minn.
                                                                                            A clip for supporting a portable camera either on a surface
  [21]     Appl. No.: 814,168                                                               or on an edge of a housing. and for protecting the lens of the
                                                                                            camera when the camera is not being supported. The clip
  [22]     Filed:         Mar. 7, 1997                                                      provides two axis of rotation to position the camera to any
                     6
  [51]     Int. CI. ..................................................... A47G 29/00        desired viewing angle. The clip may be rotated to a first
  [52]     U.S. Cl ............................ 248/121; 248/126; 248/918                   position to support the camera on a surface of a table or desk.
  [58]     Field of Search ..................................... 248/121. 126.              The dip may be rotated to a second position to support the
                         248/440.1, 166. 176.1. 688. 918; 224/908;                          camera on the display screen of a laptop computer. When the
                           396/421.422.423.424.425.426.427.                                 camera is not being supported in the first position or the
                                                               428                          second position. the camera may be rotated to be rekasably
                                                                                            held by the clip to protect the camera and lens clw·ing
  [56]                        References Cited
                                                                                            storage.
                      U.S. PATENT DOCUMENTS
         1,208,344 12/1916 McAll ..................................... 248/126                               21 Claims, 2 Drawing Sheets




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                 Fig. 1 2s
                            26 27
                              ,...--12




                                             Fig. 4
                                                       ,-12

               Fig. 3




                                                                            ADJCAM000015




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                                     Fig. 5
                                                        22




                           41

                          40




                                                        Fig. 6

                                                                                 95


                      Fig. 7
                    10\                                                    .....________,. 38
               38         --r--~




                                               --27                84
          41                                       43




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                        CAMERA CLIP                                   desired viewing angle. The clip may be rotated to a first
                                                                      position to support the camera on a surface of a table or desk.
                 FIELD OF THE INVENTION                               The clip may be rotated to a second position to support the
                                                                      camera on a display screen of a laptop computer. When the
    This invention relates to a clip for holding a camera. More       camera is not being supported in the first position or the
 particularly it relates to a clip for supporting a portable          second position, the camera may be rotated to be releasably
 camera either on a surface or on an edge of a housing. and           held by the clip to protect the camera and lens during
 for protecting the lens of the camera when the camera is not         storage.
 being supported.                                                        In a preferred embodiment of the present invention. an
                                                                  10 apparatus is provided for supporting a camera on an object
           BACKGROUND OF THE INVENTION                                where the apparatus comprises a hinge member and a
    With portable cameras, it is desirable to have an apparatus       supp01t frame. The hinge member is rotatably attached to the
 which can support the camera in any number of desired                camera where the camera rotates over a first axis of rotation
 configurations. The apparatus must easily accommodate                relative to the hinge member. A support frame is hingedly
 repositioning the camera to new orientations during use. and 15 attached to the hinge member to engagingly support the
 must be easily transportable. This is especially true when           hinge member on the object. where the hinge member
 using the camera with a portable computer, such as a laptop          rotates over a second axis of rotation relative to the support
 computer. With increasing improvements in technology.                frame. The first axis of rotation is perpendicular to the
 both the laptop computer and camera have become smaller              second axis of rotation. and the second axis of rotation is
 over time, emphasizing the need for a compatible camera 20 substantially parallel to a first surlace of the object when the
 support apparatus. The camera support apparatus must be              hinge member is engagingly supported on the object. In the
 versatile. light in weight. and be easily transportable to           preferred embodiment. the support frame further has a rear
 accommodate the new camera and laptop designs. and must              support element and frrst and second front support elements.
 desirably facilitate easy and safe storage of the camera.            In the preferred embodiment, the rear support element and
 Often times portable computers are stored in carry bags 25 the first and second front support elements support the
 which may be fully loaded with other hardware devices.               camera in the first position on the first surface when the rear
 such as disk drives or printers, as well as with personal            support clement and the first and second front support
 effects, making for cramped storage conditions. The camera           elements are engaging the first surface when the first surface
 support apparatus must desirably protect the camera from             is substantially level. In the preferred embodiment. the rear
 damage during transport under these cramped storage con- 30 support element and the first and second front support
 ditions to avoid the necessity for separate storage means in         clements engage the first surface at three locations in a plane
 order to maintain camera portability.                                of the first surface to prevent rotation of the support frame
    In the past, camera support apparatus were not easily             relative to the first surface in any direction within the plane
 transportable. Often times these apparatus utilized designs          of the first surlace. In the preferred embodiment. when the
 which incorporated a tripod approach, or which used one or 35 support frame is in the first position. the object may be the
 more telescoping arms to support the camera. These designs           top of a table where the first surface is a top surface of the
 attempted to support the camera during use. and then col-            table. The object may also be a desk top where the first
 lapse to a smaller size to facilitate storage or transportation.     surface is a top surlace of the desk.
 While these designs were transportable, often times even the            In the preferred embodiment, the rear support element and
 collapsed size of the prior art camera support apparatus 40 the first and second front support elements support the
 could not be easily accommodated by a laptop computer                camera in a second position on the first surface adjacent an
 bag. These prior art apparatus also did not provide means to         edge when the first surlace is inclined from the substantially
 protect the camera during transport. and if constructed of           level position. 'lbc object has a second surlace wherein a
 hard. exposed materials. tended to damage the cameras.               thickness•. between the first surface and the second surface
                                                                  45 defines an edge therebetween. The camera is maintained
    Another problem with prior art camera support apparatus
                                                                      adjacent to the edge in the second position where the
 was that they could not easily accommodate the variety of
                                                                      uppermost portion of the object is the edge. The rear support
 applications desired for portable cameras. These applica-
                                                                      element engages a first surlace and the first and second
 tions ranged from supporting the camera on the surlace of a
                                                                      support elements engage the edge and the second surface.
 desk or table to supporting the camera on the upright display
                                                                  so The rear support element and the first and second front
 screen of a laptop computer. With the prior art. often times
                                                                      support elements. in combination, maintain the camera
 more than one camera support apparatus was necessary in
                                                                      adjacent the edge and prevent rotation of the support frame
 order to support the desired range of applications. This
 unfortunately adversely impacted portability of the camera.          along an axis substantially parallel to the second axis where
                                                                      the second axis is substantially parallel to the edge. In a
    Thus, a desire was created within the industry for a smalL 55 preferred embodiment, the rear support element and the first
 easily transportable camera support apparatus for supporting         and second front support elements support the camera in the
 the camera on both horizontal surfaces, such as the surlacc          second position on the first surface adjacent the edge when
 of a desk or table. and vertical surlaces, such as the display       a first distance from the edge to the position where the rear
 screen of a laptop computer. and to protect the camera               support element engages the flrst surface is greater than a·
 during storage and transport.                                    C>O second distance from the edge to the position where the first
                                                                         and second front support elements engage the second sur-
             SUMMARY OF THE INVENTION
                                                                         face. A center of gravity of the camera and the hinge member
   Accordingly, it is an object of the invention to provide a            hein~ adjac1~nl and external to the first surface in romhina
 dip for supporting 11 p011nhle camt~ra dllwr on u ~urfurc or            lion with the hr~t distance !wing grcall"r than thc SITond
 on 11n 11dgt1 of 11 houNinjl. 1111<1 for prolrrllng thr lrn.~ ol llw n1 dL~Ianrr ptrwnl~· 1nllllion ol lhr MIJlJllllt l'rnnw nlong lht·
 mmern when the cnmcrn J~ not being suppot1cd. The dip                   axis substantially parallel to the sl'rond axis of rotation. In
 provides two nxls of rotntion to position the cumnu to <my              the p•l"lr11cd l'lllhodilucnl. wlwn the support franw is inlhc




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    second position. the object may be a display screen for a                FIG. 6 is a detailed side view showing the third mode
    laptop computer, where the second surface is the front of the         wherein the lens of the camera is being fitably received by
    display screen and the first surface is the back of the display       the cover; and
    screen.
                                                                            FIG. 7 is a front view showing the third mode of the
       In the preferred embodiment, the support frame has means           preferred embodinlent of the present invention.
    to releasably hold and protect the camera during storage.
    The camera may be rotated about the second axis in a                              DErAILED DESCRIPTION OF THE
    direction from the first and second front support elements                          PREl'ERRED EMBODIMENTS
    towards the rear support element of the support frame until             Referring now to the drawings, wherein like reference
    the camera is in a position between and is releasably held by 10 numerals refer to like elements throughout the several
    the rear support element and the first and second front              views, FIG. 1 is a perspective view of the camera clip
    support elements. In the preferred embodiment, the rear              invention. FIG. 1 shows generally a camera apparatus 10
    support element has means to protect a lens of the camera
                                                                         having a camera 12 and a camera clip 14. Camera clip 14 is
   which is a cover mounted at a distal end of the rear support          further comprised of a hinge member 16 and a support frame
    element. The lens of the camera faces a direction of rotation
                                                                     15 18. Camera 12 is comprised of housing 20 and lens 22, and
    about the second axis from the first and second front support        has a housing backside 24 which is the side of the housing
   elements to the rear support element of the support frame to          opposite of lens 22. Hinge member 16 is rotatably attached
   allow the lens of the camera to be fitably received into the          to camera 12, where camera 12 rotates over a first axis 26 in
   cover when the camera is releasably held between the rear             a direction shown by arrow 28 relative to hinge member 16.
   support element and the first and second front support
                                                                     20 Support frame 18 is hingedly attached to hinge member 16
   elements.                                                             to engagingly support hinge member 16 on an object 30 (see
      In the preferred embodiment. the first and second front            also, FIG. 2). Hinge member 16 rotates over a second axis
   support elements are spaced a distance apart at a distance            32 in the direction shown by arrow 34 relative to support
   Jess than a diameter of a housing of the camera. where the            frame 18. First axis 26 is peipCndicular to second axis 32.
   camera is rotated about the second axis in the direction 25 Second axis 32 is substantially parallel to a first surface 36
   towards the rear support element so that the housing passes           when hinge member 16 is engagingly supported on object 30
   between the first and second front support elements. The first        (see also, FIG. 2). Support frame 18 has a first portion
   and second front support elements resiliently and outwardly           consisting of first support element 38 and a second portion
   flex to accommodate passage of the housing. The housing is            consisting of a first front support element 40 and a second
  releasably held after passing between the first and second 30 front support clement 42. Housing 20 has a first indentation
   front support elements by the rear support element engaging           25 and a second indentation 27 to slidably and fittably
   the housing at the lens, where the first and second front            receive distal end 41 of first front support element 40 and
   support elements engage the housing backside at a first              distal end 43 of second front support element 42 when first
  indentation and a second indentation respectively to resil-           front support element 40 and second front support element
  iently urge the housing towards the rear support element. 35 42 are rotated in the direction of arrow 34 to engage housing
      In the preferred embodiment, the hinge member is further          backside 24.
  comprised of a body having a proximal and a distal end                    FIG. 2 is a side view showing a first mode of a preferred
  where a pivot element at the proximal end of the body                 embodiment of the present invention. Rear support element
  rotatably attaches the camera to the body so that the camera          38. first front support element 40 and second front support
  rotates about the first axis relative to the body. A hinge 40 element 42 support camera 12 in the first position 44. on the
  element at the distal end of the body hingedly attaches the           first surface 36. when rear support element 38. first front
  body to the support frame so that the body rotates about the          support element 40 and second front support element 42 are
  second axis relative to the support frame. In the preferred           engaging first surface 36 and first surface 36 is substantially
  embodiment, the camera has an electrical wiring harness to            level. I~ the first position 44, camera 12 may be pivoted
  couple from an interior to an exterior of the camera, and the 45 upon support frame 18 from a position 46 to a position 48.
  pivot element has a bore parallel to the first axis of rotation       It is recognized that camera 12 may be pivoted to any
  to receive the electrical wiring harness to pass the wiring           number of positions about second axis 32 in the direction
  harness from the interior to the exterior of the camera.              shown by arrow 34. In the preferred embodiment. rear
          BRIEF DESCRIPTION OF THE DRAWINGS                             support element 38. first front support element 40 and
      Other objects of the present invention and many of the
                                                                    so second front support element 42 support the camera in first
  attendant advantages of the present invention will be readily         position 44. on first sutfacc 36. when rear support clement
  appreciated as the same becomes better understood by                  38, first front support element 40 and second front support
  reference to the following detailed description when con-             element 42 engage first surface 36 at three locations in a
                                                                        plane 50 of first surface 3l•. Engagement of first surface 36
  sidered in connection with the accompanying drawings. in
  which like reference numerals designate like pruts through- 55 at three or more locations prevents rotation of support frame
  out the figures thereof and wherein:                                  IS relative to first surface 36 in any direction within plane
                                                                        50 of first surface 36. It is understood that in the preferred
      FIG. 1 is a perspective view of the "Camera Clip"
                                                                        embodiment. rear support element 38. first front support
  invention;
                                                                        element 40 and second front support element 42 may utilize
      FIG. 2 is a side view showing a first mode of a preferred 60 any number of desired geometries to engage first surface J(,
  embodiment of the present invention;                                  to prevent rotation of suppo1t frame 18 relative to first
      FIG. 3 is a detailed front view of the "Camera Clip"              surface 36 in any direction within plane 50 of first surface
  invention;                                                            36. In the preferred embodiment. when support frame 18 is
      FIG. 4 is a side view showing a second mode of the                in the first position 44. the object may be a top of a table and
  preferred embodiment of the present invention;                    65 first surface 36 may be a top swface of the table. Likewise.
      FIG. 5 is a side view showing a third mode of the                 object 30 may be a desk top. where first surface 36 is a top
  preferred embodiment of the present invention;                        surface of the desk.




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      FIG. 4 is a side view showing a second mode of the                       position. distal end 41 of first support element 40 and distal
  preferred embodiment of the present invention. The second                    end 43 of second front support element 42 slidably and
   mode occurs when rear support element 38. first front                       fittably engage flrst indentation 25 and second indentation
   support element 40 and second front support element 42                      27 respectively of housing 20 at housing backside 24.
   support camera 12 in a second position 52 on a first surface                Camera 12 is then releasably held between rear support
  54 adjacent an edge 56. Second position 52 corresponds to                    element 38 and first front support element 40 and second
  first surface 54 being inclined from the substantially level                 front support element 42. Rear support element 38 ftlfther
  position (see also. FIG. 2). In FIG. 4. object 58 has a second               has means to protect a lens 22 of camera 12. which is cover
  surface 60. where a thickness dl between frrst surface 54 and                90. Cover 90 is mounted at a distal end 92 of rear support
  second surface 60 defines the edge 56 therebetween. Camera 10 clement 38. Lens 22 of camera 12 faces in the direction of
  12 is maintained adjacent edge 56 in second position 52                      arrow 92. which is the direction of rotation about second
  when the uppermost portion of object 58 is edge 56. Rear                     axis 32 from first front support element 40 and second front
  support element 38 engages first surface 54. and first front                 support element 42 to rear support element 38 of support
  support element 40 and second front support element 42                       frame 18. Cover 90 fitably receives lens 22 of camera 12.
  engage edge 56 and second sutface 60. Rear support element 15 Cover 90 has a raised portion 95 sized to be accommodated
  38. first front support element 40 and second front support                  by lens 22 of camera 12. Support frame 14. in a third mode
  element 42. in combination. maintain camera 12 adjacent                      of the preferred embodiment of the present invention. releas-
  edge 56 and prevent rotation of support frame 18 along an                    ably holds and protects camera 12 during storage.
  axis substantially parallel to second axis 32. where second                     FIG. 3 is a detailed front view of the camera clip inven-
  axis 32 is substantially parallel to edge 56. Rear support 20 tion. FIG. 3 shows first front support element 40 and second
  element 38. first front support element 40 and second front                  front support element 42 being spaced a distance apart by a
  support element 42 support camera 12 in second position 52                   distance 94. Can1era 12 further has a housing 20 which may
  on the first surface 54 adjacent edge 56 when a fust distance                be spherical in shape in the preferred embodiment. Housing
  64 meastlfed between edge 56 and position 66 is greater than                 20 has a diameter shown as distance 96. wherein the
  a second distance 68. Second distance 68 is measured 25 preferred embodiment. distance 96 is greater than distance
  between edge 56 and position 70. where first front support                   94. When camera 12 is rotated about the second axis 32 in
  element 40 and second front support element 42 engage                        the direction towards rear support element 38 in the direc-
  second surface 60. The center of gravity shown in the                        tion of arrow 92 so that housing 20 passes between first front
  direction of arrow 72 of camera 12 and hinge member 16                       support element 40 and second front support element 42.
  being adjacent and external to first surface 54 in combina- 3o first front support element 40 and second front support
  tion with first distance 64 being greater than second distance               element 42 resiliently and outwardly flex to accommodate
  68 prevent rotation in the direction of arrow 62 of support                  passage of housing 20. Housing 20 is releasably held once
  frame 18. In the preferred embodiment. object 58 may be a                    passing between first front support element 40 and second
  display screen for a laptop computer when support frame 18                   front support element 42 by rear support element 38 engag-
  is in second position 52. where second surface 60 is the front 35 ing housing 20 at lens 22 and distal end 41 of first front
  of the display screen and first surface 54 is the back of the                support element 40 and distal end 43 of second front support
  display screen. FIG. 4 shows hinge member 16 comprised of                    element 42 slidably and fittably engaging first indentation 25
  a body 74 having a proximal end 76 and a distal end 78. A                    and second indentation 27 respectively of housing 20 at
  pivot element SO at proximal end 76 of body 74 rotatably                     housing backside 24. When housing 20 is releasably held.
  attaches camera 12 to body 74 so the camera may rotate 40 first front support element 40 and second front support
  about first axis 26 relative to body 74. A hinge element 82                  element 42 resiliently urge housing 20 towards rear support
  at distal end 78 of body 74 hingedly attaches body 74 to                     element 38 so that lens 22 of camera 12 is fitably received
  support frame IS so body 74 rotates about second axis 32                     into cover 90.
  relative to support frame 18. FIG. 4 further shows camera 12                    Having thus described the preferred embodiments of the
  having an electrical wiring harness 84 to couple from an 45 present.,.invention. those of skill in the art will readily
  interior 86 to an exterior 88 of camera 12. Pivot element 80                 appreciate that yet other embodiments may be made and
  has a bore 90 parallel to first axis 26 to receive electrical                used within the scope of the claims hereto attached.
  wiring harness 84 to pass wiring harness 84 from interior 86                    What is claimed:
  to exterior 88 of camera 12. While the embodiments shown                         1. Apparatus for supporting a camera. having a lens. on
  in the drawing figtlfes and discussed herein illustrate a so any generally horizontal. substantially planar surface and on
  wiring harness 84 passing through a bore 90 parallel to first                an object having a first surface and a second surface and an
  axis 26. it will be understood that other embodiments are                    edge intersecting the first surface and the second surface.
  contemplated. For example. wiring harness could enter body                   comprising:
  74 at a location angularly spaced upward from bore 90.                          a. a hinge member adapted to be rotatably attached to the
     FIGS. 5-7 show various perspectives of a third mode of 55                        camera. said camera. when the hinge member is so
  the preferred embodiment of the present invention. FIG. 5 is                        attached. rotating. about a first axis of rotation. relative
  a side view. FIG. 6 is a detailed side view showing the lens                        to said hinge member; and
  of the camera being fitably received by the cover. and FIG.                     b. a support frame rotatably attached to said hinge mem-
  7 is a front view. The third mode of the preferred embodi-                          ber and configured to suppon said hinge me01her on the
  ment of the present invention is shown when camera 12 is 6n                         ~urf;we and the object. said hinge member rotating
  rotated about second axis 32 along the direction shown hy                           ahoul a st~cond axis of rotation rdativ~ to said suppm1
  arrow 34 in 11 direction from the first front support ekn~<·nt                      l•illll<', ,,;~id flr.~l <~xis ol rotatio11 ht"ing gt:tH"tiiiiY I"''
  40 nnd thr Mwnntl frotll ~uppnrt 11knwnt •ll tnwaHI' trill                          pr11d11 ttl,u I" '1111d hl'·l'llllil il\h 11l 11•l•tli1111, i>illd ~or1 ~tlld
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  clement 40 ant.! second front support dement 42. In this                            l'"~itioucd on said generally horiw11tal. suhsta11tially




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          planar surface, and said support frame having a second               frame, said first axis of rotation being generally per-
          disposition attached to the object when said first surface           pendicular to said second axis of rotation. said second
          and said second surface are inclined from a generally                axis of rotation being substantially parallel to the first
          horizontal orientation, the camera being maintained                  surface when said hinge member is supported on the
          adjacent said edge in said second disposition of said                object, the support frame having a rear support element
          support frame.                                                       and a first and a second front support element said
      2. Apparatus according to claim 1 wherein the support                    support frame having a first disposition positioned on
  frame comprises a first portion and a second portion, the                    said generally horizontal, substantially planar surface
   support frame being in the first disposition on the generally               when said rear support element and said first and
   horizontal. substantially planar surface when distal extremi- 10            second front support elements are engaging said gen-
   tles of said first portion and said second portion are engaging             erally horizontal. substantially planar surface, said sup-
   the generally horizontal, substantially planar surface. and the             port frame having a second disposition attached to the
   support frame being in the second disposition on the object                 object when the first surface is inclined from a sub-
  when said first portion is engaging the first surface and said               stantially horizontal position so that an uppermost
   second portion is engaging the second surface, said first IS                extremity of the object is the edge. the support frame
  portion and said second portion in combination maintaining                   being maintained in said second disposition by said rear
  the camera adjacent the edge.                                                support element engaging said first surface and said
      3. Apparatus according to claim 2 wherein the support                    first and second front support elements engaging the
  frame includes a cover adapted to protect the camera lens                    second surface. said rear support element and said first
  when the camera is rotated about the second axis until the 20                and second front support elements in combination
  camera is between the first portion and the second portion.                  preventing rotation of the support frame.
      4. Apparatus according to claim 3 wherein the first portion           11. Apparatus according to claim 10 wherein the supp011
  of the support frame further includes said cover. said cover          frame adapted to protect the camera when the camera is
  being mounted at the distal end of the lirst portion and              rotated about the second axis towards the rear support
  adapted the lens of the camera.                                    25 element of the support frame until the camera is between the
      5. Apparatus according to claim 2 wherein the support             rear support element and the first and second front support
  frame is in the first disposition when the first portion and the      elements, and is releasably held between the rear support
  second portion engage the generally horizontal, substantially         element and the first and second front support elements.
  planar surface at three or more locations in a common plane.              12. Apparatus according to claim 11 wherein the first and
  thereby preventing rotation of the support frame relative to 30 second front support elements are spaced a distance apart.
  the generally horizontal, substantially planar surface in any         and wherein said distance is less than a diameter of the
  direction.                                                            housing of the camera so that as the camera is being rotated
      6. Apparatus according to claim 2 wherein the support             about the second axis in the direction towards the rear
  frame is in the second disposition when a first distance from         support element. said housing passes between the first and
  the edge to a location where the first portion engages the first 35 second front support elements and the first and second front
  surface is greater than a second distance from the edge to a          support elements resiliently flex outwardly to accommodate
  location where the second portion engages the second                  passage of said housing. said housing being releasably held
  surface. thus preventing rotation of the SUpPOrt frame.               once passing between the first and second front support
      7. Apparatus according to claim 1 wherein the object is a         elements by the rear support element engaging said housing
  display screen for a laptop computer, and the second surface 40 at the lens.
  is the front of the display screen and the first surface is the           13. Apparatus according to claim 11 wherein the first
  back of the display screen.                                           portion of the support frame further has a cover, said cover
      8. Apparatus according to claim 1 wherein the hinge               being mounted at a distal end of the rear support element and
  member includes a body having a proximal and a distal end.·           adaptetj,_ to receive the lens of the camera when the camera
  a pivot element at said proximal end of said body adapted to 45 is releasably held between the rear support element and the
  rotatably attach the camera to the body so that the camera            first and second front support elements.
  rotates about the first axis relative to the body. and a hinge            14. Apparatus according to claim 10 wherein the support
  element at said distal end of said body hingedly attaching            frame is in the first disposition when the rear support
  said body to the support frame so that said body rotates.             clement and the first and second front support elements
  about the second axis. relative to the support frame.              so engage the generally horizontal. substantially planar surface
      9. Apparatus according to claim 8 wherein the pivot               at three or more locations in a common plane of the
  element has a bore along the first axis of rotation to receive        generally horizontal, substantially planar surface to prevent
  an electrical wiring harness and pass said wiring harness to          rotation of the support frame relative to the generally
  the camera.                                                           horizonta.l, substantially planar surface.
      10. Apparatus for supporting a camera, having a housing 55            15. Apparatus according to claim 10 wherein the support
  and a lens, on any generally horizontal, substantially planar         frame is in the frrst disposition positioned on the generally
  surface and on an object having a first surface and a second          horizontal, substantially planar surface when the rear sup-
  surface, and an edge intersecting the first surface and the           port element and the first and second front support elements
  second surface, comprising:                                           engage the generally horizontal. substantially planar surface
      a. a hinge member adapted to be rotatably attached to the oo to prevent rotation of the support frame relative to the
         camera. said camera. when the hinge member is so               generally horizontal. substantially planar surface.
         attached, rotating, about a flrst axis of rotation relative        H>. Apparatus according to claim 10 wherein supp011
         to said hinge member; and                                      frame is in the second disposition when a first distance from
      b. a support frame rotatably attached to said hinge mem-          the edge to a location where the rear support element
         ber and configured to support said hinge member on the 65 engages the first surface is greater than a second distance
         surface and the object, said hinge member rotating             from the edge to a location where the frrst and second front
         about a second axis of rotation relative to said support       support elements engage the second surface. the flrst dis-



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 tance being greater than the second distance thus preventing              support frame having a first portion and a second
 rotation of the support frame.                                            portion wherein said support frame protects the camera
    17. Apparatus according to claim 10 wherein the hinge                  when said hinge member is not supported on the
 member includes a body having a proximal and a distal end,                generally horizontal, substantially planar surface, and
 a pivot element at said proximal end of said body adapted to 5            when the camera is rotated around said second axis in
 rotatably attach the camera to the body so that the camera                a direction from said second portion towards said first
 rotates about the first axis relative to the body, and a hinge            portion of said support frame until the camera is
 element at said distal end of said body hingedly attaching                between said first portion and said second portion and
 said body to the support frame so that said body rotates                  is releasably held between said first portion and said
 about the second axis relative to the support frame.             10       second portion.
    18. Apparatus according to claim 17 wherein the pivot              21. Apparatus for supporting a camera, having a lens, on
 element has a bore along the first axis of rotation to receive      an object having a first surface and a second surface,
 said electrical wiring harness and pass said wiring harness to
                                                                     wherein a thickness measured between the first surface and
 the camera.                                                         the second surface defines an edge therebetween, compris-
    19. A camera clip for supporting a camera on a laptop 15
                                                                     ing:
 computer, the laptop computer having a display screen
 which can be inclined from a generally horizontal position.            a. a hinge member adapted to be rotatably attached to the
 an uppermost portion of the display screen defining an edge.              camera. said camera, when the hinge member is so
                                                                           adapted, rotating about a first axis of rotation relative to
 comprising:
                                                                           said hinge member; and
    a. a hinge member adapted to be rotatably attached to the 20
                                                                        b. a support fran1e rotatably attached to said hinge mem-
       camera, said camera rotating about a first axis of
                                                                           ber and configured to support said hinge member on the
       rotation relative to said hinge member~
                                                                           object. said hinge member rotating about a second axis
    and                                                                    of rotation relative to said support frame. said tirst axis
    b. a support frame hingedly attached to said binge mcm- 25             of rotation being generally pe1pendicular to said second
       ber to engagingly support said hinge member on the                  axis of rotation. said second axis of rotation being
       display screen, said hinge member rotating over a                    substantially parallel to the first surface when said
       second axis of rotation relative to said support frame.             hinge member is supported by said support frame on
       the camera being maintained adjacent the edge. rotation             the object. said support frame supporting said hinge
       of said support frame being prevented along an axis 30              member on the object when said first surface is inclined
       substantially parallel to said second axis where said               from a substantially horizontal position. the camera
       second axis is substantially parallel to said edge.                  being maintained adjacent the edge when an uppermost
    20. Apparatus for supporting a camera having a lens on a                extremity of the object is the edge. rotation of said
  substantially level surface, comprising:                                  support frame being precluded about an axis substan-
    a. a hinge member adapted to be rotatably attached to the 35            tially parallel to said second axis, said second axis
       camera. the camera rotating about a first axis of rotation           being substantially parallel to said edge. said support
       relative to said hinge member; and                                   frame having a first portion and a second portion
    b. a support frame rotatably attached to said hinge mem-                wherein said support frame releasably holds and pro-
       ber and configured to support said hinge member on a                 tects the camera when said hinge member is not sup-
       generally horizontal. substantially planar surface. said 40          ported by said support frame on the object and the
       hinge member rotating about a second axis of rotation                camera is rotated around said second axis in a direction
       relative to said support frame, said fust axis of rotation           from said second pbrtion towards said fust portion of
       being generally perpendicular to said second axis of                 said support frame until the camera is between said first
       rotation, said second axis of rotation being substantially           portjon and said second portion and is releasably held
       parallel to the generally horizontaL substantially planar 45         between said first portion and said second portion.
        surface when said hinge member is supported on the
        generally horizontal, substantially planar surface. said                              * * * * *




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                           Abstract of the Disclosure

              A clip for   supporting a      portable camera either on a
       surface or on an edge of a housing, and for protecting the
       lens of the camera when the camera is not being supported.

 5     The clip provides two axis of rotation to position the camera
       to any desired viewing angle. The clip may be rotated to a
       first position to support the camera on a surface of a table

       or desk.    The clip may be rotated to a second position to
       support the camera on the display screen of a laptop computer.

10     Wh~n   the camera is not being supported in the first position

       or the     second position,   the     camera may be   rotated to be

       releasably held by the clip to protect the camera and lens

       during storage.




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                                                             CAMERA CLIP

                                                     Field of the Invention
                                  This invention relates to a clip for holding a camera.

                           More   particularly       it    relates          to   a    clip     for    supporting a

                 5         portable      camera    either    on     a       surface     or     on    an    edge     of    a

                           housing, and for protecting the lens of the camera when the

                           camera is not being supported.
                                                   Background of the Invention

                                  With    portable       cameras,       it       is    desirable          to    have     an

                 10        apparatus      which    can    support       the      camera        in    any       number    of

                           desired configurations.          The apparatus must easily accommodate
         •r,
 '
                           repositioning the camera to new orientations during use, and
         C"):,



                           must be easily transportable.                     This is especially true when

 ·; .,
                           using the camera with a portable computer, such as a laptop
            ·.
                 15        computer.       With increasing improvements in technology, both

                           the laptop computer and camera have become smaller over time,
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     ,_ ":::.~              emphasizing      the    need     for        a     compatible            camera       support
 ., .•
                            apparatus .     The camera support apparatus must be versatile,
     "
    ..
  ' '                       light in weight, and be easily transportable to accommodate

                 20         the   new     camera    and    laptop           designs,         and    must       desirably

                            facilitate easy and safe storage of the camera.                                Often times

                            portable computers are stored in carry bags which may be fully

                            loaded with other hardware devices,                       such as disk drives or

                            printers, as well as with personal effects, making for cramped

                 25         storage      conditions.        The     camera            support       apparatus          must

                            desirably protect the           camera          from damage during transport

                            under these cramped storage conditions to avoid the necessity




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       for   separate    storage   means    in       order    to   maintain    camera

       portability.

             In the past,    camera support apparatus were not easily

       transportable.     Often times these apparatus utilized designs

 5     which incorporated a tripod approach,                 or which used one or

       more telescoping arms to support the camera.                  These designs

       attempted to support the camera during use, and then collapse

       to a smaller size to facilitate storage or transportation.

       While these designs were transportable, often times even the

10     collapsed size of the prior art camera support apparatus could

       not be easily accommodated by a laptop computer bag.                     These

       prior art apparatus also did not provide means to protect the

       camera during transport, and if constructed of hard, exposed

       materials, tended to damage the cameras.

15           Another problem with prior art camera support apparatus

       was that they could not easily accommodate the variety of

       applications desired for portable cameras.              These applications

       ranged from supporting the camera on the ~urface of a desk or

       table to supporting the camera on the upright display screen
                                                 ~




20     of a laptop computer.       With the prior art, often times more

       than one camera support apparatus was necessary in order to

       support the desired range of applications.              This unfortunately

       adversely impacted portability of the camera.

             Thus,   a desire was created within the industry for a

25     small,   easily   transportable      camera       support     apparatus     for

       supporting the camera on both horizontal surfaces, such as the


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                        surface of a desk or table, and vertical surfaces, such as the

                       display screen of a laptop computer, and to protect the camera

                       during storage and transport.

                                                    Summary of the Invention

              5                 Accordingly, it is an object of the invention to provide

                       a clip for supporting a portable camera either on a surface or

                       on an edge of a housing, and for protecting the lens of the

                        camera when the camera is               not being supported.               The clip

                       provides two axis of rotation to position the camera to any

             10        desired viewing angle.              The clip may be rotated to a first

                        position to support the camera on a surface of a table or

                        desk.     The clip may be rotated to a second position to support
']   ."..;
                        the camera on a display screen of a laptop computer.                       When the

                        camera is not being supported in the first position or the

             15         second position, the camera may be rotated to be releasably

                        held     by    the   clip    to   protect      the   camera     and   lens   during

                        storage.

                                In a preferred embodiment of the present invention, an

                        apparatus is provided for supporting a camera on an object
                                                                        ~.




             20         where the apparatus comprises a hinge member and a support

                        frame.        The hinge member is rotatably attached to the camera

                        where     the    camera      rotates    over    a    first    axis    of   rotation

                        relative to the hinge member.                  A support frame is hingedly

                        attached to the hinge member to engagingly support the hinge

             25         member on the object, where the hinge member rotates over a

                        second axis of rotation relative to the support frame.                            The


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                    first axis of rotation is perpendicular to the second axis of

                    rotation,      and the second axis of rotation is substantially

                    parallel to a        first   surface of the object when the hinge

                    member    is    engagingly    supported       on   the   object.     In      the

           5        preferred embodiment,        the support frame further has a rear

                    support element and first and second front support elements.

                    In the preferred embodiment, the rear support element and the

                    first and second front support elements support the camera in

                    the first position on the first surface when the rear support

          10        element and the first and second front support elements are

                    engaging       the   first   surface       when    the   first   surface      is

                    substantially level.         In the preferred embodiment, the rear

i .. .:             support     element    and   the   first     and    second   front   support

                    elements engage the first          surface at three locations in a

          15        plane of the first surface to prevent rotation of the support

                    frame relative to the first surface in any direction within

                    the plane of the first surface.             In the preferred embodiment,

                    when the support frame is in the first position, the object

                    may be the top of a table where the first surface is a top

          20        surface of the table.        The object may also be a desk top where

                    the first surface is a top surface of the desk.

                          In the preferred embodiment, the rear support element and

                    the first and second front support elements support the camera

                    in a second position on the first surface adjacent an edge

          25        when the first        surface is   inclined from the substantially

                    level position.        The object has a second surface wherein a


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                 thickness between the first surface and the second surface

                 defines    an     edge       therebetween.         The    camera    is    maintained

                 adjacent     to    the       edge     in   the   second     position      where      the

                 uppermost portion of the object is the edge.                      The rear support

           5     element engages          a    first    surface and the           first    and second

                 support elements engage the edge and the second surface.                             The

                 rear support element and the first and second front support

                 elements,    in combination, maintain the camera adjacent the
                 edge and prevent rotation of the support frame along an axis

          10     substantially parallel to the second axis where the second

                 axis is substantially parallel to the edge.                         In a preferred

                 embodiment, the rear support element and the first and second

                 front     support    elements         support     the    camera    in     the    second

                 position on the first surface adjacent the edge when a first

                 distance from the edge to the position where the rear support

                 element engages the first surface is greater than a second

                 distance from the edge to the position where the first and
:.   ;
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                 second front support elements engage the second surface.                                A

                 center of gravity of the camera and the hinge member being

          20     adjacent and external to the first surface in combination with

                 the first distance being greater than the second distance

                 prevents     rotation          of   the    support       frame    along    the      axis

                 substantially parallel to the second axis of rotation.                           In the

                 preferred embodiment, when the support frame is in the second

          25     position,    the object may be a display screen for a                            laptop

                 computer, where the second surface is the front of the display


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                             screen and the        first   surface       is     the    back of      the display

                             screen.

                                     In the preferred embodiment, the support frame has means

                             to releasably hold and protect the camera during storage.                         The

                   5         camera may be rotated about the second axis in a direction

                             from the first and second front support elements towards the

                             rear support element of the support frame until the camera is

                             in a     position between and is            releasably held by the rear

                             support     element     and   the    first        and    second     front    support
                  10         elements.       In the    preferred        embodiment,        the     rear   support

                             element has means to protect a lens of the camera which is a

                             cover mounted at a distal end of the rear support element.

                             The lens of the camera faces a direction of rotation about the

                             second axis from the first and second front support elements

                  15         to the rear support element of the support frame to allow the

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                             lens of the camera to be fitably received into the cover when
            "
        -:;:..·
                             the camera is releasably held between the rear support element

                             and the first and second front support                    el~ments.

                                     In the preferred embodiment, the first and second front
                                                                           "
                  20         support elements are spaced a distance apart at a distance

                             less than a diameter of a housing of the camera, where the

                             camera    is   rotated about the           second axis        in the direction

                             towards the rear support element so that the housing passes

                             between the first and second front                      support elements.        The

                  25         first    and   second    front      support       elements     resiliently       and

                             outwardly flex to accommodate passage of the housing.                            The


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                               housing is releasably held after passing between the first and

                               second front        support elements by the            rear support element

                              engaging the housing at the lens, where the first and second

                              front support elements engage the housing backside at a first

                    5         indentation      and      a    second       indentation     respectively       to

                              resiliently urge the housing towards the rear support element.

                                      In the preferred embodiment, the hinge member is further

                              comprised of a body having a proximal and a distal end where

                              a pivot element at the proximal end of the body rotatably
                   10         attaches the camera to the body so that the camera rotates

                              about the first axis relative to the body.                A hinge element at
     :,\ :::~

                              the distal end of the body hingedly attaches the body to the
         ~'~


                              support frame so that the body rotates about the second axis

     '}1 .·~;                 relative to the support frame.               In the preferred embodiment,
         .~   ..   15         the camera has an electrical wiring harness to couple from an

                              interior to an exterior of the camera, and the pivot element
         '"
                              has a bore parallel to the first axis of rotation to receive

                              the electrical wiring harness to pass the wiring harness from

                              the interior to the exterior of the camera.
                   20                          Brief Description of the Drawings

                                     Other objects of the present invention and many of the

                              attendant advantages of the present invention will be readily

                              appreciated as the same becomes better understood by reference

                              to    the   following    detailed   description         when   considered     in

                   25        connection      with     the   accompanying drawings,           in   which   like

                             reference numerals designate like parts throughout the figures


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       thereof and wherein:
             FIG.       Vis     a   perspective         view    of   the   "Camera     Clip"

       invention;
             FIG. 2/is a side view showing a first mode of a preferred
                    I
 5     embodiment of the present invention;

             FIG.       yis a detailed front view of the                    "Camera Clip"

       invention;

             FIG.       /s     a    side view      showing a         second mode of the

       preferred embodiment of the present invention;

10           FIG.       ;!is    a   side    view   showing       a   third mode      of   the

       preferred embodiment of the present invention;

             FIG. f s          a detailed side view showing the third mode

       wherein the lens of the camera is being fitably received by

       the cover; and
                         /
15           FIG.       7jis a front view showing the third mode of the
       preferred /mbodiment of the present invention.
             Detailed Description of the Preferred Embodiments

             Referring now to the drawings,                    wherein like reference

       numerals refer to like elements throughout the several views,

20     Fig. 1 is a perspective view of the camera clip invention.

       Fig. 1 shows generally a camera apparatus 10 having a camera

       12 and a camera clip 14.             Camera clip 14 is further comprised

       of a hinge member 16 and a support frame 18.                          Camera 12 is

       comprised        of   housing   20    and       lens    22,   and   has   a   housing

25     backside 24 which is the side of the housing opposite of lens

       22.   Hinge member 16 is rotatably attached to camera 12, where


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                    camera 12 rotates over a first axis 26 in a direction shown by

                    arrow 28 relative to hinge member 16.                            Support frame 18 is

                    hingedly attached to hinge member 16 to engagingly support

                    hinge member 16 on an object 30 (see also,                              Fig.   2).        Hinge

          5        member 16 rotates over a second axis 32 in the direction shown

                   by arrow 34 relative to support frame 18.                               First axis 26 is

                   perpendicular       to    second       axis           32.         Second      axis        32    is

                    substantially parallel to a first surface 36 when hinge member

                    16 is engagingly supported on object 30                           (see also, Fig.             2).

         10         Support   frame    18    has    a   first        portion         consisting of            first

                    support element 38 and a second portion consisting of a first

                    front support element 40 and a second front support element

                    42.    Housing 20       has    a    first       indentation            25   and     a    second

                    indentation 27 to slidably and fittably receive distal end 41

         15        of first front support element 40 and distal end 43 of second

                   front support element 42 when first front support element 40

                   and    second    front    support       element             42    are     rotated        in    the
·~   '

                   direction of arrow 34 to engage housing backside 24.

                        Fig. 2 is a side view showing a first mode of a preferred
                                                     "·
         20        embodiment of the present invention. Rear support element 38,

                   first    front     support      element          40    and       second      front       support

                   element 42 support camera 12 in the first position 44, on the

                   first surface 36, when rear support element 38, first front

                   support element 40 and second front support element 42 are

         25        engaging     first       surface       36         and       first       surface          36     is

                   substantially level.            In the first position 44, camera 12 may


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            be pivoted upon support frame                  18 from a position 46 to a

            position 48.          It is recognized that camera 12 may be pivoted
            to    any    number      of   positions    about     second   axis    32    in   the

            direction shown by arrow 34.                   In the preferred embodiment,

      5     rear support element 38, first front support element 40 and

            second front support element 42 support the camera in first

            position 44, on first surface 36, when rear support element

            38, first front support element 40 and second front support

            element 42 engage first surface 36 at three locations in a

     10     plane 50 of first surface 36.              Engagement of first surface 36

            at three or more locations prevents rotation of support frame

            18 relative to first surface 36 in any direction within plane

            50    of    first    surface     36.      It    is   understood    that     in   the

            preferred embodiment,            rear support element 38,            first front

     15     support element 40 and second front support element 42 may

            utilize any         number of     desired geometries          to   engage     first

            surface 36 to prevent rotation of support frame 18 relative to

            first surface 36 in any direction within plane 50 of first

            surface 36.         In the preferred embodiment, when support frame

     20     18 is in the first position 44, the object may be a top of a

            table and first surface 36 may be a top surface of the table.

            Likewise, object 30 may be a desk top, where first surface 36

            is a top surface of the desk.

                   Fig.    4    is   a    side view    showing a      second mode of the

     25     preferred embodiment of the present invention.                        The second

            mode occurs when rear support element 38, first front support


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                         element 40 and second front support element 42 support camera
                         12 in a second position 52 on a first surface 54 adjacent an

                         edge 56.    Second position 52 corresponds to first surface 54

                         being inclined from the          substantially level position                  (see

                  5      also, Fig. 2).     In Fig. 4, object 58 has a second surface 60,

                        where a     thickness d1    between first              surface 54    and second

                         surface 60 defines the edge 56 therebetween.                      Camera 12 is
                        maintained adjacent edge 56 in second position 52 when the
                        uppermost portion of object 58                 is   edge 56.       Rear support
                 10      element 38 engages first surface 54, and first front support

                        element 40 and second front support element 42 engage edge 56

                        and second surface 60.       Rear support element 38, first front

                        support element 40 and second front support element 42,                          in

                        combination, maintain camera 12 adjacent edge 56 and prevent
    i't
     -;..~
     !
                 15     rotation of      support   frame   18      along an       axis    substantially

                        parallel    to    second   axis    32,         where     second    axis    32    is

                        substantially parallel to edge 56.                  Rear support element 38,

     '"1:
 --,.1.
                        first   front    support   element        40    and    second     front   support

                        element 42 support camera 12 in second position 52 on the

                 20     first surface 54 adjacent edge 56 when a first distance 64

                        measured between edge 56 and position 66 is greater than a
                        second distance 68.        Second distance 68 is measured between
                        edge 56 and position 70, where first front support element 40

                        and second front support element 42 engage second surface 60.

                 25     The center of gravity shown in the direction of arrow 72 of

                        camera 12 and hinge member 16 being adjacent and external to


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              first surface 54 in combination with first distance 64 being

              greater    than   second    distance          68   prevent    rotation    in    the

              direction of arrow 62 of support frame 18.                    In the preferred

              embodiment, object 58 may be a display screen for a laptop

        5     computer when support frame 18 is in second position 52, where

              second surface 60 is the front of the display screen and first

              surface 54 is the back of the display screen.                       Fig. 4 shows

              hinge member 16 comprised of a body 74 having a proximal end

              76 and a distal end 78.       A pivot element 80 at proximal end 76

       10     of body 74 rotatably attaches camera 12 to body 74 so the

              camera may rotate about first axis 26 relative to body 74.                        A

              hinge element 82 at distal end 78 of body 74 hingedly attaches

              body 74 to support frame 18 so body 74 rotates about second

              axis 32 relative to support frame 18.                    Fig. 4 further shows

       15     camera 12 having an electrical wiring harness 84 to couple

              from an interior 86 to an exterior 88 of camera 12.                           Pivot
._;:
              element 80 has a bore 90 parallel to first axis 26 to receive

              electrical wiring harness 84 to pass wiring harness 84 from

              interior    86    to    exterior    88    of       camera     12.     While     the

       20     embodiments shown in the drawing figures and discussed herein

              illustrate a      wiring harness         84    passing through a         bore    90

              parallel to first axis 26, it will be understood that other

              embodiments are contemplated.                 For example, wiring harness

              could enter body 74 at a location angularly spaced upward from

       25     bore 90.

                    Figs. 5-7 show various perspectives of a third mode of


                                                   12




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           the preferred embodiment of the present invention.                     Fig. 5 is

           a side view, Fig. 6 is a detailed side view showing the lens

           of the camera being fitably received by the cover, and Fig. 7

           is a front view.      The third mode of the preferred embodiment

 5         of the present invention is shown when camera 12 is rotated

           about second axis 32 along the direction shown by arrow 34 in

           a direction from the first front support element 40 and the

           second front support element 42 towards rear support element

           38 of support frame 18.        This rotation is continued in the

10         third mode until      camera 12    is    in a        position between rear

           support element 38 and first            front       support element 40 and

           second front support element 42.          In this position, distal end

           41 of first support element 40 and distal end 43 of second

           front support element 42 slidably and fittably engage first

15         indentation    25   and   second   indentation         27    respectively      of

           housing   20   at   housing   backside        24.      Camera    12    is   then

           releasably held between rear          support element           38 and first

           front support element 40 and second front support element 42.

          Rear support element 38 further has means to protect a lens 22

20        of camera 12, which is cover 90.               Cover 90 is mounted at a

          distal end 92 of rear support element 38.                    Lens 22 of camera

     ¥     12 faces in the direction of arrow 92, which is the direction

          of rotation about second axis             32   from first       front    support

          element 40 and second front support element 42 to rear support

25        element 38 of support frame 18.                Cover 90 fitably receives

           lens 22 of camera 12.      Cover 90 has a raised portion 95 sized


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           to be accommodated by lens 22 of camera 12.                                Support frame 14,

           in a third mode of the preferred embodiment of the present

           invention,         releasably holds                and protects           camera 12 during

           storage.

 5                 Fig.   3    is    a    detailed            front       view of     the    camera     clip

           invention.         Fig. 3 shows first front support element 40 and

           second front support element 42 being spaced a distance apart

           by a distance 94.                  Camera 12 further has a housing 20 which

           may    be   spherical              in    shape      in     the    preferred       embodiment.

10         Housing 20 has a diameter shown as distance 96, wherein the

           preferred embodiment, distance 96 is greater than distance 94.

           When camera 12 is rotated about the second axis 32 in the

           direction towards rear support element 38 in the direction of

           arrow 92 so that housing 20 passes between first front support
15         element 40 and second front support element 42, first front

           support     element           40    and       second       front    support       element       42

           resiliently        and    outwardly            flex       to     accommodate       passage      of

           housing     20.      Housing             20   is    releasably           held    once   passing

           between     first        front          support         element    40    and     second     front

20         support element 42 by rear support element 38 engaging housing

           20 at lens 22 and distal end 41 of first front support element

           40    and distal         end       43    of   second       front        support    element      42

           slidably and fittably engaging first indentation 25 and second

          indentation 27 respectively of housing 20 at housing backside

25        24.     When housing 20 is releasably held, first front support

          element 40 and second front support element 42 resiliently


                                                              14




                                                                                                     ADJCAM000037




                                                         A2500
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               urge housing 20 towards rear support element 38 so that lens

               22 of camera 12 is fitably received into cover 90.

                     Having thus described the preferred embodiments of the

               present invention,     those of skill     in the art will     readily

      5        appreciate that yet other embodiments may be made and used

               within the scope of the claims hereto attached.




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                What is Claimed:

                1.      An   apparatus    for    suppoJting           a   camera        on   an   object,

                        comprising:

                        a.    a   hinge                                attached to the camera,

                              said camera                             a first axis of rotation

                              relative to said               nge member; and

                        b.    a   support frame              ingedly attached to             said hinge

                              member to engagin ly support said hinge member on

                              the    object,     said        hinge    member          rotating    over    a

                              second axis of                          relative to said support

                              frame,      said       f"r st       axis       of       rotation      being
                                                         I
                              perpendicular to taid second axis of rotation, said

                              second      axis       o       rotation        being       substantially

                              parallel to a fi~st surface when said hinge member

                              is engagingly s pported on the object, said support

                              frame supportin            said camera in a first position on
'    '·
··--~~


                              the object when said first surface is substantially

                              level, said su port frame supporting the camera in

                              a   second posifion on              ~he object when said first
                              surface is injlined from said substantially level

                              position,     th1          object      having       a    second     surface

                              wherein a thi kness between the first surface and

                              said second                      defines an edge therebetween,

                              the camera being maintained adjacent said edge in

                              said second p sition when the uppermost portion of

                              the object       i~ the edge, rotation of said support
                                                 I           16



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                     frame being pre ented along an axis substantially

                     parallel   to         second     axis 1   said    second     axis

                     being substanti lly parallel to said edge.



      2.     An apparatus accor ing to claim 1 wherein the support

             frame comprises a first portion and a second portion 1

             said first portion and said second portion supporting the

             camera in the first position on the first surface when

             said first porti n and said second portion are engaging

             the first surfac        when the first surface is substantially



~\           supporting the      amera in the second position on the first

             surface adjace t        the edge when said first portion is

             engaging the                         and said second portion is

             engaging the       dge and the second surface 1            said first

             portion             said    second     portion      in    combination

             maintaining t e camera adjacent the edge and preventing

             rotation            the    support      frame     along     the      axis

             substantiall       parallel to the second axis.



      3.     An apparltus according to claim 2 wherein the support

             frame   ha~ns to releasably hold and protect the camera
             during {torage.



             An apparatus lccording to claim 3 wherein the means to
                            I



             releasably     old and protect the          camera comprises the


                                            17




                                                                               ADJCAM000040




                                         A2503
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                      camera     being      rotated                    the     second       axis   in    a

                      direction      from    the                               towards       the   first

                      portion of the support                                  the camera is in a

                      position between the fir t portion and the second portion

                      and is releasably held             etween the first portion and the

                      second portion, the fir t portion having means to protect

                      a lens of the camera.



              5.      An apparatus accordin              to claim 4 wherein the means to

                      protect the lens of t e camera is a cover mounted at the

                      distal end of the fi st portion, the lens of the camera

_,_1\
                      facing in the directi                   rotation about the second axis

                      from the      second po tion to the                   first   portion of        the

                      support frame to ailow the                 lens        of the    camera to be
                                                   i
                      fitably      received    irto      said    cover when           the    camera     is

                      releasably held be        ~een the first portion and the second
                      portion.



              6.      An   apparatus          ording to         claim 2 wherein              the   first

                      portion and the                     " support the camera in the
                                              econd portion

                      first    position            the    first    surface          when     the   first

                      portion and th         second portion engage the first surface

                      at   three    or m           locations      in    a    plane     of    the   first

                                               rotation of the support frame relative

                      to the first s rface in any direction within said plane

                      of the first     /urface.
                                       I                 18




                                                                                               ADJCAM000041




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                 7.     An apparatus         acco ding to               claim 2 wherein           the     first

                         portion and the s cond portion support the camera in the
                         first   position             on    the    first    surface       when    the     first
                        portion and                   second portion engage the first surface
                        to prevent         futi~-of the support frame relative to the
                                                  /
                                           ?--/
                        first            e in any direction within a plane of the
                        first sur ace.




     ~~>    7    a.
                        An   apparatus       accor ing to               claim 2 wherein

                        portion and the se and portion support the camera in the
                                                                                                  the   first



                        second position                n the first surface adjacent the edge

                        when a first dis ance from the edge to the position where

                        the first port on engages the first surface is greater

                        than a     secon      distance from the edge to the position

-   I'~
                        where the s cond portion engages the second surface, a

                        center of     ravity of the camera and said hinge member

                        being adj cent                and   external       to   the     first    surface    in

                        combinat"on with the first distance being greater than

                        the sec nd distance preventing rotation of the support



                        axis     f rotation.



                9.      An apparatus according to claim 1 wherein the object is
                        a top of      table when the support frame is in the first

                                     t e first surface being a top surface of the




                                                                  19




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                                                            A2505
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                10.   An apparatus according to claim 1 wherein the object is

                      a    desk   p    when   the   support      frame     is   in   the   first

                              ~~ first surface being a top surface of the




               11.    An apparatus      ccording to claim 1 wherein the object is



                                         second position, the second surface being

                                              display screen and the first surface

                      being the ba k of the display screen.



               12.    An   apparatus    according      to    claim     1 wherein     the   hinge




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                      body rotatabl      attaching the camera to the body so that

                      the camera ro ates about the first axis relative to the

                      body, a hing       element at said distal end of said body

                      hingedly atta hing said body to the support frame so that

                      said body rot tes about the second axis relative to the

                      support frame.



               13.    An apparatus     ccording to claim 12 wherein the camera has

                      an electrica      wiring harness to couple from an interior

                      to an exteri r, the pivot element having a bore parallel

                      to the first axis of rotation to receive said electrical

                      wiring harn ss      to pass    said wiring harness             from said


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            interior to said exte ior of the camera.



      14.   An   apparatus    for      su porting         a    camera         on   an   object,

            comprising:
            a.    a hinge member rotatably attached to the camera,
                  said camera rot ting over a first axis of rotation

                  relative to                hinge member; and

            b.    a   support                hingedly attached to                  said hinge

                  member to             ingly support said hinge member on

                  the    object,               hinge      member           rotating      over    a

                  second axis of rotation relative to said support

                  frame,      said      first        axis           of      rotation       being

                  perpendicular         o said second axis of rotation, said

                  second     axis       of     rotation             being       substantially

                  parallel to a         irst surface when said hinge member

                  is engagingly supported on the object, the support

                  frame having a rear support element and a first and

                  second front         support      element,             said   rear     support

                  element     and      said     first         and    said       second     front
                                                     ~-




                  support eleme ts supporting the camera in the first

                  position        on   said    first      surface           when    said     rear

                  support elem nt and said first                          and second front

                  support              nts are engaging said first                       surface

                  when     said               surface     is        substantially         level,

                  said rear su port element and said first and said

                  second front support elements supporting the camera


                                               21




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                  in a second position on                  aid first surface adjacent

                  an edge when said firs                    surface is inclined from

                  said     substantially             1            position,      the     object

                  having a second surfac                  wherein a thickness between



                  said edge therebetwe                    the camera being maintained

                  adjacent said edge                  said second position when the

                  uppermost portion                  the object is the edge,               said

                  rear support elem                      engaging said first           surface

                  and said first an                 second front         support elements

                  engaging the edge and the second surface, said rear

                  support       element              said first          and    second front

                  support       element        in        combination       maintaining      the

                  camera adjacent j he edge and preventing rotation of

                  the     support     f~ame         along       an    axis     substantially
                                          I
                  parallel to the/second axis, said second axis being

                  substantially rarallel to said edge.


      15.   An appara us according to claim 14 wherein the support

                                     releasably hold and protect the camera

            during          ge.



            An apparatus accor ing to claim 15 wherein the means to

            releasably     hold      nd protect             the      camera    comprises        the

            camera      being     r tated       around          the    second     axis     in     a

            direction      from     the       first       and     second       front     support


                                J               22




                                                                                       ADJCAM000045




                                          A2508
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                          support element and the firs         and second front support

                         elements and is releasably h         d between the rear support

                         element and the first and se                   support elements,

                         the rear support element ha ing means to protect a lens

                         of the camera.



                   17.   An apparatus according to claim 16 wherein the first and

                         second front support elem nts are spaced a distance apart

                         at a distance less than a diameter of a housing of the

                         camera, the camera            rotated around the second axis

.. _.....::
~                        in the direction toward      the rear support element so that



                         support    elements,        first    and   second front    support

                         elements resiliently     nd outwardly flexing to accommodate

                         passage of said hous ng,        said housing being releasably

                         held once passing                              and second front

                         support elements         the rear support element engaging

                         said housing at          lens,    the first and second front

                         support    elements    ngaging      said   housing   backside     to

                         resiliently            id housing towards the rear support

                         element.



                   18.   An apparatus ace rding to claim 16 wherein the means to

                         protect the lens of the camera is a cover mounted at the


                                                      23

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            distal end of the rear support element, the lens of the

            camera facing in              direction of           rotation about the

            second axis       from        first    and     second     front       support



            to allow the lens o          the camera to be fitably received

            into    said                   the    camera     is     releasably       held

            between the rear su            element and the first and second

            front support elem



      19.   An    apparatus                 to    claim     14    wherein     the    rear



            elements support         he camera in the first position on the

            first surface wh n the rear support element and the first

            and    second             support     elements        engage    the     first

            surface at               or more locations in a plane of the

            first surface t          prevent rotation of the support frame

            relative to th       first surface in any direction within

            said plane of



      20.   An    apparatus    ccording to        claim     14    wherein     the    rear

            support eleme t      and the first and second front support

            elements supp rt the camera in the first position on the

            first surface when the rear support element and the first

            and    second     rant    support    elements        engage     the     first

            surface to pr vent rotation of the support frame relative

            to the first surface in any direction within a plane of


                                           24




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                       the first        urface.



                 21.   An   appara us      according to         claim     14 wherein    the     rear

                       support element and the first and second front support
                                    I
                                    I


                       elements s pport the camera in the second position on the

                       first sur            adjacent the edge when a first distance

                       from the         dge to the position where the rear support

                       element     e gages       the   first    surface    is   greater   than     a

                       second distance from the edge to the position where the

                       first and        econd front support elements engage the second

                       surface,         center of gravity of the camera and said hinge

                                    ng adjacent and external to the first surface

                       in combin tion with the first distance being greater than

                       the secon        distance preventing rotation of the support

                       frame alo                   substantially parallel to the second

                       axis of r

.-   .:~




                 22.   An apparatus according to clafrn 14 wherein the object is

                       a top of a table when            th/s·~pport frame is in the first
                                                         ,/

                       position, the first sniface being a top surface of the

                       table.                /


                 23.   Anapparatu~ording to claim 14 wherein the object is
                       a desk ft._? _ _w.hen the support frame is in the first

                       positio , the first surface being a top surface of the




                                                          25




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                  24.   An apparatus accordi g to claim 14 wherein the object is

                        a display screen fo     a laptop computer when the support

                        frame is in the se 5hd ~osition, the second surface being

                        the front of th     ~lay screen and the first surface
                        being the back    f the display screen.




         ~~725. member is comprised of a body having a proximal and a
                        An apparatus according t         claim 14 wherein the hinge



                        distal end, a pivot el ment at said proximal end of said

                        body rotatably attac ing the camera to the body so that

                        the camera rotates about the first axis relative to the

                        body, a hinge el ment at said distal end of said body

                        hingedly attach"ng said body to the support frame so that

                        said body rot    es about the second axis relative to the




                  26.   An appara   s according to claim 25 wherein the camera has

                        an elect ical wiring harness to couple from an interior
=---\·

                        to an e terior, the pivot element having a bore parallel

                        to the first axis of rotation to receive said electrical

                        wiri g harness    to pass   said wiring harness from said

                        int rior to said exterior of the camera.




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  COMBINED DECLARATION/POWER OF ATTORNEY FOR PATENT APPLICATION

As a below named inventor, I hereby declare that:

My residence, post office address and citizenship are as stated
below next to my name.

I believe that I am the original, first and sole inventor (if only
one name is listed below) or an original, first and joint inventor
(if plural names are listed below) of the subject matter which is
claimed and for which a patent is sought on the invention entitled
 CAMERA CLIP , the specification of which (check one)

                        XX is attached hereto

                           was filed on
                           as U.S. Application
                           Serial No.

                           and was amended on (if
                           applicable)

I hereby state that I have reviewed and understand the contents of
the above-identified specification, including the claims, as
amended by any amendment referred to above.

I acknowledge the duty to disclose information which is material to
the examination of this application in accordance with Title 37,
Code of Federal Regulations, §1.56(a).

I hereby claim foreign priority benefit(s) under Title 35, United
States Code §119 of any foreign application ( s) for patent or
inventor's certificate listed below and have also identified below
any foreign application(s) for patent or inventor's certificate
having a filing date before that of the application on which
priority is claimed:
                                                          Priority
Prior Foreign Application(s)                              Claimed


  (Number)          (Country)      (Day/Month/Year Filed)       YES         NO

  (Number)          (Country)      (Day/Month/Year Filed)       YES         NO

  (Number)          (Country)      (Day/Month/Year Filed)       YES         NO

I hereby claim the benefit under Title 35, United States Code, §120
of any United States application(s) listed below and, insofar as
the subject matter of each of the claims of this application is not
disclosed in the prior United States application in the manner
provided by the first paragraph of Title 35, United States Code,
§112, I acknowledge the duty to disclose material information as
defined in Title 37, Code of Federal Regulations, §1.56(a) which




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                                    A2513
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occurred between the filing date of the prior application and the
national or PCT international filing date of this application:
(Serial No.)             (Filing Date)     (Status) (patented, pending, abandoned)


(Serial No.)             (Filing Date)      (Status-patented, pending, abandoned)

POWER OF ATTORNEY:    As a named inventor, I hereby appoint the
following attorney(s) and/or agent(s) to prosecute this application
and transact all business in the Patent and Trademark Office
connected therewith.

               John L. Rooney, Reg. No. 28,898;
               Lawrence M. Nawrocki, Reg. No. 29,333;
               Wayne A. Sivertson, Reg. No. 25,645;
               David M. Crompton, Reg. No. 36,772;
               Glenn M. Seager, Reg. No. 36,926;
               Steven E. Dicke, Reg. No. 38,431;
               Brian N. Tufte, Reg. No. 38,638;
               Craig F. Taylor, Reg. No. 40,199;
               Donald A. Jacobson, Reg. No. 22,308; and
               Lew Schwartz, Reg. No. 22,067

Send correspondence to:

               Lawrence M. Nawrocki
               NAWROCKI, ROONEY & SIVERTSON, P.A.
               Suite 401, Broadway Place East
               3433 Broadway Street Northeast
               Minneapolis, Minnesota 55413
               (612) 331-1464

I hereby declare that all statements made herein of my own
knowledge are true and that all statements made on information and
belief are believed to be true; and further tQat these statements
were made with the knowledge that willful false statements and the
like so made are punishable by fine or imprisonment, or both, under
Section 1001 of Title 18 of the United States Code and that such
willful false statements may jeopardize the validity of the
application or any patent issued thereon, I further declare that I
understand the content of this declaration.

Full name of sole or first inventor    David E. Krekelberg
Inventor's Signature                           Date
Residence 15604 Dawn Drive, Minnetonka, Minnesota 55345
                                             Citizenship U.S.A.
Post Office Address   15604 Dawn Drive
                      Minnetonka, Minnesota 55345




                                                                          ADJCAM000051




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                                                        -3-
 1.56 Duty to disclose infor.ation material to patentability.

          (a) A patent by its very nature is affected with a public interest. The public interest is best served,
 and the most effective patent examination occurs when, at the time an application is being examined, the Office
 is aware of and evaluates the teachings of all information material to patentability.            Each individual
 associated with the filing and prosecution of a patent application has a duty of candor and good faith in
 dealing with the Office, which includes a duty to disclose to the Office all information known to that
 individual to be material to patentability as defined in this section. The duty to disclose information exists
 with respect to each pending claim until the claim is cancelled or withdrawn from consideration, or the
 application becomes abandoned. Information material to the patentability of a claim that is cancelled or
 withdrawn from consideration need not be submitted if the information is not material to the patentability of
 any claim remaining under consideration in the application. There is no duty to submit information which is
 not material to the patentability of any existing claim. The duty to disclose all information known to be
 material to patentability is deemed to be satisfied if all information known to be material to patentability
 of any claim issued in a patent was cited by the Office or submitted to the Office in the manner prescribed by
 §§1.97(b)-(d) and 1.98. However, no patent will be granted on an application in connection with which fraud
 on the Office was practiced or attempted or the duty of disclosure was violated through bad faith or intentional
 misconduct. The Office encourages applicants to carefully examine:
         (1) prior art cited in search reports of a foreign patent office in a counterpart application, and
          (2) the closest information over which individuals associated with the filing or prosecution of a patent
 application believe any pending claim patentably defines, to make sure that any material information contained
 therein is disclosed to the Office.
          (b) Under this section, information is material to patentability when it is not cumulative to
 information already of record or being made of record in the application, and

         (1) It establishes, by itself or in combination with other information, a prima facie case of
 unpatentability of a claim; or
          C2) It refutes, or is inconsistent with, a position the applicant takes in:

         (i) Opposing an argument of unpatentability relied on by the Office, or
         (ii) Asserting an argument of patentability.
 A prima facie case of unpatentability is established when the information compels a conclusion that a claim is
 unpatentable under the preponderance of evidence, burden-of-proof standard, giving each term in the claim its
 broadest reasonable construction consistent with the specification, and before any consideration is given to
 evidence which may be submitted in an attempt to establish a contrary conclusion of patentability.
         (c) Individuals associated with the filing or prosecution of a patent application within the meaning
 of this section are:
          (1) Each inventor named in the application:
          (2) Each attorney or agent who prepares or prosecutes the application; and

          C3) Every other person who is substantively invol,;ed 1n the preparat1on or prosecutwn of the
 application and who is associated with the inventor, with the assignee or w1th anyone to whom there 1s an
 obligation to assign the application.

          (d) Individuals other than the attorney, agent or inventor may comply with this section by disclosing
 information to the attorney, agent, or inventor.




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                                             67137 U.s. PTO

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                                                  03j07j97
Applicant or Patentee: David E. Krekelberg                      Attorney's Docket No.: 19139/1 03/1 01
Serial or Patent No.:....:..N~A,____ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Filed or lssued:_,H....:;e:..:r..:::e_,_,w"-'it::..:.h_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
For: CAMERA CLIP
                 VERIFIED STATEMENT (DECLARATION) CLAIMING SMALL ENTITY
                 STATUS (37 CFR 1.9(f) AND 1.27(c)) -- SMALL BUSINESS CONCERN

I hereby declare that I am
        []      the owner of the small business concern identified below:
        [X]     an official of the small business concern empowered to act
                on behalf of the concern identified below:


         NAME OF CONCERN iREZ Research, Corporation
         ADDRESS OF CONCERN 15604 Dawn Drive, Minnetonka, Minnesota 55345


I hereby declare that the above-identified small business concern qualifies as a small business concern
as defined in 13 CFR 121.3-18, and reproduced in 37 CFR 1.9(d), for purposes of paying reduced fees
under section 41 (a) and (b) of Title 35, United States Code, in that the number of employees of the
concern, including those of its affiliates, does not exceed 500 persons. For purposes of this statement,
(1) the number of employees of the business concern is the average over the previous fiscal year of the
concern of the persons employed on a full-time, part-time or temporary basis during each of the pay
periods of the fiscal year, and (2} concerns are affiliates of each other when either, directly or indirectly,
one concern controls or has power to control the other, or a third party or parties controls or has the
power to control both.

I hereby declare that rights under contract or law have been conveyed to and remain with the small
business concern identified above with regard to the invention, entitled CAMERA CLIP by inventor(s)_
David E. Krekelberg described in

         [X]     the specification filed herewith
         []      application serial no.             , filed __________
         [1      patent no.                       , issued _ _ _ _ _ ----'-------

If the rights held by the above-identified small business cancer!) are not exclusive, each individual, concern
or organization having rights to the invention is listed below· and no rights to the invention are held by any
person, other than the inventor, who could not qualify as a small business concern under 37 CFR 1.9(b)
or by any concern which would not qualify as a small business concern under 37 CFR 1.9(d) or a nonprofit
organization under 37 CFR 1.9(e).

·NOTE:          Separate verified statements are required from each named person, concern or
organization having rights to the invention averring to their status as small entities. (37 CFR 1.27)

NAME
ADDR~ES~S-----------------------------------------------------------

[ ] INDIVIDUAL            [ ] SMALL BUSINESS CONCERN                                     [ ] NONPROFIT ORGANIZATION

NAME_______________________________ - - - - - - - - - - - - - - - - - - - - -
ADDRESS ___________________________________________________________
[ ] INDIVIDUAL            [ ] SMALL BUSINESS CONCERN                                     [ 1 NONPROFIT ORGANIZATION
I acknowledge the duty to file, in this application or patent, notification of any change in status resulting
in loss of entitlement to small entity status prior to paying, or at the time of paying, the earliest of the issue




                                                                                                                 ADJCAM000053




                                                                A2516
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fee or any maintenance fee due after the date on which status as a small entity is no longer appropriate.
(37 CFR 1.28(b))

I hereby declare that all statements made herein of my own knowledge are true and that all statements
made on information and belief are believed to be true; and further that these statements were made with
the knowledge that willful false statements and the like so made are punishable by fine or imprisionment,
or both, under Section 1001 of Title 18 of the United States Code, and that such willful false statements
may jeopardize the validity of the application, any patent issuing thereon, or any patent to which this
verified statement is directed.

NAME OF PERSON SIGNING...!D:::..::a:!..!v.!::id:...;E~·c..!K~r.!:.ek~e::!!lb~e:::!.r,l:1.g_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
TITLE OF PERSON OTHER THAN OWNER ---"C=E=O,___,a=n=d'--'C"""'T'--"0,___ _ _ _ _ _ _ _ _ _ _ __
ADDRESS OF PERSON SIGNING 15604 Dawn Drive. Minnetonka. Minnesota 55345


SIGNATURE_ _ _ _ _ _ _ _ _ _ _~DATE_________________________




                                                                                                                ADJCAM000054




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                          Case: 13-1665   Document: 97-3   Page: 77    Filed: 12/11/2014


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            Case 6:10-cv-00329-LED      Document 629-3 Filed 04/24/12 Page 47 of 60 PageID #: 4979
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                              L"GS     629-3 Filed 04/24/12 Page 48 of 60 PageID #: 4980
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                                                                                                 08/814168
      IN THE UNITED S.fATES PATENT AND TRADEMARK OFFICE
   In re Application of:
                                      67137 U.S. PTO
} ~rekelberg
                                      IIIII/I IIIII IIIII 11111111111111111111111
   Serial No. :      N/A
                                            03f07j97
   Filing Date:          Herewith

   For:     CAMERA CLIP

   Docket No.:       19239/103/101

                                    TRANSMITTAL SHEET
   Assistant Commissioner for Patents
   Washington, D.C. 20231

   Sir:

      CERTIFICATE UNDER 37 c.F.R. 1.10: The undersigned hereby certifies that
    this paper or papers, as described herein, are being deposited in the United
      states Postal service, rtExpress Mail Post Office to Addresseert having an
      Expr&S$ Mail m~ilirtg label number of : EM 609 179 413 us, in an envelope
     address to: Assistant co issioner fo              washin9t~, D.c., 20231 on
                      this 1           of                , 19':::1_(




   We are transmitting herewith the attached Patent Application
   including the following:

   [XXXX]         15       sheet(s) of specification.

   [XXXX]         11       sheet(s) of claim(s).

   [XXXX]            1     sheet(s) of             Abstract~

   [XXXX]            2     sheet(s) of drawings.

   [XXXX]      Unexecuted Declaration and Power of Attorney.

   [XXXX]      An unexecuted verified statement(s) to establish small
               entity status under 37 C.F.R. 1.9 and/or 1.27 is
               enclosed.

               An Assignment of the invention to iREZ Research,
               Corporation is being filed contemporaneous with this
               patent application.

               A certified copy of a              application, serial
               no.                                                   , filed
                                                              , 19 ___ ,
               the right of priority of which is claimed under 35
               u.s.c. 119.

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                                       CLAIMS AS FILED
                              ( 1)              (2 )       SMALL ENTITY                 OTHER
    FOR:                  # FILED         # EXTRA          Rate      Fee         Rate       Fee
    BASIC FEE                                                        $385                   $770
    TOTAL CLAIMS          26-20 =                 6         xll=     $ 66            x22=   $
    INDEPENDENT             2 -3 =                0         x40=     $     0         x80=   $
    CLAIMS
    (    )   MULTIPLE DEPENDENT CLAIM                      +130=     $     0      +260=     $
             PRESENTED
                         TOTAL                             $451.00               $

  *If the difference in Column (1) is less than zero, enter "0" in
  Column 2.
                  Other


                  Checks in the amounts of $______ and$ _ _~ are
                  enclosed.
                  Please charge any deficiencies or credit any
                  overpayment in the enclosed fees to Deposit Account 14-
                  0620.

                                          By:
                                                   Lawrence ~. Nawrocki
                                                   Reg. No. -=2~9~3=3=3______________

    NAWROCKI 1 ROONE_Y.___~- _.~)VERT SON~ P. A.
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   --&UI£oe::::xo-x;:.:B:io-ad~_9;y       East
____]_4]_3 Broadway Street ~&--:-:E--:---- --- -·-- --
-- MinMSJ:QQrl.§ I !:!I nn_§\_~ru:ce 5_5A r:L
   Telephone:      (612) 331-1464
   Facsimile:      (612) 331-2239




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                                                                                                    UNITED STAT~ro..... DEPARTMENT OF COMMERCE
                                                                                                    Patent and Trademark Office
                                                                                                    Address: COMMISSIONER OF PATENTS AND TRADEMARKS
                                                                                                              Washington. D.C. 20231



                                                            FILING/RECEIPT DATE                 FIRST NAMED APPLICANT          ATTORNEY DOCKET NO.fTITLE




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                                                                                                                                  'i' .'
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                                                                                                               DATE MAILED:


                                                    NOTICE TO FILE MISSING PARTS OF APPLICATION
                                                                  Filing Date Granted

  An Application Number and Filing Date have been assigned to this application. However, the items indicated below are missing. The
  required items ~n!!jf~es identified below m~st be timely submitted ALONG WITH THE PAYMENT OF A SURCHARGE for items 1 and
  3·6 only of$ 1 -· ' • 1- ()            for <¥!3a large entity 0 small entity in compliance with 37 CFR 1.27. The surcharge is set forth in
  37 CFR 1.16(e). Applicant is given TWO MONTHS FROM THE DATE OF THIS NOTICE within which to file all required items and pay
  any fees required above to avoid abandonment. Extensions of time may be obtained by filing a petition accompanied by the extension
  fee under the provisions of 37 CFR 1.136(a).

 Vf all requln;d Items on this form are filed within the perfod s_~_t E!llo_ve, th~. total amount owed by applicant as a
I'EJ large enttfy 0 small entity (verified statement filed}, ts $ !..:_____ ~-- ~ -~-1__/· _ .
  ;2{ 1. T~e statutory basic filing fee is:
        ..1SJ missing.
          0 insufficient.         -' J '               f{ , :.()
          Applicant must submit$~~-·~~~~­ to complete the basic filing fee and/or file a verified small entity
          statement claiming such status (37 CFR 1.27).
 ffi 2. Additional claim fees of$ / J --~ ' (: /)                                      ,
                                                            including any multiple dependent claim fees, are required.
          Applicant must either submit the additional claim fees or cancel additional claims for which tees are due.
  0   3. The oath or declaration:
          0 is missing.
          0 does not cover the newly submitted items.
          0 does not identify the application to which it applies.
          0 does not include the city and state or foreign country of applicant's residence.
          An oath or declaration in compliance with 37 CFR 1. 63, including residence information and identifying the application by
          the above Application Number and Filing Date is required.
      4. IJ;le si~n~ture(s) to the oath or declaration is/are:
      / ! j m1ss1ng.
          0 by a person other than inventor or person qualified under 37 CPA 1.42, 1.43, or 1.47.
          A properly signed oath or declaration in compliance with 37 CFR 1.63, identifying the application by the above
          Application Number and Filing Date, is required.
  0 5. The signature of the following joint inventor(s) is missing from the oath or declaration:
         --~~~---------------------------------~--··-"---~-----




         An oath or declaration listing the names of all inventors and signed by the omitted inventor(s), identifying this application by
         the above Application Number and Filing Date, is required.
 0 6. A $                     processing fee is required since your check was returned without payment (37 CFR 1.21 (m)).
 0 7. Your filing receipt was mailed in error because your check was returned without payment.
 0    a. The application does not comply with the Sequence Rules.
       See attached "Notice to Comply with Sequence Rules 31 CFR 1.821-1.825."
 0 9. OTHER:
 Direct the response and any questions about this notice to "Attention: Box Missing Parts."


/, !,_(:), c;r f! Ce ':::':_~                       of this notice MUST be returned with the response.

 Customer ?~rvice Center
 Initial Patent Examination Division (703) 308-1202

 FORM PT0-1533 (REV.7·96)
                                                                                  PART 3- OFFICE COPY                                       "U.S, GPO: 1996-404-496/4051 5


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                                                                           P A T E N T

           IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


In re Application of:

David E. Krekelberg

Serial No.:       08/814,168

Filed:    March 7, 1997

For:     CAMERA CLIP

Docket No.:       19239/103/101



                                    COMMUNICATION

Assistant Commissioner                                      CERTIFICATE UNDER 37 C.F.R. 1.8
                                                  I hereby certify that this correspondence is being
 for Patents                                      deposited with the United States Postal Service on
Washington, D.C. 20231                            the date shown below with sufficient postage as
                                                  first class mail in an enveloped addressed to the
                                                  Assistant Commiss· e for Pa        ts, Washington,
                                                  D.C. 20231 on this       ay               , 199ll




Sir:
       Applicant    filed     the    application           covered       by     the     caption

indicated above on March 7, 1997.                 The signature of the inventor

was,   however,    missing on the DECLARATION.                      In response to the

filing,    the United States Patent and Trademark Office issued a

NOTICE TO FILE MISSING PARTS OF APPLICATION - FILING DATE GRANTED

document (FORM PT0-1533).           That paper documented the fact that the

filing date was granted for the application.                      Further, however, it

documented a      requirement that a properly signed Declaration in

compliance with        37   CFR   §1. 63,       identifying        the     application          by


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Application Number and Filing Date, be submitted.                       That paper also

required that       a    surcharge       in the   amount     of   $130,    for    a     large

entity, or $65, for a small entity, be submitted.                       It documented a

requirement that the statutory basic filing fee be paid, and that

large entity filing fees in the amount of $770 be submitted.                            Also,

it documented that additional claim fees in the amount of $132.00

for a large entity, including any required multiple dependent claim

fees be submitted.

      In     view       of   the     filing       of     small    entity         affidavit

contemporaneous with this document, and the other documents filed

with this package, the surcharge is in the amount of $65.00, the

filing fees are in the amount of $385.00, and the additional claim

fees are in the amount of $66.00, for a total amount of $516.00.

      The period for response was set to expire two months from the

date of that paper.           The unextended deadline for responding is,

therefore, August 25, 1997.

      Please find enclosed the "RESPONSE" copy of the NOTICE TO FILE

MISSING PARTS OF APPLICATION -                FILING DATE GRANTED document,                  a

Declaration      signed      by    the    named    inventor,      one     (1)    VERIFIED

STATEMENT (DECLARATION) CLAIMING SMALL" ENTITY STATUS, and a check

in the amount of $516.00 (the amount of the surcharge for a small

entity, the small entity filing fees, and additional claim fees for

a small business entity).

      In view of the action taken herein,                   Applicant would submit

that the requirements imposed by the NOTICE TO FILE MISSING PARTS

OF APPLICATION- FILING DATE GRANTED paper have been complied with.


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It is,   therefore,   requested that the application be passed for

issuance of the formal FILING RECEIPT document.
                                   Respectfully submitted,

                                   David E. Krekelberg

                                   By his attorney,



Dated:     ~t :lf>, 1117           Lawrence M. Nawr cki, Reg. No. 29,333
                                   NAWROCKI, ROONEY & SIVERTSON, P.A.
                                   Suite 401, Broadway Place East
                                   3433 Broadway Street Northeast
                                   Minneapolis, MN 55413
                                   Telephone:   (612) 331-1464
                                   Facsimile:   (612) 331-2239




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                                                                     ADJCAM000062




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               Case: 13-1665     Document: 97-3       Page: 85   Filed: 12/11/2014


       Case 6:10-cv-00329-LED Document 629-3 Filed 04/24/12 Page 55 of 60 PageID #: 4987




                                         OF ATTORNEY FOR PATENT APPLICATION

           a below named inventor, I hereby declare that:

                                       address and citizenship are as stated
                                                                              /'
                                                                   ;t"~.,.,

       I believe that I am the original, first and sole inventor (if only
       one name is listed below) or an original, first and joint inventor
       (if plural names are listed below) of the subject matter which is
       claimed and for which a patent is sought on the invention entitled
        CAMERA CLIP , the specification of which (check one)

                                  is attached hereto

                               XX was filed on March 7, 1997
                                  as U.S. Application
                                  Serial No. 08/814,168

                                  and was amended on (if
                                  applicable)

       I hereby state that I have reviewed,..ati"ct understand the contents of
       the above-identified specificati6n, including the claims, as
} -~
       amended by any amendment referred to above.
                                                  /


       I acknowledge the duty to disclose      ~ormation
                                                    which is material to
       the examination of this application in accordance with Title 37,
       Code of Federal Regulations, §1.56(a).

       I hereby claim foreign priority benefit(s) under Title 35, United
       States Code §119 of any foreign application( s) for patent or
       inventor's certificate listed below and have also identified below
       any foreign application(s) for patent or inventor's certificate
       having a filing date before that of the a:r,plication on which
       priority is claimed:
                                                                 Priority
       Prior Foreign Application(s)                              Claimed


         (Number)          (Country)      (Day/Month/Year Filed)                   YES         NO

         (Number)          (Country)      (Day/Month/Year Filed)                   YES         NO

         (Number)          (Country)      (Day/Month/Year Filed)                   YES         NO

       I hereby claim the benefit under Title 35, United States Code, §120
       of any United States application(s) listed below and, insofar as
       the subject matter of each of the claims of this application is not
       disclosed in the prior United States application in the manner
       provided by the first paragraph of Title 35, United States Code,
       §112, I acknowledge the duty to disclose material information as
       defined in Title 37, Code of Federal Regulations, §1.56(a) which




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                                           A2526
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occurred between the filing date of the prior application and the
national or PCT international filing date of this application:
(Serial No. )             (Filing Date)     (Status) (patented, pending, abandoned)


(Serial No.)              (Filing Date)      (Status-patented, pending, abandoned)

POWER OF  ATTORNEY:   As a named inventor, I hereby appoint the
following attorney(s) and/or agent(s) to prosecute this application
and transact all business in the Patent and Trademark Office
connected therewith.

                John L. Rooney, Reg. No. 28,898;
                Lawrence M. Nawrocki, Reg. No. 29,333;
                Wayne A. Sivertson, Reg. No. 25,645;
                David M. Crompton, Reg. No. 36,772;
                Glenn M. Seager, Reg. No. 36,926;
                Steven E. Dicke, Reg. No. 38,431;
                Brian N. Tufte, Reg. No. 38,638;
                Craig F. Taylor, Reg. No. 40,199;
                Donald A. Jacobson, Reg. No. 22,308; and
                Lew Schwartz, Reg. No. 22,067

Send correspondence to:

               Lawrence M. Nawrocki
               NAWROCKI, ROONEY & SIVERTSON, P.A.
               Suite 401, Broadway Place East
               3433 Broadway Street Northeast
               Minneapolis, Minnesota 55413
               (612) 331-1464

I hereby declare that all statements made herein of my own
knowledge are true and that all statements made on information and
belief are believed to be true; and further that these statements
were made with the knowledge that willful false statements and the
like so made are punishable by fine or imprisonment, or both, under
Section 1001 of Title 18 of the United States Code and that such
willful false statements may jeopardize the validity of the
application or any patent issued thereon, I further declare that I
understand the content of this declaration.

Full name of sole or fir                                 E. Krekelber
Inventor's Signature                                       Date JC: t-1 7
Residence 15604 Dawn                                  innesota 55345
                                                        Citizenship U.S.A.
Post Office Address        15604 Dawn Drive
                           Minnetonka, Minnesota             55345




                                                                             ADJCAM000064




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 1.56 Duty to disclose infor110tion 11aterial to patentability.
         (a) A patent by its very nature is affected with a public interest. The public interest is best served,
and the most effective patent examination occurs when, at the time an application is being examined, the Office
is aware of and evaluates the teachings of all information material to patentability.            Each individual
associated with the filing and prosecution of a patent application has a duty of candor and good faith in
dealing with the Office, which includes a duty to disclose to the Office all information known to that
individual to be material to patentability as defined in this section. The duty to disclose information exists
with respect to each pending clii!im until the claim is cancelled or withdrawn from consideration, or the
application becomes abandoned. Information material to the patentability of a claim th~:~t is cancelled or
withdrawn from consideration need not be submitted if the information is not material to the patentability of
any claim remaining under consideration in the application. There is no duty to submit information which is
not material to the patentability of any existing claim. The duty to disclose all information known to be
material to patentability is deemed to be satisfied if all inform~:~tion known to be material to patentability
of any claim issued in a patent was cited by the Office or submitted to the Office in the manner prescribed by
§§1.97(b)-(d) and 1.98. However, no patent will be granted on an application in connection with which fraud
on the Office was practiced or attempted or the duty of disclosure was violated through bad faith or intentional
misconduct. The Office encourages applicants to carefully examine:
         (1) prior art cited in search reports of a foreign p~:~tent office in a counterpart application, and
         (2) the closest information over which individuals associated with the filing or prosecution of a patent
application believe any pending claim patentably defines, to make sure that any materi~:~l information cont~:~ined
therein is disclosed to the Office.
          (b) Under this section, information is material to patentability when it is not cumulative to
 information already of record or being made of record in the application, and
        (1) It establishes, by itself or in combination with other information, a prima facie case of
unpatentability of a claim; or

         (2) It refutes, or is inconsistent with, a position the applicant takes in:
         (i) Opposing an argument of unpatentability relied on by the Office, or
         (ii) Asserting an argument of patentability.
A prima facie case of unpatentability is established when the information compels a conclusion that a claim is
unpatentable under the preponderance of evidence, burden-of-proof standard, giving each term in the claim its
broadest reasonable construction consistent with the specification, and before any consideration is given to
evidence which may be submitted in an attempt to establish a contrary conclusion of patentability.

         (c) Individuals associated with the filing or prosecution of a patent application within the meaning
of this section are:
         (1) Each inventor named in the application:
         (2) Each attorney or agent who prepares or prosecutes the application; and
         (3) Every other person who is substantively involved"· in the preparation or prosecution of the
application and who is associated with the inventor, with the assignee or with anyone to whom there is an
obligation to assign the application.
         (d) Individuals other than the attorney, agent or inventor may comply with this section by disclosing
information to the attorney, agent, or inventor.




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                 VERIFIED STATEMENT (DECLARATION) CLAIMING SMALL ENTITY
                 STATUS (37 CFR 1.9(ft AND 1.27(c)) --SMALL BUSINESS CONCERN

I hereby declare that I am
        [1      the owner of the small business concern identified below:
        [X]     an official of the small business concern empowered to act
                on behalf of the concern identified below:


        NAME OF CONCERN iREZ Research. Corporation
        ADDRESS OF CONCERN 15604 Dawn Drive, Minnetonka, Minnesota 55345


I hereby declare that the above-identified small business concern qualifies as a small business concern
as defined in 13 CFR 121 .3-18, and reproduced in 37 CFR 1.9(d), for purposes of paying reduced fees
under section 41 (a) and (b) of Title 35, United States Code, in that the number of employees of the
concern, including those of its affiliates, does not exceed 500 persons. For purposes of this statement,
(1) the number of employees of the business concern is the average over the previous fiscal year of the
concern of the persons employed on a full-time, part-time or temporary basis during each of the pay
periods of the fiscal year, and (2) concerns are affiliates of each other when either, directly or indirectly,
one concern controls or has power to control the other, or a third party or parties controls or has the
power to control both.

I hereby declare that rights under contract or law have been conveyed to and remain with the small
business concern identified above with regard to the invention, entitled CAMERA CLIP by inventor(s)_
David E. Krekelberg described in

        (X]      the specification filed herewith
        (]       application serial no.             , filed _ _ _ _ _ _ _ __
        []       patent no.                       , issued _ _ _ _ _:.._:..___

If the rights held by the above-identified small business conce(./1 are not exclusive, each individual, concern
or organization having rights to the invention is listed below· and no rights to the invention are held by any
person, other than the inventor, who could not qualify as a small business concern under 37 CFR 1.9(b)
or by any concern which would not qualify as a small business concern under 37 CFR 1.9(d) or a nonprofit
organization under 37 CFR 1.9(e).

*NOTE:          Separate verified statements are required from each named person, concern or
organization having rights to the invention averring to their status as small entities. (37 CFR 1.27)


NAME~---------------------------------------------------------
ADDRESS _________________________________________________________
[ ] INDIVIDUAL            [] SMALL BUSINESS CONCERN                   [ ] NONPROFIT ORGANIZATION

NAME.___________________________________________________________
ADDRESS _________________________________________________________
[ ] INDIVIDUAL            [ ] SMALL BUSINESS CONCERN                  [ ] NONPROFIT ORGANIZATION

I acknowledge the duty to file, in this application or patent, notification of any change in status resulting
in loss of entitlement to small entity status prior to paying, or at the time of paying, the earliest of the issue




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fee or any maintenance fee due after the date on which status as a small entity is no longer appropriate.
(37 CFR 1.28(b))

I hereby declare that all statements made herein of my own knowledge are true and that all statements
made on information and belief are believed to be true; and further that these statements were made with
the knowledge that willful false statements and the like so made are punishable by fine or imprisionment,
or both, under Section 1001 of Title 18 of the United States Code, and that such willful false statements
may jeopardize the validity of the application, any patent issuing thereon, or any patent to which this
verified statement is directed.

NAME OF PERSON SIGNING_.!_Mll.!i~chl.!!a:!!:e:!...l=::D_,_.!...!H~ar~ri~s_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

TITLE OF PERSON OTHER THAN OWNER ...!P...!.re::::::s~id::!!:e~n~t- - - - - - - - - - - - - - - -
                                                         Minnetonka Minnesota 55345




                                                                                                   ADJCAM000067




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                                     Case: 13-1665                                       Document: 97-3       Page: 90            Filed: 12/11/2014


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                                                                                                              UNITED STAl. _,.. DEPARTMENT OF COMMERCE
                                                                                                              Patent and Trademark Office
                                                                                                              Address: COMMISSIONER OF PATENTS AND TRACEMARKS
                                                                                                                        Washington. D.C. 20231



                                                                                                          FIRST NAMED APPLICANT            ATIOANEY DOCKET NO./TITLE




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                                                                                                                         DATE MAILED:


                                                                  NOTICE TO FILE MISSING PARTS OF APPLICATION
                                                                                Filing Date Granted

    An Application Number and Filing Date have been assigned to this application. However, the items indicated below are missing. The
    required items a,ng/E!es ideQtified below m4~t be timely submitted ALONG WITH THE PAYMENT OF A SURCHARGE for items 1 and
    3·6 only of$ I ·J (j , () lJ           for~ large entity n small entity in compliance with 37 CFR 1.27. The surcharge is set forth in
    37 CFR 1.16(e). Applicant is given TWO MONTHS FROM THE DATE OF THIS NOTICE within which to file all required items and pay
    any fees required above to avoid abandonment. Extensions of time may be obtained by filing a petition accompanied by the extension
    fee under the provisions of 37 CFR 1.136(a).

1
    )1 all required Items on this form are filed within the period s_e_t l!!'ove, th~ total amount owed by applicant as a
1-GJ large entity 0 small entity (verified statement filed), is $ ,_,_..:__::_··._.__:_·_.
    jl[ 1. The statutory basic filing fee is:
           .b missing.
             0   insufficient.
             Applicant must submit $
                                     1 J ,   -'1  · "/"
                                           {1 I) C/
                                                                      1
                                                             to complete the basic filing fee and/or file a verified small entity
             stEitememt:laiming such status· {37 CFR 1.27) .
    .BJ 2. Additional claim fees of $ / 3 ,J.,' · () (         , including any multiple dependent claim fees, are required .
          . · Applicant must either submit the additional claim fees or cancel additional claims for which fees are due.
    0   3. The oath or declaration:
            0 is missing.
            0 does not cover the newly submitted items.
            0 does not identify the application to which it applies.
            0 does not include the city and state or foreign country of applicant's residence.
            An oath or declaration in compliance with 37 CFR 1. 63, including residence information and identifying the application by
            the above Application Number and Filing Date is required.
        4. tl:)e si~n~ture(s) to the oath or declaration is/are:
        ..-/EJ miSSing.                                                                                        "
             0   by a person other than inventor or person qualified under 37 CFR 1.42, 1.43, or 1.47.
             A properly signed oath or declaration in compliance with 37 CFR 1. 63, identifying the application by the above
             Application Number and Filing Date, is required.
    0   5. The signature of the following joint inventor(s) is missing from the oath or declaration:

             An oath or declaration listing the names of all inventors and signed by the omitted inventor(s), identifying this application by
             the above Application Number and Filing Date, is required.
    0   6. A$                                         processing fee is required since your check was returned without payment (37 CF~m)).
    0   7. Your filing receipt was mailed in error because your check was returned without payment.                                                      gg;g
    0   e. The application does not comply with the Sequence Rules.                                                                                ~~~!2
          See attached "Notice to Comply with Sequence Rules 37 CFR 1.821-1.825."                                                                  ~
    0   9. OTHER:                                                                                                                                  ~
    Direct the response and any questions about this notice to "Attention: Box Missing Parts."                                                     ~
f. J;·.~l,         0 lU!k'.:                      copy. of this notice MUST be returned with the response. :

    Customer e, ice Center                                                                                                                         ~
    Initial Pate~t'Examination Division (703) 308-1202                                                                                             ;::
                                                                                                                                                   g:::-l"lln
    FORM PT0-1533 (REV. 7-96)
                                                                               PART 2- COPY TO BE RFTURNUJ W!TH Hi:'S!'ONSE
                                                                                                                                                  .............
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                                                                                                                                                          ADJCAM000068




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                                                                              :;;"I:~c TUk
        THE UNITED STATES PATENT AND TRADEMARK OFFICE                                        41
         Application of:

David E. Krekelberg

Serial No.:     08/814,168

Filing Date:     March 7, 1997

For:     CAMERA CLIP

Docket No.:     19239/103/101

                              TRANSMITTAL SHEET
Assistant Commissioner for Patents
Washington, D.C. 20231

Sir:




We are transmitting herewith the attached:

             Amendment

                  No additional fee required
                  The fee has been calculated as shown:

                                CLAIMS AS AMENDED
                 ( 3)            ( 4)       ( 5)     SMALL ENTITY          OTHER
              REMAINING       HIGHEST   EXTRA        RATE      ADD'L   RATE   ADD'L
              CLAIMS          PAID                             FEE            FEE
TOTAL             ~
                                  =                     xll=   $       x22=   $
CLAIMS
INDEPEN~          -               =                     x40=   $       X80=   $
DENT
CLAIMS
(      ) FIRST MULTIPLE DEPENDENT CLAIM             +13Qo=     $       +260   $
                                                                       =
                      TOTAL                         $                  $


                                        1

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[XXXX]     Checks in the amounts of $516.00 and $40.00 are
           enclosed.
           Small entity status of this application under 37 C.F.R.
           1.9 and 1.27 has been established by verified statement
           previously submitted.

[XXXX)     Other: Response Copy of Notice to File Missing Parts
           of Application-Filing Date Granted; Communication;
           Combined Declaration/Power of Attorney for Patent
           Application; Verified Statement (Declaration) Claiming
           Small Entity Status; Recordation Form Cover Sheet-
           Patents Only; Assignment.

[XXXX]     Please charge any deficiencies or credit any over
           payment in the enclosed fees to Deposit Account 14-
           0620.


                            By:




NAWROCKI, ROONEY & SIVERTSON, P.A.
Suite 401, Broadway Place East
3433 Broadway Street N.E.
Minneapolis, Minnesota 55413
Telephone:  (612) 331-1464
Facsimile:  (612) 331-2239




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                                                                     ADJCAM000070




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            Case 6:10-cv-00329-LED Document 629-4 Filed 04/24/12 Page 3 of 64 PageID #: 4995




                                                                      UNITED STATE..:; DEPARTMENT OF COMMERCE
                                                                      Patent and Trademark Office
                                                                      Address:        COMMISSIONER OF PATENTS AND TRADEMARKS
                                                                                      Washington, D.C. 20231


                                                                                                             ATTORNEY DOCKET NO.
                                                                                                       D             19239/103/10


                                                   F'tvl::::: :1. / 0 ::;:: (I(.                             EXAMINER
               LAWRENCE M NAWROCKI                                                                   F'HPlhl ,, L.
               NAWROCKI ROONEY & SIVERTSON
               BROADWAY PLACE EAST SUITE 401                                                     ART UNIT             PAPER NUMBER            I
               3433 BROADWAY STREET NORTHEAST
               MINNEAPOLIS MN 55413                                                                                                     -.f-1 ell
                                                                                              DATE MAILED:           0 :;;:· / 0 6/ '):::::




       Please find below and/or attached an Office communication concerning this application or
       proceeding.

                                                                                           Commissioner of Patents and Trademarks




PT0·80C (Rev. 2/05)
                                                                                                                            1· File Copy
"U.S. GPO: 1996-404-496/40510


                                                                                                                     ADJCAM000071




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                                                                                  Application No.           Applicant(s)
                                                                                       08/814,168                             David E. Krekelberg
                       Office Action Summary                                      Examiner                                 Group Art Unit
                                                                                             Long Dinh Phan                      3632


       lXI Responsive to communication(s) filed on .:.:Mc.:..:ac:..:.r...:..l:...!,---'-'19::..:9::....:..._7_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      LJ This action is FINAL.
      rl Since this application is in condition for allowance except for formal matters, prosecution as to the merits is closed
            in accordance with the practice under Ex parte Quayle, 1935 C. D. 11; 453 O.G. 213.
       A shortened statutory period for response to this action is set to expire     3      month(s), or thirty days, whichever
       is longer, from the mailing date of this communication. Failure to respond within the period for response will cause the
       application to become abandoned. (35 U.S.C. § 133). Extensions of time may be obtained under the provisions of
       37 CFR 1.136(a).

       Disposition of Claims
            lXI Claim (s) ...:...1-=-2:..::6'-------------·- __.._ ..___ ......______ ·--·          ____ .. ______ is/are pending in the application.

                 Of the above, claim(s) - - - - - - - - - - - - - - - - - - - - i s / a r e withdrawn from consideration.
           ::J Claim(s)
                              ---------------------------- is/are allowed.
           lXI Claim(s) _ 1 _ - 2 - - ' 6 ' - - - - - - - - - - - - - - - - - - - - - - - - - - - - - is/are rejected.
           [] Claim(s)                                                                                                  is/are objected to.

           D Claims _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ are subject to restriction or election requirement.
      Application Papers
           iX1 See the attached Notice of Draftsperson's Patent Drawing Review, PT0-948.
           [[ The drawing(s) filed on                                  is/are objected to by the Examiner.
           U The proposed drawing correction, filed on - - - - - - - - is                             Olpproved        lJ:Jisapproved.
           0 The specification is objected to by the Examiner.
           ,. ] The oath or declaration is objected to by the Examiner.

      Priority under 35 U.S.C. § 119
           D Acknowledgement is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d).
             0 All LJ Some'"· LJ None of the CERTIFIED copies of the priority documents have been
               D received.
               D received in Application No. (Series Code/Serial Number) - - - - - - - -
                     0 received in this national stage application from the International Bureau (PCT Rule 17.2(a)).
                *CertKied copies not received: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           U Acknowledgement is made of a claim for domestic priority under 35 U.S.C. § 119(e).

      Attachment(s)
           lXI Notice of References Cited, PT0-892
           [1 Information Disclosure Statement(s), PT0-1449, Paper No(s). ______ __
           r·l Interview Summary, PT0-413
           !XJ Notice of Draftsperson's Patent Drawing Review, PT0-948
           ....J Notice of Informal Patent Application, PT0-152




                                                   ---SEE OFFICE ACTION ON THE FOLLOWING PAGES---
· U. S. Patent and Trademluk Office
 PT0-326 (Rev. 9-95)                                                 Office Action Summary                                         Part of Paper No.      4


                                                                                                                                             ADJCAM000072




                                                                                   A2535
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j
    Serial Number: 08/814,168                                                                     Page 2

    Art Unit: 3632



                                          DETAILED ACTION

           This is the first Office Action for serial number 08/814,168, Camera Clip, filed on March

    07, 1997. This application contains 1-26 claims.

                                             Claim Objections

           Claims 2-13 and 15-26 are objected to because of the following informalities: on line 1 of

    claims 2-13 and 15-26, before "apparatus", "An" should be replaced with --The--. Appropriate

    correction is required.

                                     Claim Rejections- 35 USC§ 112

           Claim 1-26 are rejected under 35 U.S.C. 112, second paragraph, as being indefinite for

    failing to particularly point out and distinctly claim the subject matter which applicant regards as

    the invention.

           The preamble of claim 1 is drawn to a subcombination of an apparatus comprising a hinge

    member and a support frame per se whereas line 3 appears to positi':ely recite "rotatable attached

    to the camera" this implying a combination claim. On lipes 12 and 13, "being substantially parallel

    to a first surface" is a combination claim. On lines 20-28, "the object having a second surface ... ,

    the camera being maintained ... " is also claiming combination. It is not clear whether applicant

    intends to claim a subcombination or combination.

           In claim 2, lines 3-6, "said second portion supporting the camera" and "said second

    portion are engaging the first surface" are claiming combination.

           In claim 3, line 2, "to releasably hold and protect the camera" is a combination claim.




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                                                   A2536
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Art Unit: 3632



       On lines 2, 3, 5, 8, and 9 of claim 4, "comprises the camera" and" to protect a lens of the

camera" are claiming combination.

       On lines 2, 3, 6, and 7 of claim 5, "to protect the lens of the camera" and "the camera" are

a combination claim.

       In claims 6 and 7, lines 2~7, "support the camera" and "engage the first surface" are

claiming combination.

       On lines 2, 5, 7, and 8 of claim 8, "support camera", "engage the first and the second

surfaces", and "a center gravity of the camera" are not a sucombination claim.

       On lines 1 and 3 of claims 9 and 10, "the object" and "the first surface" are not claiming

subcombination.

       In claim 11, lines 1, 3, and 4, "the object", "the second surface", and "the first surface" are

a combination claim.

       In claim 12, line 4, "rotatably attaching the camera" is claiming combination.

       On lines 1 and 6 of claim 13, "the camera" is a combination claim.

       Claims 14-26 are having the same 112 problems of combination and subcombination as

indicated in the above claims 1-14.

       Applicant is advised to make all the necessary corrections for all the above claims 1~26.

                                      Allowable Subject Matter

       Claims 1~26 would be allowable if rewritten or amended to overcome the rcjection(s)

under 35 U.S.C. 112 set forth in this Office action.




                                                                                           ADJCAM000074




                                               A2537
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Art Unit: 3632



                                           Conclusion

       The prior art made of record and not relied upon is considered pertinent to applicant's

disclosure. U.S. Patent 1,208,344 to McAll discloses a camera holding device.

       Any inquiry concerning this communication or earlier communications from the examiner

should be directed to Long Dinh Phan whose telephone number is (703) 308-3409. The examiner

can normally be reached on Tuesday through Friday from 8:00A.M. to 6:00P.M. E.S.T.

       Any inquiry of a general nature or relating to the status of this application or proceeding

should be directed to the Group receptionist whose telephone number is (703) 308-2168. The fax

number for this Group is (703) 305-3597 or 3598.



Long Dinh Phan     Li> 1

January 30, 1998




                                                                                         ADJCAM000075




                                              A2538
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FORM PTO 948 (REV. Ol-97)      U.S. DEPARTMENT OF COMMERCE-Patent and Trademark Office                                            Application No.   81 UJ128
                                                         NOTICE OF DRAFTPERSON'S
                                                          PATENT DRAWING REVIEW

The drawing filied (insert date)   r..Ej'JIQ]     arc:
A.                     not objected to by the Draftperson under 37 CFR 1.84 or 1.152.
B.   :;:><:::        objected to by tl~e Draftperson under 37 CFR 1.84 or 1.152 as indicated hclow. The Examiner will r~quirc submission of new, corrected
drawings wh:ilecessary. Corrected drawings must be submined according to the instructions on l~e hack of this notice.                                  __...__ ___

 I. DRAWINGS. 37 CFR 1.84(a): Acceptable categories of dwwing:.:                   7. SECTIONAL VIEWS. 37 CFR 1.84(h)(3)
    Black ink. Color.                                                                   _ _ _ Hatching not indicated for sectional portions of an ohjcct.
     _ _ _ Color drawing are not acceptable until petition is granted.                           Fig.(s)___ _
           Hg.(s) _ _ _ __                                                              ~---Stctiunal dL''tgnattnn should he noted with Arabtc <Jr
     _ _ _ Pencil and non black ink is not permiued. Fig(s)______ _                              Roman numbers. f'ig.(:.). ______
2. PHOTOGRAPHS. 37 CFR 1.84(b)                                                     R. ARRANGEMENT OP VIEWS. 37 CFR l.K4(i)
   _ _ _ Photographs are not acceptable until petition is granted,
                                                                                      ...... _____ Words do nut app,_·ar on a lmri!(l!ltal, ldt-to-rit•ht Ia:· hi on whe•:
     _ _ _ 3 full-tone sets are required. Fig(s)·~---­                                             page is either upri~ht or turned, so that the top hecotncs the rif•i1!
     - - - Photographs not properly mounted (must brystol hoard ur                               side, CXi'cptlor gr,tphs. Fig.(s) _ ~---
              photographic double-weight paper). Fig(s)·--~-~-                          ------ Views not on the same plane nn drawing sheet. Fig.(:._)
     - - - Poor quailty (half-tone). Fig(s),______ _ __                            9. SCALE. 37 CPR I R4(k)
3. TYPE OF PAPER. 37 CFR 1.84(e)                                                        _ _ _ Stale not large enough to show mechansim with crowrltng
   _ _ _ Paper not flexible, strong, white and durable.                                       when drawing is reduced in size to two-thirds in reproduction.
         Fig.(s)._ _ _ __                                                                        Fig.(s) _____~--
   _ _ _ Erasures, alterations, overwritings, interlineations,                     IOXACTER OF LINES, NUMBERS, & LETIERS. 37 ( 'FR I X4(1)
         folds, copy machine marks not acceptable. (too thin)
                                                                                              ___ Lines, numh<:rs & lctlers not uniformly thick and well detlncd,
   _ _ _ Mylar, vellum paper is not acceptable (too thin).
                                                                                                  clean, dunfJic and ~ck (poor line quality).
         Fig(s)._ _ _ __
                                                                                                 Fig.(s)    J -      lO.
4. SIZE OF PAPER. 37 CFR 1.84(F): Acceptable sizes:                                II. SHADING. 37 CFR 1.84(m)
     _ _ _ 21.0 em by 29.7 em (DIN size A4)                                           _ _ _ Solid black areas pale. Pig.(s) _ _ _ _ __
     _ _ _ 21.6 em by 27.9 em (8 1/2 x II inches)
                                                                                        ---Solid black >hading not permitted. Fig.(s) _ _~~-~
     _ _ _ All drawings sheets not the same size.
                                                                                        ---Shade lines, pale, rough :md blurred. Fig.(s)
         Sheet(s)·.,...-----                                                       12.NUMllERS, LETIERS, & REFERENCE CHARACTERS.
5. MARGINS. 37 CFR 18.4(g): Acceptable margins:                                       37 CFR 1.48(p)
             Top 2.5 em Left 2.5 em Right 1.5 em Bottom 1.0 em                          _ _ _ Numbers and reference characters not plain and legihle.
             SIZE: A4 Size                                                                    Fig.(s) _ _ _ _~-
             Top 2.5 em Left 2.5 em Right 1.5 em Bottom 1.0 em                          - - - Figure legend~ are poor. Pig.(s)_ _ _ _ _~
           SIZE: 81/2 x 11                     , -~
                                                                                        _ _ _ Numbers and reference characters not oriented in the same
     ~Margins nxable. Fig(s)                   _ ;.2_
                                                                                                 direction as the view. 37 CFR 1.84(p)(3) Fig.(sL,._\_____ _
     -..L---rop (T)        Left (L)
                                                                                        _ _ _ Engligh alphahct not used. 37 CFR 1.84(p)(3) Fig.(sL__~
     _ _ Right (R) _ _ Bottom (B)
                                                                                        ~Numbers, letters and reference characters must be at least/.                   /~.
6. VIEWS. CFR l.84(h)
   REMINDER: Specification may require revision to                                               .32 em ( 118 inch) in height. 37 CFR 1.84(p)(3) Fig.(sL_____I____.=_(,£!'__
   correspond to drawing changes.                                                  13. LEAD LINES. 37 CFR 1.84(q)
     _ _ _ Views connected by projection lines or lead lines.                           _ _ _ Lead lines cross each other. Pig.(s)'---------
           Fig.(s,\J--_ _ __                                                         ----· Lead lines missing. Fig.(s)·~-----
     Partial views. 37 CFR 1.84(h)(2)                                              14. NUMBERING OJ· SHEETS OF DRAWINGS. 37 CFR 14X(t)
     _ _ _ Brackets needed to show figure as one entity.                                _ _ _ Sheets not numbered consecutively, and in Ahabic numerals
               Fig.(s)._ _ _ __                                                                  h,~ginning with number I.     Fig.(s)_ _ __
     _ _ _ Views not labeled separately or properly.                               IS. NUMBERING OF VIEWS. 37 CFR I.R4(u)
           Fig.(s)._ _ _ __                                                             _ ___''Views not numbered consecutively, and in Ahrahic numerals.
     _ _ _ Enlarged view not labeled separately or properly.                                     beginning with number I. Fig.(s)_ _·····-·--
             Fig.(s),_ _ _~-                                                       16. CORRECTIONS. 37 CFR 1.84(w)
                                                                                        _ _ _ Corrections not made from PT0-948 dated~---~
                                                                                   17.DESIGN DRAWINGS. 37 CFR 1.152
                                                                                        ________ Surface shading shown not appropriate. Fig.(s)~--~~--­
                                                                                        - - - Solid black shading not used for color contrast.
                                                                                              Fig.(s)_ _ _ _~
                                                                                                                   -----------······------------
COMMENTS




L------------.-.....,..,------------__,.~-----·~----------------------                                                                                                       ----- - -
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                                           Case: 13-1665               Document: 97-3                      Page: 99           Filed: 12/11/2014


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                                                                                     Application No.
                                                                                           08/814,168                             David E. Krekelberg
                              Notice of References Cited                             Examiner                                 Group Art Uni~/    I
                                                                                                 Long Dinh Phan                     3632/               Page 1 of 1
                                                                                                                              I           '
                                                                           U.S. PATENT DOCUMENTS

                                DOCUMENT NO.       l(__ DATE                                              NAME                                  CLASS           :SUBCLASS

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f'T0-892 (Rev. 9-95)                                                    Notice of References Cited                                     Part of Paper No.              4


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                     Case: 13-1665        Document: 97-3        Page: 100         Filed: 12/11/2014


            Case 6:10-cv-00329-LED Document 629-4 Filed 04/24/12 Page 10 of 64 PageID #: 5002




                       IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


            In re Application of:

            David E. Krekelberg          ~

            Serial No.      08/814,168         .-'
                                                     ·"
                                                                               Examiner:         Phan, L.

            Filed          March 71 1997                                    Group Art Unit:             3632

            For            CAMERA CLIP         ,/
            Docket No.:     19239/103/101



            Assistant Commissioner                                     CERTIFICATE UNDER 37 C.F.R. 1.8
                                                             I hereby certify that this correspondence is being
             for Patents                                     deposited with the United States Postal Service on
            Washington, D.C.  20231                          the date shown bel ow with sufficient postage as
                                                             first class mail in an enveloped addressed to the
                                                             Assistant Commissio      for Patents, Washington,
                                                             D.C. 20231 on this        ay of           , 19JU{




            Sir:
                                      PETITION FOR EXTENSION OF TIME
                    It is requested that the time for filing the enclosed

            AMENDMENT, now set to expire on May 7, 1998, be extended for one

            month to now expire on June 7,                 1998.     A check in the amoune ·:;of:·
                                                                                                         '(       '

            $55.00 is enclosed.

                                             Respectfully submitted,
                                                                                                                      . ".!
                                             David E. Krekelberg

                                             By his attorney                                              rv
                                                                                                              N



            Date


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                              Case: 13-1665             Document: 97-3         Page: 101       Filed: 12/11/2014


            Case 6:10-cv-00329-LED Document 629-4 Filed 04/24/12 Page 11 of 64 PageID #: 5003




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( l\\\\ '   1 \'!~~ (,) \
                  IN.~HE UNITED STATES PATENT AND TRADEMARK OFFICE
 -~,...1'           ~r::s
     cAr.         , ~
       :'1 J r~              Application of:

            David E. Krekelberg

            Serial No.:                08/814,168                                          Examiner:        Phan, L.

            Filing Date:                   March 7, 1997                                Group Art Unit:                  3632

            For:             CAMERA CLIP

            Docket No.:                19239/103/101

                                                        TRANSMITTAL SHEET
            Assistant Commissioner for Patents
            Washington, D.C. 20231

            Sir:

               CERTIFICATE UNDER 37 C.F.R. 1.8: I hereby certify that this correspondence
                                    and the documents described herein
                are being deposited with the Urtited States Postal Service on the date shown
              below with sufficient postage as firs~~cl:s mail in an envelope address~~
             the: Assistant Commissioner for ~ents         shingtX~/D.c. 20231, on this
                                       day/of/"1 tl   'o     , 19~/~Y~
                                 By                              J/7 /L             -                                          ··--I
                                                        ( prM:yn Y. Erickson
                                                                /
            We are transmitting herewith the attached:                                                          '''t"'




            [XXX]                Amendment

                                 [ ] No additional fee required      .                                                    '   ;
                                 [XX] The fee has been calculated as shown:                                               : •• 1




                                                          CLAIMS AS AMENDED
                                           ( 3)            (4)          ( 5)     SMALL ENTITY            OTHER
                                  REMAINING             HIGHEST    EXTRA        RATE       ADD' L    RATE      ADD' L
                                  CLAIMS                PAID                               FEE                 FEE
            TOTAL                     21 -                2&:           0         xl1=     $         x22=      $
            CLAIMS
            INDEPEN-                   5    -              :r-          2         x41=     $82       X82=      $
            DENT
            CLAIMS
                   ) FIRST MULTIPLE DEPENDENT CLAIM                             +135=      $         +270      $

                                                TOTAL                           $82.00               $



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Case 6:10-cv-00329-LED Document 629-4 Filed 04/24/12 Page 12 of 64 PageID #: 5004




[XXXX]     Checks in the amounts of $55.00 and $82.00 are
           enclosed.

[XXXX]     Small entity status of this application under 37 C.F.R.
           1.9 and 1.27 has been established by verified statement
           previously submitted.

[XXXX]     Other:   Petition for Extension of Time.

[XXXX]     Please charge any deficiencies or credit any over
           payment in the enclosed fees to Deposit Account 14-
           0620.


                             By:
                                   Lawrence M. N~wrocki
                                   Reg. No. -~2...,9~3"'---'='--3""-3_ _ _ _ _ _ __


NAWROCKI, ROONEY & SIVERTSON, P.A.
Suite 401, Broadway Place East
3433 Broadway Street N.E.
Minneapolis, Minnesota 55413
Telephone:   (612) 331-1464
Facsimile:   (612) 331-2239




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                                                                                                  P A T E N T

                         IN THE                                      PATENT AND TRADEMARK OFFICE

            In reApplication of:
                                            -~---
           David E. Krekelberg                        __.....-"'"~


           Serial No.:            08/814,168                              Examiner:    Phan, L.

           Filed                  March 7, 1997                           Group Art Unit:     3632

           For                    CAMERA CLIP                        /'
           Docket No.:            19239/103/101

           Assistant Commissioner for Patents
           Washington, D.C. 20231

            CERTIFICATE UNDER 37 C. F. R. 1. 8:           I hereby cer.'t ify that this correspondence is
            being deposited with the United States Postal Service on the date shown below
            with sufficient postage as first class mail in an envelope addressed to the:

                                                     J
            Assistant Commissio~v~o. r Patents, Washington, D. c., 20231 on this
                               -~f,..l-.,.__;;_"'\.._ day       une           19---:::....:98"----




           Sir:


                                                           AMENDMENT

                  This Amendment is being filed in response to the                                   presently~
                                                                                                            [   ~ _)     " ' ')




           outstanding Official Action issued by the Examiner regarding?'th~.:

           above-captioned matter.                  Please amend the case as follows.                                             . I




                                                                                                                       ,.,
                                                                                                                       : .)
           In the claims

                  Please amend Claim 1 as follows:



                  1.       (Amended)     [An apparatus] Apparatus for supporting a
06117/lM-. G00001J MIU1U
                          ~m~a.        having a lens, on any generally horizontal,
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                          substantially planar surface and on an object having a

                          first surface and a second surface and an edge




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                                                                                                       ADJCAM000081




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             intersecting the first surface and the second surface,

             comprising:

             a.    a hinge member adapted to be rotatably attached to

                   the camera, said camera, when the hinge member is

                   so attached,     rotating~    [over] about a first axis

                   of   rotation~   relative to said hinge memberi and

             b.    a support frame     [hingedly] rotatably attached to

                   said hinge member [to engagingly support said

                   hinge member on the object] and configured to

                   support said hinge member on the surface and the

                   object, said hinge member rotating [over] about a

                   second axis of rotation relative to said support

{jl                frame,   said first axis of rotation being generally

                   perpendicular to said second axis of rotation,

                   said second axis of rotation being substantially

                   parallel to [a] the first surface when said hinge

                   member is [engagingly] supported on the object,

                   said support frame     [supporting       ~aid   camera in]

                   having a first     [position] disposition positioned
                                                 ·~-


                   on [the object when said first surface is]             said

                  generally horizontal, substantially [level] planar

                   surface, and said support frame           [supporting the

                  camera in] having a second [position on]

                  disposition attached to the object when said first

                   surface and said second surface are [is]             inclined

                  from [said] a generally horizontal orientation


                                          ?.




                                                                           ADJCAM000082




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                            [substantially level position],            [the object having

                            a second surface wherein a thickness between the

                            first surface and said second surface defines an

                            edge therebetween,]        the camera being maintained

                            adjacent said edge in said second disposition of

                            said support frame         [position when the uppermost

                           portion of the object is the edge, rotation of

                            said support frame being prevented along an axis

                            substantially parallel to said second axis, said

                            second axis being substantially parallel to said

                            edge] .

          {__ Please amend Claim 2 as follows:              -'")
              2.      (Amended)    [An apparatus] Apparatus according to claim 1

                      wherein the support frame comprises a first portion and

                      a second portion,      [said first portion and said second

                      portion supporting the camera in]            the support frame

                      being in the first      [position] disposition on the

                       [first] generally horizontal, substantially planar

                      surface when      distal extremities of          said first portion

                      and said second portion are engaging the generally

                      horizontal,      [first surface when the first surface is]

                      substantially [level] planar surface,             [said first

                      portion and said second portion supporting the camera

                      in] and the support frame being in the second

                       [position] disposition on the [first surface adjacent

                      the edge] object when said first portion is engaging


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                                                                                    ADJCAM000083




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              the first surface and said second portion is engaging

              [the edge and] the second surface, said first portion

              and said second portion in combination maintaining the

              camera adjacent the edge               [and preventing rotation of

              the support frame along the axis substantially parallel

              to the second axis] .
--------------------~------·· - - - - " · - - ·---------···




       Please cancel Claim 3 v-· ---- ·



       Please amend Claim 4 as follows:

              (Amended)      [An apparatus] Apparatus according to claim

              [3] ,£ wherein the support frame includes a               cove~~~-cl~
              [means to releasably hold and] protect the camera

              [comprises] lens when the camera [being]                is rotated

              [around] about the second axis               [in a direction from the

              second portion towards the first portion of the support

              frame]    until the camera is [in a position] between the

              first portion and the second portion [and is releasably

              held between the first portion and the second portion,

              the first portion having means to protect a lens of the

              camera] .



       Please amend Claim 5 as follows:
                                                                                   ~:.
              (Amended)      [An apparatus] Apparatus according to Claim,A'"

              wherein the [means to]           first portion of the support

              frame further includes said cover,               [protect the lens of


                                                 4




                                                                                ADJCAM000084




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                      the camera is a] said cover being mounted at the distal
                                                 O..v'"-(/!-~ <J'-d-D.-(--:f:W~Cl--'
                      end of the first portion[,]~ee~~~ the lens of the
                                                               IL--'
                      camera [facing in the direction of rotation about the

                      second axis from the second portion to the first

                      portion of the support frame to allow the lens of the

                      camera to be fitably received into said cover when the

                      camera is releasably held between the first portion and

                      the second portion] .



         (       Please amend Claim 6 as follows:                      )

             Y../     (Amended)    [An apparatus] Apparatus according to Claim 2

                      wherein the [first portion and the second portion

                      support the camera] support frame is in the first

                      [position on the first surface] disposition when the

                      first portion and the second portion engage the [first]

                      generally horizontal, substantially planar surface at

                      three or more locations in a common plane [of the first

                      surface to prevent] , thereby preventing rotation of the

                      support frame relative to the,, [first] generally

                      horizontal, substantially planar surface in any

                      direction [within said plane of the surface] .
             .   ~----------~---     --·· ---·   - - ------------


                 Please cancel Claim 7.            --
                 Please amend Claim 8 as follows:


                                                           5




  )

"""'                                                                                     ADJCAM000085




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             (Amended)    [An apparatus] Apparatus according to Claim 2

            wherein the [first portion and the second portion

            support the camera] support frame is in the second

             [position on the first surface adjacent the edge]

            disposition     when a first distance from the edge to

             [the position] a location where the first portion

            engages the first surface is greater than a second

            distance from the edge to [the position] a location

            where the second portion engages the second surface,                [a

            center of gravity of the camera and said hinge member

            being adjacent and external to the first surface in

            combination with the first distance being greater than

            the second distance] thus preventing rotation of the

            support frame    [along an axis substantially parallel to

            the second axis of rotation]



      Please cancel Claims 9-10, inclusive.



      Please amend Claim 11 as follows:    . -   Fj   ---




            (Amended)    [An apparatus] Apparatus according to Claim 1

            wherein the    object is a display screen for a laptop

            computer [when the support frame is in the second

            position], and the second surface [being]            is the front

            of the display screen and the first surface [being] is

            the back of the display screen.

      Please amend Claim 12 as follows:




                                                                         ADJCAM000086




                                    A2549
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              (Amended)     [An apparatus] Apparatus according to Claim 1

              wherein the hinge member [is comprised of]                    includes a

              body having a proximal and a distal end, a pivot

              element at said proximal end of said body adapted to

              rotatably [attaching] attach the camera to the body so

              that the camera rotates about the first axis relative

              to the body, and a hinge element at said distal end of

              said body hingedly attaching said body to the support

              frame so that said body rotatesL about the second axisL

              relative to the support frame.




  ~ ~
         Please amend Claim 13 as follows:
                                                     /    /
                                                         ..


     ~-       (Amended)     [An apparatus] Apparatus according to Claim

                 wherein [the camera has an electrical wiring harness

              to couple from an interior to an exterior,] the pivot

             element      [having] has a bore[ parallel to] along the

              first axis of rotation to receive an electrical wiring

             harness   [to] and pass said wiring harness                 [from said

              interior] to [said exterior of]                 the camera.
                                          "·


    Ulease amend Claim 14 as follows: )

  / ~/        (Amended)    [An apparatus] Apparatus for supporting a

             camera, having a housing and a lens, on any generally

             horizontal, substantially planar surface and on an

             object having a first surface and a second surface, and

             an edge intersecting the first surface and the second


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                          surface, comprising:
                          a.   a hinge member adapted to be rotatably attached to

                               the camera, said camera, when the hinge member is

                               so attached,     rotating~      [over] about a first axis

                               of rotation relative to said hinge memberi and

                          b.   a support frame     [hingedly]      rotatably attached to

                                said hinge member [to engagingly support said

                               hinge member on the object] and configured to

                                support said hinge member on the surface and the

                               object, said hinge member rotating [over] about a

                                second axis of rotation relative to said support

                                frame,   said first axis of rotation being generally

                               perpendicular to said second axis of rotation,

                                said second axis of rotation being substantially

                               parallel to [a] the first surface when said hinge

                               member is [engagingly] supported on the object,

                                the support frame having a rear support element

                                and a first and ~ second front support element,

                                said [rear support element and said first and said

                                second front support elements supporting the

                                camera in the]    support frame having a first

                                [position] disposition positioned on [said first]

                                said generally horizontal, substantially planar

                               surface when said rear support element and said

                                first and second front support elements are

                               engaging said [first] generally horizontal,


                                                          8



    )   "
    -~
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                                                                                       ADJCAM000088




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                 substantially planar surface [when said first

                 surface is substantially level] , said [rear

                 support element and said first and said second

                 front support elements supporting the camera in]

                 support frame having a second [position]

                 disposition attached to the object [on said first

                 surface adjacent an edge] when [said]                 the first

                 surface is inclined from [said]              ~    substantially

                  [level] horizontal position so that an uppermost

                 extremity of the object is the edge,                 [the object

                 having a second surface wherein a thickness

                 between said first surface and said second surface

                 defines said edge therebetween, the camera] the

                 support frame being maintained [adjacent said

                 edge]   in said second [position when the uppermost

                 portion of the object is the edge,] disposition by

                 said rear support element engaging said first

                 surface and said first and second front support

                 elements engaging [the edge and]                 the second
                                             ~.



                 surface, said rear support element and said first

                 and second front support elements in combination

                  [maintaining the camera adjacent the edge and]

                 preventing rotation of the support frame                     [along an

                 axis substantially parallel to the second axis,

                 said second axis being substantially parallel to

                 said edge] .
                                                                           --~--~-·-----
                                                  ---------   -""-'   -·


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                                                                                  ADJCAM000089




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                  Please cancel Claim 15.



                  Please amend Claim 16 -------
                                          as ------
                                                follows:
                                         -~------·-




                                 ,e
                           (Amended)     [An apparatus) Apparatus according to claim

                           [15]~wherein               the [means to]   support frame           _ ___ ,).__
                                                            ~:;;.·::({-;~.. z(o-:--~:>h:f--c.C:.·c. /
                           [releasably hold and protect] ~~eet~Athe camera

                           [comprises] when the camera [being] is rotated [around]

                          about the second axis             [in a direction from the first

                          and second front support elements] towards the rear

                          support element of the support frame until the camera

                          is   [in a position] between the rear support element and

                          the first and second front support elementsL and is

                          releasably held between the rear support element and

                          the first and second front support elements[, the rear

                          support element having means to protect a lens of the

                          camera] .



             (""Please amend Claim 17 as follows:                        .-)

           ,'"V"=~-,
                  ,§(_
                      .   (Amended)
                          Jl            [An apparatus) Apparatus
                                                         ~
                                                                 according to Claim

                          ..)!'((wherein the first and second front support elements

                          are spaced a distance apart               [at a]L and wherein said

                          distance i£ less than a diameter of                  [a]   the housing of

                          the camera[,] so that as the camera is being rotated

                          [around] about the second axis in the direction towards

                          the rear support elementL [so that]                  said housing passes

                          between the first and second front support elements[,]


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                                                                                              ADJCAM000090




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                 and the first and second front support elements

                 resiliently [and outwardly flexing]            flex outwardly to

                 accommodate passage of said housing, said housing being

                 releasably held once passing between the first and

                 second front support elements by the rear support

                 element engaging said housing at the lens[, the first

                 and second front support elements engaging said housing

                 backside to resiliently urge said housing towards the

                 rear support element] .



        (_ Please amend Claim 18 as follows:            /)

          ~       (Amended)   [An apparatus] Apparatus according to Claim
                 )4
                ~wherein the       [means to]      first portion of the support

                 frame further has a cover,         [protect the lens of the

                 camera is a] said cover being mounted at [the]_£ distal
                                                c"'--.0~ ~~~rL-­
                 end of the rear support element[,] to receive the lens
                                                          A
                 of the camera [facing in the direction of rotation

                 about the second axis from the first and second front

                 support elements to the rear ,,,support element of the

                 support frame to allow the lens of the camera to be

                 fitably received into said cover] when the camera is

                 releasably held between the rear support element and

                 the first and second front support elements.




       ~~~Please amend Claim 19 as follows'


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_')
                                                                              ADJCAM000091




                                          A2554
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       ~~-- (Amended)           [An apparatus] Apparatus according to Claim
                   ,o
                   ~wherein     the [rear support element and the first and

                    second front support elements support the camera]

                    support frame is in the first         [position on the first

                    surface] disposition when the rear support element and


u       -~------- the first and second front support elements engage the
      ··--


                    [first] generally horizontal, substantially planar
                    surface at three or more locations in a common plan~ of

                    the [first] generally horizontal, substantially planar

                    surface to prevent rotation of the support frame

                    relative to the [first] generally horizontal,

                    substantially planar surface [in any direction within

                    said plane of the first surface] .



    (__ ____   ~lease amend Claim 20 as follows:           /)
       ~~· ~~ended)             [An apparatus] Apparatus according to Claim

                   ~wherein the      [rear support element and the first and

                    second front support elements suppo~t the camera]

                    support frame is in the first          [position] disposition

                    positioned on the [first] generally horizontal,

                    substantially planar surface when the rear support

                    element and the first and second front support elements

                    engage the [first] generally horizontal, substantially

                    planar surface to prevent rotation of the support frame

                    relative to the [first] generally horizontal,

                    substantially planar surface [in any direction within a


                                                  12




                                                                                ADJCAM000092




                                           A2555
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                             plane of the first surface] .



               (__ __ Please amend Claim 21 as follows'
      ·--...




                 J{p . . ~   (Amended)   [An apparatus] Apparatus according to Claim
                   /L        ff)
                             ~wherein    the [rear support element and the first and

                             second front support elements support the camera]

                             support frame is in the second [position on the first

                             surface adjacent the edge] disposition when a first

                             distance from the edge to [the position] a location

                             where the rear support element engages the first

                             surface is greater than a second distance from the edge

                             to [the position] a location where the first and second

                             front support elements engage the second surface,         [a

                             center of gravity of the camera and said hinge member

                             being adjacent and external to the first surface in

                             combination with]   the first distance being greater than

                             the second distance thus preventing rotation of the

                             support frame   [along an axis substantially parallel to

                             the second axis of rotation] .
               -~~---------------            -----

                     Please cancel Claims 22-24;- inclusive.

                     Please amend Claim 25 as follows:
-~- ----·-----------------~-------




                             (Amended)   [An apparatus] Apparatus according to Claim
                             JQ}
                             ~wherein the hinge member       [is comprised of]   includes

                             a body having a proximal and a distal end, a pivot


                                                       13




  ;   \,

                                                                                     ADJCAM000093




                                                     A2556
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               element at said proximal end of said body adapted to

               rotatably [attaching] attach the camera to the body so

               that the camera rotates about the first axis relative

               to the body, and a hinge element at said distal end of

               said body hingedly attaching said body to the support

               frame so that said body rotates about the second axis

               relative to the support frame.



   ~lease amend Claim 26 as followso ~
   Jl   y.- (Amended) [An apparatus] Apparatus according to claim
        '     1{1/
             ~ wherein [the camera has an electrical wiring harness
               to couple from an interior to an exterior,] the pivot

               element [having] has a bore [parallel to]       along the

               first axis of rotation to receive said electrical

               wiring harness [to] and pass said wiring harness [from

               said interior]   to [said exterior of]     the camera.




               (Newly presented) A camera clip for supporting a camera
                                               ~-



               on a laptop computer, the laptop computer having a

               display screen which can be inclined from a generally

               horizontal position, an uppermost portion of the

              display screen defining an edge, comprising:

               a.    a hinge member adapted to be rotatably attached to

                     the camera, said camera rotating about a first

                     axis of rotation relative to said hinge member;


                                         14




                                                                        ADJCAM000094




                                      A2557
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                      and

                b.    a support frame hingedly attached to said hinge

                      member to engagingly support said hinge member on

                      the display screen, said hinge member rotating

                      over a second axis of rotation relative to said

                      support frame, the camera being maintained

                      adjacent the edge, rotation of said support frame

                      being prevented along an axis substantially

                      parallel to said second axis where said second

                      axis is substantially parallel to said edge.



                (Newly presented) Apparatus for supporting a camera

                having a lens on a substantially level surface,

                comprising:

                a.   a hinge member adapted to be rotatably attached to

                     the camera, the camera rotating about a first axis

                     of rotation relative to said hinge member; and

               b.    a support frame rotatably at tac):1ed to said hinge

                     member and configured to support said hinge member
                                                  '·'
                     on a generally horizontal, substantially planar

                     surface, said hinge member rotating about a second

                     axis of rotation relative to said support frame,

                     said first axis of rotation being generally

                     perpendicular to said second axis of rotation,

                     said second axis of rotation being substantially

                     parallel to the generally horizontal,


                                            15




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                                                                          ADJCAM000095




                                        A2558
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                  substantially planar surface when said hinge

                  member is supported on the generally horizontal,

                  substantially planar surface, said support frame

                  having a first portion and a second portion

                  wherein said support frame protects the camera

                  when said hinge member is not supported on the

                  generally horizontal, substantially planar

                  surface, and when the camera is rotated around

                  said second axis in a direction from said second

                 portion towards said first portion of said support

                  frame until the camera is between said first

                 portion and said second portion and is releasably

                 held between said first portion and said second

                 portion.



            (Newly presented) Apparatus for supporting a camera,

           having a lens, on an object having a first surface and

           a second surface, wherein a thickness measured between

           the first surface and the second surface defines an

           edge therebetween, comprising:

           a.    a hinge member adapted to be rotatably attached to

                 the camera, said camera, when the hinge member is

                 so adapted, rotating about a first axis of

                 rotation relative to said hinge memberi and

           b.    a support frame rotatably attached to said hinge

                 member and configured to support said hinge member


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                                                                      ADJCAM000096




                                    A2559
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                         on the object, said hinge member rotating about a

                         second axis of rotation relative to said support

                         frame,   said first axis of rotation being generally

                         perpendicular to said second axis of rotation,

                         said second axis of rotation being substantially

                         parallel to the first surface when said hinge

                         member is supported by said support frame on the

                         object, said support frame supporting said hinge

                         member on the object when said first surface is

                         inclined from a substantially horizontal position,

                         the camera being maintained adjacent the edge when

                         an uppermost extremity of the object is the edge,


       ar                rotation of said support frame being precluded

                         about an axis substantially parallel to said

                         second axis, said second axis being substantially

                         parallel to said edge, said support frame having a

                         first portion and a second portion wherein said

                         support frame releasably holds and protects the

                         camera when said hinge member is not supported by
                                                     "·
                         said support frame on the object and the camera is

                         rotated around said second axis in a direction

                         from said second portion towards said first

                         portion of said support frame until the camera is

                         between said first portion and said second portion

                         and is releasably held between said first portion

                         and said second portion .

..   ---------~~----·
                                               17




                                                                              ADJCAM000097




                                             A2560
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                                 R E MA R K S

             The preceding amendment and following remarks are

     submitted in response to the presently outstanding Official

     Action of the examiner.       Having fully responded to each

     objection and ground of rejection of the examiner, all

     pending claims are believed to be in condition for

     allowance.      Entry of these amendments and reconsideration by

     the examiner to that end is respectfully requested.

             The examiner objected to claims 2-13 and 15-26 because,

     at line 1 of claims 2-13 and 15-26, before "apparatus",             "An"

     should be replaced with --The--.         In response, Applicant has

     amended claims 1-2, 4-6, 8, 11-14, 16-21 and 25-26 to make

     appropriate correction.

             Claims 1-26 were rejected under 35 U.S.C. §112, second

     paragraph, as being indefinite for failing to particularly

     point out and distinctly claim the subject matter which

     Applicant regards as the invention.          The Examiner stated

     that the preamble of claim 1 is drawn to a subcombination of

     an apparatus comprising a hinge member and a support frame

     per se whereas line 3 appears to positively recite
     11   rotatable attached to the camera", thus implying a

     combination claim.       The Examiner further stated that, at

     lines 12 and 13, "being substantially parallel to a first

     surface" is a combination claim.         The Examiner further

     stated that, at lines 20-28,       "the object having a second

     surface .        ., the camera being maintained .          " is also


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                                                                      ADJCAM000098




                                     A2561
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       claiming a combination.      The Examiner stated that it is not

       clear whether Applicant intends to claim a subcombination or

       a combination.

            In response, Applicant has amended claim 1 to more

      clearly identify the "work pieces" in the preamble and

      thereby focus upon the elements of the invention, e.g. the

      hinge member and the support frame,          in the claim body.

      Applicant has amended the preamble of claim 1 to recite "a

      camera having a lens on an object, the object having a first

      surface and a second surface" wherein a thickness between

      the first surface and the second surface defines an edge

      therebetween.     Applicant has also amended other portions of

      claim 1 to be consistent with the above changes.

            The Examiner stated that in claim 2, lines 3-6,           "said

      second portion supporting the camera" and "said second

      portion are engaging the first surface" are claiming

      combination.      In response, Applicant has amended claim 2 to

      remove the language "said first portion and said second

      portions supporting the camera in" and replace it with "the
                                              ,,
      support frame being in ... ".

            The Examiner stated that in claim 3, line 2 "to

      releasably hold and protect the camera" is a combination

      claim.     Claim 3 has been cancelled.

            The Examiner stated that on lines 2, 3, 5, 8, and 9 of

      claim 4,    "comprises the camera" and "to protect a lens of

      the camera" are claiming combination.          In response Applicant


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                                                                      ADJCAM000099




                                    A2562
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      has amended claim 4 to make it clear that the camera is a

       "work piece" and to make other clarifications.

                The Examiner stated on lines 2, 3, 6, and 7 of claim 5,

      "to protect the lens of the camera" and "the camera" are a

      combination claim.                In response, Applicant has amended claim

      5, and it is clear that the camera and the lens of the

      camera are "work pieces" and to make other amendments for

      clarification.

                The Examiner stated that in claims 6 and 7, lines 2-7,

      "support the camera" and "engage the first surface" are

      claiming combination.                In response, Applicant has amended

      claims 6 and 7 to clarify inv~ntive structure and "work

      pieces".

               The Examiner stated on lines 2, 5, 7, and 8 of claim 8,
      11
           support camera 11 ,    "engage the first and the second

      surfaces", and "a center of gravity of the camera" are not a

      subcombination claim.                In response, Applicant has amended

      claim 8 to remove           11
                                       first portion and the . second portion

      support the camera" to replace it,, with "support frame".

      Applicant has amended claim 8 to remove any ambiguity

      regarding combination/subcombination issues.

               The Examiner states in lines 1 and 3 of Claims 9 and

      10, "the object" and "the first surface" are not claiming

      subcombination.            In response, Applicant has cancelled Claims

      9 and 10.

               The Examiner states that in claim 11, lines 1, 3 and 4,


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                                              A2563
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      "the object", and "the second surface", and "the first

      surface" are a combination claim. In response, Applicant has

      amended claim 11 to make amendments to further clarify the

      combination/subcombination issues.

            The Examiner stated that in claim 12, line 4,

      "rotatably attaching the camera" is claiming combination.

      In response, Applicant has amended claim 12 to define the

      interaction between the work piece, the camera, and the

      body, an element of the invention.

           The Examiner stated on lines 1 and 6 of claim 13, "the

      camera" is a combination claim.         In response, Applicant has

      amended claim 13 to remove "the camera" as an element of the

      invention.

           The Examiner stated that claims 14-26 have the same

      §112 problems of combination and subcombination as indicated

      in the above claims 1-14.      In response, Applicant has

      amended these claims to overcome the §112 problems of

      combination and subcombination as were discussed above.

          Applicant has added newly presented claims 27-29.
                                      "'
     Applicant submits that, in view of the above arguments

      regarding pending Claims 1-2, 4-6, 8, 11-14, 16-21, and 25-

      26; Claims 27-29 are also in condition for allowance.

           Having thus addressed each objection and ground of

     rejection of the Examiner, pending claims 1-2, 4-6, 8, 11-

     14, 16-21, and 25-26, as well as newly presented claims 27-

     29, are now believed to be in condition for allowance.


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                                                                      ADJCAM000101




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     Entry of the present amendment and reconsideration to that

     end is respectfully requested.

           Please charge any deficiencies or credit any

     overpayment to Deposit Account 14-0620.



                                   Respectfully submitted,

                                   David E. Krekelberg

                                   By his attorney,

                                                                    /
                                                               /"
     Dated:                                         '/"!//   :(:
                                            M.     awrocki
                                   Reg. No. 2 9, 3 3 3
                                   NAWROCKI, ROONEY & SIVERTSON, P.A.
                                   Suite 401, Broadway Place East
                                   3433 Broadway Street Northeast
                                   Minneapolis, MN 55413
                                   Telephone:    (612) 331-1464
                                   Facsimile:    (612) 331-2239




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                                                                          ADJCAM000102




                                    A2565
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                                                                         Application No.
                                                                                 08/814,168                      David E. Krekelberg
                          Interview Summary                              Examiner                              Group Art Unit
                                                                                    Long Dinh Phan                  3632


     All participants (applicant, applicant's representative, PTO personnel):

     (1 ) Long Dinh Ph an                                                        (3) _____________________________

     (2) Lawrence M. Nawroki                                                     (4) _ __

     Date of Interview _ _ _ _ _.j_y/7, 1998


     Type:        1XJ Telephonic       '] Personal (copy is given to   1· i applicant      C applicant's representative).

     Exhibit shown or demonstration conducted:              n Yes      lXJ No.    If yes, brief description:




     Agreement           lXI was reached. 0 was not reached.

     Claim (s) discussed: -=4~,-=5"-,--'1-=6"--,-"a.:..:.n.:::..d--'1-=8'--------------

     Identification of prior art discussed:
     None


     Description of the general nature of what was agreed to if an agreement was reached, or any other comments:
    ~.J]Jicant agreed to amend the claims to overcome possible             112 problems a'!S!J]_ass the case to issue.




    (A fuller description, if necessary, and a copy of the amendments, if available, which the examiner agreed would render
    the claims allowable must be attached. Also, where no copy of the amendents which would render the claims allowable
    is available, a summary thereof must be attached.)

    1.    rzJ    It is not necessary for applicant to provide a separate record of the substance of the interview.
    Unless the paragraph above has been checked to indicate to the contrary, A FORMAL WRITTEN RESPONSE TO THE
    LAST OFFICE ACTION IS NOT WAIVED AND MUST INCLUDE THE SUBSTANCE OF THE INTERVIEW. (See MPEP
    Section 713.04). If a response to the last Office action has already been filed, APPLICANT IS GIVEN ONE MONTH
    FROM THIS INTERVIEW DATE TO FILE A STATEMENT OF THE SUBSTANCE OF THE INTERVIEW.

    2. [l        Since the Examiner's interview summary above (including any attachments) reflects a complete response to
                 each of the objections, rejections and requirements that may be present in the last Office action, and since the
                 claims are now allowable, this completed form is considered to fulfill the response requirements of the last
                 Office action. Applicant is not relieved from providing a separate record of the interview unless box 1 above
                 is also checked.




    Examiner Note: You must sign and stamp this form unless it is an attachment toil signed Office uction.

U. S. Potent ond Trodemork Office
PT0-413 (Rev. 10-95)                                             Interview Summary                                              Paper No.


                                                                                                                                ADJCAM000103




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                                                                                                             UNITED STATES 1...-PARTMENT OF COMMERCE
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                                                                                                                            Washington, D.C. 20231


        APPLICATION NO.                FILING DATE                                     FIRST NAMED INVENTOR                                           ATTORNEY DOCKET NO.

           08/814,168                        03/07/97

                                                                                                                                                      EXAMINER
                                                                                 F' j;j ::::: :i. i I) ";:-' :!. _I_::;.
           LAWRENCE M.                    NAWROCKI                                                                                        j>j-j(·,j\1. :_
           !i(,i·JF::;:)C::I< l ,. I::;_•()C11\lF:Y 8-: :-:~-;I '•-/F:r:<:T:·il.'i\i
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           F:i:·:C:J,l/-Jti·/ F'L . ?-'iC:F: L:ri·:::;r '··liJ I ·1-F. . ! u-i
           34~3 BROADWAY STREET NORTHEASl
           MINNEAPOLIS MN 55413
                                                                                                                                    DATE MAILED:




     Please find below and/or attached an Office communication concerning this application or
     proceeding.
                                                                                                                                  Commissioner of Patents and Trademarks




PT0·90C (Rev. 2/95)                                                                                                                                                1· File Copy

'U.S. GPO: 1998-437-638/80022
                                                                                                                                                                 ADJCAM000104




                                                                                                      A2567
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                 Case 6:10-cv-00329-LED Document 629-4 Filed 04/24/12 Page 37 of 64 PageID #: 5029




        ----1b·~-----------------------------------r---------------.----------------------------------,
                                                                      Application No.
                                                                           08/814,168                     David E. Krekelberg
                       Notice of Allowability                        Examiner                          Group Art Unit
                                                                                long Dinh Phan              3632


     All claims being allowable, PROSECUTION ON THE MERITS IS (OR REMAINS) CLOSED in this application. If not included
     herewith (or previously mailed), a Notice of Allowance and Issue Fee Due or other appropriate communication will be
     mailed in due course.

     iXl This communication is responsive to amenciment filed on 06/12/1998 ···-·-----------------------·-------
     lXI The allowed claim(s) is/are 1, 2, 4-6, B,. .1!.-14, 76-21, and?-5-29.
     -~   The drawings filed on _ _ _ _ _ _ _ _ _ are acceptable.

     :1 Acknowledgement is made of a claim for foreign priority under 35 U.S. C. § 119(a)-(d).
          · _, All    LJ Some* U None        of the CERTIFIED copies of the priority documents have been
               ::::J received.
               ::J received in Application No. (Series Code/Serial Number) ____________
               U received in this national stage application from the International Bureau (PCT Rule 1 7. 2(a)).
          ·•certified copies not received: _________________ · - - - - - - - - - - - - - - ·--------· - - - -
     1 I Acknowledgement is made of a claim for domestic priority under 35 U.S.C. § 119(e).


     A SHORTENED STATUTORY PERIOD FOR RESPONSE to comply with the requirements noted below is set to EXPIRE
     THREE MONTHS FROM THE "DATE MAILED" of this Office action. Failure to timely comply will result in
     ABANDONMENT of this application. Extensions of time may be obtained under the provisions of 37 CFR 1. 136(a).

     0 Note the attached EXAMINER'S AMENDMENT or NOTICE OF INFORMAL APPLICATION, PT0-152, which discloses
          that the oath or declaration is deficient. A SUBSTITUTE OATH OR DECLARATION IS REQUIRED.

     !XI Applicant MUST submit NEW FORMAL DRAWINGS
          ["_j because the originally filed drawings were declared by applicant to be informal.
          lXI including changes required by the Notice of Draftsperson's Patent Drawing Review, PT0-948, attached hereto or
              to Paper No. _4_ .
          [J including changes required by the proposed drawing correction filed on - - · - - - - - - ·            , which has been
              approved by the examiner.
          lJ including changes required by the attached Examiner's Amendment/Comment:.
          Identifying indicia such as the application number (see 37 CFR 1.84(c)) should be written on the reverse side of the
          drawings. The drawings should be filed as a separate paper with a transmittal lettter addressed to the Official
          Draftsperson.

     n Note the attached Examiner's comment regarding REQUIREMENT FOR THE DEPOSIT OF BIOLOGICAL MATERIAL.
    Any response to this letter should include, in the upper right hand corner, the APPLICATION NUMBER (SERIES
    CODE/SERIAL NUMBER). If applicant has received a Notice of Allowance and Issue Fee Due, the ISSUE BATCH NUMBEP
    and DATE of the NOTICE OF ALLOWANCE should also be included.

    Attachment(s)
          0 Notice of References Cited, PT0-892
          0 Information Disclosure Statement(s), PT0-1449, Paper No(s). ~--­
          [] Notice of Draftsperson's Patent Drawing Review, PT0-948
          0 Notice of Informal Patent Application, PT0-152
          D<1 Interview Summary, PT0-413
          lXI Examiner's Amendment/Comment
          I] Examiner's Comment Regarding Requirement for Deposit of Biological Material
          :xJ Examiner's Statement of Reasons for Allowance
U. S. Potent and Trademark Office
PT0-37 (Rev. 9-95)                                          Notice of Allowability                            Part of Paper No.       9



                                                                                                                        ADJCAM000105




                                                                      A2568
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 Serial Number: 08/814,168                                                                     Page 2

 Art Unit: 3632



                                 EXAMINER'S AMENDMENT

        An examiner's amendment to the record appears below. Should the changes and/or

 additions be unacceptable to applicant, an amendment may be filed as provided by 3 7 CFR 1.312.

 To ensure consideration of such an an1endment, it MUST be submitted no later than the payment

 ofthe issue fee.

        Authorization for this examiner's amendment was given in a telephone interview with Mr.

Lawrence M. Nawrocki on July 07, 1998.

        The application has been amended as follows:

        In the Claims:     /

        Claim 4- line 2: aftr'cover", inserted --adapted--.

        Claim 5- line 5: /efore "to receive", inserted --and adapted--.

        Claim 16- line 3: "h'efore "the camera", replaced "protects" with --adapted to protect--.

        Claim 18- line 5: befle"to receive", inserted --and   adapted~-.
        The following is an examiner's statement of reasons for allowance: The prior art of record

does not disclose nor suggest apparatus for supporting a camera, comprising a hinge member

adapted to be rotatably attached to the camera about a first axis of rotation; and a support frame

rotatably attached to the hinge member about a second axis of rotation and configured to support

the hinge member on a surface and an object. Applicant's invention is deemed to be novel and

unobvious over the prior art of record and thus allowable for patent.

       Any comments considered necessary by applicant must be submitted no later than the




                                                                                          ADJCAM000106




                                               A2569
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Serial Number: 08/814,168                                                                                   Page 3

Art Unit: 3632



payment of the issue fee and, to avoid processing delays, should preferably accompany the issue

fee. Such submissions should be clearly labeled "Comments on Statement of Reasons for

Allowance."

                                           Conclusion

       Any inquiry concerning this communication or earlier communications from the examiner

should be directed to Long Dinh Phan whose telephone number is (703) 308-3409. The examiner

can normally be reached on Tuesday through Friday from 8:00A.M. to 6:00P.M. E.S.T.

       Any inquiry of a general nature or relating to the status of this application or proceeding

should be directed to the Group receptionist whose telephone number is (703) 308-2168. The t"i1x

number for this Group is (703) 305-3597 or 3598.

Long Dinh Phan    1... .t> ~


July 14, 1998
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                                                         ' RAMnr,~ o RC:MIRtz                     ~
                                                           P[(i      .\ '           JNER
                                                           ,,   lj,i; I iJ l\i i I 35fr -:u :_-<:, -?._




                                                                                                          ADJCAM000107




                                               A2570
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                                                                                                                                  UNITED STATES DEPARTMENT OF COMMERCE
                                                                                                                                  Patent and Trademark Office




                                                              NOTICE OF ALLOWANCE AND ISSUE FEE DUE


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              MINNE0POL.IS MN 5541~

          APPLICATION NO.                            I   FILING DATE            I       TOTAL CLAIMS                  I                    EXAMINER AND GROUP ART UNIT                       I    DATE MAILED


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   First Named
   Applicant        I<HI:::T:E:~LBFh:(~ ,,

TITLE OF
INVENTIONCJ\I'<IFT::{:\            Ci.. J F'




       AnY'S DOCKET NO.                          I CLASS-SUBCLASS I BATCH NO. I                                           APPLN.TYPE               I SMALL ENTITY I    FEE DUE
                                                                                                                                                                                            I          DATE DUE


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THE APPLICATION IDENTIFIED ABOVE HAS BEEN EXAMINED AND IS ALLOWED FOR ISSUANCE AS A PA 'TENT.
PROSECUTION ON THE MERITS IS CLQSED.

THE ISSUE FEE MUST BE PAID WITHIN THREE MONTHS FROM THE MAILING DATE OF THIS NOTICE OR THIS
APPLICATIQN SHALL BE REGARDED AS ABANDONED. THIS STATUTORY PERIOD CANNOT BE EXTENDED.

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I. Review the SMALL ENTITY status shown above.                                                                                             ...
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  A. If the status is changed, pay twice the amount of the
     FEE DUE shown above and notify the Patent and                                                              A. Pay FEE DUE shown above, or
     Trademark Office of the change in status, or
  B. If the status is the same, pay the FEE DUE shown
     above.                                                                                                     B. File verified statement of Small Entity Status before, or with,
                                                                                                                   payment of 1/2 the FEE DUE shown above.
II. Part BwJssue Fee Transmittal should be.completed and returned to the Patent and Trademark Office (PTO) with your
    ISSUE FEE. Even if the ISSUE FEE has already been paid by charge to deposit account, Part B Issue Fee Transmittal
    should be completed and returned. If you are charging the ISSUE FEE to your deposit account, section "4b" of Part
    Bwlssue Fee Transmittal should be completed and an extra copy of the form should be submitted.
Ill. All communications regarding this application must give application number and batch number.
     Please direct all" communications prior to issuance to Box ISSUE FEE unless advised to the contrary.

IMPORTANT REMINDER: Utility patents issuing on applications filed on or after Dec. 12, 1980 may require payment of
                    maintenance fees. It is patentee's responsibility to ensure timely payment of maintenance
                    fees when due.
                                                                                    PATENT AND TRADEMARK OFFICE COPY
PTOL-85 (REV. 10-96) Approved for use through 06/30199. (0651-0033)
                                                                                                                                                                                   •u_s_ GPO. 1998-437-639/80023
                                                                                                                                                                                            ADJCAM000108




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                                    Case: 13-1665                         Document: 97-3                           Page: 131                         Filed: 12/11/2014


                 Case 6:10-cv-00329-LED Document 629-4 Filed 04/24/12 Page 41 of 64 PageID #: 5033




                                                                            PART B-ISSUE FEE TRANSMITTAL
   Complete and mwll this form, together with app,                      .a fees, to:         Box ISSUE FEE
                                                                                             Assistant Commissioner for Patents
                                                                                             Washington, D.C. 20231


 MAILING INSTRUCTIONS: This form should be used for transmitting the ISSUE FEE. Blocks 1
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 Receipt, the Patent, advance orders and notification of maintenance fees will be mailed to the current
                                                                                                                                  for any other accompanying papers. Each additional paper, such as an
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                                                                                                                                  the United States Postal Service with sufficient postage for first class
                                                                                                                                  mall In an envelope addressed to the Box Issue Fee address above on
                                                                                      i:'i\i:~l 1 / i.R,·;E-'1C':·.e· IVEO        the date indicated below.
               LAWRENCE M. NAWROCKI
               l\!(~l,JF(()C:J< I , I;:C:IONEY 8.~ ·:.::;I \lET( n.:;CJJ\!                       Publish;ng O;v;s;o
               BRODWAY PLACE EAST SUITE 40:                                                                                         Carolyn             ~    Erickson                               (Deposito~s name)

               3483 BROADWAY STREET
                                                                                                                                                                                                    (Signature)
               MINNEAPOLIS MN 55413
                                                                                                                                                                                                    (Date)
             APPLICATION NO.                          FILING DATE                                                                                                                                  DATE MAILED


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   Applicant        I< P E I< E 1.... BE: F: Gi ,.
TITLE OF
INVENTION(:: {'\IYII~: F( (~   C1... I F'



            ATTY'S DOCKET NO.                 I      CLASS-SUBCLASS          I BATCH NO. I APPLN.TYPE I SMALL ENTITY I                                            FEE DUE
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  1. Change of correspondence address or indication of • Fee Address• (37 CFR 1.363).                     2. For printing on the patent front page, list
     Use of PTO form(s) and Customer Number are recommended, bu1 not required.                            (1) the names of up to 3 registered patent              1
                                                                                                                                                                       NAWROCKI, ROONE'i &
                                                                                                          attorneys or agents OR, alternatively, (2)                           SJ.VERl SUN, p .L.
     0 Change of correspondence address (or Change of Correspondence Address form                         the name of a single firm (having as a
     PTO/SB/12<') attached.                                                                               member a registered attorney or agent)                 2
                                                                                                          and the names of up to 2 registered patent
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  3. ASSIGNEE NAME AND RESIDENCE DATA TO BE PRINTED ON THE PATENT (print or type)                                              4a. The following fees are enclosed (make check payable to Comissioner
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     Inclusion of assignee data is only appropiate when an assignment has been previously submitted to
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     filing an assignment.                                                                                                       IXl Advance Order - # of Copies ]Q
     (A) NAME OF ASSIGNEE                                                                                                '·
         iREZ Research, Corporation                                                                                            4b. The following fees or deficiency 1n these fees should be ctrged to:
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     Please check the appropriate assignee category Indicated below (will not be printed on the patent)
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     0 individual         l]l:corporation or other private group entity      0 government                                        U Advance Order - # of Copies




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  or agent; or the assignee or other party In interest as shown by the records of the Patent and
  Trademark Office.                                                                                                                01 FC:242                                   660.000P
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  Burden Hour Statement: This form is estimated to take 0.2 hOurs to complete. Time will vary
  depending on the needs of the individual case. Any comments on the amount of tirne required
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                                                                                                                                                                                       ADJCAM000109




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            Case: 13-1665         Document: 97-3                 Page: 132               Filed: 12/11/2014


Case 6:10-cv-00329-LED Document 629-4 Filed 04/24/12 Page 42 of 64 PageID #: 5034




           IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
 In reApplication of:

David E. Krekelberg

Serial No.: 08/814,168                                                                     Examiner: L. Phan

Filing Date: March 7, 1997                                                           Group Art Unit: 3632

For: CAMERA CLIP

Docket No.: 19239/103/101

                                   TRANSMITTAL SHEET

Assistant Commissioner for Patents
Washington, D.C. 20231

Sir:

      CERTIFICATE UNDER 37 C.F.R. 1.8:  I hereby certify that this correspondence
                           and the documents described herein
   are being deposited with the United States Postal Service on the dQte shown below
    with sufficient postage as first class mail in an enveJope addre:;y~iJ to the:
 Assistant Commissioner for Patents,~~shington, ~·)(· 20231, on this ~ day of
                                            ~~!\_ ' / " - ~,_,__..__._
                 By________   ~~--~---+~,/~/~)_:·~/~~~~~~-------
                                      Caroly


We are transmitting herewith the attached:

               Amendment

                     No additional fee required
                     The fee has been calcula~ed as shown:

                                     CLAIMS AS AMENDED
                    (3)              ( 4)                 (5)            SMALL ENTITY                 OTHER
                REMAINING         HIGHEST             EXTRA              RATE        ADD'L     RATE         ADD'L
                CLAIMS            PAID                                               FEE                    FEE
 TOTAL               -                =                                      x11"'   $             x22"'    $
 CLAIMS

 INDEPEN-            -                =                                      x41=    $             X82=     $
 DENT
 CLAIMS
 (     )   FIRST MULTIPLE DEPENDENT CLAIM                                +135=       $         +270         $
                                                                                               =
                          TOTAL                                          $                     $

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         Case: 13-1665   Document: 97-3             Page: 133                      Filed: 12/11/2014


Case 6:10-cv-00329-LED Document 629-4 Filed 04/24/12 Page 43 of 64 PageID #: 5035




[XXXX)      A check in the amount of $ 690.00 is enclosed.

[XXXX]      Small entity status of this application under 37 C.F.R.
            1.9 and 1.27 has been established by verified statement
            previously submitted.

[XXXX]      Other:   Part B-Issue Fee Transmittal (with Certificate of
            Mailing); Letter to Official Draftsperson; Two (2) Sheets
            of Formal Drawings.

[XXXX]      Please charge any deficiencies or credit any over payment
            in the enclosed fees to Deposit Account 14-0620.


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                             By:        IA-r;t rJ/u.J / L· ;u.. d      - 'c. tL
                                       Lawrence M. Nawrocki
                                       Reg. No. --~2~9~3~3~3~--------------


NAWROCKI, ROONEY & SIVERTSON, P.A.
Suite 401, Broadway Place East
3433 Broadway Street N.E.
Minneapolis, Minnesota 55413
Telephone:   (612) 331-1464
Facsimile:   (612) 331-2239




                                           2

                                                                                                ADJCAM000111




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         Case: 13-1665      Document: 97-3       Page: 134           Filed: 12/11/2014


Case 6:10-cv-00329-LED Document 629-4 Filed 04/24/12 Page 44 of 64 PageID #: 5036




                                                      '    t;




                                                                                P A T E N T

                                                                Serial No.: 08/814,168
                                                                  Filed: March 7, 1997
                                                                        Batch No. : G54

          IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

In re Application of:

David E. Krekelberg

Serial No.: 08/814,168                   R.ECEIVED                Examiner:             L. Phan
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                                                      .sn,.,
Filed: March 7       1997                                              Group Art: 3632
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                                      OCT 2 01998
For:    CAMERA CLIP
                                               16
Docket No.: 19239/103/101


Assistant Commissioner                               CERTIFICATE UNDER 37 C.F.R. 1.8
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                                           first class mail in an enveloped addressed to the
                                           Assistant Comrni ss i~nert_ for _Paten*,, , Wash i ngtonJ
                                           D.C. 20231 on this _si!;.;;Jay of OcqbJ•/ , 19~
                                                                                  /'~


                                           By;



Sir:

                      LETTER TO OFFICIAL DRAFTSPERSON

       Submitted herewith are two (2)          sheets of formal drawings for

filing in the above-identified application.

                              Respectfully submitted,

                              David E. Krekelberg



Date
                              Lawrence M. Nawrocki
                              Reg. No. 29,333
                              NAWROCKI, ROONEY & SIVERTSON, P.A.
                              Suite 401, Broadway Place East
                              3433 Broadway St. N.E.
                              Minneapolis, MN 55413
                              (612) 331-1464


                                                                                         ADJCAM000112




                                      A2575
                     Case: 13-1665              Document: 97-3                                 Page: 135          Filed: 12/11/2014


           Case 6:10-cv-00329-LED Document 629-4 Filed 04/24/12 Page 45 of 64 PageID #: 5037




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                                                                                                             Fig. 4
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                                         Fig. 3


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                         Case: 13-1665        Document: 97-3      Page: 136       Filed: 12/11/2014


            Case 6:10-cv-00329-LED Document 629-4 Filed 04/24/12 Page 46 of 64 PageID #: 5038




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                                                    Fig. 5
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                                                                  Fig. 6
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                                          Fig. 7                                           90
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             Case: 13-1665        Document: 97-3             Page: 137             Filed: 12/11/2014


Case 6:10-cv-00329-LED Document 629-4 Filed 04/24/12 Page 47 of 64 PageID #: 5039




                                                                PTO UTILITY GRANT
                                                                Paper Number_      ,_t..\.O-'--
                                                                                   1
                                        The Commissioner of Patents
                                             and Trademarks
                                       Has received an appUcationfor a patent for a
                                       new and useful invention. The title and de-
                                       scription of the invention are enclosed. The
                                       requirements of law have been complied with,
                                       and it has been determined that a patent on
                                       the invention shall be granted under the law.

                                       Therefore, this

                                                United States Patent
                                       Grants to the person(s) having title to this
                                       patent the right to exclude others from mak~
                                       ing, using, offering for sale, or selling the in~
                                        vention throughout the United States of
                                       America or importing the invention into the
                                       United States ofAmerica for the term set forth
                                       below, subject to the payment ofmaintenance
                                       fees as provided by law.
                                       If this application was filed prior to June 8,
                                       1995, the term of this patent is the longer of
                                       seventeen years from the date of grant of this
                                       patent or nventy years from the earliest effec~
                                       tive U.S. filing date of the application, sub-
                                       ject to any statutory extension.
                                       If this application was filed on or after June
                                       8, 1995, the term of this patent is twenty years
                                       from the U.S. filing date, subject to an statu·
                                       tory extension. If the application contains a
                                       specific reference to an earlier filed applica·
                                       tionorapplications under 35 U.S. C. 120, 121
                                       or 365fc), the term·ofthe patent is twenty years
                                       from the date on which thu earliest applica-
                                       tion was filed, subject to any statutory exten·
                                       sion.

                                                ~~
                                              Cf)mmissioner of Patents and Trademarks


                                              {!)~7n~~
                                              Attest



  Form PT0.1584 (Rev. 2/fiT)




                               (RIGHT INSIDE)                                                         FPI LOM
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                   Case: 13-1665      Document: 97-3   Page: 138   Filed: 12/11/2014


           Case 6:10-cv-00329-LED Document 629-4 Filed 04/24/12 Page 48 of 64 PageID #: 5040




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                        Case: 13-1665     Document: 97-3    Page: 139   Filed: 12/11/2014


            Case 6:10-cv-00329-LED Document 629-4 Filed 04/24/12 Page 49 of 64 PageID #: 5041




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          US PAT NO:         4,403,717 [IMAGE AVAILABLE]            L1: 1 of 2
          TITLE:             Camera carrying device

          4,103,717 (IMAGE AVAILABLE]        5 CLASSIFICATIONS      L1: 1 of 2

                  1. 224/666         OR
                  2. 224/268         XR
                  3. 224/269         XR
                  4. 224/667         XR
               5.    224/908         XR
         .US PAT NO:      3,962,711 [IMAGE AVAILABLE]             L1: 2 of 2
          TITLE:          Accessory adapter for photographic apparatus

          3,962,711 (IMAGE AVAILABLE]        3 CLASSIFICATIONS      L1: 2 of 2

                  1.    396/544         OR
                  2.    396/529         XR
                  3.    D16/211         XR

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I of I                                                                                                 12/5/97 11;57 II M


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                         Case: 13-1665        Document: 97-3   Page: 140    Filed: 12/11/2014


                Case 6:10-cv-00329-LED Document 629-4 Filed 04/24/12 Page 50 of 64 PageID #: 5042




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           us PAT NO:         5,111,983 [IMAGE AVAILABLE]             L1: 1 of 5

           5,111,983 [IMAGE AVAILABLE]          3 CLASSIFICATIONS     L1: 1 of 5

                   1.    224/258         OR
                   2.    224/908         XR
                   3.    248/118         XR
           us    PAT NO:      5,025,320 [IMAGE AVAILABLE]             L1: 2 of 5

           5,025,320 [IMAGE AVAILABLE]          4 CLASSIFICATIONS     Ll: 2 of 5

                   1.    348/373         OR
                   2.    348/335         XR
                   3.    348/722         XR
                   4.    379/202         XR
           us    PAT NO:      4,676,622 [IMAGE AVAILABLE]             L1: 3 of 5

           4,676,622 [IMAGE AVAILABLE]          2 CLASSIFICATIONS     L1: 3 of 5

                   1.    396/428         OR
                   2.    248/179.1       XR
          us     PAT NO:      4,297,756 (IMAGE AVAILABLE]             L1: 4 of 5

           4,297,756 [IMAGE AVAILABLE]          2 CLASSIFICATIONS     Ll:   4 of 5

                   1.    7/127            OR
                   2.    81/367           XR
          us     PAT NO:       4,198,150 [IMAGE AVAILABLE]            L1: 5 of 5

           4,198,150 (IMAGE AVAILABLE]          2 CLASSIFICATIONS     L1: 5 of 5

                   1.    396/422         OR
                   2.    362/3           XR

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                          Case: 13-1665                        Document: 97-3                      Page: 141             Filed: 12/11/2014


          Case 6:10-cv-00329-LED Document 629-4 Filed 04/24/12 Page 51 of 64 PageID #: 5043




                                                                                                                        AppHcat;on o' Doc71umbe'
         PATENT APPLICATION FEE DETERMINATION RECORD
                                         Effective October 1, 1996

                               CLAIMS AS FILED - PART I                                                                                        OTHER THAN
                                                                                                                SMALL ENTITY          OR       SMALL ENTITY
  FOR                                                                                                                       FEE


  BASIC FEE                                                                                                               385.00      OR
  TOTAL CLAIMS
                                                                                                               x$11=                  OR
  INDEPENDENT CLAIMS
                                                           minus 3 =                                            x40=                  OR
  MULTIPLE DEPENDENT CLAIM PRESENT
                                                                                                              +130=                   OR
  * If the difference In column 1 is less than zero, enter "0" in column 2
                                                                                                                TOTAL
                                                                                                                                      OR

                           CLAIMS AS AMENDED- PART II                                                                                           OTHER THAN
                                                                        (Column 2)           (Column 3)         SMALL ENTITY          OR       SMALL ENTITY
                                                                    HIGHEST
  <(                                                                NUMBER                   PRESENT                       ADD I-                        ADD I-
  t-                                                               PREVIOUSLY                 EXTRA            RATE       TIONAL              RATE      TIONAL
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  W     Independent                              Minus                                                                                        x80=
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         FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM
                                                                                                                                             +260=

                              (Column 1)                                (Column 2)           (Column 3)
                            CLAIMS                                  HIGHEST
                           REMAINING                                 NUMBER                  PRESENT                       ADD I-                        ADD I-
                             AFTER                                 PREVIOUSLY                 EXTRA            RATE       TIONAL              RATE      TIONAL
                          AMENDMENT                                 PAID FOR                                                FEE                           F[[

                                                 Minus                                                        x$11=                   OR     x$22=
                                                 Minus                                                         x40=                   OR      x80=
         FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM
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                            CLAIMS                                  HIGHEST
                           REMAINING                                NUMBER                   PRESENT                       ADD I-                        ADD I-
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                          AMENDMENT                                 PAID FOR                                                FEE                           FEE

        Total                                    Minus                                                        x$11=                   OR     x$22=
         ndependent       *                      Minus            ***
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         FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM
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   * If the entry In column 1 Is less than the entry In column 2, write "0" In column 3.               TOTAL
  **II the "Highest Number Previously Paid For'' IN THIS SPACE is less than 20, enter "20."                                    OR ADDI~O.FTEAELL.----4
 ***It the "Highest Number Previously Paid For" IN THIS SPACE is less than 3. enter "3."        ADDIT. FEE                                 -
     The "Highest Number Previously Paid For'' (Total or Independent) is the highest number found in tho appropriate box in column 1.
FORM PT0-875                       'U.S. Government Prrnting Office· 1996- 4 t 3-288/49191                Patent and Trademark Qff,ce. U.S. DEPARTMENT OF COMM<RCf-
(Rev. 10/96)
                                                                                                                                            ADJCAM000119




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                    Case 6:10-cv-00329-LED Document 629-4 Filed 04/24/12 Page 52 of 64 PageID #: 5044

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                                                                                                                                                                                                            Patent and Trademark Office   1ST EXAMINER       ft/ fj~LL~+,J DATE         &:-c230z       I




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                                                                                                                                                      PACE DATA ENTRY CODING SHEET                                                                                 v
                                                                                                                                                                                                                                          2ND EXAMINER                          DATE
                                                                                                                                                                            TYPE                   FILING DATE                SPECIAL            GROUP                                  SHEETS OF
Filed: 12/11/2014




                                                                                                                                            A~PLICATION NUMBER
                                                                                                                                                                            APPL            MONTH      DAY      YEAR         HANDLING           ART UNIT                CLASS            DRAWING
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Document: 97-3




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Case: 13-1665




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                                            E. S. McALL.
                                     CAMERA HOLDING DEVICE.
                                   APPLICATION FILED APR. 29, 1915.

          1,208,344.                                                      Patented Dec. 12, 1916.
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                                                                                            INVENTOR.




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                                      E. S. McALL.
                                CAMERA HOLDIII!G DEVICE.
                              APPLICATION FILED APR. 29, 1915,

          1,208,344.                                               Patented Dec. 12, 1916.
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                                                                                   INVENTOR.
                                                                      ~ S.1tt~att




                                                                                            ADJCAM000122




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              Case: 13-1665                    Document: 97-3                     Page: 145                      Filed: 12/11/2014


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                                  EDWARD S. ],VIcALL, OF ILION, NEW YORK.

                                              CAMERA-HOLDING DEVICE.

    1,208,344.                                 Specification of Letters Patent.          Patented Dec. 12, 1916.
                                   Application filed April2!!, 191~.   Seri.alJ.'1o. 2.4,666.

   To all ~o hom it may concern:                                or when the device stands, as shown in Fig.
      Be it known that I, EowARD S. MoALL,                      4, on a small and inclined surface b, such as
   a citizen ot the United States, and a resi-                  that of a rock, log, or branch of a tree, or
   dent of Ilion, in the county of Herkimer                     on a flat surface which is too small to en- 60
 5 and State of New York, have invented a                       able a common tripod to stand on it and
   certain new and useful Improvement in                        which may be the top of a post, stump of a
   Camert\-Holding Devices, of which the :fol-                  tree, or something else.
   lowing is a full, clear, and exact descrip-                      The tripod and platform of this device
   tion, reference being made to the accom-                     are made from thin sheet metal, the head of 65
10 parrying drawings, forming part of this                      the tripod consisting of ::J, single piece of
   specification.                                               stock and being the base on whieh the plat-
      This invention relates to improvements in                 form is mounted. This base is an approxi-
   camera-holding devices which include means                   mately V-shaped frame including the flat
   to enable a camera to be adjusted for use                    portion 1 (Fig. 2), the lateml flanges or sides 70
15 by moving it angularly on a horizontal axis,                 2 and 3, which are preferably straight, and
   the main object of the invention being to                    t!1e perforated parts 4 and 5 whieh are con-
   facilitate the operation of cameras under                    tinuations of the flanges and :form a pair of
   conditions which now are apt to be more or                   eyes at the broad end of the base. The pro-
   less troublesome.                                            jeetion 6, consisting of a struck up portion 75
20    The invention consists of a camera-hold-                  of the stock of the frame or base, is one of
   ing device comprising the parts, and having                  the feet of the tripod. The platform, which
   the construction and arrangement of parts,                   is also a single piece of stock,, includes the
   which are hereinafter decf?cribed and speci-                 part 7, the lateral flanges or sides 8 and 9,
   fied in the claims.                                          and the perforated continuations 10 and 11 80
25     On the accompanying two sheets of draw-                  of the flanges, the part 7 being flat except
   ings, on which like reference-numerals                       ·where it :forms the annular struek up
   designate like parts of different views: Fig-                camera-seat 12, and the portions 10 and 11
   ure ~ is a side elevation of a camera-holding                forming eyes similar to the eyes 4 and 5 of
   device which embodies the invention in its                   the base. The eyes of the platform fit 85
30 preferred :form; Fig. 2~ a front elevation of                loosely between the eyes of the base and the
   this device; Fig. 3, a plan thereof; Fig. 4,                 fl!l,nges of the platform between the flanges
   another side elevation thereof; Fig. 5,                      of the base, so that the platform and base
   another plan, the relative positions of the                  m~y lie close together as appears by Figs.
   parts differing from thos.e shown in Fig. 3 ;                5 and 6. The screw 13 having the milled 90
35 and Fig. 6, :1 side and sectional view, the                  head 14 extends loosely through the part 7
   relative positiops of the parts being the                    at the center of the s.eat 12, the cotter pin
   same as shown in Fig. 5.                                     15, which passes through the stem of the
       The partivular c:;tmera-holding device                   screw and lies close to the :face of the plat-
   shown comprises what is essentially a low                    form, bei11g a keeper for the screw.            95
40 tripod, a platform hinged thereto, and a                         The bolt 16, h:win.g at one end the head 17
   clamp which is effective to hold the plat-                   a.n.d at the other the winged nut 18, passes
   form adjusted with relat~on to the base in                   through the eyes of the platform and base,
   any of a large number of pqsitions. That                     and on this bolt are also the spaeing-sleeve
   it differs much in character from ordinary                   19, the :f:J;iction-washers 20 and 21, and a 100
45 tripods is plainly indicated by its utility                  yoke comprising the bai;' 22, eyes 23 and 24,
   in various places wl)..ere any of them are                   and parts :?5 :mel 26 which :form both the
   useless, as well :;ts by peculiarities Qf it.s con-          ends of the yoke and the two other feet of
   struction and it_s mo.de of operatiQn. For                   the tripod. The sleeve 19 fits closely be-
   example, it wiJI properly support a camera                   tween .the eyes 10 and 11, each :fi·iction- 105
50 in a desired position 'Yhen the devic.e is held              washer is between an eye of the base and
   by the han,d ~ga~"Q.st a wall, or post, o.r trunk            the aclj acent eye of the platform, and the
   of a tree, or the .steeply sloping or vertical               eyes. of the yoke surroun.d the holt outside
   :fa,ce of a rock or cli:f;f, a,s illustrated in Fig.         of the eyes of the base.
   1, in which the surface against which the                        Although the pa:r;ts of the device might be llO
55 device is he~d is represented by th.e irregu-                otherwise ~urang(ld, the at'rangewent shown
   lar lin~ a, and th.e Q~n:teJ;a by bro.ken lines,             and desc:dbed is p:refened because it en-

                                                                                                                                  ADJCAM000123




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                                                         1,208,344


                ables the parts to fit together as shown in of the base and less than the width of that
                Figs. 5 and 6, and renders the distance be- part of the base which is next to the hinge.
                tween the :feet 25 and 26 greater than the            2. A camera-holding device comprising t1
                width of the base or frame at its broad base, a platform hinged thereto, a clamp
             5 encl. The bolt and three pairs of eyes con- effective to hold the platform adjusted with ~~
                stitute means by which the base, platform relation to the base, and angularly movable
                and yoke are hinged together, each of these feet adjacent to tho ends of the hinge, those
                three parts being angularly movable on the feet being fast together and their length
                axis o:f the bolt with relation to the two being less than thn t of the base and less
           10 others, and the bolt, spacing-sleeve and nut than the width of that part of the base ?5
                form a clamp by which the parts may be which is next to the hinge.
                tightly held in various positions to which            3. A camera,- holding device compri:-:ing
                they may be adjusted.                               a base, a plt1tform hinged thereto, a clamp
                    It will be seen that whether the base is effective to hold the pbtform ndjnsted \Yith
           15 vertical or nearly horizontal the platform relation to the base, and three short feet S0
                 may be either horizontal or Yertical or may which with the base form a low tripod, two
                 be inclined at any desired angle to the plane of the feet being adjacent to the ends of the
                 of the horizon. The yoke so turns that the hinge, and the other being fast on the base.
                 feet 25 and 26, which are fast together and           4. A camera-holding device comprising a
           20 turn together on the t1xis of the bolt, may base, a platform hinged thereto, a clamp 8',-
                 be located behind the bolt as they are shown e±rective to hold the platform adjnstecl with
                 i.n Figs. 1, 3 and 4, or at the sides of the base relation to the base, and three short feet
                 as they are shown in Figs. 5 and 6, their which with the base form a low tripod, two
                 length being much less than that of the base of the feet being adjacent to the ends of
            25 or that of the bolt, so that they do not pro- the hinge and being· pivotally connected 00
                 ject far :from .the base at the sides thereof with the base, and the other being fast on
                 and so that when the device either is held the base.
                  against a vertical or steeply sloping surface,        5. A camera-holding device comprising a.
                 or rests on a :fit1t or slightly inclined surface, base, a platform hinged thereto, a -fastening
            SO there is but little space between the base and to secure tl1e can1era. on the plntforn1~ n 95
                 that surface and the device is far more clamp effective to hold the platform adjust-
                  stable than an ordinary tripod having legs ed with relation to the base, and three short
                  that are many times as long as the head of feet which with the base form a low tripod,
                  the tripod. The camera rests on the set1t 12 two of the feet being adjacent to the ends
            85 and is rastened to the platform by the screw of the hinge and the other being fast on 100
                  13, when the holding-device and camem are the base.
                  in use, the screw fitting in a hole in the            6. A camera-holding device comprising a
                  frame of the camera and engaging with an base, a. platform hinged thereto, a. screw at-
                  internal screw-thread formed in that frame. tached to and extending throng'l1 the plat-
            40 Then the feet 25 and 26 are behind the bolt. form, a clamp effective to hold the platform 105
                  The platform may be readily adjusted and adjusted with relation to the base, and three
                  clamped in the desired position when the short feet which with the base form a low
                  feet rest on the object on which the device is tripod, two of the feet being adjacent to the
                  to stand or against which it is to be held. ends of the hinge, and the platform in-
             45 Of course the axis of the bolt will usually be cluding a. camera-seat surrounding the screw 110
                  horizontal when the platform is adjusted and the other being fast on the base.
                  and the camera operated.                              7. A camera-holding device comprising t1
                     A camera-holding device like that de- base, a platform, a yoke, and a bolt on which
                   scribed and suitable to hold a small camera the three other parts are mounted and on
             50 may be conveniently carried in an ordinary which they are angularly movable, the ends 115
                   coat-pocket.                                      o:f the yoke forming feet.
                     It will be understood that the invention           8. A camera-holding device comprising a
                   may be embodied in devices differing in de- base, a platform, a yoke, a bolt on which
                   tails of construction from the camera-hold- said three other parts are mounted and on
             65 ing device shown and particularly described which they are angularly movable, a spac- 120
                   herein.                                           ing-sleeve, and a pair of friction-washers,
                      Having thus described my invention, what the ends of the yoke forming feet, the base,
                   I claim as new and desire to secure by Let- platform and yoke each having t1 pair of
                   ters Patent, is:                                  eyes through which the bolt extends, the
             60       1. A camera-holding device comprising a spacing-sleeve being on the bolt between the 125
                   base, a platform hinged thereto, feet adj a- eyes of each pair, each of the friction-wash-
                   cent to the ends of the hinge, and a clamp ers being on the bolt between an eye of the
                   effective to hold the platform adjusted with base and an eye of the platform, and the
                   relation to the base, these feet being fast to- eyes of both the base and platform being be-
              65 gether and their length being less than that tween those of the yoke.                            130


                                                                                       ADJCAM000124




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                                                1,208,344


      9. A camera-holding device comprising a          which extends through the eyes of the base
   base, a platform hinged thereto, a clamp,           and platform and on which at one end is a
   and two feet which are pivotally connected          winged nut, the eyes of the platform being 40
   with the base, the clamp being effective to         between those of the base, a spacing-sleeve
 5 hold the platform and feet adjusted with            which surrounds the bolt and fits between
   relation to the base.                               the eyes of the platform, and three feet
      10. A camera-holding device comprising           which with the base form a tripod, one of
   a base, a platform hinged thereto, a clamp,         the feet being on the base close to its nar- 45
   and three feet which with the base form a           row end and the others being on the bolt
10 tripod, two of the feet being adjacent to the       and being angularly movable thereon, one
   ends of the hinge, the clamp being effective        of them being next to the head of the bolt
   to hold the platform adjusted with relation         and the other next to the winged nut.
   to the base, and the base and platform each            13. A camera-holding device comprising 50
   having lateral flanges, those of one part fit-      a base which is narrow at one end and the
15 ting between those of the other.                    lateral edges of which diverge as they re-
      11. A camera-holcling device comprising          cede from that end, tt platform which is
   a base which is narrow at one end and the           broader nt one end than at the other and
   lateral edges of which are straight and eli-        has on it a camera-seat, the base and plat- 55
   verge as they recede from that end and              form being pivotally connected together at
20 which has eyes at its broad end, a platform         their broad ends, a fastening to secure a
   which is broader at one end than at the other       camera on the platform, and a clamp effec-
   and which has eyes at its broad end and a           tive to hold the platform adjusted with re-
   camera-seat at its narrow end, a bolt which         lation to the base.                          60
   extends through the eyes of the base and               14. A camcnt-holding device comprising
25 platform, a spacing-sleeve on the bolt, and         a base which is narrow at one end and has
   three feet which with the base form a tripod,       lateral ihnges svhich diverge as they recede
   two of the feet being adjacent to the eyes          from that end, a platform which is broader
   of the base and the other being on the base         at one end than at the other and has on it 70
   close to its narrow end.                            a camera-seat, the base n,nd platform being
30    12. A camera-holding device comprising           pivotally connected together at their broad
   a base which is narrow at one end and the           ends, a fastening to secure a camera on the
   lateral edges of which are straight and di-         platform, and a clamp effective to hold the
   yerge as they recede from that end and              platform adjusted with relation to the base, 7 5
   which has eyes at its broad end, a platform         the platform being adjustable to a position
35 which is broader at one end than at the             in which it fits close to the base from end
   other and which has eyes at its broad end           to end and between the flanges of the base.
    and a camera-seat at its narrow end, a bolt                             EDWARD S. McALL.
    Copies of this patent may be obtained for five cents each, by addressing the "Commissioner of Patents,
                                              Washington, :r. C."




                                                                                                    ADJCAM000125




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            It is hereby certified that in Letters Patent No. 1,208,344, granted December 12,
          1916, upon the application of Edward S. McAll, of Ilion, New York, for an im-
          provement in "Camera-Holding Devices," errors appear in the printed specifica-
          tion requiring correction as follows: Page 2, line 109, claim 6, after the word "hinge"
          and before the comma insert the words and ihe other being fast on the basej same
          page and claim, at the end of line 110 insert a period and strike out line 111; and
          thnt the said Letters Patent should be read with these corrections therein that the
          same may conform to the record of the case in the Patent Office.
            Signed and sealed this 9th day of January, A. D., 1917.
               [SEAL.)                                                F. W. H. CLAY,
                                                             Acting Commissioner of Patents.




                                                                                      ADJCAM000126




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MPI Family Report (Family Bibliographic and Legal Status)
In the MPI Family report, all publication stages are collapsed into a single record, based on identical application
data. The bibliographic information displayed in the collapsed record is taken from the latest publication.

Report Created Date: 2010-02-22
Name of Report:
Number of Families: 1
Comments:

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1.     US5855343A 19990105 IREZ RESEARCH CORP                                               US
       Camera clip ..........................................................................................................................................................   1




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Family Bibliographic and Legal Status                                                                                     1



Family1

1 records in the family.
US5855343A             19990105

(ENG) Camera clip
Assignee: IREZ RESEARCH CORP                 US
Inventor(s): KREKELBERG DAVID E US
Application No: US 81416897 A
Filing Date: 19970307
Issue/Publication Date: 19990105

Abstract: (ENG) A clip for supporting a portable camera either on a surface or on an edge of a housing, and for
          protecting the lens of the camera when the camera is not being supported. The clip provides two axis of
          rotation to position the camera to any desired viewing angle. The clip may be rotated to a first position
          to support the camera on a surface of a table or desk. The clip may be rotated to a second position to
          support the camera on the display screen of a laptop computer. When the camera is not being supported
          in the first position or the second position, the camera may be rotated to be releasably held by the clip to
          protect the camera and lens during storage.
Priority Data: US 81416897 19970307 A I;
IPC (International Class):          A47G02900
ECLA (European Class):            F16M01302; F16M01112; F16M01120; G06F00116P2C
US Class: 248121; 248126; 248918
Agent(s):     Nawrocki, Rooney & Sivertson, P
Examiner Primary: Ramirez, Ramon O.
Examiner Assistant: Phan, Long Dinh
US Post Issuance:
    --US Litigations: NOTICE OF LITIGATION; NOTICE OF LITIGATION PAR Technologies, Inc. v. Philips
    Electronics North America Corporation, et al, Filed Jul. 9, 2001, D.C.
    Arizona (Phoenix), Doc. No. CIV '01 1273 PHX MHM; NOTICE OF LITIGATION Logitech, Inc. v. Par
    Technologies, Inc. ,
    Filed May 21, 2001, D.C. N.D. California, Doc. No. C01-1983 SI Order
    of dismissal with prejudice pursant to the parties' settlement agreement,
    Filed January 14, 2002,HonorableSusan Illston, United States District
    Court, Northern District of California
Assignments Reported to USPTO:
    Reel/Frame: 08730/0592 Date Signed: 19970813 Date Recorded: 19970827
    Assignee: IREZ RESEARCH, CORPORATION SUITE 485 5929 BAKER ROAD MINNETONKA
              MINNESOTA 55345
     Assignor: KREKELBERG, DAVID E.
     Corres. Addr: NAWROCKI, ROONEY & SIVERTSON, P.A. LAWRENCE M. NAWROCKI 3433
                   BROADWAY STREET N.E., SUITE 401 MINNEAPOLIS, MN 55413
     Brief: ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).



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                                                             A2591
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Family Bibliographic and Legal Status                                                                                2



     Reel/Frame: 09669/0507 Date Signed: 19981219 Date Recorded: 19981231
     Assignee: ANCHOR BANK NA 1055 E. WAYZATA BLVD. WAYZATA MINNESOTA 55391
     Assignor: IREZ RESEARCH CORP.
     Corres. Addr: HUGH D. JAEGER 1000 SUPERIOR BLVD., STE. 302 WAYZATA, MN 55391
     Brief: ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).

     Reel/Frame: 09671/0084 Date Signed: 19981219 Date Recorded: 19981231
     Assignee: PAR TECHNOLOGIES, INC. 14605 AIRPORT DRIVE, SUITE 304 SCOTTSDALE ARIZONA
               85260
     Assignor: ANCHOR BANK NA
     Corres. Addr: HUGH D. JAEGER 1000 SUPERIOR BLVD., SUITE 302 WAYZATA, MN 55391
     Brief: ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).

     Reel/Frame: 12745/0992 Date Signed: 20020312 Date Recorded: 20020403
     Assignee: WIYN INVESTMENTS 865 EAST SWEETWATER AVENUE SCOTTSDALE ARIZONA
     Assignor: PAR TECHNOLOGIES, INC.
     Corres. Addr: KINNEY & LANGE, P.A. ALANA BERGMAN 312 SOUTH THIRD STREET
                   MINNEAPOLIS, MN 55415-1002
     Brief: ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FORDETAILS).

     Reel/Frame: 12813/0714 Date Signed: 20020312 Date Recorded: 20020422
     Assignee: GLOBALMEDIA GROUP 15020 NORTH 74TH STREET SCOTTSDALE ARIZONA 85260
     Assignor: WIYN INVESTMENTS
     Corres. Addr: KINNEY & LANGE, P.A. ALANA T. BERGMAN 312 SOUTH THIRD STREET
                   MINNEAPOLIS, MN 55415-1002
     Brief: ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENTFOR DETAILS).

     Reel/Frame: 17198/0952 Date Signed: 20060222 Date Recorded: 20060222
     Assignee: WIYN INVESTMENTS, LLC 8665 E. SWEETWATER SCOTTSDALE ARIZONA 85260
     Assignor: PAR TECHNOLOGIES, INC.
     Corres. Addr: JOEL E. BARTHELEMY 8281 EAST GELDING DRIVE SCOTTSDALE, AZ 85260
     Brief: ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).

     Reel/Frame: 17207/0320 Date Signed: 20060223 Date Recorded: 20060223
     Assignee: GLOBALMEDIA GROUP, LLC 8281 EAST GELDING DRIVE SCOTTSDALE ARIZONA
               85260
     Assignor: WIYN INVESTMENTS, LLC
     Corres. Addr: JOEL E. BARTHELEMY 8281 EAST GELDING DRIVE SCOTTSDALE, AZ 85018
     Brief: ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).


Legal Status:
    Date               +/-              Code        Description
    19970827           ()               AS          New owner name: IREZ RESEARCH, CORPORATION,
                                                    MINNESOTA; : ASSIGNMENT OF ASSIGNORS
                                                    INTEREST;ASSIGNOR:KREKELBERG, DAVID
                                                    E.;REEL/FRAME:008730/0592; Effective date: 19970813;



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Family Bibliographic and Legal Status                                                                               3



     19970827          ()               AS02        ASSIGNMENT OF ASSIGNOR'S INTEREST New owner name:
                                                    IREZ RESEARCH, CORPORATION SUITE 485 5929 BAKER
                                                    RO; Effective date: 19970813;
     19970827          ()               AS02        ASSIGNMENT OF ASSIGNOR'S INTEREST New owner name:
                                                    KREKELBERG, DAVID E.; Effective date: 19970813;
     19970827          ()               AS02        New owner name: IREZ RESEARCH, CORPORATION SUITE
                                                    485 5929 BAKER RO; Effective date: 19970813;
     19970827          ()               AS02        New owner name: KREKELBERG, DAVID E.; Effective date:
                                                    19970813;
     19981231          ()               AS          New owner name: ANCHOR BANK NA, MINNESOTA; :
                                                    ASSIGNMENT OF ASSIGNORS INTEREST;ASSIGNOR:IREZ
                                                    RESEARCH CORP.;REEL/FRAME:009669/0507; Effective date:
                                                    19981219;
     19981231          ()               AS          New owner name: PAR TECHNOLOGIES, INC., ARIZONA; :
                                                    ASSIGNMENT OF ASSIGNORS
                                                    INTEREST;ASSIGNOR:ANCHOR BANK
                                                    NA;REEL/FRAME:009671/0084; Effective date: 19981219;
     19981231          ()               AS02        ASSIGNMENT OF ASSIGNOR'S INTEREST New owner name:
                                                    PAR TECHNOLOGIES, INC. 14605 AIRPORT DRIVE, SUITE;
                                                    Effective date: 19981219;
     19981231          ()               AS02        ASSIGNMENT OF ASSIGNOR'S INTEREST New owner name:
                                                    ANCHOR BANK NA; Effective date: 19981219;
     19981231          ()               AS02        New owner name: PAR TECHNOLOGIES, INC. 14605 AIRPORT
                                                    DRIVE, SUITE; Effective date: 19981219;
     19981231          ()               AS02        New owner name: ANCHOR BANK NA; Effective date:
                                                    19981219;
     20020403          ()               AS          ASSIGNMENT New owner name: WIYN INVESTMENTS 865
                                                    EAST SWEETWATER AVENUE SCOTTS; : ASSIGNMENT OF
                                                    ASSIGNORS INTEREST;ASSIGNOR:PAR TECHNOLOGIES,
                                                    INC.;REEL/FRAME:012745/0992; Effective date: 20020312;
     20020403          ()               AS          ASSIGNMENT New owner name: WIYN INVESTMENTS 865
                                                    EAST SWEETWATER AVENUESCOTTSD; : ASSIGNMENT
                                                    OF ASSIGNORS INTEREST;ASSIGNOR:PAR
                                                    TECHNOLOGIES, INC. /AR;REEL/FRAME:012745/0992;
                                                    Effective date: 20020312;
     20020403          ()               AS          New owner name: WIYN INVESTMENTS, ARIZONA; :
                                                    ASSIGNMENT OF ASSIGNORS INTEREST;ASSIGNOR:PAR
                                                    TECHNOLOGIES, INC.;REEL/FRAME:012745/0992; Effective
                                                    date: 20020312;
     20020403          ()               AS          New owner name: WIYN INVESTMENTS 865 EAST
                                                    SWEETWATER AVENUE SCOTTS; : ASSIGNMENT OF
                                                    ASSIGNORS INTEREST;ASSIGNOR:PAR TECHNOLOGIES,
                                                    INC.;REEL/FRAME:012745/0992; Effective date: 20020312;
     20020403          ()               AS          New owner name: WIYN INVESTMENTS 865 EAST
                                                    SWEETWATER AVENUESCOTTSD; : ASSIGNMENT OF
                                                    ASSIGNORS INTEREST;ASSIGNOR:PAR TECHNOLOGIES,
                                                    INC. /AR;REEL/FRAME:012745/0992; Effective date: 20020312;
     20020422          ()               AS          ASSIGNMENT New owner name: GLOBALMEDIA GROUP
                                                    15020 NORTH 74TH STREET SCOTTSDA; : ASSIGNMENT OF
                                                    ASSIGNORS INTEREST;ASSIGNOR:WIYN
                                                    INVESTMENTS;REEL/FRAME:012813/0714; Effective date:
                                                    20020312;



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Family Bibliographic and Legal Status                                                                            4



     20020422          ()               AS          ASSIGNMENT New owner name: GLOBALMEDIA GROUP
                                                    15020 NORTH 74TH STREETSCOTTSDAL; : ASSIGNMENT
                                                    OF ASSIGNORS INTEREST;ASSIGNOR:WIYN
                                                    INVESTMENTS /AR;REEL/FRAME:012813/0714; Effective
                                                    date: 20020312;
     20020422          ()               AS          New owner name: GLOBALMEDIA GROUP, ARIZONA; :
                                                    ASSIGNMENT OF ASSIGNORS INTEREST;ASSIGNOR:WIYN
                                                    INVESTMENTS;REEL/FRAME:012813/0714; Effective date:
                                                    20020312;
     20020422          ()               AS          New owner name: GLOBALMEDIA GROUP 15020 NORTH
                                                    74TH STREET SCOTTSDA; : ASSIGNMENT OF ASSIGNORS
                                                    INTEREST;ASSIGNOR:WIYN
                                                    INVESTMENTS;REEL/FRAME:012813/0714; Effective date:
                                                    20020312;
     20020422          ()               AS          New owner name: GLOBALMEDIA GROUP 15020 NORTH
                                                    74TH STREETSCOTTSDAL; : ASSIGNMENT OF ASSIGNORS
                                                    INTEREST;ASSIGNOR:WIYN INVESTMENTS
                                                    /AR;REEL/FRAME:012813/0714; Effective date: 20020312;
     20060222          ()               AS          ASSIGNMENT New owner name: WIYN INVESTMENTS, LLC,
                                                    ARIZONA; : ASSIGNMENT OF ASSIGNORS
                                                    INTEREST;ASSIGNOR:PAR TECHNOLOGIES,
                                                    INC.;REEL/FRAME:017198/0952; Effective date: 20060222;
     20060222          ()               AS          New owner name: WIYN INVESTMENTS, LLC, ARIZONA; :
                                                    ASSIGNMENT OF ASSIGNORS INTEREST;ASSIGNOR:PAR
                                                    TECHNOLOGIES, INC.;REEL/FRAME:017198/0952; Effective
                                                    date: 20060222;
     20060222          ()               AS          New owner name: WIYN INVESTMENTS, LLC, ARIZONA; :
                                                    ASSIGNMENT OF ASSIGNORS INTEREST;ASSIGNOR:PAR
                                                    TECHNOLOGIES, INC.;REEL/FRAME:017198/0952; Effective
                                                    date: 20060222;
     20060223          ()               AS          ASSIGNMENT New owner name: GLOBALMEDIA GROUP,
                                                    LLC, ARIZONA; : ASSIGNMENT OF ASSIGNORS
                                                    INTEREST;ASSIGNOR:WIYN INVESTMENTS,
                                                    LLC;REEL/FRAME:017207/0320; Effective date: 20060223;
     20060223          ()               AS          New owner name: GLOBALMEDIA GROUP, LLC, ARIZONA; :
                                                    ASSIGNMENT OF ASSIGNORS INTEREST;ASSIGNOR:WIYN
                                                    INVESTMENTS, LLC;REEL/FRAME:017207/0320; Effective
                                                    date: 20060223;
     20060223          ()               AS          New owner name: GLOBALMEDIA GROUP, LLC, ARIZONA; :
                                                    ASSIGNMENT OF ASSIGNORS INTEREST;ASSIGNOR:WIYN
                                                    INVESTMENTS, LLC;REEL/FRAME:017207/0320; Effective
                                                    date: 20060223;




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                               USPTO Maintenance Report
  Patent Bibliographic Data                                                    02/22/2010 05:21 PM
  Patent                                             Application
                  5855343                                            08814168
  Number:                                            Number:
  Issue Date:     01/05/1999                         Filing Date:    03/07/1997
  Title:          CAMERA CLIP
  Status:         12th year fee window opens: 01/05/2010             Entity:            Small
  Window
                  01/05/2010    Surcharge Date:      07/07/2010      Expiration:        N/A
  Opens:
  Fee Amt Due: $2,055.00        Surchg Amt Due:      $0.00           Total Amt Due:     $2,055.00
  Fee Code:       2553          MAINTENANCE FEE DUE AT 11.5 YEARS
  Surcharge
  Fee Code:
  Most recent     08/23/2006    Payment of Maintenance Fee, 8th Yr, Small Entity.
  events (up to   08/23/2006    7.5 yr surcharge - late pmt w/in 6 mo, Small Entity.
  7):             07/26/2006    Maintenance Fee Reminder Mailed.
                  08/19/2002    Payment of Maintenance Fee, 4th Yr, Small Entity.
                  08/19/2002    Surcharge for late Payment, Small Entity.
                  07/23/2002    Maintenance Fee Reminder Mailed.
                                --- End of Maintenance History ---
  Address for     GLOBAL MEDIA GROUP, LLC
  fee purposes:   15020 N. 74TH STREET, SUITE B
                  SCOTTSDALE, AZ
                  85260




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                                              A2595
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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                       TYLER DIVISION
 ADJUSTACAM LLC

       v.                                                    NO. 6:10-cv-329-LED

 AMAZON.COM, INC., ET AL.                                    JURY

                                               ORDER

            CAME BEFORE THE COURT the Objections of the Plaintiff AdjustaCam LLC (“to the

 Magistrate Judge’s Memorandum Opinion and Order Regarding Claim Construction (Doc No.

 627) (the “Opinion”). Upon review of the Objections, the Opinion and the other papers on file,

 the Plaintiff’s objections are SUSTAINED.

            The Court finds that nothing in the ‘343 patent or its prosecution history states that

 rotation is “limited to one axis of rotation.” Further, “[t]he claims themselves provide substantial

 guidance as to the meaning of particular claim terms.” Phillips v. AWH Corp., 415 F.3d 1303,

 1314 (Fed. Cir. 2005) (en banc). Claims 1 and 10 of the ‘343 patent, at element (a), each

 comprises “a hinge member adapted to be rotatably attached to the camera, said camera, when

 the hinge member is so attached, rotating, about a first axis of rotation, relative to said hinge

 member . . .” If “rotatably attached” was “limited to one axis of rotation,” then it would be

 redundant to have a “first axis of rotation” limitation also present in element (a) of claims 1 and

 10.

            Likewise, Claims 1, 10 and 21 of the ‘343 patent, at element (b), each comprises “a

 support frame rotatably attached to said hinge member and configured to support said hinge

 member on the surface and the object, said hinge member rotating about a second axis of rotation

 relative to said support frame. . .” If “rotatably attached” was “limited to one axis of rotation” as




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 the Magistrate has erroneously ruled, then it would be redundant to have a “second axis of

 rotation” limitation also present in element (a) of claims 1, 10 and 21.

        As the foregoing illustrates, it would be improper to import “single axis of rotation” into

 rotatably attached, including because it would make the “first axis of rotation” in element (a)

 redundant or superfluous, and it would make the “second axis of rotation” in element (b)

 redundant or superfluous. See, e.g., Blackboard, Inc. v. Desire2Learn, Inc., 574 F.3d 1371, 1376

 (Fed. Cir. 2009); Rambus Inc. v. Infineon Techs. AG, 318 F.3d 1081, 1096 (Fed.Cir.2003) (claim

 limitation for a multiplexed bus, a limitation that would be redundant if “bus” already meant

 “multiplexed bus”). See also Clearstream Wastewater Sys., Inc. v. Hydro–Action, Inc., 206 F.3d

 1440, 1446–47 (Fed.Cir.2000) (explaining that the doctrine “prevents the narrowing of broad

 claims by reading into them the limitations of narrower claims”).

        Further, limiting the “rotatably attached” terms to a single axis of rotation would

 improperly limit the claims to a preferred embodiment. See Phillips, 415 F.3d at 1319-20.

        Finally, the claims unequivocally refer to an apparatus “comprising” a “first axis of

 rotation” relative to the hinge member and camera and “second axis of rotation” relative to the

 hinge member and support frame. The word “comprising,” which in patent lexicography means

 “including, but not limited to” is “open-ended and does not exclude additional, unrecited

 elements.” CIAS, Inc. v. Alliance Gaming Corp., 504 F.3d 1356, 1361 (Fed. Cir. 2007); Georgia-

 Pacific Corp. v. United States Gypsum Co., 195 F.3d 1322, 1327-28 (Fed. Cir. 1999).While all

 that is required to infringe the claims is rotation in one axis per rotatable attachment, the claimed

 invention is not restricted to this embodiment. Rather it comprises all types of “rotatable”

 attachments, including those which permit rotation in more than a single axis. In addition, the




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 rotatable attachments comprise rotation over a first axis (as claimed), rotation over a second axis

 (as claimed), and rotation over other axes as well.

        Accordingly, it is ORDERED that “rotatably attached,” “adapted to be rotatably

 attached” and “adapted to rotatably attach” are herby construed as “connected such that the

 connected object is capable of being rotated” and “adapted to be connected such that the

 connected object is capable of being rotated,” respectively, and that the Magistrate Judge’s

 Ruling that the “rotatably attached” terms are        limited to one axis of rotation is hereby

 OVERRULED.




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                                                                                                     1
                              CLAIM CONSTRUCTION HEARING


  1                    IN THE UNITED STATES DISTRICT COURT
  2                      FOR THE EASTERN DISTRICT OF TEXAS
  3                                      TYLER DIVISION
  4   ADJUSTACAM, LLC                         )(
  5                                           )(      CIVIL DOCKET NO.
  6                                           )(      6:10-CV-329
  7   VS.                                     )(      TYLER, TEXAS
  8                                           )(
  9                                           )(      FEBRUARY 9, 2012
 10   AMAZON.COM, INC., ET AL. )(                     9:00 A.M.
 11                          CLAIM CONSTRUCTION HEARING
 12                 BEFORE THE HONORABLE JUDGE JOHN D. LOVE
 13                         UNITED STATES MAGISTRATE JUDGE
 14
 15   APPEARANCES:
 16
 17   FOR THE PLAINTIFF:               (See Attorney Sign-In Sheet)
 18
 19   FOR THE DEFENDANTS:              (See Attorney Sign-In Sheet)
 20
 21   COURT REPORTER:                  SHELLY HOLMES, Texas CSR 7804
                                       Expiration Date: 12/31/12
 22                                    Sunbelt Reporting & Litigation
                                       6575 West Loop South, Suite 580
 23                                    Bellaire, Texas 77401
                                       (903) 593-3213
 24
      (Proceedings recorded by mechanical stenography,
 25   transcript produced on a CAT system.)



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                                                                                                     2
                              CLAIM CONSTRUCTION HEARING


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  4   February 9, 2012
  5                                                                        Page
  6       Appearances                                                      1
  7       Hearing                                                          3
  8       Court Reporter's Certificate                                   98
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                                                                                                     3
                              CLAIM CONSTRUCTION HEARING


  1                      COURTROOM CLERK:             All rise.
  2                      THE COURT:         Please be seated.
  3                      All right.         Ms. Morris, you may call the
  4   case.
  5                      COURTROOM CLERK:             The Court calls Case No.
  6   6:10-CV-329, Adjustacam versus Amazon.com, et al.
  7                      THE COURT:         Announcements.
  8                      MR. SPANGLER:           Good morning.           Andrew
  9   Spangler on behalf of the Plaintiff.                         With me today is
 10   Mr. John Edmonds and Mr. Johnathan --
 11                      MR. YAZDANI:          Yazdani.
 12                      MR. SPANGLER:           -- Yazdani, yes.             And we're
 13   ready, Your Honor.
 14                      THE COURT:         All right.         And for the
 15   Defendants?
 16                      MR. CRAFT:         Morning, Your Honor, Brian
 17   Craft.      I'm here on behalf of Amazon.com with Jacqueline
 18   Lu, Steve Daniels, here on behalf of Best Buy entities,
 19   CDW, Fry's Electronics, Hewlett Packard Company, Micro
 20   Electronics, and Office Depot.
 21                      THE COURT:         Okay.
 22                      MR. HAMMOND:          Herbert Hammond on behalf of
 23   Gear Head.
 24                      MR. SMITH:         Michael Smith on behalf of
 25   Wal-Mart.



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                                                                                                     4
                              CLAIM CONSTRUCTION HEARING


  1                      MR. YARBROUGH:           Trey Yarbrough, Your Honor,
  2   on behalf of the Newegg Defendants and Rosewill.                                And
  3   John Zarian, as well.               Mr. Zarian will be arguing some
  4   of the disputed terms.
  5                      THE COURT:         All right.         Thank you.
  6                      We're here, of course, for claim
  7   construction hearing.               As the -- I'm sure you probably
  8   know, the way I want to approach this is to take this
  9   term-by-term.          I don't think there's, in this context,
 10   really any necessity of any general tutorial of any
 11   kind.     I think you can just jump right into the terms.
 12   And we'll go back and forth on the -- term-by-term.
 13                      Let me, though, before we begin just kind of
 14   get a clear understanding of what terms are in dispute
 15   going forward here.              I'll just go kind of down the list.
 16   I understand, I guess, that -- I'll just list them off,
 17   that hinge member, rotatably attached terms,
 18   disposition, support frame, I think these are the four
 19   that I'm fairly certain are in dispute.                           Are there any
 20   other terms in dispute?                  And I'm going off of what the
 21   Defendants briefed.              Support frame, disposition, hinge
 22   member, and rotatably attached.                      Any other term in
 23   dispute?
 24                      MS. LU:       No, Your Honor.
 25                      THE COURT:         Okay.      Just those four?



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                              CLAIM CONSTRUCTION HEARING


  1                      MR. EDMONDS:          No, Your Honor.             I mean, there
  2   are -- there are a number of agreements that may not be
  3   reflected in the chart we gave you --
  4                      THE COURT:         Okay.
  5                      MR. EDMONDS:          -- in terms of plain meaning,
  6   but those are the ones in dispute.
  7                      THE COURT:         So that I'm understanding, then,
  8   those terms which are originally in dispute, is there
  9   agreement as to plain meaning?                     Is that what I'm
 10   understanding, or is there an agreement --
 11                      MS. LU:       That's right.
 12                      THE COURT:         Okay.      All right.          So with those
 13   four terms in dispute, then let's begin, and I'll leave
 14   it up to the parties as far as how they would like to do
 15   the order of terms.              As always, just keep in mind your
 16   time.     I don't think this hearing should take too long
 17   with the disputed terms in dispute, but my typical
 18   advice is to prioritize the most important terms first
 19   to the parties.
 20                      So let me hear first from the Plaintiff.
 21                      MR. ZARIAN:          Well, if it please the Court,
 22   Your Honor, counsel conferred before the hearing and had
 23   proposed and agreed that the -- that the following order
 24   of terms be -- be discussed, support frame, then
 25   dispossession, then hinge member, then rotatably



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                              CLAIM CONSTRUCTION HEARING


  1   attached, essentially in the order they were presented
  2   in the briefing, Your Honor.
  3                      THE COURT:         Okay.      That's fine.           Okay.
  4   Support frame, then.               Go ahead.
  5                      MR. EDMONDS:          Thank you, Your Honor, John
  6   Edmonds here for the Plaintiff.
  7                      And let me make one correction to what we
  8   said.     In terms of the -- the agreements on plain
  9   meaning, there's one element, hingedly attached, that
 10   the parties agreed on a construction.                         It was connected
 11   or joined via a hinge joint.                    I believe the rest of
 12   them we stated correctly had been agreed to be plain
 13   meaning.
 14                      THE COURT:         Okay.      Connected or joined via a
 15   hinge --
 16                      MR. EDMONDS:          Joint, Your Honor.
 17                      THE COURT:         -- joint or point?
 18                      MR. EDMONDS:          Joint.       Is there a -- if
 19   there's a typo, it should be joint.
 20                      THE COURT:         It may be -- it may be just in
 21   our -- what we put together.                    Okay.      Go ahead.
 22                      MR. EDMONDS:          So -- and by the way, I think
 23   hinge member is probably the most important term, but
 24   the Defendants' presentation was done in a different
 25   way, so we're going to do it that way, which is fine.



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                              CLAIM CONSTRUCTION HEARING


  1                      And the first term that they want to do
  2   is -- make sure I get their order correct here.                                Okay.
  3   The support frame.              So, Your Honor, a -- a support frame
  4   is, we say, a very simple term, that in general, the
  5   Defendants are trying to read extra limitations into
  6   this element, and I -- and I think even though we're
  7   going to do it one at a time, I think it's important for
  8   the Court to understand the -- the combination, kind of
  9   the one-two punch they're trying with support frame and
 10   disposition, because they have the word -- in support
 11   frame, they have the word disposition.
 12                      So when they have a construction of
 13   disposition, they're -- they're trying to import that
 14   into a support frame.               And as -- in terms of the
 15   Plaintiff's construction of support frame, we say it's a
 16   structural element that supports a hinge member.
 17   We're -- we're somewhat close to the Defendants in that
 18   we agree that it supports a hinge member.                            That seems to
 19   be an agreement.
 20                      But the -- the point of disagreement is that
 21   whether the different dispositions have to be what
 22   enable the support of the hinge member or whether the
 23   support frame is just simply what supports the hinge
 24   member.
 25                      And in -- in that regard, we can look at



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                                                                                                     8
                              CLAIM CONSTRUCTION HEARING


  1   Claim 1, and as you can see with Claim 1, Element B, we
  2   have the support frame is rotatably attached to the
  3   hinge member, and it's configured to support it.                                The --
  4   the Plaintiff says that that's all that's required by
  5   this simple term, that's all that's required by a very
  6   straightforward language in the claim.
  7                      What I see the Defendants saying is that the
  8   Plaintiff's definition lacks context, but we disagree.
  9   The context is provided within the claim itself, and
 10   if -- what I'll do is I think our -- I think our
 11   construction is fairly straightforward.                           So I'll pick
 12   apart theirs, which I think frames the issues somewhat
 13   better for the Court.
 14                      The Defendants say that a support frame --
 15   the different dispositions must be what enables support,
 16   and then when they talk about disposition, they say that
 17   that has to be something that's done in the second axis
 18   of rotation.          So what they're trying to do is they're
 19   trying to limit a support frame to something where
 20   rotation in a second axis is the only thing that must be
 21   the thing that enables support of -- of the hinge
 22   member.       And that's just simply not required by these
 23   claims.
 24                      That -- that may very well be an aspect of a
 25   preferred embodiment, but as the Phillips case teaches



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                              CLAIM CONSTRUCTION HEARING


  1   us, and many other cases teaches us, as the Court is
  2   well aware, claims are not limited to their preferred
  3   embodiments.
  4                      The -- the Defendants say that we need more
  5   physical structure in the construction.                           The problem
  6   with that argument is their construction doesn't provide
  7   additional structure.               All it's doing is putting in
  8   additional limitation -- importing additional limitation
  9   into this element.
 10                      So as I see it -- can I get the one with the
 11   colors on it -- this is kind of a colored version of
 12   Claim 1, and it gives kind of a better explanation of
 13   what's happening here so the Court can better understand
 14   it.    We have a -- it's a -- it's a camera clip.                              The
 15   hinge member is attached to the camera, and the claim
 16   requires that it rotates around a first axis of rotation
 17   relative to the hinge member.                    Then we have -- we have
 18   our hinge member attached to a camera, now we have a
 19   support frame that's attached to the hinge member.
 20                      So to us, the structure is clear of what's
 21   required in this claim, as they -- the old saying the
 22   leg bone connected to the hip bone and the hip bone
 23   connected to the thigh bone.                    Here we have a hinge
 24   member that's attached to the camera; we have a support
 25   frame that's attached to the hinge member.                            And then the



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   1   claim goes on to talk about how the hinge member, how
   2   it -- how it rotates around a second axis -- axis of
   3   rotation relative to the support frame.
   4                      And as the Court -- I don't want to go
   5   through every element here, but I think the pictures
   6   illustrate that in -- as claimed, we have the two
   7   different dispositions here that are required by the
   8   claim.      One is relative to the surface, and one is
   9   relative to the object.                 But those are already in the
 10    claim.
 11                       As -- as we see it, if you take the
 12    Defendants' restrictive construction, the claim now
 13    becomes more limited than -- than it is already
 14    structurally, and I think it's just a -- it's just a
 15    non-infringement argument they're trying to make and an
 16    improper claim construction in terms of what -- what the
 17    Court should do.
 18                       The -- there's a lot of citations they have
 19    to -- you have to have structure and you have to have
 20    context, but what we'd say to the Court is carefully
 21    read Claim 1 or Claim -- any of the -- any of the
 22    independent claims, Claim 19 or Claim 20.                            It's clear
 23    from these straightforward claims what the structure is.
 24    You have the hinge member that's attached to a camera,
 25    you have a support frame that's attached to the hinge



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   1   member.       The support frame attaches the hinge member,
   2   which is what is rotatably attached to the camera.
   3                      So the structure is there.                   It's very
   4   straightforward, and what -- what the Defendants are
   5   trying to do is not to put additional structure in.
   6   They're just trying to limit the claim in a very
   7   restrictive way.            If you -- if you limited this to the
   8   rotation about a second axis of rotation it must be what
   9   enables support of the camera, then that's a very
 10    restrictive -- unduly restrictive interpretation of this
 11    claim, and we say that the fact that the camera is
 12    attached to the hinge member and that the hinge member
 13    is attached to the support frame is what -- all you need
 14    is -- all you need to support is to attach.
 15                       There's no need to -- to say that I have to
 16    move it in a single direction to enable support.                                It
 17    only needs to be attached.                  I think that's the -- the
 18    gist of our argument there, and I think it's as simple
 19    as that.
 20                       You know, the Defendants have a lot of
 21    slides here, a whole lot of slides.                        We just got them,
 22    so we're kind of working through them, but, you know,
 23    it's remarkable how much argument, how many slides, how
 24    many cites it takes here to have the Court construe a
 25    very straightforward term in a very straightforward



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   1   context, and we respectfully submit that any argument
   2   that this -- is this long and contorted and any argument
   3   that is so dependent upon the preferred embodiments as
   4   opposed to the straightforward claim language is
   5   inevitably wrong, which is the case we have here.
   6                      Thank you, Your Honor.
   7                      THE COURT:         Well, let me -- let me ask
   8   before I go to the Defendants, I don't at all disagree
   9   with what you're saying, in other words, that the
 10    support frame supports.                 You know, that seems fairly
 11    straightforward.
 12                       I guess my only question would be the
 13    Defendants say, whose different disposition enable
 14    support of said hinge member.                    Now, just kind of explain
 15    to me why that is unacceptable to the Plaintiff.                                You
 16    know, what do you see is that -- what does that
 17    ultimately mean?            How does that ultimately work itself
 18    out?
 19                       MR. EDMONDS:          Here's how --
 20                       THE COURT:         Yeah, go ahead.
 21                       MR. EDMONDS:          Thank you, Your Honor.
 22                       So as -- as the claim is structured, you
 23    have a support frame that -- that is attached to the
 24    hinge member supporting it, and the hinge member
 25    supports the camera.               There -- there are also separate



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   1   claim elements that cover the rotation and -- and -- or
   2   the disposition of the support frame, and what's one of
   3   the novel aspects of these claims is, as you can see
   4   from the illustration, in one disposition, the -- the
   5   support frame has -- as claimed has to have a first
   6   disposition on the surface, which is the one that you
   7   see sitting on the blue there, and then it has a second
   8   disposition when attached to an object, which is what
   9   you see at the bottom there.
 10                       So the -- the problem we have with the
 11    Defendants' construction is that as I read it, because
 12    they're using the word disposition in their construction
 13    of support frame and because they limit disposition to
 14    rotation about a single axis, what they're trying to do
 15    is to now argue to the jury based upon that construction
 16    that the -- these claims require that the only way that
 17    the support frame can be attached to the hinge member is
 18    that the rotation about a second axis is what must
 19    enable that, and that's just simply a very restrictive
 20    reading of it.           There's no requirement that the
 21    disposition be what enable the support.                           The attachment
 22    itself can enable the support regardless of the
 23    disposition of the camera.
 24                       THE COURT:         Okay.
 25                       MR. EDMONDS:          Thank you, Your Honor.



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   1                      THE COURT:         All right.         Response?
   2                      MS. LU:       Good morning, Your Honor.
   3                      THE COURT:         Good morning.
   4                      MS. LU:       So you just heard Plaintiff's
   5   explanation for what their construction of support frame
   6   is and why they think that's correct.                         Defendants
   7   disagree.        Defendants will tell you that and demonstrate
   8   that Plaintiff's construction lacks context.
   9                      And Your Honor asked an excellent question
 10    just now, what is it about including the word
 11    disposition that's unacceptable or incompatible somehow
 12    with the finding of what a support frame is in this
 13    context, and the Defendants agree, that is an excellent
 14    point.      And as we will show you, the two have to be
 15    related, and if Your Honor will permit, because
 16    disposition is also a disputed term and Defendants are
 17    of the position that the two terms have to be related
 18    structurally to what it means to have a support frame in
 19    the claims, if it would be permitted by Your Honor, we'd
 20    like to go ahead and present the arguments for
 21    disposition and support frame together just because they
 22    flow together logically.
 23                       THE COURT:         That's fine with me.                I'll allow
 24    the Plaintiff to respond back to support frame and then
 25    respond to disposition, as well.



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   1                      So go ahead.
   2                      MS. LU:       Okay.      Thank you, Your Honor.
   3                      So, first of all, we just looked at the
   4   claims.       We saw a lot of colored boxes highlighting
   5   specific words in the claim, but let's not forget what
   6   the claim and really the patent here is about.                               The
   7   entire patent is about a camera clip, not the camera,
   8   just the clip part of the camera, and this clip is used
   9   to support the camera on different surfaces.                              You can
 10    put it on a desk, you can put it on top of a screen.
 11                       And the four terms that the parties are
 12    disputing all have something to do with the clip.                                  The
 13    clip is a device that fulfills a function, and all these
 14    terms relate to that device and its function.                              So the
 15    disagreement really between the parties underlying all
 16    four terms, and it will become clear as we go through
 17    each of these, is that should the disputed terms be
 18    construed to take into account the relationship to the
 19    entire functioning device, the entire clip or not?
 20                       Now, Defendants would say, yes, and the
 21    reason is -- I think becomes pretty clear when we look
 22    at what the terms actually are.                      So two of the terms are
 23    support frame and hinge member, and what these actually
 24    are in the clip are its pieces.                      Just for convenience,
 25    we have here a visualization of that, a figure taken out



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   1   straight from the patent, the hinge member here, and the
   2   Plaintiff has also already highlighted this in their own
   3   version of the diagram, but we used a different color
   4   scheme.       It's highlighted here in blue, and the support
   5   frame is highlighted here in red.
   6                      So these are physical pieces.                     The support
   7   frame is a thing.             It's a part of the clip.                  The hinge
   8   member is a physical thing that's a part of the clip.
   9                      Now, aside from that, the other two terms,
 10    rotatably attached and disposition, relate to how these
 11    pieces are joined together and how they function
 12    collectively in the clip, and we'll go into detail as to
 13    exactly what's going on.
 14                       So the patent itself tells us what the clip
 15    is for, and that's pretty clear.                      It supports a camera,
 16    and permissibly it can support a camera on either a flat
 17    tabletop, flat horizontal tabletop, and you can also put
 18    it on a non-flat surface, for instance, the housing of a
 19    laptop screen, and here we have a couple of excerpts
 20    just from the face of the patent itself, and it
 21    basically just talks about the desire in the industry
 22    for having some kind of adaptable support apparatus
 23    going from tabletop to laptop.
 24                       And so accordingly, in the summary of the
 25    invention section, the patentee describes it as being an



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   1   object of the invention to provide such a clip that can
   2   take you from horizontal tabletop to nonhorizontal
   3   laptop screen.
   4                      So that said, the patent also tells you how
   5   the invention does this.                 It also tells you how the clip
   6   is able to do this, and it's through rotation and motion
   7   among its parts.            That's how the clip works.
   8                      Again, here seen in the summary of the
   9   invention section, the clip is described here as being
 10    able to be rotated into a first position to support the
 11    camera on the surface of the table or a desk, and then
 12    you rotate it again into a second position to support
 13    the camera on the display screen of a laptop computer,
 14    and the parts of the camera, as they are set out in the
 15    claims, and here's just a simple excerpt from
 16    Independent Claim 1, which all the parties have been
 17    referring to as sort of the example representative of
 18    all the -- all the independent claims are the hinge
 19    member and the support frame.
 20                       Okay.      So we have here a clip.                 We know what
 21    it's supposed to do.               We know that it does this through
 22    rotational motion among its parts, but, I mean,
 23    logically the next question is, so what's rotating?
 24    What -- what's actually the motion that's going on here?
 25                       And the claims tell you where and how the



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   1   claim -- how the clip provides rotational motion.                                 And
   2   there's really only two places where anything can move.
   3   There's a first axis of rotation at the point where the
   4   hinge member may be attached to a camera, and there is a
   5   second axis of rotation where the support frame attaches
   6   to the hinge member.               These are the only locations
   7   described in the claims talking about where in or about
   8   the clip that this thing can move.
   9                      So knowing this is a physical object and
 10    describing it in words and telling you about axes and
 11    pieces connecting together, it may be a bit hard to
 12    visualize, so towards that end, Defendants have put
 13    together a simple animation based on the figures of the
 14    patent just to show you how everything fits together.
 15                       And my colleague will please play the
 16    animation.
 17                       (Animation played.)
 18                       So here we have the first axis.                      The first
 19    axis is at the point of connection between a camera and
 20    the hinge member, and it rotates.                       That's where the
 21    first axis is.           And then the following slide, this is
 22    where the second axis is.                  The second axis is at the
 23    point of connection between the support frame and hinge
 24    member, and it also allows rotational motion.                              So there
 25    you go.



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   1                      Now, we've been saying time and again this
   2   is a device with a particular function.                           It takes you
   3   from tabletop to laptop.                 So we know where the pieces
   4   are.     We know where the axes are.                    Putting it together,
   5   how does it work?             Motion about the second axis.                     And
   6   there you go.          It takes the clip from tabletop to
   7   laptop, one smooth motion.                  And this is just a slide for
   8   later reference if you like, Your Honor, to sum up what
   9   the previous animation shows.                    So there's really no
 10    point in reading off of it right now.
 11                       But anyway -- so that brings us to the terms
 12    that are actually disputed.                   We know what the clip is.
 13    We know that the support frame is a piece of this clip.
 14    We know the clip performs a specific function.                               So what
 15    does it mean in relation to the invention that's claimed
 16    in the patent to have a support frame?
 17                       And Plaintiff would answer this question
 18    differently from Defendants, as you've already seen.
 19    Plaintiffs would say it's a structural element that
 20    supports a hinge member.                 Okay.       And Defendants, just so
 21    you have our complete construction in front of you,
 22    would say that it's a physically distinct structural
 23    element whose different dispositions enable support of
 24    the hinge member.
 25                       And the reason why Defendants' construction



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   1   gives you a little bit more information, Your Honor, is
   2   that the type of physical structure that a support frame
   3   is and what it does in the context of the clip because
   4   it's a part of a clip that performs a function, all
   5   these things have to be taken into account in
   6   determining what a support frame is.
   7                      So if we start not with the preferred
   8   embodiment, as Plaintiffs seems to believe we did, but
   9   just with the claim language, it states here in
 10    Subparagraph B describing the support frame, we have a
 11    support frame rotatably attached to said hinge member
 12    and configured to support said hinge member on the
 13    surface and the object.
 14                       Okay.      So what does -- what does this tell
 15    us?    We know that in the context of a clip, a camera
 16    clip that can take you -- take the camera from tabletop
 17    to laptop, the support frame is the structural element
 18    within this clip that is responsible for providing
 19    support on the tabletop and on the laptop, on the
 20    different surface and the different object.
 21                       But if we stop here, Your Honor, all that
 22    tells you is what the support frame does.                            What does
 23    this tell you about what it is physically?                            I mean, I
 24    can tell you that it can go from tabletop to laptop, but
 25    what's -- what is the shape of this thing?                            How does it



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   1   actually do any of this?                 It doesn't say.             And that
   2   precisely is why Plaintiff's construction is, in the
   3   Defendants' opinion, willfully incomplete.
   4                      So, again, just for quick reference,
   5   Plaintiff's construction of support frame is that it's a
   6   structural element that supports a hinge member.                                It
   7   doesn't actually tell you what the physical thing is,
   8   and just saying that it's a structural element also
   9   doesn't give you any information, because element, as we
 10    already know from various old cases out there, is a
 11    generic term.          It just says a thing exists.                     It doesn't
 12    tell you what the thing is.
 13                       And so as a practical matter, if you look at
 14    Plaintiff's construction, take a careful look at it,
 15    what it's really saying is that a support frame is a
 16    means for performing the function of supporting a hinge
 17    member.
 18                       Now, Plaintiff can't do this for several
 19    reasons, and in their brief, there's case law cited, but
 20    really what it all boils down to is common sense.                                 They
 21    can't be allowed to claim all possible means, physical
 22    or otherwise, for supporting the hinge member because
 23    it's an old canon of claim construction, and here's a
 24    citation provided here, but really we don't even need to
 25    look at it, that you can't just define physical things



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   1   solely by what they do instead of by what they actually
   2   are.
   3                      And, again, there's citations for this, but
   4   the principle is really rooted in common sense.                                If you
   5   don't tell me what the physical thing is that's doing
   6   something, and I'm claiming or supposedly claiming a
   7   physical thing, then conceivably that thing that
   8   performs a function could be any conceivable physical
   9   thing that could conceivably somehow fulfill that
 10    function and -- because really just there's no limits.
 11    There's no metes and bounds to what the thing itself is,
 12    as a result of which any given member of the public
 13    reading a patent like this would go, okay, you're
 14    telling me there's a thing that can do this, but what --
 15    what's the thing?             I have no idea.            There's no
 16    fulfillment of the public notice function, which is the
 17    entire point of why we have patents, why we require the
 18    patentees to describe what their inventions are.
 19                       And that is why, Your Honor, time and again
 20    the Courts have said, reiterated -- reiterating this
 21    common sense principle, that the patentee simply cannot
 22    be allowed to claim all possible means of achieving a
 23    function.        You have to tell me what the thing is and how
 24    it's achieving that function for me to have any idea of
 25    what it is that you're talking about.



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   1                      Now, there's two different ways out of this,
   2   and this is also well established, and both by statute
   3   and in the case law, just as a quick summary, one of
   4   them is established by Congress in Title 35, Section
   5   112, Paragraph 6, and that is the availability of
   6   means-plus-function claiming.
   7                      You can designate a term as literally being
   8   I'm only claiming the means for performing a function,
   9   but the result, the consequence mandated by statute of
 10    doing that is you have to limit what it is you're
 11    claiming to the specific structure that's described in
 12    the patent and its equivalence, and that's it.                               And the
 13    only other way out -- and the only other alternative to
 14    that is you tell me something about what the physical
 15    structure is in the language of the claims.                             You have to
 16    give me some idea of what it is.
 17                       Now, here, Plaintiff has not even attempted
 18    to argue that a support frame is a means-plus-function
 19    term.     Defendants don't think it should be either, but
 20    at the same time, if you look at their construction,
 21    Your Honor, they're saying that a support frame is
 22    basically any sort of physical means for supporting a
 23    hinge member, which completely goes back on the position
 24    that they've been taking on the construction since the
 25    beginning, that there are no means-plus-function terms



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   1   here, and also goes against this very old common sense
   2   principle, that if you're claiming a physical thing that
   3   does something, you have to tell me what the thing is,
   4   you can't just tell me what it does.
   5                      So the only alternative left here for -- for
   6   us to make any sense of what the claims are going to is
   7   to look to the claims to tell us something about the
   8   physical structure.              And this is precisely what
   9   Defendants aim to do.
 10                       So here the claim language does actually
 11    tell us something about the physical characteristics of
 12    a support frame.            Again, going back to Subparagraph B of
 13    Independent Claim 1 as an example, it tells you that the
 14    support frame is configured, shaped somehow or arranged
 15    somehow, to support the hinge member on a flat surface
 16    or a vertical object such that it would have a first
 17    disposition when it's positioned on a generally
 18    horizontal flat surface and a distinct second
 19    disposition attached to a -- an object that has been
 20    inclined from a horizontal position.
 21                       Now, what does that tell us?                    So
 22    disposition, to the extent that there's any agreement
 23    between the different sides at all on what that word
 24    means, refers to a configuration or an arrangement,
 25    something has been arranged in space.



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   1                      So at the very least, the very least that
   2   the claims require is that the physical structure of the
   3   support frame has to be such that it could take these
   4   different dispositions.                 The physical structure of the
   5   support frame has to allow it to have these different
   6   configurations depending on whether or not it's resting
   7   on a flat desk or on a laptop screen.                         That's the very
   8   least.
   9                      Now, Plaintiff will say that the
 10    dispositions are not related to supporting the hinge
 11    member, but because the support frame can support the
 12    hinge member by being attached to it, I mean, just as --
 13    at a very superficial level, the word attached is not
 14    the same as support, and I don't think there's any
 15    reason why we should confuse the two.
 16                       And just for another more graphic example,
 17    imagine, Your Honor, that I have, say, like the -- any
 18    given camera or camera plus clip assembly in my hand,
 19    and we know that the camera is attached to the hinge
 20    member, if I can flip the entire camera plus clip
 21    assembly upside down and somehow balance the camera on
 22    the desk, does the camera now become the support frame?
 23    It's attached to the hinge member, but it's not, and
 24    it's not because it does not have the structural
 25    characteristics required of a support frame in the



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   1   claims.       But just saying that it's attached to the hinge
   2   member does not get you there.
   3                      And we can look also to the specifications
   4   permissibly just as further confirmation of what the
   5   claims are already telling us, that it's the
   6   dispositions or the different dispositions of the
   7   support frame that allow it to provide support for the
   8   entire hinge member and camera assembly on different
   9   surfaces.
 10                       For instance, here, going back to the
 11    summary of the invention section, that's the shortest
 12    text -- the smallest text box you see in front of you,
 13    it says that the clip may be rotated to a first position
 14    to support the camera on the desk, rotated to a second
 15    position to support the camera on a vertical object such
 16    as the display screen of a laptop computer, and then,
 17    also, further clearer descriptions of what one
 18    embodiment of the invention would do.
 19                       In Figure 2, you see that the entire camera
 20    plus clip assembly is resting on a flat, horizontal
 21    surface, and in describing what's going on in Figure 2,
 22    the specification tells you that in the embodiment,
 23    there are specific rear end support elements -- rear end
 24    support elements 38 and 40 and 42 that are touching
 25    the -- or engaging the flat, horizontal surface at



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   1   certain locations such that the entire assembly is
   2   resting in the position 44.
   3                      Basically, what that's telling Your Honor is
   4   the parts of the support frame are arranged or
   5   configured in a certain manner, and that is how the
   6   entire assembly can rest on a flat surface.
   7                      Now, Figure 4 will show you another
   8   disposition, a second disposition where the entire
   9   camera plus clip assembly is resting on an inclined
 10    object such as a laptop screen, and, again, what's going
 11    on here to clarify what the support frame is doing, the
 12    specification tells you that the rear end support
 13    elements 38, 40, 42 are touching the housing at the
 14    locations shown in 44 such that the entire assembly is
 15    supported in a position 54.
 16                       So there you go.             This is just further
 17    confirmation with pictures showing you that as the
 18    claims say, the disposition of the support frame is what
 19    allows it to support the hinge member on a flat desk or
 20    a laptop screen.            So --
 21                       THE COURT:         I guess -- I just have a
 22    question, I guess.
 23                       MS. LU:       Uh-huh.
 24                       THE COURT:         Let me just go through them.                     I
 25    guess just to the point you just raised, I'm not sure



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   1   that I'm understanding why the different dispositions
   2   enable support.            I mean, why doesn't the support
   3   frame -- just a piece of plastic itself support the
   4   hinge member?          I mean, why does it have to be in certain
   5   dispositions or, you know, I mean, why does it just in
   6   and of itself provide support?                     It's a frame that
   7   supports.        I don't understand why that's of necessity,
   8   the disposition supporting the hinge member.
   9                      MS. LU:       That's an excellent point, Your
 10    Honor, and to kind of help clarify our point, it's not
 11    Defendants' contention that the word support doesn't
 12    have some meaning in the English language.                            What we'd
 13    ask the Court to do is look at what the entire invention
 14    is, and the entire invention as described in the -- oh,
 15    I guess I don't have to go all the way back -- but if
 16    you recall from the brief introductory section, the
 17    entire invention is a clip that can take you from
 18    tabletop to laptop.
 19                       I mean, you could have a piece of plastic
 20    attached to a hinge member, but the point of the clip as
 21    a whole is to be able to provide support on different
 22    surfaces.        So when we say providing support, in the
 23    context of what the invention is designed to do, that
 24    means providing support on top of different things, and
 25    in order to be adapted to differently inclined surfaces



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   1   and objects, something about the invention has to be
   2   adaptable, as well.              And those adaptations, as the
   3   patentee described in the claims, are the different
   4   configurations or dispositions of the support frame.
   5                      THE COURT:         Well, I don't -- I'm not saying
   6   necessarily by what I'm asking that I disagree with your
   7   overall sort of position as to what this invention is
   8   designed to do and what it does and all that.                              But I
   9   guess my question would be why is it important to I
 10    suppose implement that idea into the definition of
 11    support frame?
 12                       And I guess what I'm getting to is I guess
 13    I'm not clear from your argument why the claim itself
 14    doesn't outline what you just said?                        I mean, it talks
 15    about that it's configured to support the hinge member
 16    on the surface and the object, and it goes on to talk
 17    about the first axis and the second axis and all that.
 18                       I guess I don't -- I mean, is the claim, you
 19    know, that unclear that we've got to define the support
 20    frame by the different dispositions when the different
 21    dispositions are talked about in the claim?
 22                       MS. LU:       You know, Your Honor, that is an
 23    excellent point, and from Defendants' perspective, the
 24    claim is clear, too, but the mischief at work here is
 25    not whether the entire claim is clear.                          The mischief



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   1   that Defendants are concerned about is in Plaintiff's
   2   construction.
   3                      It states that a structural element -- or a
   4   support frame is just a structural element that supports
   5   a hinge member.            And as you heard just now from
   6   Plaintiff's argument with respect to this term, they
   7   don't see any reason even to relate the dispositions to
   8   what a support frame -- what this thing that's the piece
   9   of a clip is.
 10                       And from Defendants' perspective, that's a
 11    problem because the claims are clearly required, impose
 12    a physical limitation on what the shape of a support
 13    frame is, and that physical limitation has to require it
 14    to provide support by taking these different
 15    dispositions, but it's inherent in Plaintiff's argument,
 16    as you heard just now, Your Honor, that they're trying
 17    to divorce the idea that the shape of the support frame
 18    has to be limited in this way for it to function in the
 19    way that it's supposed to to serve its role in the clip
 20    from the definition of support frame.                         And that is what
 21    Defendants are concerned about.
 22                       So we really appreciate, Your Honor, that
 23    you're looking deeply into the claims and seeing the
 24    same point that Defendants have been seeing, is that the
 25    dispositions is a physical property that's inherent and



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   1   necessary to what the support frame is, and we just with
   2   our construction hope to clarify that and avoid the
   3   mischief that Plaintiff's construction would otherwise
   4   work.
   5                      THE COURT:         Okay.      Let me ask you, I guess
   6   I'm also a little bit unclear.                     I think part of your
   7   problem with Plaintiff's proposal is that you say, well,
   8   it just is sort of defining support frame by what it
   9   does, by its function.                I'm a little unclear as to why
 10    your proposal that adds -- essentially it's the same
 11    thing, except it says, whose different dispositions
 12    enable support.
 13                       I'm not sure that different dispositions
 14    provides any more structural identification than -- than
 15    theirs does.          It seems to also go to the function, you
 16    know, that it's -- as to how you position the support
 17    frame it -- it supports.
 18                       I suppose that might give a little bit more
 19    of an idea of what the -- of what it looks like, but it
 20    seems like it also is sort of discussing it in -- in
 21    functional terms.             So I guess have I kind of articulated
 22    what you believe as far as different dispositions that
 23    gives at least a little bit more of an idea how the
 24    support frame would -- would look and would be
 25    structurally composed?



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   1                      MS. LU:       Yes, that's right, Your Honor.                      So
   2   the thing here, and I guess Defendants are also trying
   3   to be modest and not trying to overreach at all as
   4   Plaintiffs contends in looking to the preferred
   5   embodiment.
   6                      Now, what would really give a clear picture
   7   of what the support frame physically is, is if you just
   8   look to the illustrations in the specification.                                I mean,
   9   that -- if anything tells you what the structure of this
 10    thing is, it's that.               But in the interest of being
 11    agreeable, not trying to restrict the patent any more
 12    than the claims do, Defendants have not attempted to say
 13    that the support frame is a physical thing with front
 14    and back legs, you know, rear end support elements 38,
 15    40, and 42.
 16                        But at a minimum, and this is another
 17    reason why Defendants would like to present their
 18    constructions for disposition and support frame
 19    together, Your Honor, is that the word disposition, in
 20    order to be arranged in a certain way, you have to also
 21    be able to give some idea of what the arrangement is,
 22    because an arrangement is something that exists in
 23    physical reality.             It's something put together or
 24    configured in space.               And so that gives much more of a
 25    physical idea of what a support frame is than



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   1   Plaintiff's construction.
   2                      We agree it could be better.                    The patent
   3   could have gone ahead and described more structure, but
   4   at a minimum, at a very minimum, as required in the
   5   claims, this is what it is.
   6                      Now, if Your Honor would -- is of the
   7   opinion that it would be clearer if we just say, it has
   8   front and rear support elements 40, 42 and 38,
   9   Defendants would be amenable to that, as well.
 10                       THE COURT:         Okay.      Well, let me hear back
 11    from the Plaintiff.              I think I need to get with them
 12    on -- I guess, Mr. Edmonds, what -- going, I guess, more
 13    to this idea of disposition, I guess, what is the
 14    Plaintiff's position on -- I mean, it talks about -- you
 15    look at Claim 1, said support frame having a first
 16    disposition, positioned on said generally horizontal
 17    substantially planar surface and said support frame
 18    having a second disposition attached to the object --
 19    you know, so it talks about, obviously, first and second
 20    disposition, first and second axis.
 21                       I mean, give me an idea of, you know, what
 22    does this mean?            You know, what is the jury to make of
 23    this?     How are they to interpret what's going on here?
 24    Are we -- you know, even if the Court does not put that
 25    the frame has different dispositions, we go to



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   1   disposition, define it.                 They propose through rotation
   2   about the second axis -- I mean, what is -- what is the
   3   Court and the jury supposed to do with that?                              I mean,
   4   what -- what is going to be your position as to what
   5   these -- what this means?                  I mean, are these the
   6   dispositions, you know, related to these axes?                               Are they
   7   related to these objects?                  I mean, how does this thing
   8   work?
   9                      MR. EDMONDS:          Fair enough, Your Honor.
 10                       Could I have their Slide 21 back?                       I thought
 11    it may have illustrated it better than anything else.
 12    21.
 13                       As we see it, Your Honor, the -- what
 14    they're talking about in terms of what they're trying to
 15    shoehorn into the definition of support frame, those are
 16    already provided for in the claim itself, and in terms
 17    of the support frame that's required to have a first
 18    disposition, it's already there.
 19                       So there's no -- you know, we're not
 20    claiming that that's not part of the claim.                             We're just
 21    saying that that's not what enables -- what is required
 22    to enable support.
 23                       THE COURT:         Okay.      But let -- let's move --
 24                       MR. EDMONDS:          Yes.
 25                       THE COURT:         -- let's move from support



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   1   frame, I want to move to disposition itself.
   2                      MR. EDMONDS:          Yes, Your Honor.
   3                      THE COURT:         Okay.      Your proposal is
   4   configuration or arrangement for disposition, correct?
   5                      MR. EDMONDS:          Yes, Your Honor.
   6                      THE COURT:         And they're proposing
   7   configuration of the support frame enabling support of
   8   the hinge member accomplished through rotation about the
   9   second axis.          What I'm really concerned about is not so
 10    much about the first part of what they proposed but the
 11    second part, that this disposition is accomplished
 12    through rotation about the second axis.
 13                       MR. EDMONDS:          Same -- same concern here,
 14    Your Honor, and it's frankly not clear to us what
 15    non-infringement argument this supports.                           And maybe the
 16    Defendants could enlighten us as to whether that webcam
 17    there would -- would meet the claim as they have
 18    proposed to be construed, because apparently what
 19    they're -- what we see them doing is they're trying to
 20    limit -- disposition is -- is just a very
 21    straightforward word.               Configuration is a very
 22    straightforward word.               And they're trying to limit that
 23    to something that's accomplished about the second axis.
 24    So they're trying to -- to limit the word disposition to
 25    a -- if I could borrow your webcam.



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   1                      They seem to be trying to limit disposition
   2   to something that's limited to one axis, one thing.                                  So
   3   what they seem to be saying is that I have to enable
   4   support of this camera by this -- something that happens
   5   in this axis, and apparently they have a
   6   non-infringement argument to say that, okay, I may be --
   7   I may be supporting this thing, but what's enabling this
   8   support is not what's happening on this axis.
   9                      That -- that's all we can tell they're
 10    trying to do, and that's why I think they're trying to
 11    import things that are already in the claim into this
 12    term because there's a sleight-of-hand here to where
 13    they're -- because they're trying to limit it to the
 14    second axis, they're trying to import a whole
 15    non-infringement argument into one claim term.
 16                       And, you know, like I said, I'd invite them
 17    to say would this infringe under their construction?                                   If
 18    not, why not?          And then maybe we'd understand why
 19    they're making this argument better.                         But all we can see
 20    is they're -- they're taking words that don't belong
 21    there, and they're adding them, and there's obviously
 22    some reason.
 23                       THE COURT:         Okay.      Well, that's a point well
 24    taken.      But I guess what I want to understand is -- I
 25    think what they're saying is that in their animation



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   1   that the disposition, let's say, on the object is
   2   accomplished through this sort of back and forth which
   3   is oriented about the second axis.                       Am I correctly
   4   stating your understanding?                   Maybe I need to get them up
   5   here.
   6                      MR. EDMONDS:          Well, if we pull up Claim 1, I
   7   think it's -- it's easier to -- to follow here.                                So as
   8   far as -- I think, Your Honor, that -- and as far as the
   9   first axis and the second axis, I think that -- that
 10    everyone, I think, seems to -- to disagree that the
 11    first axis is vertical.                 That's the way this works,
 12    because -- because you're dealing with horizontal
 13    surfaces and something that's inclined from a horizontal
 14    surface.       So the first axis is vertical.                      The second
 15    axis is horizontal.
 16                       And in terms of what was -- I think -- I
 17    think that's already -- and what we're saying is that
 18    the support frame has to have a first disposition on the
 19    table, and it has to have a first disposition -- a
 20    second disposition on the object or the laptop.
 21                       Now, the support frame, you could still have
 22    a support frame, and -- but if it doesn't have a first
 23    disposition on the surface and if it doesn't have a
 24    second disposition on the object, then it doesn't
 25    infringe.        It's still a support frame.                    It's just that



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   1   the claim limitation is not --
   2                      THE COURT:         But that's my question, I think,
   3   is --
   4                      MR. EDMONDS:          Right.
   5                      THE COURT:         -- you say, okay, the support
   6   frame has to have a first disposition and a second
   7   disposition.          How are you defining -- you're saying it's
   8   just a configuration or arrangement?
   9                      MR. EDMONDS:          Right.
 10                       THE COURT:         And what I'm trying to get at
 11    is -- I guess my question is, is that enough?                              They're
 12    saying that disposition is accomplished through rotation
 13    around the second axis, I think, or the first axis, but
 14    what is your -- I mean, is it -- is it -- is the
 15    disposition connected to the axis of rotation, I guess,
 16    is what I'm asking?
 17                       MR. EDMONDS:          Fair enough.
 18                       THE COURT:         And if it is, how are you
 19    defining -- how are you kind of linking the two
 20    together?
 21                       MR. EDMONDS:          Well, they're -- they're
 22    linked together by the other claim language, and -- and
 23    if I may borrow -- so it just has to have a -- we have
 24    to have, one, a first disposition, one, a second
 25    disposition.          There's no -- there's no limit on what



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   1   those are until you get to the other claim limitations.
   2                      First -- first disposition is sitting flat.
   3   The second disposition would be here what's sitting on
   4   top of the computer.               Fair enough.          Now, that's all
   5   that's required.            It has to have a first disposition on
   6   the surface, a second disposition on the -- on the
   7   object.
   8                      Now, separately in the claims, it says that
   9   there has to be an axis rotation for the hinge member,
 10    and it says there has to be an axis rotation for the
 11    support frame, and that those axes have to be
 12    perpendic -- generally perpendicular to each other.
 13    That's -- what you're asking about is already there in
 14    the claim.         There's no need to -- there's no loss of
 15    structure.         There's no ambiguity.                The claim itself
 16    provides, as I said, the hip bone's connected to the leg
 17    bone.
 18                       We understand how these pieces are connected
 19    and how they move by the claim, and -- and going to our
 20    definitions, well, disposition -- see, there's no --
 21    there's nothing in the -- in the claim that says that
 22    the support has to be accomplished through rotation
 23    about a second axis.               It just simply says it has to
 24    support, it says it has to have two configurations.
 25    Separately it says that there have to be two axes



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   1   relative to the hinge member and relative to the camera.
   2                      So when you -- the sum total of what they're
   3   trying to do is they're trying to limit it to where the
   4   rotation about the second axis has to be the thing that
   5   enables support of the camera, and that's just simply
   6   not in the claim.             The claim wasn't written that way.
   7                      Thank you.
   8                      And we had one thing for the Court.                         We're
   9   familiar with the Markman ruling from the Court in -- I
 10    call it SFA, it's Sales Force Automation.                            I think there
 11    were two different Markmans, and I think in that case,
 12    the Defendants had argued something similar relative
 13    to -- let's see, the claim term had to do with -- I
 14    think it was just hardware or software that did
 15    something, and they were -- there was -- the Defendants
 16    in that case had suggested that -- that that wasn't
 17    enough, and the Court looked at the surrounding claim
 18    language and saw that proper context and proper
 19    understanding was given by the surrounding claim
 20    language.        That may be something that might inform the
 21    Court here.
 22                       THE COURT:         Okay.      All right.          I'd like, I
 23    think, to go ahead and move on, unless there's something
 24    else specifically the parties want to address on support
 25    frame or disposition, go ahead and move on to the next



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   1   two -- or, I guess, whatever the -- I think we got left
   2   rotatably attached and hinge member.                         So unless you have
   3   something specific to address on -- on either one of
   4   those -- the two terms we just talked about, I think
   5   we're ready to move on to the other two.
   6                      MS. LU:       Actually, Your Honor, there is
   7   something specific Defendants would like to address with
   8   respect to what Plaintiffs just said --
   9                      THE COURT        okay.
 10                       MS. LU:       -- and with respect to the
 11    disposition.
 12                       THE COURT:         Go head.
 13                       MS. LU:       So I think, Your Honor, the
 14    question that you posed just now is here the claims tell
 15    you there's a second axis, here the claims tell you that
 16    there is different arrangements, physical arrangements
 17    of the support frame that depending on what it's resting
 18    on that the patentee termed the first disposition and
 19    the second disposition, and I think what Your Honor was
 20    getting at, and this was something that Defendants
 21    struggled with, as well, is if you're telling me that
 22    something -- there's a physical thing in space that can
 23    be arranged in certain ways, and it can be moved from
 24    one arrangement to another, then logically the next
 25    question is, well, how do you -- how do you arrange it?



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   1   What -- what's an arrangement?
   2                      And Plaintiffs would respond that you look
   3   at the claims and the word disposition is a simple word,
   4   and it has a plain and ordinary meaning, or it means
   5   configuration or arrangement, well, you can say all
   6   that, but we're not trying to determine whether or not
   7   the word disposition has a meaning in the English
   8   language out there in the abstract.                        We're here talking
   9   about a camera clip whose shape is adapted so that you
 10    can go from tabletop to a laptop.                       That is what we're
 11    talking about here.
 12                       And in this context, what does it mean when
 13    you have a disposition, and what does it -- what is its
 14    relation really to the rest of what's in here?                               And the
 15    Defendants would say that from the claims, it's apparent
 16    that a disposition, you can't simply say that it's just
 17    the configuration, because that still tells you nothing
 18    what a physical arrangement of a physical thing in space
 19    physically is.
 20                       And just to drive the point home, we brought
 21    here a couple of examples.                  Here we have U.S. Patent
 22    5,8 -- 5,857,684 for a collapsible golf cart, and before
 23    the parties get up here and object and say it has
 24    nothing to do with the camera clip, that is actually
 25    precisely Defendants' point.



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   1                      Golf cart, collapsible or not, is not a
   2   camera clip, has nothing to do with a camera clip.                                 Yet
   3   you look at the claims here, and what is it talking
   4   about but a frame that has different dispositions.                                 I
   5   mean, what's the difference between a disposition here
   6   and a disposition in the patent that we're talking
   7   about?      They both mean arrangement.                    They both mean
   8   arrangement or configuration of a physical thing.
   9                      But that's not enough.                I mean, when you say
 10    there's a disposition of a golf cart, that doesn't mean
 11    the same thing as a disposition for a camera frame.
 12    Why?     Because it's a different device serving different
 13    purposes, and because it's a mechanical thing and things
 14    are arranged, you have to tell me how the different
 15    parts are arranged, and they're arranged in different
 16    ways.
 17                       Now, there's many examples of this.                         If you
 18    just go on Google patents and say, enter a support frame
 19    and disposition, hundreds of these things will come up.
 20    The word disposition will mean a physical arrangement or
 21    configuration in every single one of them, but in every
 22    single one of them, when you say disposition of a golf
 23    cart as opposed to a disposition of a support -- of the
 24    support frame of a camera clip, it will mean something
 25    different because it's a different device with a



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   1   different purpose.
   2                      And here again is another such example of a
   3   folding creeper, which I recently learned is a type of
   4   lawn chair.         I did not know that before.                    This thing has
   5   not only one disposition or two dispositions but also a
   6   third and fourth disposition, and here in the claims,
   7   they tell you not only that they're -- these different
   8   dispositions exist, they also tell you exactly how you
   9   make them and exactly what they're for.                           That's what
 10    tells you what a disposition is with respect to a
 11    folding creeper.
 12                       So the bottom line is this, the word
 13    disposition, if you consider it in the absence of what
 14    it -- what the clip does doesn't have any meaning.                                 You
 15    know, what's the difference between disposition in the
 16    golf cart patent as opposed to disposition in the camera
 17    clip patent, different device, different purpose,
 18    different way to form it.
 19                       And so at a minimum, to ascribe any physical
 20    meaning to the word disposition, and Defendants are of
 21    the opinion that disposition, because it means a
 22    physical arrangement, should have physical meaning, you
 23    have to know what's being disposed, why it's being
 24    disposed, and most importantly how you're causing it to
 25    be disposed.          I mean, you can't just telling, I can



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   1   arrange something, without telling me how to arrange it.
   2   That's just common sense.
   3                      And the claims can't answer these questions
   4   here.     So going back to Subparagraph B, which tells you
   5   about the support frame and how it fits into this whole
   6   camera clip thing, we have the disposition is a
   7   configuration of a support frame.                       You have multiple
   8   dispositions, so it has to be able to transition from
   9   one to the other.             Transition requires movement, and the
 10    only point of movement attributed to the support frame,
 11    the only way that we -- the claims tell us that the
 12    support frame can move is about -- is rotation about the
 13    second axis.          That's it.         That's all the claims give us.
 14                       So, again, as an illustration, because here
 15    we're talking about spacial arrangements of a physical
 16    thing, it might be helpful to actually see it as opposed
 17    to try to visualize where the pieces go.
 18                       And will you play the animation?
 19                       (Animation played.)
 20                       There you go, movement about the second axis
 21    taking you from tabletop to laptop, two different
 22    dispositions.          So at a minimum, at a very minimum, the
 23    physical description of a disposition with respect to
 24    the patent here requires that it's a configuration of a
 25    support frame that enables support of a hinge member and



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   1   that it's accomplished through a rotation of the second
   2   axis at a very minimum.
   3                      Now, as Your Honor contemplated earlier,
   4   maybe that is not enough structural description, and if
   5   it is, the Court's opinion that we should limit it to
   6   front and rear support elements and talk about those
   7   arrangements instead, Defendants would be amenable to
   8   that, as well, but at a very minimum, you have to tell
   9   me how to arrange something if you're going to say that
 10    different arrangements exist and they serve a purpose.
 11    And the only way that the claims give you to do that is
 12    rotation about the second axis.
 13                       Now, in comparison, you go back and look at
 14    the Plaintiff's construction again, it's just saying
 15    configuration or arrangement, it becomes clear why that
 16    lacks context.           So as you've already heard, Plaintiff
 17    will say, well, you know, there is a support frame, and
 18    it's attached to the hinge member, so, therefore, it's
 19    supporting and it also has dispositions, and that's all
 20    you need.
 21                       But I don't believe Plaintiff answered your
 22    question when -- and Defendants think this is where you
 23    were going, Your Honor, is what -- what is it?                               I mean,
 24    if you're telling me there's an arrangement of the
 25    support frame, what is it and how do you do it?                                Like



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   1   how do you make a disposition?                     If you're going to
   2   arrange something and this arrangement serves some
   3   function, it's not in there for no particular reason,
   4   then how do you do it?
   5                      And here, again, Your Honor, it's a matter
   6   of common sense, the claims go to a functioning device.
   7   It's not to a list of parts.                    The claim is telling
   8   you -- is teaching you -- is claiming something that can
   9   do something, a clip that can take you from tabletop to
 10    laptop, but if you don't tell me how to configure it,
 11    how to adapt it from one thing -- from one surface to
 12    another, then what I'm leaving you with is I'm not
 13    telling you how to make the invention work, and that is
 14    a big problem.
 15                       Again, from a matter of common sense, and
 16    here on the slide, Your Honor, we provided a citation to
 17    a seminal text on the principles of claim drafting, but
 18    this is mostly just for ease of reference.                            I mean, you
 19    can think about it in the absence of looking at any
 20    text.     If you're going to claim something, if you're
 21    going to contribute to society something that they
 22    didn't have before, a functioning device, a device that
 23    can do something, then I sure hope your claims tell me
 24    how you can do it because then I don't know what you've
 25    contributed.



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   1                      It's not -- and going to the text here, this
   2   Faber on Mechanics of Patent Claim Drafting is more of
   3   an expert on this, presumably, than -- than I or the
   4   Plaintiff.         The claim must be to an assembled operable
   5   combination, not to a mere parts list, and that, Your
   6   Honor, Defendants think really sums up the point.
   7                      The clip functions to take you from tabletop
   8   to laptop.         As part of doing so, it takes on different
   9   physical arrangements.                You have to tell me how to make
 10    those physical arrangements, and the second axis is the
 11    only means in the claims that allows you to do that.
 12                       Now, Plaintiff has suggested that maybe
 13    there are other ways to form dispositions.                            Well, that's
 14    great, but that's not in the claims.                         Are you telling me
 15    that the second axis is immaterial, that the claims set
 16    that out, but that has nothing to do with how to make
 17    the invention work?              Well, then, how does the invention
 18    work?
 19                       That is the connection that has to be there,
 20    Your Honor, so the disposition, in order for the camera
 21    to function, in order for the camera to take functional
 22    arrangements, that functional arrangement has to be
 23    about the second axis in order for this entire thing to
 24    make sense.
 25                       THE COURT:         Okay.      Well, let me -- let me



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   1   back up a little bit then.                  Now, what you've shown me in
   2   this animation --
   3                      MS. LU:       Uh-huh.
   4                      THE COURT:         -- I'm assuming by showing me
   5   that, you're saying that is what you believe this claim
   6   comprises, that type of camera that goes from the table,
   7   rotates on a second axis, and you set it on the laptop
   8   screen; am I -- am I correct?
   9                      MS. LU:       Right.       That animation is drawn
 10    from the figures in the patent, and that's an example
 11    showing you how the invention works.                         So, yes, that's
 12    right.
 13                       THE COURT:         Okay.      Well, I guess -- okay.
 14    Give me an idea.            We've argued here for an hour and 15
 15    minutes about this -- this camera going from table to
 16    laptop in such a fashion.                  I think Plaintiff raised the
 17    issue, well, does that camera in Defendants' estimation
 18    infringe this claim?               Apparently the answer is yes.                     So
 19    what are we really arguing about here?                          What's the
 20    issue?      Why is this so important?
 21                       MS. LU:       The issue -- well...
 22                       THE COURT:         I mean, I guess what's the
 23    Plaintiff's theory on how this -- if what you're saying
 24    is correct --
 25                       MS. LU:       Uh-huh.



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   1                      THE COURT:         -- and I think the Plaintiff
   2   will probably agree to a large extent that this patent
   3   is about a camera that can set up on a table and set up
   4   on a laptop, what is their theory as to what's your --
   5   how your cameras meet these claims, and then what's
   6   different about the camera you're showing me in the
   7   animation?
   8                      MS. LU:       Well, correct me if I'm wrong, Your
   9   Honor, but I didn't think that it was actually
 10    permissible for us to talk about -- import our
 11    non-infringement case into the claim construction, so --
 12                       THE COURT:         Well, if I'm going to spend over
 13    an hour talking about this, I need to know what's going
 14    on here.       Why is this important?                 I mean --
 15                       MS. LU:       Right.       Excellent point, Your
 16    Honor.
 17                       THE COURT:         I'm going to make it an issue,
 18    so tell me what's going on in this case.
 19                       MS. LU:       Okay.      So what Defendants are
 20    concerned about with Plaintiff's construction is saying
 21    that a configuration or physical arrangement exists, but
 22    I'm not going to tell you how to make that
 23    configuration, and moreover, the only means of making
 24    that configuration in the claims, the second axis should
 25    not be taken into account -- taken into account when



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   1   you're trying to tell me what the configuration is.
   2                      What Defendants are concerned about here is
   3   Plaintiffs will say anything connected to something else
   4   connected to a camera where the thing that's closest to
   5   the bottom could have different shapes.                           I'm not -- it
   6   doesn't matter how it makes it, it doesn't matter if the
   7   claim tells -- if -- if that product makes different
   8   shapes in a way that's taught by the claims, it doesn't
   9   matter if those have any relationship, then that's going
 10    to infringe because there are two pieces, and it can
 11    move, and one of those pieces can take different shapes.
 12                       If you're going to tell me that you're going
 13    to read the claim on things that can take different
 14    shapes, well, then, the shape has to at least be enabled
 15    by the patent.           It has to be -- you can't just say that
 16    you take a camera and some piece that allows the camera
 17    to rotate around two axes and stick it on to, say, a
 18    giant magnet, and you move the magnet from tabletop to
 19    laptop and say, oh, look, it's taking different shape,
 20    or a big sticky ball and you change that big sticky ball
 21    from one shape to another and say, look, it has
 22    different dispositions, that something like that would
 23    be covered by the claims.
 24                       THE COURT:         Okay.      All right.          Well, let's
 25    move -- I want to move on from this, but I do want to



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   1   get Plaintiff up one more time on this because we've got
   2   to move on.
   3                      Mr. Edmonds, you know, I want to raise the
   4   issue here what really is -- is going on.                            I mean, what
   5   they're saying is, look, what you claimed was this
   6   configuration on the table, you move it, you rotated
   7   this second axis that's referred to in the claim, you
   8   set it up on the laptop.                 And they're saying, you're
   9   trying to make this into something that if it's got
 10    anything that supports this camera and you move it from
 11    table to laptop, as long as it's got this axis -- two
 12    axes you can find, it infringes.
 13                       And they're saying, no, what you invented
 14    was this thing you can move from one surface to the
 15    another -- a surface to an object by rotating it, and
 16    that's what you've got, and now you're trying to make it
 17    into something that covers, I guess, a multitude of
 18    webcams that your claim is not supportive of, so --
 19                       MR. EDMONDS:          Yes, Your Honor, and I
 20    think --
 21                       THE COURT:         What is your theory here?
 22    What's going on here?
 23                       MR. EDMONDS:          Good question.            So -- and I
 24    think this illustrates the point.                       My question to
 25    them -- I think everybody agrees that the illustration



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   1   in their PowerPoint meets the claims limitation.                                I
   2   think the issue is this one here that the Court's
   3   looking at that they brought with them, because we say
   4   this infringes, they say it doesn't.                         So I think this is
   5   where -- really where the rubber hits the road.
   6                      So the only thing I can figure out that
   7   they're getting at is here we have a hinge member, it's
   8   here, it's rotatably attached to the camera, and it
   9   rotates throughout the first axis of rotation, which is
 10    the horizontal axis.               This also rotates around other
 11    axes of rotation, too.                I think they want to say that
 12    it -- it has to rotate around -- there has to be a
 13    single axis of rotation and that has to be what
 14    accomplishes everything, and if it does more, if it
 15    rotates in more than one axis, then it doesn't infringe.
 16    They're going to say to the jury that the Court has
 17    construed this so narrowly that if we -- that if we
 18    rotate in more than one axis, then we can't infringe.
 19                       I think that's where the rubber is hitting
 20    the road here, and I think that gets into the same thing
 21    with hinge where they say it has to be a specific kind
 22    of joint, and we get that.                  I think it's the same
 23    argument over and over again to where essentially
 24    they're saying that the only thing that could possibly
 25    infringe is something that's configured exactly like the



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   1   one that's in the patent, and we're saying that the
   2   claim language, it should be interpreted -- you should
   3   look at the claim, not the preferred embodiment.
   4                      THE COURT:         Well, I'll just ask one more
   5   thing --
   6                      MR. EDMONDS:          Yes.
   7                      THE COURT:         -- and then we do have to move
   8   on.    The way I'm understanding their argument here at
   9   the very end was I'm not sure it's so much what you're
 10    pointing out.          It seems to me what they're saying is, is
 11    that they're saying the thing is sitting on the surface,
 12    then as you move this clip to the laptop, you rotate it
 13    about this second axis, which I think is a horizontal
 14    axis, correct, or is it the --
 15                       MR. EDMONDS:          The second axis is horizontal,
 16    yes, Your Honor.
 17                       THE COURT:         So you rotate it, and that's
 18    what enables you to fit it onto the laptop.                             So it's
 19    almost like it's this transition.                       They're saying,
 20    configuration table, configuration laptop.                            You go from
 21    one to the other, one disposition to the other by
 22    rotating it.
 23                       MR. EDMONDS:          And maybe that is what they're
 24    saying.       I mean, that's just simply -- that -- that
 25    illustration they had is really neat, but that's not in



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   1   the patent, that's not required by the claims.                               There --
   2   it's just all that I acquired is -- it's an apparatus,
   3   so it's not a method of kind of shaping itself that way.
   4   The apparatus has to have a first disposition; it has to
   5   have a second disposition.                  It doesn't say that there
   6   has to be some transition between the two.                            If that's
   7   how they're reading it, it's just not there.
   8                      THE COURT:         Well, I think that is how
   9   they're reading it.              They're saying because you've got
 10    these two orientations, two dispositions, that this
 11    clip, how you do -- how you maneuver these orientations
 12    is by rotating it around this second axis.                            I think
 13    that's why they say -- you know, I'm really not sure as
 14    I -- maybe I'm not fully understanding what they're
 15    saying.       That seemed to be what they were saying at the
 16    end there, but anyway...
 17                       Okay.      All right.         Well, I tell you what,
 18    we're going to take a break for about 10 minutes and
 19    then resume with, I guess, rotatably attached and hinge
 20    member and -- so all right, in recess for about 10
 21    minutes.
 22                       COURTROOM CLERK:             All rise.
 23                       (Recess.)
 24                       COURTROOM CLERK:             All rise.
 25                       THE COURT:         Please be seated.



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   1                      All right.         What's the next term?
   2                      MR. EDMONDS:          Hinge member, Your Honor.
   3                      THE COURT:         All right.         Go ahead.
   4                      MR. EDMONDS:          Your Honor, with respect to
   5   hinge member, it seems like the -- the battle -- the
   6   battle lines are fairly drawn here.                        The -- the
   7   Plaintiff says it's a structural element that joins to
   8   another for rotation.               And I think that there's a join
   9   versus may be joined.               I think that's somewhat of a side
 10    issue with the Court.               I mean, in the claims, they are
 11    joined, so I'm not really sure why we're arguing over
 12    how many angels dance on the head of a pin there.
 13                       But I think the big issue for the Court to
 14    resolve is that this hinge joint, which is what the
 15    Defendants are trying to read into the claim here,
 16    whether -- whether a hinge member has to be limited to a
 17    hinge joint or not, and I think that -- that is the
 18    major question for the Court.
 19                       And the -- all right.                The hinge member, as
 20    claimed, it has -- it has to do a couple of things here.
 21    First of all, all the claims have rotatable attachment,
 22    all the independent claims have rotatable attachment in
 23    there.      So we know rotatable attachment is something we
 24    need to account for.
 25                       And then go to the next slide.



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   1                      Claim 19 has hinged attachment.                      The parties
   2   have agreed that hinged attachment means a hinge joint.
   3   We've agreed on that.               And I think where the battle
   4   lines are drawn are the Defendants are saying that not
   5   only is hingedly attachment a hinge joint, but rotatably
   6   attached must be a hinge joint, too.                         And that's just
   7   simply improper claim construction.
   8                      When different words are used, it's presumed
   9   to have different meanings, and if you go back a
 10    slide -- it's interesting to see the difference in the
 11    parties' graphics here, and I think if the Court -- the
 12    color-coated things help the Court put it in
 13    perspective.
 14                       This -- well, we have a front view and a
 15    side view of hinge member 16, and the preferred
 16    embodiment, hinge member 16 that's depicted in this
 17    figure, has a hinged attachment, it also has a pivot
 18    joint, and it's interesting -- and the -- I think the
 19    graphic the Defendants are going to show you doesn't
 20    have the entire hinge member 16 filled in.                            So it's --
 21    it's an incomplete picture for the Court.
 22                       The hinge member 16 has a pivot element.                            So
 23    the Defendants -- I got a preview of their slides, and
 24    they have a slide with a -- with an old-style phonograph
 25    that rotates, and I think they're going to say that that



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   1   can't be included as a hinge member.                         I think what's
   2   interesting about that is the -- the pivot element
   3   that's shown here in the preferred embodiment with this
   4   pivot joint, that rotates like a -- like a phonograph
   5   does.     So the -- the construction that the Defendants
   6   are urging would read out a preferred embodiment,
   7   which is presumptively wrong and we say conclusively
   8   wrong.
   9                      I think it's also worth pointing out to the
 10    Court that -- and go to the next slide -- the pivot
 11    joint to better -- so in this one, we've got hinge
 12    member 16, which is this whole structure -- I've pointed
 13    out pivot element 80 of hinge member 16, which is this
 14    pivot part.
 15                       And I think the pivot element is an
 16    important point in the Court understanding whether
 17    these claims are limited to a preferred embodiment or
 18    not.     If you look at Claims 8 and 17, Dependent Claims 8
 19    and 17, they both have -- they both have a pivot
 20    element -- or, excuse me, yeah, a pivot element and a
 21    hinge element.           We're getting there, Your Honor.                       Yeah,
 22    there's 17.         We have a pivot element and a hinge
 23    element.
 24                       And so what we see here is that rotatable
 25    attachment is not limited to a hinge joint, and, in



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   1   fact, if it was, Claim 17 and Claim 8, which has the
   2   same -- the same language there, would be inoperable and
   3   a nullity because you couldn't have a pivot element -- a
   4   pivot element and a hinge joint are two different
   5   things.
   6                      I think that's basically where the -- where
   7   the rubber hits the road there, Your Honor, and
   8   whether -- I understand that the patentee used the word
   9   hinge member, and I think what the Defendants say at the
 10    first instance is, well, they're saying a hinge member
 11    isn't a hinge, and perhaps to a certain extent, we are
 12    in a sense that the claims and the specifica -- the
 13    specification teaches and the claims not only teach but
 14    require that you can have at least pivotable attachment
 15    here with the hinge member.                   So there's no way that it
 16    could be limited just to a hinge joint.
 17                       And I think what -- to put it in perspective
 18    for the Court as to, again, why we're -- why these
 19    things matter, I presumably -- and I'm going to borrow
 20    their webcam.
 21                       Can I borrow it, or did it disappear?                          Thank
 22    you.
 23                       So -- so this helps put it in perspective,
 24    this -- this webcam that we -- that they brought with
 25    them, this -- this is what's swinging down here is a --



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   1   is a hinge joint.             Everybody agrees on that.                   And
   2   presumably what they're going to say is that what is up
   3   here is not a hinge joint, and thus this doesn't
   4   infringe because a hinge joint is required.
   5                      But it's funny, when you look at this webcam
   6   and you look at the preferred embodiment, as you can
   7   see, this webcam rotates on a horizontal axis with a
   8   pivot -- it pivots just like the preferred embodiment
   9   does.     So, I mean, fundamentally, what -- what the
 10    Court's faced with is it going to have a construction
 11    that excludes a preferred embodiment.
 12                       And then I think the other fundamental point
 13    of disagreement between the parties is that the
 14    Defendants -- I think what their language is intended to
 15    argue is that it can only rotate in one axis.                              It can't
 16    rotate in more than one axis.
 17                       And our answer to that is to infringe the
 18    claim, it must rotate in a first axis and a second axis,
 19    and those axes must be perpendicular to each other, fair
 20    enough.       But the webcam can have other -- there can be
 21    other axes or rotation.                 That's -- what's required to
 22    infringe is one thing.                What they're trying to do is
 23    trying to say that if -- if we do that and more, then we
 24    don't infringe because we're trying to get the Court to
 25    limit it to something that is -- is restricted in this



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   1   movement, and to that, we say that that's not how claims
   2   are interpreted.            To us, that's claim interpretation
   3   101.
   4                      This is comprising.               There's no disclaimer
   5   in the patent to say that it can only rotate in one
   6   direction.         What it says is that it must rotate in a
   7   direction.         It doesn't say that it can't rotate in other
   8   directions.         I think that's where the points of
   9   disagreement are, and I think that the Plaintiff's
 10    construction should -- should prevail for those reasons.
 11                       If -- in terms of kind of their picking
 12    apart our construction, something -- somewhat what we
 13    did with our constructions is we -- we took the
 14    Defendants' construction and tried to reach as many
 15    points of agreement as we could, which I -- which I
 16    think helps highlight the points of disagreement for the
 17    Court and where it needs to rule.
 18                       We both agree that a hinge member is a
 19    structural element.              We both agree on joining.                   We just
 20    have joins or maybe joins.                  We both agree that there's
 21    rotation.        So really where -- where we part ways is
 22    they've got another limitation in there that it has to
 23    form a hinge joint as opposed to, for example, a
 24    preferred embodiment, a pivot joint, or as opposed to,
 25    for example, another joint that still meets the



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   1   requirement of the claim that you have two axes that are
   2   perpendicular.           I think that's where -- where that one's
   3   left.     So I'll take them in turn, so axis of rotation --
   4   we'll do them one at a time.                    Axis of rotation comes
   5   next.
   6                      THE COURT:         Okay.      Response?
   7                      MR. ZARIAN:          Thank you, Your Honor.
   8                      Respectfully, although counsel indicated, as
   9   the Court has requested, that the hinge member and
 10    rotatably attached terms would be dealt with separately.
 11                       I submit, Your Honor, that most of the
 12    argument that was just given with respect to hinge
 13    member actually relied on arguments about rotatably
 14    attached.        And, specifically, the statement was made
 15    that rotatable attachment was not limited to a hinge
 16    joint.
 17                       What I'd like to do is really focus on hinge
 18    member and exactly what hinge member means and what the
 19    proper construction of that ought to be.                           And we submit,
 20    Your Honor, if hinge member means anything at all, it
 21    has to do something -- it has something to do with
 22    hinge.
 23                       What the Plaintiff would do is actually read
 24    out the hinge functionality, the hinge term completely
 25    from the construction of this term, from the definition



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   1   of this term.          So whether or not a hinge element has a
   2   pivot, allows for a pivot function at the top and a
   3   hinge function on the second axis at the bottom, it has
   4   to have a hinge.            That's our position.
   5                      So ultimately, the central disagreement here
   6   is whether or not a hinge is a hinge, Your Honor.
   7   That's -- that's our view of it, and Plaintiff's
   8   construction in no way addresses or takes into account
   9   the term hinge in defining and construing hinge member.
 10                       The word hinge, Your Honor, is used 66 times
 11    in the specification or variations thereof.                             And every
 12    independent claim in this patent uses hinge, the word
 13    hinge to modify member.                 The patentee deliberately used
 14    the word hinge to modify member in every independent
 15    claim.
 16                       And this slide illustrates that, No. 36,
 17    Your Honor.         It is a basic rule, of course, of -- of
 18    claim construction that claims must be interpret with an
 19    eye toward giving effect to all terms in the claim.                                  And
 20    here we simply must give effect, Your Honor, to the
 21    important term hinge and not read that out of the claim
 22    as -- as Plaintiff would do.
 23                       The ordinary meaning of the term hinge is
 24    known to those with skill in the art, it's well known.
 25    It's a joint that allows a swinging motion about a



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   1   single axis, a single axis, and a door is the most
   2   commonly cited example of exactly what that means.
   3   There's an illustration here of how it works in a door
   4   and how it works in a hinge.                    There's a single axis
   5   about which a rotation occurs, and the door is a -- is a
   6   great example of that, but the hinge is defined by its
   7   rotation about that single axis and by the swinging
   8   motion that goes along with it.
   9                      The specification's description here of how
 10    the hinge member operates in the context of this camera
 11    clip is consistent with how a hinge actually works.
 12    This is to say, Your Honor, that the function of this
 13    purported invention here requires the hinge
 14    functionality.
 15                       It defines this as being hingedly attached,
 16    the hinge element.              The very object and function of this
 17    invention shows that the hinge function is central to
 18    the definition, and the Court saw the animation of the
 19    way in which this moves from the table to the laptop
 20    computer.        The way it works is consistent with a
 21    construction that requires taking into account the hinge
 22    functionality.
 23                       We got some other animations, Your Honor,
 24    that I think will illustrate this point.
 25                       Is it possible to animate this?



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   1                      This shows, Your Honor, where the hinge
   2   member is located in the -- in the device that we've
   3   been animating and illustrating here.                         That's the hinge
   4   member there, and it's attached to the support frame,
   5   and on top, not part of the invention, rests the -- the
   6   camera part of the device.                  So that's -- that's where
   7   the focus is, Your Honor, is on that hinge member and
   8   how we ought to construe that.
   9                      This compares, Your Honor, the animation
 10    we've provided, the Court will see compared to exactly
 11    what the function of a hinge is and how a hinge rotates
 12    about that one axis of rotation.                      The Court will see the
 13    door and the hinge on the left and then on the right the
 14    camera rotating about the second axis of rotation
 15    swinging as a hinge.
 16                       A hinge is a hinge, Your Honor, and
 17    Plaintiff's contradiction -- construction contradicts
 18    the plain and ordinary meaning of the term hinge.                                 That
 19    proposed construction by Plaintiff has actually changed.
 20    It was one thing in the original brief, and it was
 21    something slightly different in the reply.
 22                       I think that first proposed construction,
 23    Your Honor, made clear what the object, what the intent
 24    of Plaintiff's construction is, which is really to take
 25    this invention beyond what the claims describe, what the



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   1   specification taught, which is in every case rotation
   2   about a single axis, whether it's the first axis of
   3   rotation or the second axis of rotation.                           Whether it's a
   4   pivot joint, Your Honor, or a hinge joint, it's always
   5   one axis of rotation.               I think this shows as much as
   6   anything that the original intent here in the
   7   constructions advanced by Plaintiff is trying to expand
   8   this to broaden this beyond anything the patent ever
   9   claim or ever taught.
 10                       The ordinary meaning of hinge is, in fact, a
 11    joint that only permits motion about a single axis and
 12    including multiple axes as Plaintiff originally tried to
 13    do or perhaps its revised proposed construction would
 14    allow contradicts that understanding, effectively
 15    erasing hinge from the claims.
 16                       We did provide examples, Your Honor, of ways
 17    in which a full rotation does not in any way address the
 18    term hinge in this -- in this term that needs to be
 19    construed.         The pin wheel is one, the turn table is
 20    another.       The fact that something is joined to something
 21    else for rotation in no way describes a hinge.                               That is
 22    not sufficient and no way gets at the meaning in context
 23    in the context of this patent and the claims, and what's
 24    taught in the specification, all the intrinsic evidence
 25    clearly shows that what's required here is a hinge and



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   1   not just something -- some vague reference to rotation.
   2   To construe the term that way would create a great deal
   3   of unwarranted and unnecessary ambiguity, Your Honor.
   4                      The argument was made in the briefs, Your
   5   Honor, that perhaps what we really have here is an
   6   example of a -- you know, a purported inventor being his
   7   own lexicographer, and, Your Honor, just to be clear,
   8   that case law does not -- does not allow, as Plaintiff
   9   would do here, the patentee to take and try to define a
 10    term such as hinge, which is commonly known and
 11    understood and has an ordinary meaning, and define it in
 12    a way that is inconsistent with -- not just inconsistent
 13    but completely fundamentally compatible with the term
 14    hinge by excluding that from the definition.
 15                       The Eon case is a recent case, Your Honor,
 16    that was decided by -- by this Court in which I think
 17    similar relationships were raised, and as there, here,
 18    no clear definition of hinge is provided that would
 19    suggest that it means anything other than what the claim
 20    asserts and what the specification teaches, which is the
 21    working of a hinge.
 22                       The facts here are that every use of hinge
 23    member in the claims in the specification is consistent
 24    with the ordinary understanding of exactly what a hinge
 25    is and how it operates.



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   1                      There is a claim differentiation argument
   2   that I think was alluded to, as well, Your Honor, and it
   3   is that, you know, there's a difference between
   4   rotatably attached and hingedly attached.                            Hinges
   5   rotate; pivots rotate.                There's no fundamental
   6   inconsistency between rotatable attachment in the
   7   working of a hinge.              The question is how that happens,
   8   and I think the discussion about rotatable attachment
   9   will speak to that.
 10                       But, you know, the point we want to stress,
 11    Your Honor, in every instance where hinge or hingedly
 12    attached is used to describe how an object is joined at
 13    the hinge member, the object is simultaneously described
 14    as being able to rotate about a second axis.                              That's --
 15    there's rotation here, but it's rotation as a hinge
 16    rotates.
 17                       And hinge member, I'll just emphasize this
 18    point again and rest with this, must require, Your
 19    Honor, some acknowledgement that the hinge member is
 20    going to involve the workings, the operations, and the
 21    term hinge and not to define that term in a way that
 22    excludes and in no way acknowledges the term hinge would
 23    be fundamentally wrong, Your Honor.
 24                       THE COURT:         Well, what about their argument
 25    that Figure 4 and you're reading out Claim 8, you're not



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   1   providing for the possibility that a hinge member
   2   includes a pivot element, pivot element 80, what about
   3   that?
   4                      MR. ZARIAN:          I think that relies on their
   5   understanding that our construction of rotatably
   6   attached is somehow fundamentally inconsistent with the
   7   workings of a hinge, and I think we argue, Your Honor,
   8   is that -- that hinges rotate, as well.                           They rotate
   9   about a single axis, and a swinging motion is rotation
 10    about an axis of rotation.
 11                       I think that's -- I heard that argument that
 12    was made, but I don't understand it, Your Honor.                                I
 13    don't think we read out any preferred embodiment here.
 14    All we're saying is that, moreover, Your Honor, whether
 15    or not there's a pivot function allowed for at the top
 16    where the cam -- webcam attaches, there must be a hinge,
 17    and that's exactly what the preferred embodiment shows.
 18    There's a hinge at the bottom which rotates about the
 19    second and allows the rotation of the support frame
 20    about the second axis of rotation.
 21                       So -- so there must be a hinge and the hinge
 22    member, and whether or not there's also a pivot function
 23    or, again, I think perhaps what they're alluding to is
 24    some -- they're relying on what they think we take
 25    rotatably attached to mean and somehow that



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   1   excluding hinge -- that's not correct, Your Honor.
   2   That's not our view of that.                    Hinges do rotate.
   3                      THE COURT:         Okay.      Well, go to, I guess,
   4   Claim 19.        What's the difference between hingedly
   5   attached in the way you're describing it and rotatably
   6   attached and the way you're describing it?
   7                      MR. ZARIAN:          Your Honor, we wrestled with
   8   this question, too.              In all candor, this is the only
   9   claim in which that distinction is made.                           All of the
 10    other independent claims use rotatably attached both in
 11    the first element and in the second element, and there's
 12    a difference in the language there.                        We've cited cases
 13    that -- that teach, Your Honor, that the fact that, you
 14    know, there's different wording doesn't necessarily mean
 15    that there's a different definition in terms of the
 16    scope of the claim.
 17                       And maybe more to the point, you know, with
 18    respect to whether or not that excludes or includes
 19    certain matters in terms of how we define hinge, I mean,
 20    this maybe goes more to the question of rotatably
 21    attached.        They made a claim differentiation argument
 22    with respect to rotatably attached on this point.                                 But
 23    with respect to the definition of hinge, Your Honor, I
 24    don't believe this has any impact on the proper
 25    definition, which must -- must mean hinged member in



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   1   particular must include and account for the presence of
   2   a hinge.       That's our point with respect to hinge member.
   3                      This is the point perhaps that goes a little
   4   bit more to -- and I think they've used it to argue for
   5   their construction of rotatably attached, and I do want
   6   to address that, Your Honor.                    With respect to hinge
   7   member, Your Honor, that's -- that's our particular
   8   focus.      It's a very discreet element.                     It's a very
   9   commonly understood term.                  Under all the circumstances,
 10    the teachings, and the claims as specifically set forth,
 11    what we're saying is a hinge is a hinge, and whatever
 12    definition or construction the Court settles on must
 13    include and not exclude a hinge.                      That's our position,
 14    Your Honor.
 15                       THE COURT:         Okay.      Well, all right.              Okay.
 16    Rotatably attached, then, or any response to hinge
 17    member, brief response if you desire.
 18                       MR. EDMONDS:          We -- we will take the Court's
 19    comment brief -- brevity here.
 20                       So -- and what I heard counsel say was, and
 21    I think it's telling, in every case it's one axis, and
 22    I -- and I think that's -- their argument -- the
 23    language they're proposing for the Court is to say that
 24    the claims are limited to that, and that's just simply
 25    not what the language of the claim says.                           That's just an



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   1   extra limitation, restriction they're trying to build in
   2   there.
   3                      And I think there's -- you know, there's a
   4   difference, as the Court is well aware, between a
   5   preferred embodiment and what's claimed.                           And what's
   6   claimed is rotatable attachment, and the Court asked the
   7   right question.            What's the difference between rotatable
   8   attachment, and what's the difference -- and hinged
   9   attachment?
 10                       A similar question would be what's the
 11    difference between a pivot element and a -- and a hinge
 12    element.       Clearly, those things are different.                          And
 13    rotatably attached, as we pointed out in our brief, is
 14    broader than a hinge joint.                   There are -- there are
 15    pivot joints, there are ball and socket joints, there
 16    are saddle joints, there are all kinds of joints that
 17    provide for rotatable attachment.                       And the restriction
 18    that the -- yeah, that the Defendants are trying to do
 19    is to try to say that -- that rotatable attachment is to
 20    be read out of the claims.
 21                       Those are our -- go ahead, Your Honor.
 22                       THE COURT:         Okay.      Well, I guess my
 23    overall -- overall question is -- I just want to ask you
 24    again.      You've mentioned this, but the concern that you
 25    are reading hinge out of the claim, it's there, it's, I



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   1   think, a well-understood term.
   2                      Now, it says that -- Claim 1 says, a hinge
   3   member adapted to be rotatably attached to the camera.
   4   So I'm not so sure that that rotatably attached term
   5   means that it's not a hinge.                    It's adapted to be
   6   rotatably attached.              Then it goes on to say that the
   7   support frame is rotatably attached.
   8                      Now, their position, as I understand it, I
   9   think, is that, well, hinge, rotatably on the hinge --
 10    it's rotating on the hinge.                   On that -- I think the
 11    hinge and single axis go together.                       When you've got a
 12    hinge, they're saying you got one axis.                           They're saying
 13    we can't go beyond that to ball and -- ball and socket
 14    joint, that kind of thing, because then you're getting
 15    away from hinge.            You're now rotating on different axes.
 16                       I mean, it all goes back to hinge, and my
 17    concern is, is that, as the Court, am I just changing
 18    hinge, which is definitely there, it's not only in the
 19    spec, it's in the claim itself, into something that, you
 20    know, without a -- I don't think there's anywhere you
 21    can point to where the intrinsic record says, hinge
 22    member here or hinge includes this, this, this and this.
 23                       You're kind of trying to cobble together
 24    from rotatably attached and -- and these sorts of things
 25    that, well, it could be more than just solely a hinge.



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   1                      I guess, give me your best argument as to
   2   why the Court departs from, you know, hinge when that's
   3   clearly the word used here and enlarges it to other
   4   possibilities.
   5                      MR. EDMONDS:          Yes, Your Honor.             To us, the
   6   answer, Your Honor, is that the patentee used the word
   7   hinge member.          They didn't use the word hinge.                       They
   8   didn't use the word hinge joint.                      The word hinge joint
   9   is not used in the patent at all.                       And what we see here
 10    with the preferred embodiment is -- and -- and -- and
 11    that at a minimum, a hinge member needs to have -- the
 12    rotatable attachment you're talking to -- and you say it
 13    doesn't say that in the patent.                      It does.        It says,
 14    specifically in a preferred embodiment, that hinge
 15    member 16 has pivot element 80 and hinge element -- I
 16    think it's 78 or 82.
 17                       So what -- what they're doing is -- and what
 18    the Court asked me is -- my question is what about pivot
 19    element 80?         We can't read that out of the -- it's --
 20                       THE COURT:         Okay.
 21                       MR. EDMONDS:          Yes.
 22                       THE COURT:         Tell me what pivot Element 80
 23    does.
 24                       MR. EDMONDS:          It -- okay.          A pivot, Your
 25    Honor -- and I guess the best way to frame it would be



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   1   when a basketball player pivots, so you don't travel,
   2   you pivot on your foot.                 That's -- that's a pivot, okay?
   3   So -- and -- and just like the record player, it -- it's
   4   a spin.       It's not a hinge.
   5                      THE COURT:         Well, it's almost like what
   6   we're talking about here are two different things.                                 I
   7   think they're saying, we don't think the hinge member
   8   you're talking about does -- has anything to do with the
   9   pivoting of the camera.
 10                       MR. EDMONDS:          Yeah, but hinge member 16
 11    includes pivot element 80 by --
 12                       THE COURT:         Let me stop you.
 13                       MR. EDMONDS:          Yes.
 14                       THE COURT:         Do you -- Mr. Zarian, do you
 15    agree with that, that pivot element 80 is included in
 16    hinge member 16, or are they two different things?
 17                       MR. ZARIAN:          The pivot element is simply
 18    where there's a -- the webcam and the hinge member meet.
 19    The point at which they attach I think is what's
 20    described by -- by number 80 on that figure.
 21                       THE COURT:         But so in answer to my question,
 22    it's not part of hinge -- the hinge member is the
 23    Defendants' position?
 24                       MR. ZARIAN:          I think that -- I think the
 25    hinge member has to allow for -- in fairness, it has to



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   1   allow for a pivot element to be attached there.                                But,
   2   no, the device that's described is specifically the
   3   member.       And what's described to rotate, I think, is
   4   pretty clearly is the webcam that rotates at that point,
   5   whereas, the support frame, which is part of the device,
   6   rotates.       That's part -- that is part of the -- of the
   7   invention -- of the alleged invention.
   8                      THE COURT:         Okay.      Well, I guess -- okay.
   9   Let's say it's got this pivot which allows the camera to
 10    rotate, but I think their point is, is that your
 11    definition of hinge member does not require a hinge,
 12    which I think they're saying is required in its
 13    attachment to the support frame; is that correct?
 14                       MR. ZARIAN:          Absolutely, Your Honor, it must
 15    have the hinge.
 16                       THE COURT:         So what about -- let's go away
 17    from the 80, the camera attachment, the part that
 18    attaches the camera to the support frame, which I think
 19    they're saying shows this sort of back and forth action,
 20    a hinge on one axis.               I mean, why can we -- why can the
 21    Court not incorporate that into the definition of hinge
 22    member?
 23                       MR. EDMONDS:          So -- and as I understand the
 24    Court, right, I understood them to say that pivot --
 25    that a hinge member couldn't have a pivot element.                                 Now



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   1   they're saying it can, but it also has to have this
   2   hinge element, and I think the Court's question is why
   3   doesn't it have to have a hinge element?
   4                      THE COURT:         Why doesn't it have to have a
   5   hinge element?
   6                      MR. EDMONDS:          Right.       And -- and the answer
   7   is that Claim 19 requires hinged attachment.                              The other
   8   claims do not, and, in addition, Claims 8 and 17 require
   9   a hinge element, and the other claims do not.
 10                       And the -- the -- what we see is that
 11    rotatable attachment is, again, broader than hinged
 12    attachment.         There are all kinds of rotatable
 13    attachments, and if the Court was to restrict it that
 14    way, then it's an undue restriction on the claims and
 15    hinged attachment becomes meaningless and hinge element
 16    becomes meaningless, and that's improper claim
 17    construction.          And I -- and I think the key to
 18    understanding it is that the patentee didn't -- they
 19    said, hinge member.              That's not a word in the art.
 20    That's the word the patentee made up.                         And he didn't
 21    say, hinge joint, like the Defendants keep saying.
 22                       So what we know from looking at the claims
 23    and the structure of the claims is that a hinge member
 24    doesn't have to have a hinged attachment and that a
 25    hinge member does not have to have a hinge element.                                  All



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   1   that's really required in Claim 1, Claim 10, Claim 20,
   2   the other independent claims is it has to be rotatable
   3   attachment.         That's all that the claims require.
   4                      THE COURT:         Okay.      Now, so what I'm
   5   understanding you to say is, is that this hinge member,
   6   this rotatable attachment to this support frame, I guess
   7   it's like you say, it could be -- the attachment could
   8   result in not only -- it doesn't have to be a hinge
   9   joint, it could be a ball joint, it could be some --
 10    some sort of attachment that allows rotation in some
 11    fashion?
 12                       MR. EDMONDS:          Rotatable attachment means
 13    rotatable attachment.               It's that simple.              And had the
 14    patentee not used hinged attachment, we might be having
 15    a different conversation.                  But hinged attachment, I --
 16    what I heard counsel say and I think it's correct, they
 17    said that a -- a hinged attachment is a type of
 18    rotatable attachment.               We agree.         But there are other
 19    types rotatable attachments, too, and the claims don't
 20    limit themselves, except for Claim 19, to any particular
 21    type of rotatable attachment.
 22                       THE COURT:         Okay.      Anything else on this?
 23                       MR. EDMONDS:          I think that sums it up, Your
 24    Honor.      Thank you.
 25                       THE COURT:         Okay.      All right.          Are we moving



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   1   to -- is the next thing to do is rotatably attached?
   2                      MR. ZARIAN:          We're prepared to address that,
   3   Your Honor.
   4                      THE COURT:         Okay.      Mr. Edmonds, have you
   5   addressed rotatably attached?
   6                      MR. EDMONDS:          I -- have I addressed theirs?
   7   No, I was -- I was responding to hinge member.
   8                      THE COURT:         Go ahead and move to rotatably
   9   attached, and that may raise some issues I might have
 10    with regard to -- I think they're really, you know, kind
 11    of arguing the same thing here, but if there's something
 12    specific you want to present on rotatably attached, go
 13    ahead.
 14                       MR. EDMONDS:          Yes, Your Honor.             I think that
 15    the rotatably attached, the difference between the
 16    parties is that they're saying it's limited to one axis
 17    of rotation, and that's just simply not what the claims
 18    say.
 19                       What the claims require to infringe the
 20    claim, you have to have rotatable attachment in one
 21    axis, you have to have rotatably attachment in a second
 22    axis.     That's required to infringe the claim.
 23                       But what they're saying is that you -- you
 24    can only have rotatable attachment in one axis.                                And
 25    there's nowhere that the patent says that.                            There's



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   1   nowhere in the spec, there's nowhere in the claims that
   2   say that.        So the question is are we going to limit
   3   what's claimed here to the preferred embodiment?                                The
   4   preferred embodiment has a pivot joint.                           The preferred
   5   embodiment has a hinge joint on one end, a pivot joint
   6   on the other end.             Both of those, fair enough, are --
   7   are rotating in one axis.
   8                      But it's -- as Phillips says, you're not
   9   limited to the preferred embodiment.                         And the question
 10    of whether somebody is limited to the preferred
 11    embodiment, if somebody went around saying, the claimed
 12    invention, the claimed invention, this is what the
 13    claimed invention is, sometimes that happens, and the
 14    Courts say, you know, you just -- you just said
 15    that's the claimed invention.                    That's all you're going
 16    to get.
 17                       That's not how this patent was written.
 18    They're referred to as the preferred embodiments, and
 19    then, of course, at -- at the end, it made -- to the
 20    extent it's not -- it wasn't clear at the end of the
 21    patent, the specification says that we're not limited to
 22    the preferred embodiment.                  We're not intending to limit
 23    this to the preferred embodiments.
 24                       And the case law we cited to the Court says
 25    exactly that, that if the patentees are not limited to



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   1   the preferred embodiment, there has to be a special case
   2   in which they be limited to the preferred embodiment.
   3   Here they're not, and this is very much on point to the
   4   case we cited to the Court.                   It's very much on point to
   5   Phillips for that matter.
   6                      But I think that's -- that's the issue,
   7   and -- and with the webcam we have, I think it
   8   illustrates the point.                This -- this webcam, as we can
   9   see, it rotates in an axis.                   So what -- what the
 10    Plaintiff would say is you have an axis of rotation
 11    here, you have another axis of rotation that is
 12    perpendicular to it, and we say it infringes.
 13                       What the Defendants say is maybe it does
 14    that, maybe it doesn't, but they say but it also moves
 15    in other directions, and because it does more than what
 16    the claim requires, it doesn't infringe.                           The word
 17    comprising is including but not limited to.
 18                       So the only way their argument works is if
 19    the claim -- if the Court follows their admonition and
 20    restricts the claim to mean that you can only do what --
 21    what the claim absolutely requires.                        You can't do
 22    anything else.           So, for example, we have a car with head
 23    lamps, they'd say, this claim is to a car.                            If you put
 24    head lamps on the car, it doesn't infringe because
 25    you're limited to a car.



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   1                      THE COURT:         Okay.      All right.          Response?
   2                      MR. ZARIAN:          Thank you, Your Honor.                 A
   3   couple of quick points, then I'd like to move to the
   4   presentation.          But just -- just to distinguish, Your
   5   Honor, between the discussion we had about hinge member
   6   and rotatably attached, our point with respect to hinge
   7   member, and I think the fundamental difference between
   8   parties, is that we -- we submit that whatever else the
   9   hinge member does, it could have 20 attachments, it's
 10    got to have a hinge.               There's got to be a hinge on the
 11    hinge member, and if it doesn't, it's got to have a
 12    hinge member.          That's -- that's our construction that
 13    we've advanced.            It requires a hinge joint.                   It's as if
 14    the claim required head lamps on a car and there were no
 15    head lamps.         That's where they're taking this claim in
 16    terms of an attempt to broaden it.
 17                       The issue with respect to rotatable
 18    attachment does turn on -- on the construction -- the
 19    difference with the two constructions.                          Defendants
 20    submit that rotation about an axis means rotation about
 21    an axis.       There must be a single axis.                     That's all the
 22    patent teaches, that's all that's disclosed, and there's
 23    no teaching or any suggestion of any kind in terms of
 24    these claims and this specification of this patent of
 25    anything else.



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   1                      Now, much has been made about the fact that
   2   there's a reference at one point to a pivot joint.                                 One
   3   thing that needs to be clarified, Your Honor, a pivot
   4   joint still rotates about a single axis.                           It's -- you
   5   know, it's the spinning at the top.                        It spins about a
   6   single axis.          That's what a pivot does.                   The hinge joint
   7   also pivots about a single axis.
   8                      I mean, we've seen suggestions here, even in
   9   oral argument, about ball joint and saddle joints, and
 10    there's just absolutely nothing, nothing at all in this
 11    patent that would disclose any kind of a device that
 12    incorporates that kind of functionality.                           That's not
 13    what was claimed, and that's not what was taught by
 14    these patents.
 15                       These patents have a physical meaning, and
 16    our -- our construction is faithful to -- to what was
 17    disclosed and what was claimed in this patent.                               There
 18    was an argument made in the papers, Your Honor, about,
 19    you know, this being a disclaimer perhaps or disclaimer
 20    issue, and there is no disclaimer here.                           So just to be
 21    clear, Your Honor, we've not argued a disclaimer, but,
 22    you know, in terms of the other point made in the reply,
 23    there's not teaching that rotation was restricted to a
 24    single axis.          In fact, that's not correct.                    The only
 25    teaching here is about rotation about a single axis.



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   1                      I'm going to get later in the argument, Your
   2   Honor, to the issue that was made about comprising,
   3   but -- but to move ahead to that, Your Honor, what
   4   they'd like to do is reach down in the claims and be
   5   able to take out the limitation to rotation about a
   6   single axis.          That's -- that's not permitted, and that's
   7   not what the construction ought to allow here.
   8                      As used in this claim -- in these claims and
   9   as taught in the specification, the term describes a
 10    specific type of rotatable attachment, and, Your Honor,
 11    in every case -- in every single case, that is, it shows
 12    and describes and claims rotation about one axis, one
 13    axis of rotation.
 14                       The -- we've included some of the authority
 15    we had in our briefs, Your Honor, but we don't rely on
 16    disclaimer, and we instead seek to give rotatable
 17    attachment its ordinary meaning in the context of the
 18    claims and in the context of the specification.                                And the
 19    intrinsic record here is completely consistent with our
 20    construction and inconsistent with any reading that
 21    would allow for all these exotic other types of joints
 22    not taught and not claimed in the patent.
 23                       In this case, wherever the term rotatably
 24    attached is used to describe how two objects are
 25    connected, they're always described, always, as moving



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   1   about a single axis.               The 21 claims here described
   2   objects that are rotatably attached, again, in every
   3   single case moving about a single axis of rotation, no
   4   deviation from that.
   5                      The rotatable -- rotatably attached, as used
   6   here, whenever that term is used to describe how objects
   7   are connected, always describe as moving about a single
   8   axis.     Here we have some language in the specification,
   9   and here we show the rotation above that -- about that
 10    vertical axis.
 11                       THE COURT:         Well, let me ask you this, I
 12    mean -- I mean, the camera is not necessarily always
 13    going to be sitting like this.                     I mean, if the camera
 14    goes forward or back, I mean, that's not the same axis,
 15    that's a different axis, and wouldn't the camera go to
 16    rotate around that axis?
 17                       MR. ZARIAN:          Well, we don't think that's
 18    what the -- what the patent teaches or discloses or
 19    explains.        It talks about the two axes.                     I think at one
 20    point it refers to them as generally perpendicular, and
 21    there's a -- even counsel here today referred to a
 22    horizontal axis and a vertical axis.
 23                       I mean, what is -- what is shown, what is
 24    taught, and what is claimed is -- is an axis about which
 25    there is rotation and another axis, a second axis about



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   1   which there is also rotation.                    In each case, the
   2   rotation is about a single axis, and there's nothing
   3   else taught in this patent and nothing else claimed,
   4   Your Honor.         We think that to try to broaden the claim
   5   beyond that is -- is improper and should not be
   6   permitted.
   7                      The -- you know, we've got a few more slides
   8   on this, but not to belabor the point, but, again,
   9   whether it's pivoting that takes place as shown here or,
 10    you know, the rotation is about the second axis, in
 11    every instance, it's about a single axis of rotation.
 12    We've animated to illustrate, you know, how that
 13    occurs, and maybe we can play this for the Court in
 14    terms of one illustration of this rotatable attachment,
 15    again, about a single axis.                   That's what the claims
 16    speak to and what the patent teaches is -- is rotation
 17    about a single axis.               Here we see the rotation about the
 18    second axis.
 19                       THE COURT:         Yeah, I mean, I get that.                   I
 20    think the only way, though, that you get that out of
 21    this claim is -- and this is a question I'm going to
 22    have for the Plaintiff is, is that it says that the
 23    first axis and second axis are general -- generally
 24    perpendicular.
 25                        I mean, I think the second axis is always



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   1   going to be essentially horizontal.                        I guess my question
   2   would be when the thing pivots, you know, maybe that's
   3   still generally perpendicular.                     I'm not sure I'm getting
   4   why that when it says first axis, that means it is just
   5   set in stone, you know, one axis, you know.                             I mean, I
   6   don't know why it can't pivot even in the way you're
   7   describing it.           I think they would dispute even that
   8   it's that narrow, the configuration of the camera and
   9   the clip, but why that's restricted to just that
 10    one -- one axis.
 11                       MR. ZARIAN:          Well, Your Honor, in the same
 12    way that, you know, the second axis I think is clear and
 13    clear to the Court I submitted -- okay.                           You know, the
 14    second axis is defined not just an axis, but it's the
 15    second axis.          The first axis is defined the same way.
 16    The camera is said to rotate and claimed to rotate about
 17    a first axis of rotation relative to said hinge member.
 18    That is language that's used consistently throughout,
 19    and I don't think it lends itself to movement or
 20    variation or an infinite number of axes or many axes.                                   I
 21    think that's not a fair reading of the language that's
 22    used consistently throughout the claims and the
 23    specification.
 24                       THE COURT:         But isn't the first
 25    distinguishing it from the second?                       I mean, I'm not sure



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   1   that first means locked in, that's the only one we're
   2   referring to, but it's an axis that's different from the
   3   second.
   4                      MR. ZARIAN:          And I think Ms. Lu would like
   5   to address if it please the Court.
   6                      THE COURT:         Okay.      Go ahead.         Briefly, and
   7   then I want to go to the Plaintiff.
   8                      MS. LU:       Yes, Your Honor, just to clarify, I
   9   think we're all talking kind of about the same thing,
 10    but there is a little point of semantic difference here.
 11                       So there -- the term that we're talking
 12    about here is rotatably attached.                       That phrase describes
 13    how two things are connected together.                          Now, once these
 14    two things are connected together, they may permissibly
 15    move in a certain way.                But essentially what we're
 16    talking about is the type of attachment.                           Now, we're not
 17    talking about what the word rotate means in the
 18    abstract.        If we go back into the claims here,
 19    Subparagraph 1 of Claim 1 describing the hinge member,
 20    it says that the hinge member is adapted to be rotatably
 21    attached to the camera, and then when it is so attached,
 22    it rotates about an axis.
 23                       And what Defendants are trying to say here
 24    is that when you're rotatably attached, you're -- the
 25    motion that's permitted by that type of attachment is



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   1   rotation about an axis.
   2                      Now, Plaintiff will make an argument here
   3   like, well, there's a first axis, and there's a second
   4   axis, and there may be different axes, but if
   5   Plaintiff's construction is -- the way that Plaintiff
   6   seems to be making their argument is that it should also
   7   include different types of joints, like ball joints,
   8   Your Honor, motion about a ball joint is motion about
   9   a spherical plane around a point around a center.
 10    That's -- there's no axis.                  Defendants are just saying,
 11    as in the claims, that when you have a rotatable
 12    attachment, you move about an axis.                        You can have
 13    different things attached --
 14                       THE COURT:         Well, I think that -- I think
 15    that the claim talks about rotating about a first axis.
 16    I think you've said an axis.                    That's different from a --
 17    one axis.        Now, I'm not sure the Plaintiff can get away
 18    from the fact, even though they've defined rotatably
 19    attached without reference to an axis, that it says
 20    rotating about a first axis.                    So I would -- they're
 21    going to have to deal with that.                      I'm not sure -- I
 22    mean, their argument as to ball and joint, you know, I
 23    mean, we're going to have to look at that and reconcile
 24    that with -- first with axis, which I think is clearly
 25    called for in the claim.                 But I think an axis is



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   1   different from one axis.
   2                      So let me hear from the Plaintiff on this.
   3   And I guess let me ask you, Mr. Edmonds, would you have
   4   an objection to the rotatably attached term being such
   5   that connected such that the connected object --
   6   something like this, connected such that the connected
   7   object is capable of being rotated around an axis, an
   8   axis of rotation or something of that -- along that
   9   line?     What I'm saying is drop the one axis, but put
 10    axis of rotation or rotated around an axis in there.
 11                       MR. EDMONDS:          We don't object to that as
 12    long as it's not interpreted back as being one.                                I mean,
 13    that's the point.             And I think that's a point well
 14    taken.      But the question is whether that is needed, and
 15    when -- and I don't think it fundamentally changes
 16    anything, but just in terms of good and correct claim
 17    construction, the first axis of rotation and second axis
 18    of rotation are already claim limitations.                            So whatever
 19    infringes has to meet those.                    That's not -- we're not
 20    trying to read those limitations out of the claim.
 21                       We're just saying that there's no reason to
 22    shoehorn those into rotatably attached.                           There are
 23    already separate limitations in the claim.
 24                       THE COURT:         Okay.      Well, let's go to my --
 25    my question about this -- this -- that the camera goes



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   1   back and forth.            Let's say the camera goes forward.                        Is
   2   it your position that first axis -- the rotation of the
   3   camera is -- is around an axis running through the
   4   center of the camera, I guess, is my question?                               These
   5   axes has to be perpendicular, generally perpendicular,
   6   correct?
   7                      MR. EDMONDS:          The -- the first axis and the
   8   second axis do have to be generally perpendicular.
   9                      THE COURT:         Okay.      Well -- well, their
 10    question is it's one axis.                  If you -- if you look at
 11    this figure -- and what I'm saying is I can see a
 12    situation where the thing would go off of that axis
 13    slightly but still rotate.                  Am I --
 14                       MR. EDMONDS:          You're absolutely correct,
 15    Your Honor.
 16                       THE COURT:         Okay.      So you're -- that to you
 17    would still meet the elements of the claim as being a
 18    generally perpendicular axes?
 19                       MR. EDMONDS:          Yes, Your Honor.
 20                       THE COURT:         Now, we still have this argument
 21    about hinge or what's required there as far as -- I
 22    mean, I guess the question is can the camera possibly,
 23    as you say, you know, pivot or turn or rotate on a ball
 24    joint or -- or something along those lines?                             I think
 25    that's still, you know, a question, but I'm just trying



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   1   to get to this understanding of rotatably attached.
   2                      You know, I have real concerns -- real
   3   questions about defining this term at all.                            It seems
   4   understandable in and of itself.                      The claim language has
   5   many of the things that are asked to be placed into the
   6   definition.         I have real questions about whether this
   7   requires a definition at all.
   8                      MR. EDMONDS:          The Plaintiff would concur, if
   9   the Court says ordinary meaning, we agree, because as I
 10    said, the other limitations that they're expressing
 11    concerns about are -- and the other structure, the other
 12    context is already there in the claim.                          We concur.
 13                       THE COURT:         All right.         I guess let me go
 14    back, Mr. Edmonds.              I just want to cover one more thing
 15    before we adjourn here.
 16                       Going back to hinge member for a moment, I
 17    guess I want to go back to this Claim 19, hingedly
 18    attached and rotatably attached.                      I guess this is one of
 19    those questions that Courts ask sometimes to Plaintiffs'
 20    lawyers, and maybe there's no good -- good answer, but I
 21    have a real concern with why the patentee would have
 22    used hinge member.              Why not use member, connection, I
 23    don't know, any number of different things, because when
 24    you say that, well, hingedly is different from
 25    rotatably, well, the question then becomes, but you said



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   1   hinge member.
   2                      Now, you got a hinge member that's rotating,
   3   and you got a hinge member that's acting on a hinge.                                   I
   4   mean, it's almost like what does it mean if, oh, yeah,
   5   now a hinge can rotate, unless it means, as the
   6   Defendants seems to be saying, well, yeah, a hinge
   7   rotates around, you know, an axis.
   8                      You know, I just -- I don't really know --
   9   it's difficult for the Court to see a path to where you
 10    can define hinge member in such a way that doesn't
 11    require a hinge. I mean, what you proposed is it just
 12    joins to another.             Well, I mean, I think there's got to
 13    be some pretty strong support for the idea that, you
 14    know, that doesn't need to have an element of a hinge in
 15    there.
 16                        I mean, if you take the shoe on the other
 17    foot, you know, if the Defendant were saying, oh, well,
 18    this doesn't -- I mean, I see Defendants all the time
 19    say, well, even though it says this, we want to define
 20    it as this.         And it's like you're doing -- you're doing
 21    the same thing here, and I just -- I'm having difficulty
 22    with, you know, defining this in -- in a way that does
 23    not communicate what it seems is clearly called for.
 24    Again, there could have been any number of things used,
 25    but there wasn't, there was -- the hinge was used.



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   1                      MR. EDMONDS:          If anything, Your Honor, and
   2   if I may borrow -- and I think we -- we feel our
   3   construction is correct, and maybe if Court reflects, it
   4   might agree, but if it doesn't, I think that our primary
   5   concern with the Defendants' construction is that this
   6   reading a hinge joint into it is entirely consistent
   7   with a rotatable attachment and a rotatable attachment
   8   being different than a hinged attachment.
   9                      What we see with this webcam is a good
 10    example.       There's -- the -- the hinge member here has a
 11    hinged attachment, and everybody aggress.                            It also has a
 12    rotatable attachment that's not a hinge.                           I think if the
 13    Court felt that it had to impose some hinge-like
 14    limitation on it, then the thing would be -- then the
 15    thing to do would be to say that the hinge member needs
 16    to have at least a pivot element or some kind of hinge
 17    to it, but it's not limited to that.                         That -- that's the
 18    problem.
 19                       You're saying our construction -- our
 20    construction doesn't have a hinge, and we're saying, but
 21    their construction excludes rotatable attachment, maybe
 22    that's the middle ground the Court may find.
 23                       THE COURT:         Well, I certainly agree.                  This
 24    is something I struggled with before the hearing was is
 25    this idea that the hinge member is clearly adapted to be



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   1   rotatably attached.              So I think there's got to be some,
   2   you know, rotatable attachment.                      You know, I don't see
   3   how that's being -- would be an argument, but it may
   4   also need a -- a hinge, a pivot-type of -- hinge-type of
   5   joint, but I'm going to look at this and review the
   6   briefing and your arguments and reach a conclusion.
   7                      MR. ZARIAN:          If I can address one very brief
   8   point, Your Honor.              With the respect to the last
   9   suggestion that was made, a pivot is -- is different
 10    from a hinge and -- and just to highlight that point,
 11    Your Honor, there's no solution.                      It really doesn't fix
 12    the problem to define a hinge that pivots any more than
 13    it, you know, would be appropriate to exclude -- it
 14    still excludes hinge and makes -- and doesn't account
 15    any way for hinge.              So we submit, Your Honor, that a
 16    hinge is a hinge and requires that the word hinge be
 17    accounted for in the construction.
 18                       THE COURT:         Okay.
 19                       MR. EDMONDS:          If I may, Your Honor, that's
 20    not what I meant to say.                 If I said it, I apologize.
 21    What I'm saying is on this one, a hinge member does have
 22    a pivot element, it does have a hinge to it, but that
 23    doesn't mean that it can have another type of rotatable
 24    attachment, and that's really where the big problem is,
 25    because the preferred embodiment has another type of



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   1   rotatable attachment.
   2                      THE COURT:         Okay.      Okay.       All right.         Well,
   3   thank you for your arguments.                    We'll get you a ruling on
   4   this as soon as we can.
   5                      Anything further from the Plaintiff?
   6                      MR. EDMONDS:          Thank you, Your Honor.                 Thank
   7   you for your indulgence.
   8                      THE COURT:         Anything further from the
   9   Defendants?
 10                       MS. LU:       Just one final comment.                  Plaintiff
 11    seems to like playing with this camera and saying, look,
 12    there's a hinge.            Look, there's something.                  And we need
 13    not belabor the point, but, Your Honor, when you go back
 14    and look at the claims, it states that the hinge member
 15    is the piece to which the camera attaches and not to
 16    which the support frame attaches.                       I would request that
 17    Your Honor not give too much credence to the particular
 18    ways Plaintiff's hands were manipulating this particular
 19    model, and, also, ask yourself if this means anything,
 20    what -- what the Plaintiff was doing with this camera,
 21    where does the hinge member begin, and where does it
 22    end?     Where does the support frame begin, and where does
 23    it end?
 24                       THE COURT:         Okay.
 25                       MS. LU:       Thank you.



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   1                      THE COURT:         All right.         Thank you for your
   2   arguments, and we're adjourned.
   3                      COURTROOM CLERK:             All rise.
   4                      (Hearing concluded.)
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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                       TYLER DIVISION
ADJUSTACAM LLC

      v.                                                          NO. 6:10-cv-329-LED

AMAZON.COM, INC., ET AL.                                          JURY

                    PLAINTIFF’S REPLY CLAIM CONSTRUCTION BRIEF

           Plaintiff AdjustaCam LLC respectfully submits this Markman Reply as follows:

           Defendants’ Response is long on citations to inapplicable case law but lacks citations to

intrinsic support for their meritless attempt, under the guise of proving “context,” to import

unwarranted limitations into straight-forward claim terms.

A.         Support Frame.

    PLAINTIFF: A structural element that               DEFENDANTS: A physically distinct
    supports a hinge member                            structural element whose different dispositions
                                                       enable support of said hinge member

           The parties agree, in essence, that a “support frame” is a structural element that supports

a hinge member.1 Defendants improperly seek to add a “physically distinct” limitation. Their

justification for adding this unsupported limitation is Becton Dickenson, which holds that

“distinct” elements are not the same structure. See Becton Dickenson v. Tyco Healthcare, 616

F.3d 1249, 1254 (Fed. Cir. 2010). However, neither side’s construction states, or even implies,

that a support frame and hinge member are the same structure. Thus, the extraneous word

“distinct” is unnecessary and inappropriate. Following Defendants’ logic, every structure in an

apparatus claim should be specified as “physically distinct,” which would be a senseless practice.

           Further, Defendants improperly seek to inject a “different dispositions enable support”

limitation into the construction of “support frame.” However, the specification and claims only
1
  Although “frame” is a word with plain and ordinary meaning, AdjustaCam has acceded to Defendants’
terminology of “structural element” in order to help simply the issues in dispute.

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                                                    A2718
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state that the “support frame” is “configured to support” the hinge member, or that it “engagingly

support[s]” the hinge member. There is no requirement in the specification or the claims that

“different dispositions” of the “support frame” must be the thing that enables support. For

example, a camera may be supported merely by virtue of being rotabably attached.

         Defendants erroneously argue that Plaintiff leaves “support frame” in a “vacuum.” This

argument lacks merit. Further, it ignores that ample context and linkage to other structures is

provided by the surrounding claim language which explains the relationship between the support

frame and the surface, the support frame and the object, and the support frame and the hinge

member. This structural relationship is readily apparent when one views “support frame” in

context with other claim terms, including the hinge member, surface and object; and there is no

need to inject unnecessary and improper limitations into “support frame.”

B.       Disposition.

    Plaintiff: Plain and ordinary          Defendants: Configuration of the support frame
                                         2
    meaning; alternatively, configuration enabling support of the hinge member, accomplished
    or arrangement                         through rotation about the second axis

         Again, under the guise of “context,” Defendants seek to import extraneous and improper

limitations into a straight-forward term. Disposition is not a complicated word or technical

jargon. It is the act of being disposed, which equates with “arrangement”3 or “positioning.”

         Similar to their arguments relative to “support frame,” Defendants seek to import an

unwarranted limitation into the simple word “disposition,” which would require that the

configuration of the support frame must be the thing that enables support of the hinge member.

As noted above relative to “support frame,” this argument is erroneous and lacking in support.



2
  Should the Court determine that “disposition” is not a plain meaning word, then AdjustaCam would be agreeable
with Defendants’ terminology of “configuration” in order to help simply the issues in dispute.
3
  See Ex. 1.

                                                       2
                                                     A2719
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           The versatile “disposition” of the support frame involves disclosure in the specification

and claim limitations whereby the support frame has a first disposition when positioned on a

generally horizontal, substantially planar surface, and a second disposition when supported on an

object.4 There is no requirement in the specification or claims that the “disposition” of the

support frame must be the thing that enables support of the hinge member.

           Further, there is no requirement in the claims or preferred embodiments that “disposition”

of the support frame must be “accomplished through rotation about the second axis.” In fact,

claim 1, which is the only support cited by Defendants, states that the hinge member rotates

about a second axis relative to the support frame. Further, as noted above, the mere attachment of

the support frame and the hinge member can be what supports the hinge member.

            Defendants argue that AdjustaCam’s construction of “disposition” leaves the word in a

vacuum; however, ample context is provided by the surrounding claim language without

importing improper limitations into the construction of a straight-forward term.

C.         Hinge Member.

        PLAINTIFF’S CONSTRUCTION                       DEFENDANTS' CONSTRUCTION
    A structural element that joins to another for A structural element that may be joined to
    rotation                                       another so as to form a hinge joint and is
                                                   capable of rotating on that hinge joint

           Defendants improperly seek to limit hinge member to a “hinge joint.” However, the term

“hinge joint” is not used in the specification or claims. Further, Defendants’ overly restrictive

construction would eliminate a preferred embodiment pivot joint, which is erroneous and

presumptively incorrect. The ‘343 patent teaches that in a preferred embodiment, “pivot element

80 at proximal end 76 of body 74 rotatably attaches camera 12 to body 74.” ‘343 patent, 5:37-41.

This rotatable attachment depicted in Fig. 4 (and elsewhere in the ‘343 patent), which comprises

4
    The ‘343 patent uses the words “position” and “disposition” interchangeably.

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pivot element 80 of hinge member 16, is a pivot joint, as follows:                                    .

The ‘343 patent teaches and claims that a “hinge member” can be “adapted to be rotatably

attached,” “rotatably attached” or “hingedly attached.” See, e.g., Claims 1, 10, 19 & 21.

Preferred embodiments disclosed for rotatable and hinged attachment are “pivot element 80” and

“hinge element 82.” Further, the parties agree that “hingedly attached” requires a “hinge joint.”

“Rotatably attached” is broader than “hingedly attached,” and it is broader than a hinge joint.

D.     Rotatably attached/adapted to be rotatably attached/adapted to rotatably attach.

 Plaintiff: Connected such that the           Defendants: Connected such that the connected
 connected object is capable of being         object is capable of being adjusted to different
 rotated                                      configurations via motion over one axis of rotation

       The term “rotate” and its various permutations, such as rotatable and rotatably, are plain

words that a jury can readily understand. There is no good reason to omit any permutation of

“rotate” out of the definition of “rotatably attached” and instead substitute “adjusted to different

configurations.” Further, Defendants’ construction improperly suggests that “rotatably” is

limited to “one axis of rotation.” However, nothing in the ‘343 patent suggests or requires this

restriction. Rather, the ‘343 patent refers to a “first axis of rotation” of the camera relative to the

hinge member in order to distinguish it from the “second axis of rotation” of the hinge member

relative to the support frame. There is no teaching or disclaimer that rotation is restricted to a

single axis. In Phillips, the Federal Circuit “expressly rejected the contention that if a patent

describes only a single embodiment, the claims of the patent must be construed as being limited

to that embodiment.” Phillips v. AWH Corp., 415 F.3d 1303, 1323 (Fed.Cir.2005). “Much of the

time, upon reading the specification in [ ] context, it will become clear whether the patentee is

setting out specific examples of the invention to accomplish those goals, or whether the patentee

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instead intends for the claims and the embodiments in the specification to be strictly

coextensive.” Id. Here, the patentee expressly states that, “[h]aving thus described the preferred

embodiments of the present invention, those of skill in the art will readily appreciate that yet

other embodiments may be made and used within the scope of the claims hereto attached. ‘343,

6:44-47. Moreover, the patentee repeatedly refers to the examples in the specification as a

“preferred embodiment.” As such, the claims are not limited to a preferred embodiment. See,

e.g., Phillips, supra; Dealertrack, Inc. v. Huber, 2012 WL 164439, *5 (Fed. Cir. Jan. 20, 2012).

Further, the plain meaning of “rotatably attached,” is not limited to rotation on a single axis. If

patents were arbitrarily limited to preferred embodiments, then claims would be unnecessary.

       Defendants’ discussion of “comprising” lacks merit, and appears to be mostly a re-hash

of their unfounded argument that claims should be limited to a preferred embodiment. It cannot

be reasonably disputed that an apparatus “comprising,” i.e., including, but not limited to, rotation

about a first axis and a second axis is not limited to rotation only around those two axes,

       E.      Other claim terms not briefed by Defendants.

       Inexplicably, Defendants chose not to submit any briefing in support of their prior

proposed constructions for (1) hingedly attached / hingedly attaching; (2) maintained adjacent

said edge; (3) when said first surface and said second surface are inclined from a generally

horizontal orientation; (4) a display screen which can be inclined from a generally horizontal

position; (5) body; (6) proximal…end; (7) distal end; (8) pivot element; (9) rotation of said

support frame being prevented along an axis substantially parallel to said second axis; or (10)

engagingly support. Here, Plaintiff can only assume that Defendants have abandoned their earlier

proposed constructions, and that they now agree with Plaintiff’s constructions.




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January 31, 2012                                     Respectfully submitted,

                                                     By: /s/ John J. Edmonds
                                                     John J. Edmonds – LEAD COUNSEL
                                                     Texas State Bar No. 789758
                                                     Michael J. Collins
                                                     Texas Bar No. 4614510
                                                     Stephen F. Schlather
                                                     Texas Bar No. 24007993
                                                     COLLINS, EDMONDS &
                                                     POGORZELSKI, PLLC
                                                     1616 S. Voss Rd., Suite 125
                                                     Houston, Texas 77057
                                                     Telephone: (713) 501-3425
                                                     Facsimile: (832) 415-2535
                                                     jedmonds@cepiplaw.com
                                                     mcollins@cepiplaw.com
                                                     sschlather@cepiplaw.com

                                                     Andrew W. Spangler
                                                     Texas Bar No. 24041960
                                                     Spangler Law P.C.
                                                     208 N. Green Street, Suite 300
                                                     Longview, Texas 75601
                                                     (903) 753-9300
                                                     (903) 553-0403 (fax)
                                                     spangler@spanglerlawpc.com

                                                     ATTORNEYS FOR PLAINTIFF
                                                     ADJUSTACAM LLC




                                CERTIFICATE OF SERVICE

        I hereby certify that all counsel of record who are deemed to have consented to electronic
service are being served with this filing via the Court’s CM/ECF system and/or email per Local
Rule CV-5(a)(3).

January 31, 2012                                     /s/ John J. Edmonds
                                                     John J. Edmonds




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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION
ADJUSTACAM LLC

   v.
                                               I          NO. 6:10-cv-329-LED
                                               I
AMAZON. COM, INC., ET AL.                      I          JURY

                           DECLARATION OF JOHN EDMONDS

        John J. Edmonds declares as follows:

        I am over the age of 18 and I am fully competent to make this declaration. I have

personal knowledge of the matters stated herein from my review of the dictionaries.

        I.     The dictionary excerpts appended hereto are true and correct copies taken from

               each respective dictionary.

        I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Executed on January 31,2012 in Houston, Texas.




                                               A2724
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                                       out -dis·pens'er n. Page 7 of 16 PageID #: dis·qui'e-tude'
                                                                                    4679 (-a taOd')
                   dismissive ..,.                          190
                                                                dis·perse' {-spurs') vt. ~persed',                   dis-qui•Si•tion (dis'kwi !
                     leave 2 to dischargii!o from employment, -pers'ing [< L dis-, out+ sparge-re, seat-              dis-, apart+ quaerere, U
                     etc. 3 to put aside mentally 4 Law to ted 1 to break up and sea:tter 2 to dis-                   discussion; treatise
                     ~ecl (.a claim.. ej:e.) -diS·miss'al n.      pel {mist, etc.) -vi. to scatter --dis·
                   dis•mis~sive (~mis'iv} adj. condescend-
                                                                                                                     dis·re-gard (dis'ri ga:rd')
                                                                  per'sal n, -dis•per'sion n.                         tle or no attention to 2
                    ing in disn:Ussing from oorR.ideration      dis·pir·it (di spir'it} vt. to depress; dis-          due respect -n. 1 lac\<
                   dfs·mount' (-mount') vi. to get o~ as e<>urage -dis·pir'i1:·ed adj.                                lack of due regard or r~
                    from a horse -vt. 1 to remove (a dis·ptace (dis plSs') vt. -placed',                             dis're-pair' (-riper') n,
                    thing) from its n:wunting 2 to take          ~plac'lng 1 to move fr<>m its wual place             needing :repairs; state c
                     apart~ dismantle                            2 to remove from office; discharge 3 ro
                   dis·o·be·dl·ence (dis'O b~'de ens) n, replace                                                     dis·rep'u·ta·ble (~:rep'y·
                    Tefusal to obey; insubordination -dis'o· displaced person one forced from one's                   not reputable 2 not fit
                    be'di·ent adj.                                                                                   dis:'re·pute' (~ri py65t")
                                                                 country, esp, as a result of war                     repute; bad reputation;
                   dis'o·bey' (-a ba'J vt., vi. to retuw ro dls•place'ment n. -1 a displacing or
                    obey                                                                                             dls~re·spect' (-ri spa1
                                                                 being displaced 2 the -weight or volume
                   dis'o•bHge' <·a blfj') vt. ~bliged', of air, water, or other ftuid displaced by                    respect; discourtesy -
                    ~bllg'lng 1 to refuse to oblige 2 to                                                              adj.
                                                                 a floating object                                   dis·robe (dis rOb') v
                    offend                                      dis-play (di spla") vt. [< L dis-, apart +
                   dis·or'der (..or"d;;r) n, 1 a lack of order; plk:are, ro fold~ 1 [Obs.] to spread out;             -rob'lng to undress
                    confusion 2 a breach of public peace; unfold 2 to exhibit --n. 1 an exhibi~                      dls·rupt (dis rupt'l vt
                    riot 3 an ailment -vt. 1 to throW inro                                                             apart + rumpere, to br
                                                                 tion 2 anything displayed                             apart 2 to dist.utb or
                    disorder 2 to upset the normal f\4-.c-
                    t:ions of                                   dls·please (dis plez') vt., v;. -pleas~',              rup'tion n. -dis·rup'ti1
                                                                 ~pleas'ing to fail to please; offend
                   diS•or'der·ly adj. 1 w::.tidy 2 violating dis·pleas'ure (-plezh;o:r) n. a being di$-.             dis-sat'is·fy' (-sat'is fi')
                    public peace, safety, etc. -dis·or'der·ll·                                                        to fm1 to satisfy; displ
                    ness n.                                       pleased                                             fac'tion n.
                   dis·or·gan·ize (dis ar'ga niz') vt. -ized', dis• port {di spOrt') vi. K< OFr des- {see            dis·sect (di sekt') vt. [·
                    ~iz'ing to break up the o:rder or system     ms~) + por.er, carry] to plar, frolic -vt.           seeare, to eut) 1 to cu.
                    of; throw into confusion -d!S-or'gan+        to. amuse {oneself)                                   piece, as a body for :pUl'
                    za"tion n.                                  dis·pos·al (di st#zal) n. 1 a disposing                to examine or anB.ly'
                   dis·o'ri·ent' (~!_ ent') vt. Esee ms- &       2 a devlce in the drain of a kiUhen sink              sec'tion n. -dis•sec"to
                    ORIE?-""!, v.] 1 to cause to lose one's to grind up garbage                                      dis·sem·ble (di sem'hl:
                    bearings 2 ro confuse mentally -dis· dis-pose' (:-S¢z') vt. ·posed'", ~PQs'lng                    -bllng (< OFr des$em
                    o'rl·en·ta'ticm n.                           lsee ors~ & rosrrroN] 1 to a.rt"an_ge 2              (the truth. one's leelin
                   dls·own' (-6n') vt. to refuse to acknowl- to settle {affairs) 3 to make willing;                   under a false app
                    edge as one's                     ·          incline  --dispose of 1 to settle 2 to                seirrblance n. -dis-se
                                                                 give away or sell 3 to get tid of -d!S-             dis·sem·l·nate (di 1
                                                                 pos'a·b!e adj.                                       ~nat'ed; -nat'ing [ <
                                                                dis·po•sf·tion. (dis'p;JI zislh:n) n. 1               seminare, to sow] h
                    par'age·ment n.                              arrangement 2 management of affairs                  spread widely -dis-se
                   dis·pa·rate {dis'_pa rat} adj. i< L dis-, 3 a selling or giving away 4 the author-                dis·sen·sion (di sen~w
                    not+ par, equal] d:stinct or dilierent in ity to settle, etc.; wntrol 5 a tendency
                    kind; unequal -dls·par·i·ty (di spa:r"a      6 one's temperament
                    tEH, pl, ~ties, n.                          dis:'pos·sess' (-pa- zes") vt. to de-prive of                           1 to dis
                   dis·pas·sfon•ate (dis pash'<:~ nat) adj.      ~possession       of land, a house, etc.;                            an estahli
                    free from passion or bias; impartial -                                                             a dissenting--dis·sen·
                    dls·pas'sion-ate·fy adv,                    dis-praise'     (~p:iiz')   vt. -pra!Sedt,            dis-ser·ta·tion (dis'w
                   dis-patch (di s_pach'; for                    -prais'ing [< OFr despreisU!r] to blame;              die-, apart + serere, jc
                    pacl:t'i vt. [< L a.is·, away                censu.re -n. blame                                    cowee or t.reatise, es1
                                                                dls'pro·por'tJon (-pra pOr"GMn) n. a                   fulfill the requiremen·
                                                                 lack of proportion -dis'pro·por"tion·al               from a university
                                                                 or dis'pro-por'tion·ate adj.                         dis·serv·ice (dis sm'vi
                    a message 5 a news Story sent by a dis·prove' (-pr-oov~; vt. ·proved',                            dis·sev•er (di sev-"ar)
                    reporter -dis·patch'er n.                    ;,~r~1:i"s:- ~prov'en, ~prov'ing Ul prove             separate 2 to divide l
                   dis·pel (dispel") vt. -pelled', ~pel'ling [<                                                        separate; disunite
                    L dis·, apart+ pellere, to drive] to scat- dis·PU·ta·tion (dis'pyOO tii'sha:n) n. 1 a             dis•Si·dence (dis'a da
                    ter and drive away                           disputing 2 debate                                    apart + sidere, sit] d
                   d~s·pen·sa·ble {dl spen'S<t m,l) adj. 1 dis'pu•ta'tious (-py!l:i ta'~s) adj.                        sent -dis~si-dent (-d.<)
                                                    can be dis· inclined to dispute; contentiQUS                      dis-sim·i·lar (dis sim'e
                                                                  dls'pu·ta"tious·ly adv.                               lar; different -di!tsi
                                                                 diS•Pute (di spyOOt') vi• ..put'~.,;'f]t1ng            te), pl. ~ties. l').
                                                                  J:< l. diJJ·, apart+ putare, ro       1 to          dis·si·mil·i·tude (dis'
                                                                  argue: debate 2 to qua:rrtll -vt. 1 to               difference
                                                                  argue (a question} 2 to doubt 3 to                  dis-sim·u·late (di sin
                                                                  oppCMre in any way -n. 1 a disputir..g;              -lat'ed, -lat'lng [see Dl
                                                                  debate 2 a quarrel -in dispute not set-               dissemble -dis•slm'\
                                                                  tled -dis·put'""·ble adj. -dis·pu'tant                sim'u·la'ter n.
                    ing of events un er di                        adj., n.                                            d                  (dis'<> p
                   dis·pense (di spens'/ vt. -pensed', dis·qual·i·fy (dis kw3l'a fi'f vt. -tied',                                     L d~-, a
                    ·pens'ing [< L dis-, out . ._ pendere,    -fy'ing ro make or declare unqualified,                                 o scane
                    weigh) 1 to give out; distrihute Z to unfit, or ineligible -dis·quat'i-fi·<:a'tion                                      3to
                    prepare and ¢ve out (medicines} 3 to      n.                                                        -vi. 1 to vanish 2 tJ
                    :o.dmi:ojster (the law or justice) -dis- dis·qui·et (dis kwi'3t) vt. to make                        ure ro the point of h
                    pense with 1 to get rid of 2 rodo with-   uneasy; disturb -n. restlessness; also                    dis'si·pa1tion n.




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Case 6:10-cv-00329-LED
          dispenser disquiet   I
                          Document 601-1 Filed 01/31/12 Page 10 of 16 PageID #: 4682
                                                                                 38:                                                                                                 3
                                miniSter (laws. for e.xarnple}. 4. To exempt or release, as fmm a
                                ~:U~:i~ig~~~i!?ih.~~rfo ~=t ~~~~~tir~~g~~
                                                                                                            placement: a pleasitfg dtspofftl of window uimmhtg. 2. A par·
                                                                                                            ticu.lar method of attending to or settling mauers. 3. Th~              ••
                                                                                                                                                                                     u
                                2. To dispose of. -See Synonyms at dl$tribute. [Middle EI18~
                                !:~b disp~. from Medieval Latin di4pei!Siire. to grant ~-
                                                                                                            transference of somethine by Jtl!t or sate.. 4. A throwing out o:
                                                                                                            away. s. An app~tus or devtoe for disposing of somethins;, a,;
                                                                                                            garbage. 6.. The liberty or power to dl~ose of or U$e somc:on·
                                                                                                                                                                                    ••,,
                                                                                                                                                                                     "
                                      .       e.;empt. C¢ndone, from Latin, to pa:y out, d~-                or something: funds at cur diJprual.                            •
                                                  ,                    ·       ! dis-, away+                                                                                         "
                                                                                                                                                                                     Di
                                pentkre. to weigh (see·                                                                                                                               1·
                               dis•pen$-e< (dis.ptn'SQr                         r gives out: Q
                                                          n. The act or process o! dispersing or
                                                                                                                                                                                      "
                                                                                                                                                                                    -dt
                                                                                                                                                                                      0
                                                          diSJ,W"sed; distribution.
                               dis.perse           s') v. •p81'$Gd. -p~. -~- -tt. 1. To
                               scatter in various directions; distribute widely. 2. To cal.l.$e to
                                                                                                                                                                                    "'p
                                                                                                                                                                                      u
                               vanish ct dinp~ar. dispel. ~-To di$$ernirtate (kn<Iwledge. for
                               example). 4. To separate {light} into speetra!. rays. -iJltr. To
                               m<>ve ·or seatter in different dir~ions. -See Synonyms at
                               -tt&r. (Middle English di.sper:vm, ftom Old French disper.ser.
                                                                                                                                                                                      ",,
                                                                                                                                                                                     di

                               !ig:: ~t~. ~~p:m~:~~<r~::p~~:::::·~o s~~·~~~:                                                                                                          ,.
                                                                                                                                                                                     I
                               (see spharog- in App¢ndix*).} -dis-piJI"&"ed•IY (·p1lr'sid-le)     i'JdY.                                                                             di
                               -db-Pfi'$' er n. -......dis•pers'f.bkil adj.
                                                                         iurn•diu•~ contaimng dis-                                                                                   Ji,.
                                                                                   act Or pr¢¢tss oJ
                                                                                   2. StaWtit:s. The
                                                                                   mean or median
                                                                                                            iJt early Kenya," {Robert Ruark). 3.
                                                                                                            disp¢sina. b. The condition or fact o
                                                                                                            power or liberty to control, direct, o
                                                                                                                                                                                      ,,
                                                                                                                                                                                     dl

         dispenser                                                                mplex wave into           imerpretul ctmtm law us gi>ing th!un di.Spruftion of the paris.h
     Paper-':Up dispenser      component p11.ru according 14 ~orne eharacteristie, $UCh u                   tithes" (Marshall W. Baldwin},                                           di'
                               ftel)uency cr wavelength. b. Tbe separation of visible light into             SynonY171$: dtspruiti<m, lempC'J'Qment, charot:ler, pu-sO/IQ}if;
                               itti color components by refraction or'diffractio;;~, 4. CJ..emi;rry.
                               A suspension, such at +meg or homogenized milk, o! $Oiid.
                               liquid, or gaseous particles., of colloidal size or larger. in a
                                                                                                                                                     I traits that identify <:
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                               liquid, solid, or ga~o51s medium;;z·,
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                                                                                                            ct emotional ret;pOnse in people.                                        "'
                                                                                                           dis•pos-sess (dis'~::&') :r.'J. -s~d, ·-ing• .._.s. T.:-
                                                                                                            d-:p~ive (someone} of the possetSion oi .something. such as ru.:         ••
                                                                                                            pro-perry, -di$'~sion fl, ~dis1 poWsas"$0T {·~"":.r) r..
                                                                                                            -di$.'pos·se$1so·ty (.:d$;:>r6) adj.                                     d '
                                                                                                           dis,po-sure {dls-p<Y.zh~r) fl. Rare. Dispoii<!L




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                                                                                                                                                   ,,of disproving or refuting
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                                                                                                            o,t          . • '• ., . y. 2. An instance of a dispropo~­                d
                                                                                                            tionate relation. as m 5-IU, -rr.v. ~rtloned, ·tkmins-                    d
                                                                                                            ·tions. To make diSproportionate,
                                                                                                           dis•pto•por+tioo-al (d!s';>r>p6r's~.,.n~L -pOt"sb~n.gl) adj. Di>-
                                                                                                            proportior.ate. -<lis'pro-por'tion·a!·ly adJ.·.                           d
                                                                                                           dis•pto-~r·tion.ate {dii>'p~pQ~Shlmwit, -pbt'sh:on-Jt) adj. Nc:
                                                                                                            prcpomonate; ou: of proponion, as in relative size, shape, o:-            d
                                                                                                            amount, -<li.s'p~t:ion-ata-ly adv, -dis'Pf'O"P'O"tior..au--               d
                                                                                                           n-".
                                                                                                           dis·~ (dJ:s..pr~:-'"> rr.•v. ·PrQved, -iX'Oviog, •prow!t~. T9 pro\e
                                                                                                                                                                                      d
                                                                                                            to be f:use. lll"'.lWO, or tn err¢r. ufu:te.   [Middle English di..•·
                                                                                                           p~. 1:Nspro~r.. :from Olti French desprover : fks., from Lat.i:::
                                                                                                           dis· (u::versal} .,. prcw!r, PJI.Ov£.] -dil!·pn::rv"'a-ble ad}. -4*-
                                                                                                            pn:.v'ul fl.
                               tyPe ~ned to give prominenc¢ to prin~ matter.                to. Printed    dis•put•a·l:>le {di$-pyOO't#-bal, d!s;p)'Ob·) adj. Capable of l>ei.q;
                                marter tbat is set off prominently. 5. Designating an adw:ni,s.e.           disp~.:ted:·debatable. -dWput'tW:>il'i-l.V 11, -db-put"a-bly oe>
                                ment <le5igned to. catch tht eye, 34 distin£Ul.shed from a clas-           di:s•pu<tant (QJs-pyOO"Wnt, dis'pyOO..~nt) adj. Etliaged in argL~
                                sified advertisement. [!.iiddk Engllsh disp/aycn, to unfold.                mentor dispute. ~n. A person who disputes; debate:.
                                unftul. exhibit, from Norman Frencll desple{er, from Medieval              dis·pu-ta·tion (dls'py(i').ti'sh:m) a. 1. The act of disputing; .~­
                                Latin displie4re, from Latin, to scatter , dis- (reversal) T plican.        debate. 2.. An academic. ext:rcise coo.sist.in¥ ¢[ a formal de~
                                to fold ( - pl$k· in Appendix"),]                                           ot an oral defense of a thesis..
                               di:s·pleese (dl:s-pliz') v. -,plvased, -pl.,.,ing. ·pklasq. -tr, To         dls·PU•t:a--tiou& (dJs'py6<).ti'$rnu) ad}. Inclined to dispute; co:;.
                                cause annoyance or                                 intr. To cause m·        tentious. --dis'pu.ur'ttov&>ly adv. -dfs',pu·~tiou,;•ness "·
                                                                                 disp/Men. !rom Old        di:S•pute (dis.-py60t') v. -putnd, ·put:ing.. -PQtea. -u. 1. T:
                                                                      Latin displacin (unattested).         argue abOl.it; to (lebate. ~ To q~tion the truth or validity c::
                                                                     (reversal) + placire, PUAS£.J
                               -dis-ple1/ing.fy adv,
                               dl$·pf$3$-Ure (dfs-pltzh•~r) n. 1. The condition or fact of being
                                displeased or dissatisfied; annOy ana:: anger. 2, Ardloic. DU-
                                cmnfort; uneasiness. 3. Ardlo{c. An annoybg c.r irUurious
                                offense. -rr:r. di*Pfea$ured. ·llfill9. w~ Arclu.iic. To dis-
                                please.
                               ~~~oJ~ (s~:!i~~~'f'~;.~~;ro~- ~r:r.f':'~u;;;Jd~
                                             1

                                ere, to spread out. burst 3.5Uildet :dis-. apart + plauden. tO
                                beat, strike (.see *Xplodto).}
                               dis-port (dis-pOrt', -p5rt')1'. -pol'tlld, -porting. •.P<»"ts· -btu. To
                                ptay: to sport, -tr, T¢ oeeupy (one$elf} whh diversion or
    dltlll•gent nhield          amu11ement. -n. Divenion; play; sport. [Middle English
                   nhred<Jer    disporten, from Old French rhsparu.tF, "to earcy away," divcn ;
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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                             TYLER DIVISION

ADJUSTACAM LLC
         Plaintiff

v.                                           Case No. 6:10-cv-329-LED

AMAZON.COM, INC. et al.,                     JURY TRIAL DEMANDED
         Defendants


          DEFENDANTS’ RESPONSIVE CLAIM CONSTRUCTION BRIEF




DEFENDANTS’ RESPONSIVE CLAIM CONSTRUCTION BRIEF
CASE NO. 6:10-CV-329-LED
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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                       TYLER DIVISION
ADJUSTACAM LLC

      v.                                                      NO. 6:10-cv-329-LED

AMAZON.COM, INC., ET AL.                                      JURY

                   PLAINTIFF’S OPENING CLAIM CONSTRUCTION BRIEF

           Plaintiff AdjustaCam LLC (“AdjustaCam”), through its undersigned legal counsel and

pursuant to P.R. 4-5(a), respectfully submits its opening Claim Construction Brief.

I.         INTRODUCTION

           Plaintiff is the owner of U.S. Patent No. 5,855,343 (the “‘343 patent”). The ‘343 patent is

entitled “Camera clip.” Apparatuses which comprise camera clips are often referred to as

webcams. The ‘343 patent generally relates to a novel adjustable camera clip comprising one

disposition on a generally horizontal, planar surface (e.g., a table top), and another disposition on

an inclined object (e.g., the screen of a laptop computer).

II.        TECHNOLOGY AT ISSUE

           As noted above, the ‘343 patent generally relates to a novel adjustable camera clip

comprising one disposition on a generally horizontal, planar surface (e.g., a table top), and

another disposition on an inclined object (e.g., a laptop screen). Exemplary Fig. 2 shows a

preferred embodiment webcam in a first disposition on a table top, and exemplary Fig. 4 shows

the same webcam in a second disposition when attached to the laptop screen, as follows:




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         The independent claims are 1, 10, 19, 20 and 21. Exemplary claim 1 covers an apparatus

comprising a hinge member rotatably attached to a camera, a support frame rotatably attached to

the hinge member, the support frame having a first disposition on a surface and a second

disposition on an inclined object.1 To help the Court better envision claim 1, the following color-

coded chart compares claim 1 to certain preferred embodiments disclosed in the ‘343 patent:

1. Apparatus for supporting a camera, having a lens, on any generally
horizontal, substantially planar surface and on an object having a first
surface and a second surface and an edge intersecting the first surface
and the second surface, comprising:
a. a hinge member adapted to be rotatably attached to the camera, said
camera, when the hinge member is so attached, rotating, about a first
axis of rotation, relative to said hinge member; and
b. a support frame rotatably attached to said hinge member and
configured to support said hinge member on the surface and the object,
said hinge member rotating about a second axis of rotation relative to
said support frame,
said first axis of rotation being generally perpendicular to said second
axis of rotation,
said second axis of rotation being substantially parallel to the first
surface when said hinge member is supported on the object,
said support frame having a first disposition positioned on said
generally horizontal, substantially planar surface,
and said support frame having a second disposition attached to the
object when said first surface and said second surface are inclined
from a generally horizontal orientation,
the camera being maintained adjacent said edge in said second
disposition of said support frame.2

         Independent claim 10 is similar to claim 1, except it comprises additional claim

limitations related to the support frame being comprised of “a rear support element and a first

and a second front support element...” Independent claim 20 is similar to claim 1, except it

comprises additional claim limitations related to “wherein said support frame protects the camera

when said hinge member is not supported on the generally horizontal, substantially planar


1
  Exhibit 1 hereto is the ‘343 patent. Although the prosecution history of the ‘343 patent is not likely material to the
claim construction process, in the interest of completeness it is included as Exhibit 2 hereto.
2
  For the Court’s convenience, a copy of AdjustaCam’s technology tutorial is at Exhibit 3 hereto.

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surface ...” Independent claim 21 is similar to claim 1, except that it comprises additional claim

limitations related to “wherein said support frame releasably holds and protects the camera when

said hinge member is not supported by said support frame on the object...”

        Independent claim 19 covers a “camera clip for supporting a camera on a laptop

computer ... comprising ... a hinge member adapted to be rotatably attached to the camera, said

camera rotating about a first axis of rotation relative to said hinge member; and a support frame

hingedly attached to said hinge ...” Thus, claims 1, 10, 20 and 21 each comprise a “support frame

rotatably attached to said hinge member ...” and claim 19 comprises a “support frame hingedly

attached to said hinge member ...”

III.    APPLICABLE LEGAL PRINCIPLES

        Claim construction is a matter of law.3 The court “indulge[s] a heavy presumption that

claim terms carry their full ordinary and customary meaning unless the patentee unequivocally

imparted a novel meaning to those terms or expressly relinquished claim scope during

prosecution.”4 Claim terms are interpreted from the point of view of a person of ordinary skill in

the art who “is deemed to read the claim term not only in the context of the particular claim in

which the disputed term appears, but in the context of the entire patent, including the

specification.”5 However, “the ordinary meaning of claim language as understood by a person of

skill in the art may be readily apparent even to lay judges, and claim construction in such cases

involves little more than the application of the widely accepted meaning of commonly

understood words.”6




3
  Markman v. Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995), aff'd, 517 U.S. 370 (1996).
4
  Omega Eng'g, Inc. v. Raytek Corp., 334 F.3d 1314, 1323 (Fed. Cir. 2003).
5
  Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005) (en banc).
6
  Id. at 1314.

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          Intrinsic evidence includes the claims, written description, drawings, and the prosecution

history.”7 A disputed term should be construed by first examining the intrinsic evidence of

record from the perspective of one skilled in the relevant art.8 “The claims themselves provide

substantial guidance as to the meaning of particular claim terms.”9

          Extrinsic evidence is less significant than the intrinsic record in determining the legally

operative meaning of claim language.10 Where the ordinary meaning can be ascertained from the

intrinsic evidence, a court does not have to evaluate extrinsic evidence.11

          Although the specification is relevant to interpreting the meaning of disputed claim

language, particular embodiments and examples appearing in the specification will not generally

be read into the claims.12 “One of the cardinal sins of patent law [is] reading a limitation from the

written description into the claims.”13

IV.       CLAIM TERMS REQUIRING CONSTRUCTION

          A.     Hinge Member.

        PLAINTIFF’S CONSTRUCTION                        DEFENDANTS' CONSTRUCTION
    A structural element that joins to another for Structural element that may be joined to another
    rotation in at least one axis of rotation      so as to form a hinge joint and is capable of
                                                   rotating on that hinge joint

          The term “hinge member” is found in claims 1, 8, 10, 17, 19, 20 and 21.14 The term

“hinge member” was coined by the inventor of the ‘343 patent, who acted as his own




7
  Teleflex Inc. v. Ficosa N. Am. Corp., 299 F.3d 1313, 1324 (Fed. Cir. 2002).
8
  Phillips, 415 F.3d at 1313-14.
9
  Id. at 1314.
10
   Id.
11
   Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1583 (Fed. Cir. 1996).
12
   Comark Comms., Inc. v. Harris Corp., 156 F.3d 1182, 1187 (Fed. Cir. 1998); see also Phillips, 415 F.3d at 1323.
13
   Phillips, 415 F.3d at 1319-20.
14
   This brief will primarily address the five independent claims. Dependent claims, which incorporate all the
elements of the claims from which they depend, are discussed only when pertinent to a specific issue.

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lexicographer for this term.15 The structure and function of a hinge member is taught by the

specification and claims. Most importantly, a hinge member is (1) for rotatable attachment to a

camera (claims 1, 10, 19, 20 & 21); and (2) for rotatable attachment (claims 1, 10, 20 & 21) or

hinged attachment (claim 19) to a support frame.

        Regarding rotatable attachment to a camera, the ‘343 patent teaches that in a preferred

embodiment, “[h]inge member 16 is rotatably attached to camera 12.” 4:17-19.16 Further, each

independent claim comprises: “a hinge member adapted to be rotatably attached to the

camera.”17

        Regarding rotatable attachment to a support frame, the ‘343 patent teaches and claims, “a

support frame rotatably attached to said hinge member and configured to support said hinge

member on the surface and the object.” Claims 1, 10, 20 & 21. See also Figs. 2-4.

        Regarding hinged attachment to a support frame, the ‘343 patent teaches that in a

preferred embodiment, “[s]upport frame 18 is hingedly attached to hinge member 16 to

engagingly support hinge member 16 on an object 30.” 4:21-20. See also 2:14-16; 3:40-41; 5:41-

43. Further, independent claim 19 is distinct from the other independent claims in comprising: “a

support frame hingedly attached to said hinge member.”

        Plaintiff and Defendants seem to largely agree that a hinge member comprises a

structural element that joins18 to another. The first half of Plaintiff’s proposed construction


15
   A patentee is free to act as his or her own lexicographer. See, e.g., MyMail, LTD v. Am. Online, Inc., 6:04-CV-
189, 2005 WL 6225308 at *2 (E.D. Tex. June 3, 2005); Acacia Media Technologies Corp. v. New Destiny Internet
Group, 405 F. Supp. 2d 1127, 1133 (N.D. Cal. 2005). In acting as lexicographer, the patentee may coin a term. See,
e.g., Acacia Media Technologies, 405 F. Supp. 2d at 1133-1134.
16
   See also rotatable attachment of the hinge member and camera in Figs. 2-4; 3:9-14 & 5:37-41. Note that “4:17-19”
is shorthand for column 4, lns. 17-19 of the ’343 patent.
17
   “The claims themselves provide substantial guidance as to the meaning of particular claim terms.” Phillips, 415
F.3d at 1314.
18
   A hinge member is “rotatably attached” (claims 1, 10, 20 & 21) or “hingedly attached” (claim 19). “Attach” is
commonly defined as (1) “to fasten on or affix to; connect or join. American Heritage Dictionary of the English
Language (1981) (Exhibit 4); (2) “to fasten by sticking, tying, etc.; to join. Webster’s New World Dictionary (2003)

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                                                       A2810
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comprises: “structural element that joins to another,” and the first half of Defendants’ proposed

construction comprises: “structural element that may be joined to another.” It is not clear why

Defendants use “may be joined,” since each claim requires an apparatus, meaning all the

“rotatably attached” and “hingedly attached” parts must be attached.

         The second half of Plaintiff’s proposed construction of hinge element is for rotation in at

least one axis of rotation. The ‘343 patent teaches and claims that a hinge member comprises

rotation about a first axis relative to a camera and rotation about a second axis relative to a

support frame. Regarding the first axis of rotation, the ‘343 patent teaches that, in a preferred

embodiment, “[h]inge member 16 is rotatably attached to camera 12, where camera 12 rotates

over a first axis 26 in a direction shown by arrow 28 relative to hinge member 16.” 4:17-19. See

also 2:12-14; 3:36-40 & 5:38-41. Further, independent claim 1 comprises, “said camera, when

the hinge member is so attached, rotating, about a first axis of rotation, relative to said hinge

member,” and independent claims 10, 19, 20 and 21 each comprises: “a hinge member adapted

to be rotatably attached to the camera, said camera, when the hinge member is so attached,

rotating, about a first axis of rotation relative to said hinge member.”

         Regarding the second axis of rotation, the ‘343 patent teaches that, in a preferred

embodiment, “[h]inge member 16 rotates over a second axis 32 in the direction shown by arrow

34 relative to support frame 18.” 4:22-24. See also 2:14-18; 3:40-43 & 5:41-44. Further, claim 1

comprises: “a support frame rotatably attached to said hinge member and configured to support

said hinge member on the surface and the object.” Claims 10, 20 and 21 comprise: “said hinge

member rotating about a second axis of rotation relative to said support frame.” Claim 19




(also at Ex. 4); or “connect; to fasten; make fast or join; to fix or fasten itself. Webster’s Third New International
Dictionary (1961) (also at Exhibit 4).

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comprises: “said hinge member rotating over a second axis of rotation relative to said support

frame.”

        Thus, the hinge member of the ‘343 patent is a structural element that joins to another for

rotation in at least one axis of rotation.

        Defendants contend that a hinge member must “form a hinge joint and is capable of

rotating on that hinge joint.” Defendants’ proposed construction seeks to unduly restrict hinge

member in order to advance a non-infringement position. Defendants’ proposed construction is

erroneous for multiple reasons.

        First, under the guise of claim interpretation, Defendants seek to subvert the straight-

forward concept of a hinge member which rotatably attaches into a verbose definition with extra

words (i.e., limitations) neither found in the patent nor warranted by the intrinsic evidence.

        Second, the only possible justification for Defendants’ restrictive definition would be to

limit the claims to Defendants’ contention of what constitutes a preferred embodiment. However,

limiting the claims to a preferred embodiment is a “cardinal sin” of claim construction.19 Further,

the claims unequivocally refer to an apparatus “comprising” a “first axis of rotation” relative to

the hinge member and camera and “second axis of rotation” relative to the hinge member and

support frame. The word “comprising,” which in patent lexicography means “including, but not

limited to” is “open-ended and does not exclude additional, unrecited elements.”20 While all that

is required to infringe the claims is rotation in one axis per rotatable attachment, the claimed

invention is not restricted to this embodiment. Rather it comprises all types of “rotatable”

attachments, including those which permit rotation in more than a single axis.



19
  Phillips, 415 F.3d at 1319-20.
20
  CIAS, Inc. v. Alliance Gaming Corp., 504 F.3d 1356, 1361 (Fed. Cir. 2007); Georgia-Pacific Corp. v. United
States Gypsum Co., 195 F.3d 1322, 1327-28 (Fed. Cir. 1999).

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                                                     A2812
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           Third, as noted above, the specification teaches, and all claims include, that the hinge

member is “rotatably attached” to the camera. A “rotatable attachment” is broader than a hinge

joint. A few well known examples of rotatable attachments are pivot joints, ball and socket joints

and saddle joints. See, e.g., http://science.howstuffworks.com/environmental/life/human-

biology/bone11.htm; http://www.teachpe.com/anatomy/joints.php; http://www.livestrong.com

/article/102854-different-types-joints/.

           Fourth, the preferred embodiment rotatable attachment between the hinge member and

the camera depicted in Figs. 2, 3 and 4 is a pivot joint, not a hinge joint. “It is elementary that a

claim construction that excludes a preferred embodiment is rarely, if ever correct.”21

           Fifth, independent claims 1, 10, 20 and 21 comprise a hinge member which “rotatably”

attaches to a support frame, while claim 19 comprises a hinge member which “hingedly”

attaches to a support frame. Common sense and the doctrine of claim differentiation22 dictate that

“rotatably” attached is different from, and broader than, “hingedly” attached. As noted in

Section IV.D below, the parties agree that “hingedly attached” comprises a hinge joint.

However, Defendants improperly seek to shoehorn a “hinge joint” limitation in their

constructions of “hinge member” and “rotatably attached,” which would eviscerate the broader

“rotatable” aspect of each.

           For the foregoing reasons, Plaintiff’s proposed construction should be adopted.

           B.       Rotatably attached.

   PLAINTIFF’S CONSTRUCTION                                DEFENDANTS' CONSTRUCTION
 Connected such that the connected                   Connected such that the connected object is capable
 object is capable of being adjustably               of being adjusted to different configurations via
 rotated                                             motion over one axis of rotation



21
     See, e.g., NeoMagic Corp. v. Trident Microsystems, Inc., 287 F.3d 1062, 1074 (Fed. Cir. 2002).
22
     See, e.g., Kara Technology, Inc. v. Stamps.com, Inc., 582 F.3d 1341 (Fed. Cir. 2009).

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       As noted in Section IV.A above, the term “rotatably attached” is found in independent

claims 1, 10, 19, 20 and 21. Relevant intrinsic evidence, including how the phrase is used in the

claims, is noted in Section IV.A. Here, the parties essentially agree that “rotatably attached”

means at least “connected such that the connected object is capable of being adjustably rotated.”

This is Plaintiff’s proposed construction, and it is very near the first half of Defendants’ proposed

construction. However, it is unclear why Defendants seek to substitute “different configurations”

for the word “rotatably,” or why Defendants omit any permutation of the word “rotate” from

their proposed construction. The term “rotate” and its various permutations, such as rotatable

and rotatably, are plain words that a jury can readily understand. There is no good reason to omit

any permutation of “rotate” out of the definition of “rotatably attached” and instead substitute

“adjusted to different configurations.” Plaintiff’s use of “adjustably rotated” captures the

“rotatably” aspect of “rotatably attached” and should be adopted.

       The second half of Defendants’ proposed construction again seeks to unduly restrict

“rotatably attached” to “one axis of rotation.” The five reasons why this restriction is erroneous

are discussed in Section IV.A.

       For the foregoing reasons, Plaintiff’s proposed construction should be adopted.

       C.      Adapted to be rotatably attached/ Adapted to rotatably attach.

    PLAINTIFF’S CONSTRUCTION                         DEFENDANTS' CONSTRUCTION
 Formed in a manner to be connected such       Formed in a manner to allow an object connected
 that the connected object is capable of       thereto to be adjusted to different configurations
 being adjustably rotated.                     via movement over one axis of rotation

       The term “adapted to be rotatably attached” is found in claims 1, 10, 19, 20 and 21, and

“adapted to rotatably attach” is found in claim 8. The issues here are the same as with “rotatably

attached” at Section IV.B above. For the reasons stated in Section IV.B, Plaintiff’s proposed

construction should be adopted.

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        D.      Hingedly attached / Hingedly attaching.

     PLAINTIFF’S CONSTRUCTION                          DEFENDANTS' CONSTRUCTION
  Connected or joined via a hinge joint           Connected or joined via a hinge joint so as to
                                                  allow swinging motion about said hinge joint

        The phrase “hingedly attached” is found in claim 19, and “hingedly attaching” is found in

 claim 8. The parties agree that these phrases mean at least “connected or joined via a hinge

 joint.” However, Defendants seek to add an additional limitation in the claims of, “so as to allow

 swinging motion about said hinge joint.” The word “swinging” is not included in the claims or

 specification, nor is it clear what “swinging” is intended by Defendants to mean. The only

 possible justification for adding this unnecessary limitation to the claims would be to limit the

 claims to Defendants’ contention of what constitutes the preferred embodiment. However,

 limiting the claims to a preferred embodiment is the “cardinal sin” of claim construction. Thus,

 Plaintiff’s proposed construction should be adopted.

        C.      Support Frame.

      PLAINTIFF’S CONSTRUCTION                         DEFENDANTS' CONSTRUCTION
  A structural element that supports another      A physically distinct structural element attached
  structure                                       to the hinge member so as to form a hinge joint,
                                                  that can take different dispositions via rotation
                                                  about said hinge joint

        The term “support frame” is found in claims 1 - 8, 10 - 11, 13 - 17 and 19 - 21. The

 structure and function of a support frame is taught by the specification and claims. The

 specification teaches that the support frame supports the hinge element on a surface and on an

 object (for example a display screen for a laptop computer). For example, the specification

 teaches that, in a preferred embodiment, “[s]upport frame 18 is hingedly attached to hinge

 member 16 to engagingly support hinge member 16 on an object 30,” and that “when the support

 frame is in the first position, the object may be the top of a table where the first surface is a top


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 surface of the table.” 4:20-21 & 2:14-37. See also 2:14-16: 2:66 – 3:2. Claims 1, 10, 20, 21 and

 22 comprise a support frame “configured to support” the hinge member on a “surface” and an

 “object,” and claim 19 comprises a support frame which “engagingly supports” the hinge

 member on a “surface” and on an “object.”

        Defendants agree that a support frame is a “structural element,” yet they seek to impose a

 restriction that it be “a physically distinct structural element.” The words “physically distinct”

 are not found in the patent. Further, it is not known what Defendants mean by “physically

 distinct,” or why this limitation would be appropriate to impose. In short, this additional

 limitation sought to be imposed by Defendants lacks support.

        Next, Defendants seek to include “attached to the hinge member” in the definition of

 “support frame.” This is unnecessary and inappropriate because the “attached” aspect of the

 support frame is addressed elsewhere in the claims. As noted above at Section IV.A, each of

 independent claims 1, 10, 20 and 21 separately specifies rotatable attachment of the hinge

 member to the support frame, and independent claim 19 separately specifies hinged attachment

 of the hinge and the support frame.

        Finally, Defendants erroneously seek to import their hinge joint limitation into the

 definition of support frame. This is erroneous for two reasons. First, as noted in Section IV.A

 above, the hinge member and support frame are "rotatably attached” in claims 1, 10, 20 and 21,

 and “rotatably attached” is broader than a hinge joint. Second, the connection between the

 support frame and the hinge member is already addressed elsewhere in each of the claims.

 Specifically, claims 1, 10, 20 and 21 separately specifies rotatable attachment (which the Court is

 going to construe) of the hinge member to the support frame, and independent claim 19

 separately specifies hinged attachment (which the Court is also going to construe) of the hinge



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 and the support frame. Defendants’ attempt to slip their unwarranted “hinge joint” limitation into

 almost every conceivable term, including into “support frame,” lacks merit.

        For the foregoing reasons, Plaintiff’s proposed construction should be adopted.

        F.      Disposition.

        PLAINTIFF’S                            DEFENDANTS' CONSTRUCTION
      CONSTRUCTION
  Configuration or position.       Configuration of the support frame relative to the hinge
                                   member accomplished through rotation about the second axis,
                                   enabling support of the hinge member on a surface or edge

        The term “disposition” is found in claims 1, 2, 5, 6 and 10. Although disposition is an

 easily understandable word that needs no construction, in the interest of compromise, Plaintiff

 has agreed with Defendants that disposition means “configuration,” or “position,” which in this

 context are synonymous. The patent teaches and claims that the support frame has at least one

 disposition/configuration when positioned on a surface (e.g., “first position 44”), and at least

 another disposition/configuration when positioned on an inclined object (e.g., second position

 52). See, e.g., 2:1-4; 2:24-29; 2:34-37; 2:66-3:4; 3:39-43; 3:63-65; 4:27-30; 4:49-54; 5:2-6; 5:33-

 37. Further, both independent claims 1 and 10 comprise a support frame having “a first

 disposition positioned on said generally horizontal, substantially planar surface” and a “second

 disposition attached to the object” when the object is inclined. Exemplary dispositions are shown

 at Figs. 2 and 4. Again, “disposition” and “position” are used synonymously.

        Defendants’ proposed construction seeks to import multiple inappropriate limitations into

 the simple term “disposition.” First, Defendants seek to restrict disposition of the support frame

 to being “relative to the hinge member” and “accomplished through rotation about the second

 axis.” Neither restriction is required by the claims or any other intrinsic evidence. For example,

 claims 1 and 10 comprise a support frame having “a first disposition positioned on said generally


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 horizontal, substantially planar surface” and a “second disposition attached to the object” when

 the object is inclined. There is no requirement that the differences in these depositions be

 “relative to the hinge member” or that they be “accomplished through rotation about the second

 axis.” Further, none of the descriptions of preferred embodiments mention the different

 positioning of the support frame being “relative to the hinge member” or that they be

 “accomplished through rotation about the second axis.” See, e.g., 2:1-4; 2:24-29; 2:34-37; 2:66-

 3:4; 3:39-43; 3:63-65; 4:27-30; 4:49-54; 5:2-6; 5:33-37. Further, even if either restriction was

 consistent with a preferred embodiment, which is not apparent, it would be improper to limit the

 claimed invention to a preferred embodiment.

        Defendants’ final suggested limitation to impose on “disposition,” which is “enabling

 support of the hinge member on a surface or edge” is confusing. If Defendants mean that the

 disposition of the support frame must be what enables support of the hinge member, then they

 are mistaken. Nothing in the intrinsic evidence, including nothing in the claims, requires the

 disposition of the support frame to be what enables support of the hinge member. For example,

 the mere attachment (i.e., “rotatably attachment”) of the support frame and the hinge member

 could be what supports the hinge member. Further, the support frame being enabled to support

 the hinge member is already addressed elsewhere in the claims. Separately from the term

 “disposition,” claims 1, 10, 20, 21 and 22 comprise a support frame “configured to support” the

 hinge member on a “surface” and an “object,” and claim 19 comprises a support frame which

 “engagingly supports” the hinge member on a “surface” and on an “object.”

        For the foregoing reasons, Plaintiff’s proposed construction should be adopted.

        G.     Maintained adjacent said edge.




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      PLAINTIFF’S CONSTRUCTION                               DEFENDANTS' CONSTRUCTION
  Plain and ordinary meaning. NCN.23                    Positioned near said edge without engaging or
  Alternatively, positioned near said edge              contacting the edge

         The phrase “maintained adjacent said edge” is found in claim 1 of the ‘343 patent,

 wherein it comprises the “the camera being maintained adjacent said edge in said second

 disposition of said support frame.” This phrase is made up of ordinary words that have a plain

 and ordinary meaning. It uses non-technical words that can easily be understood by a lay juror.

 Attempting to construe it would add nothing in the way of clarity for the jury. Thus, no

 construction is necessary.24

         Alternatively, in an effort at compromise, Plaintiff would agree with Defendants that the

 phrase could be interpreted as “positioned near said edge” without any apparent change to its

 meaning.

         However, Defendants seek to add the negative limitation of “without engaging or

 contacting the edge.” It is unclear why this negative limitation is necessary or appropriate.

 Nothing in the specification says “without engaging or contacting the edge.” Further, the “edge”

 in claim 1 is the “edge intersecting the first surface and the second surface.” Further, claim 1

 requires a support frame which supports and is rotatably attached to a hinge member, and that the

 hinge member be adapted to be rotatably attached to the camera. This structure seems to already

 ensure that the camera supported by the camera clip will not be contacting the edge of the

 surface; however, in any event, there is no cause for reading the Defendants’ proposed negative

 limitation into the claim.

         For the foregoing reasons, Plaintiff’s proposed construction should be adopted.



 23
  “NCN” is short for “no construction necessary.”
 24
  See, e.g., CEATS, Inc. v. Continental Airlines, 2011 WL 2971243, *8 (E.D. Tex. July 21, 2011); Stragent, LLC v.
 Amazon.com, Inc., 2011 WL 2199498, *8-9 (E.D. Tex. June 07, 2011).

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        H.      When said first surface and said second surface are inclined from a generally
                horizontal orientation.

      PLAINTIFF’S CONSTRUCTION                        DEFENDANTS' CONSTRUCTION
  Plain and ordinary meaning. NCN.               When the object upon which the claimed
  Alternatively, when the object is inclined     apparatus rests is not generally horizontal but
  from a generally horizontal orientation        inclined from the horizontal

        The term “when said first surface and said second surface are inclined from a generally

 horizontal orientation” is found in claim 1, which comprises “said support frame having a second

 disposition attached to the object when said first surface and said second surface are inclined

 from a generally horizontal orientation.” This phrase is made up of ordinary words that have a

 plain and ordinary meaning. It uses non-technical words that can easily be understood by a lay

 juror. Attempting to construe it would add nothing in the way of clarity for the jury. Thus, no

 construction is necessary.

        Alternatively, Plaintiff deems its alternate construction – i.e., when the object is inclined

 from a generally horizontal orientation – to be acceptable, albeit unnecessary.

        Defendants’ proposed construction is cumbersome and overly verbose. There is no reason

 to, or clarity gained from, defining “object” as the “object upon which the claimed apparatus

 rests.” Further, there is no reason to elaborate upon “inclined” by specifying that it is “not

 generally horizontal.” No such clarification is needed to the plain language already present that

 the object is “inclined from a generally horizontal orientation” (emphasis added). A jury can

 easily understanding that an object inclined from a generally horizontal orientation is “not

 generally horizontal” once so inclined.

        For the foregoing reasons, Plaintiff’s proposed construction should be adopted.

        I.      A display screen which can be inclined from a generally horizontal position.




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        PLAINTIFF’S CONSTRUCTION                       DEFENDANTS' CONSTRUCTION
  Plain and ordinary meaning. NCN.                   A display screen that may be adjusted from
  Alternatively, a display screen that may be        a generally horizontal position to a non-
  adjusted from a generally horizontal position to a horizontal position
  non-generally horizontal position

        The phrase “a display screen which can be inclined from a generally horizontal position”

 is found in claim 19 of the ‘343 patent. This phrase is made up of ordinary words that have a

 plain and ordinary meaning. It uses non-technical words that can easily be understood by a lay

 juror. Attempting to construe it would add nothing in the way of clarity for the jury. Thus, no

 construction is necessary.

        Alternatively, although unnecessary, Defendants’ proposed construction does not seem to

 materially change the meaning of this phrase, with one caveat. Plaintiff’s proposed alternative

 construction adds the word “non-generally,” as in, “a display screen that may be adjusted from a

 generally horizontal position to a non-generally horizontal position.” This should be added for

 clarity and symmetry between “generally horizontal” and “non-generally horizontal.”

        For the foregoing reasons, Plaintiff’s proposed construction should be adopted.

        J.      Body.

      PLAINTIFF’S CONSTRUCTION                         DEFENDANTS' CONSTRUCTION
  A structural element                             One unitary structural element

        The term “body” is found in claim 8 of the ‘343 patent. Its context is “... wherein the

 hinge member includes a body having a proximal and a distal end, a pivot element at said

 proximal end of said body adapted to rotatably attach the camera to the body so that the camera

 rotates about the first axis relative to the body, and a hinge element at said distal end of said body

 hingedly attaching said body to the support frame so that said body rotates, about the second

 axis, relative to the support frame.” Plaintiff and Defendants seem to agree that a body is a

 structural element. Defendants further propose that a body is “one unitary structural element.”

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 However, the phrase “one unitary structural element” is not used in the claims or specification.

 Moreover, it is not known what Defendants intend by adding the limitation, “unitary structural

 element.” Does this mean that a body cannot be fabricated out of two or more pieces joined (e.g.,

 glued, fused or screwed) together? Nothing in the claims or specification would support such a

 limitation. Thus, Plaintiff’s proposed construction should be adopted.

        K.       Proximal…end.

      PLAINTIFF’S CONSTRUCTION                          DEFENDANTS' CONSTRUCTION
  Plain and ordinary meaning                       One end of the hinge member, distinct from the
                                                   distal end

        The term “proximal…end” is found in claim 8 of the ‘343 patent. The context is “wherein

 the hinge member includes a body having a proximal and a distal end, a pivot element at said

 proximal end of said body adapted to rotatably attach the camera to the body so that the camera

 rotates about the first axis relative to the body, and a hinge element at said distal end of said body

 hingedly attaching said body to the support frame...”

        This phrase is made up of ordinary words that have a plain and ordinary meaning. It uses

 non-technical words that can easily be understood by a lay juror. Attempting to construe it would

 add nothing in the way of clarity for the jury. Thus, no construction is necessary.

        The only purpose of Defendants’ proposed construction appears to be stating that a

 proximal end is “distinct” from a distal end. Plaintiff does not know what Defendants mean by

 “distinct.” The claim requires the body of the hinge member, which Defendants’ assert is a “one

 unitary structural element,” to have proximal and distal ends. It is not known what Defendants

 intend when they argue that the proximal and distal ends of a “unitary structural element” must

 be “distinct.” If anything, Defendants’ positions on “body” and “distal end” seem at odds with

 each other.    Further, the word “distinct” is not found in the specification or the claims.


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 Defendants proposed addition of “distinct” is either confusing or unnecessary, and in either case

 is inappropriate.

        For the foregoing reasons, Plaintiff’s proposed construction should be adopted.

        L.      Distal end.

      PLAINTIFF’S CONSTRUCTION                        DEFENDANTS' CONSTRUCTION
  Plain and ordinary meaning. NCN.               Other end of the hinge member distinct from
                                                 the proximal end

        The term “distal end” involves the same issues as “proximal ...end” addressed in Section

 IV.K above. For those reasons, no construction is necessary and Defendants’ proposed

 construction is inappropriate.

        M.      Pivot element.

     PLAINTIFF’S CONSTRUCTION                         DEFENDANTS' CONSTRUCTION
  An element about which something rotates       One unitary structural element around which an
                                                 attached camera rotates

        The term “pivot element” is found in claims 8, 9, 17 and 18. The context is that the pivot

 is “adapted to rotatably attach the camera to the body...” Claims 8 and 17. Further, the

 specification refers multiple times to pivot elements comprising “pivot element 80.” See 3:36-40;

 3:43-48; 5:38-41; 5:36-49. Here again, Defendants seek to add “one unitary structural element”

 as a limitation. However, the phrase “one unitary structural element” is not used in the claims or

 specification. Moreover, it is not known what Defendants intend by adding the limitation,

 “unitary structural element.” Does this mean that a body cannot be fabricated out of two or more

 pieces joined (e.g., glued, fused or screwed) together? Nothing in the claims or specification

 would support such a limitation. For the foregoing reasons, Plaintiff’s proposed construction

 should be adopted.

        N.      Rotation of said support frame being prevented along an axis substantially
                parallel to said second axis.

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  PLAINTIFF’S CONSTRUCTION                 DEFENDANTS' CONSTRUCTION
  Plain and ordinary meaning. NCN. The support frame, or portions thereof, is prevented
                                   from moving about the second axis, and thus remains
                                   in one particular disposition relative to said second axis

        The phrase “rotation of said support frame being prevented along an axis substantially

 parallel to said second axis” is found in claim 19 of the ‘343 patent. This phrase is made up of

 ordinary words that have a plain and ordinary meaning. It uses non-technical words that can

 easily be understood by a lay juror. Attempting to construe it would add nothing in the way of

 clarity for the jury. Thus, no construction is necessary.

        Defendants’ proposed construction adds no clarity to the phrase, and instead seeks to

 depart from its plain language.       First, Defendants inexplicably seek to delete the word

 “substantially” from the phrase. Second, Defendants seek to substitute “moving about” for

 “rotation.”    However, “rotation” has a plain and ordinary meaning that would be easily

 understood by a lay juror. Third, Defendants seek to create new language of whole cloth and

 require that the support frame “remains in one particular disposition relative to said second axis.”

 However, the plain language of the claim does not require that the support frame “remains in one

 particular disposition relative to said second axis.”         Rather, the plain language states that

 “rotation of said support frame being prevented along an axis.” Thus, Defendants improperly

 seek to rewrite this easily understood phrase under the guise of construing it. Accordingly, no

 construction of this phrase is necessary.

        O.       Engagingly support.

     PLAINTIFF’S CONSTRUCTION                          DEFENDANTS' CONSTRUCTION
  Maintained in a stable position by physical      Maintained in a stable position relative to an
  contact                                          object by the support frame via physical contact
                                                   between the support frame and said object




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                                                 A2824
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        The term “engagingly support” is found in claim 19. The context is “a support frame

 hingedly attached to said hinge member to engagingly support said hinge member on the display

 screen.” The parties agree that “engagingly support” at least means maintained in a stable

 position by physical contact. However, Defendants’ proposed construction is overly verbose and

 includes limitations inappropriate for “engagingly support.” First, Defendants refer to “support

 frame” twice in their definition of “engagingly support.” However, the plain language of claim

 19 already specifies that the support frame provides “engaging support” for the hinge member.

 Thus, there is no need to refer to “support frame” in the definition of “engagingly support.”

 Second, Defendants refer to “an object” while claim 19 refers to a “display screen.” Further, it is

 unnecessary to refer to “an object” in the definition of “engagingly support.”

        For the foregoing reasons, Plaintiff’s proposed construction should be adopted.

 V.     CONCLUSION

        For the reasons stated herein, Plaintiff respectfully requests that the Court adopt

 Plaintiff’s definitions, where proposed.


 December 19, 2011                                    Respectfully submitted,

                                                      INTERNET MACHINES LLC

                                                      By: /s/ John J. Edmonds
                                                      John J. Edmonds – LEAD COUNSEL
                                                      Texas State Bar No. 789758
                                                      Michael J. Collins
                                                      Texas Bar No. 4614510
                                                      Stephen F. Schlather
                                                      Texas Bar No. 24007993
                                                      COLLINS, EDMONDS &
                                                      POGORZELSKI, PLLC
                                                      1616 S. Voss Rd., Suite 125
                                                      Houston, Texas 77057
                                                      Telephone: (713) 501-3425
                                                      Facsimile: (832) 415-2535

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                                               A2825
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                                                      jedmonds@cepiplaw.com
                                                      mcollins@cepiplaw.com
                                                      sschlather@cepiplaw.com

                                                      Andrew W. Spangler
                                                      Texas Bar No. 24041960
                                                      Spangler Law P.C.
                                                      208 N. Green Street, Suite 300
                                                      Longview, Texas 75601
                                                      (903) 753-9300
                                                      (903) 553-0403 (fax)
                                                      spangler@spanglerlawpc.com

                                                      ATTORNEYS FOR PLAINTIFF
                                                      ADJUSTACAM LLC



                                 CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who are deemed to have consented to electronic
 service are being served with this filing via the Court’s CM/ECF system and/or email per Local
 Rule CV-5(a)(3).

 December 19, 2011                                    /s/ John J. Edmonds
                                                      John J. Edmonds




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                                                                                                                   US005855343A
   United States Patent                                             [19J                         [11]    Patent Number:                          5,855,343
   Krekelberg                                                                                    [45]    Date of Patent:                       Jan. 5, 1999

   [54]     CAMERA CLIP                                                                     Primary Examiner-Ramon 0. Ramirez
                                                                                            Assistant Examiner-Long Dinh Phan
   [75]     Inventor:      David E. Krekelberg, Minnetonka,                                 Attorney, Agent, or Firm---Nawrocki, Rooney & Sivertson,
                           Minn.                                                             P.A.
   [73]     Assignee: iREZ Research, Corporation,                                            [57]                       ABSTRACT
                      Minnetonka, Minn.
                                                                                             A clip for supporting a portable camera either on a surface
   [21]     Appl. No.: 814,168                                                               or on an edge of a housing, and for protecting the lens of the
                                                                                             camera when the camera is not being supported. The clip
   [22]     Filed:         Mar. 7, 1997
                                                                                             provides two axis of rotation to position the camera to any
                      6
   [51]     Int. Cl. ..................................................... A47G 29/00        desired viewing angle. The clip may be rotated to a first
   [52]     U.S. Cl. ........................... 248/121; 248/126; 248/918                   position to support the camera on a surface of a table or desk.
   [58]     Field of Search ..................................... 248/121, 126,              The clip may be rotated to a second position to support the
                      248/440.1, 166, 176.1, 688, 918; 224/908;                              camera on the display screen of a laptop computer. When the
                            396/421, 422, 423, 424, 425, 426, 427,                           camera is not being supported in the first position or the
                                                                                  428
                                                                                             second position, the camera may be rotated to be releasably
   [56]                        References Cited                                              held by the clip to protect the camera and lens during
                                                                                             storage.
                      U.S. PATENT DOCUMENTS
          1,208,344 12/1916 McAII ..................................... 248/126                              21 Claims, 2 Drawing Sheets




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                                                 Fig. 4
                                                           ,-12

                 Fig. 3                   20




                                                                        60




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                                   Fig. 5




                                                 Fig. 6

                                                                      95
                                           41
                                       40
                      Fig. 7
                    10\
               38         ~-r---




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                         CAMERA CLIP                                   desired viewing angle. The clip may be rotated to a first
                                                                       position to support the camera on a surface of a table or desk.
                  FIELD OF THE INVENTION                               The clip may be rotated to a second position to support the
                                                                       camera on a display screen of a laptop computer. When the
      This invention relates to a clip for holding a camera. More      camera is not being supported in the first position or the
   particularly it relates to a clip for supporting a portable         second position, the camera may be rotated to be releasably
   camera either on a surface or on an edge of a housing, and          held by the clip to protect the camera and lens during
   for protecting the lens of the camera when the camera is not        storage.
   being supported.                                                       In a preferred embodiment of the present invention, an
                                                                    10 apparatus is provided for supporting a camera on an object
             BACKGROUND OF THE INVENTION
                                                                       where the apparatus comprises a hinge member and a
      With portable cameras, it is desirable to have an apparatus      support frame. The hinge member is rotatably attached to the
   which can support the camera in any number of desired               camera where the camera rotates over a first axis of rotation
   configurations. The apparatus must easily accommodate               relative to the hinge member. A support frame is hingedly
   repositioning the camera to new orientations during use, and 15 attached to the hinge member to engagingly support the
   must be easily transportable. This is especially true when          hinge member on the object, where the hinge member
   using the camera with a portable computer, such as a laptop         rotates over a second axis of rotation relative to the support
   computer. With increasing improvements in technology,               frame. The first axis of rotation is perpendicular to the
   both the laptop computer and camera have become smaller             second axis of rotation, and the second axis of rotation is
   over time, emphasizing the need for a compatible camera 20 substantially parallel to a first surface of the object when the
   support apparatus. The camera support apparatus must be             hinge member is engagingly supported on the object. In the
   versatile, light in weight, and be easily transportable to          preferred embodiment, the support frame further has a rear
   accommodate the new camera and laptop designs, and must             support element and first and second front support elements.
   desirably facilitate easy and safe storage of the camera.           In the preferred embodiment, the rear support element and
   Often times portable computers are stored in carry bags 25 the first and second front support elements support the
   which may be fully loaded with other hardware devices,              camera in the first position on the first surface when the rear
   such as disk drives or printers, as well as with personal           support element and the first and second front support
   effects, making for cramped storage conditions. The camera          elements are engaging the first surface when the first surface
   support apparatus must desirably protect the camera from            is substantially level. In the preferred embodiment, the rear
   damage during transport under these cramped storage con- 30 support element and the first and second front support
   ditions to avoid the necessity for separate storage means in        elements engage the first surface at three locations in a plane
   order to maintain camera portability.                               of the first surface to prevent rotation of the support frame
      In the past, camera support apparatus were not easily            relative to the first surface in any direction within the plane
   transportable. Often times these apparatus utilized designs         of the first surface. In the preferred embodiment, when the
   which incorporated a tripod approach, or which used one or 35 support frame is in the first position, the object may be the
   more telescoping arms to support the camera. These designs          top of a table where the first surface is a top surface of the
   attempted to support the camera during use, and then col-           table. The object may also be a desk top where the first
   lapse to a smaller size to facilitate storage or transportation.    surface is a top surface of the desk.
   While these designs were transportable, often times even the           In the preferred embodiment, the rear support element and
   collapsed size of the prior art camera support apparatus 40 the first and second front support elements support the
   could not be easily accommodated by a laptop computer               camera in a second position on the first surface adjacent an
   bag. These prior art apparatus also did not provide means to        edge when the first surface is inclined from the substantially
   protect the camera during transport, and if constructed of          level position. The object has a second surface wherein a
   hard, exposed materials, tended to damage the cameras.              thickness between the first surface and the second surface
                                                                    45 defines an edge therebetween. The camera is maintained
      Another problem with prior art camera support apparatus
                                                                       adjacent to the edge in the second position where the
   was that they could not easily accommodate the variety of
                                                                       uppermost portion of the object is the edge. The rear support
   applications desired for portable cameras. These applica-
                                                                       element engages a first surface and the first and second
   tions ranged from supporting the camera on the surface of a
                                                                       support elements engage the edge and the second surface.
   desk or table to supporting the camera on the upright display
                                                                    50 The rear support element and the first and second front
   screen of a laptop computer. With the prior art, often times
                                                                       support elements, in combination, maintain the camera
   more than one camera support apparatus was necessary in
                                                                       adjacent the edge and prevent rotation of the support frame
   order to support the desired range of applications. This
                                                                       along an axis substantially parallel to the second axis where
   unfortunately adversely impacted portability of the camera.
                                                                       the second axis is substantially parallel to the edge. In a
      Thus, a desire was created within the industry for a small, 55 preferred embodiment, the rear support element and the first
   easily transportable camera support apparatus for supporting        and second front support elements support the camera in the
   the camera on both horizontal surfaces, such as the surface         second position on the first surface adjacent the edge when
   of a desk or table, and vertical surfaces, such as the display      a first distance from the edge to the position where the rear
   screen of a laptop computer, and to protect the camera              support element engages the first surface is greater than a
   during storage and transport.                                    60 second distance from the edge to the position where the first
                                                                  and second front support elements engage the second sur-
               SUMMARY OF THE INVENTION
                                                                  face. A center of gravity of the camera and the hinge member
      Accordingly, it is an object of the invention to provide a  being adjacent and external to the first surface in combina-
   clip for supporting a portable camera either on a surface or   tion with the first distance being greater than the second
   on an edge of a housing, and for protecting the lens of the 65 distance prevents rotation of the support frame along the
   camera when the camera is not being supported. The clip        axis substantially parallel to the second axis of rotation. In
   provides two axis of rotation to position the camera to any    the preferred embodiment, when the support frame is in the



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   second position, the object may be a display screen for a             FIG. 6 is a detailed side view showing the third mode
   laptop computer, where the second surface is the front of the      wherein the lens of the camera is being fitably received by
   display screen and the first surface is the back of the display    the cover; and
   screen.                                                               FIG. 7 is a front view showing the third mode of the
      In the preferred embodiment, the support frame has means        preferred embodiment of the present invention.
   to releasably hold and protect the camera during storage.
   The camera may be rotated about the second axis in a                            DETAILED DESCRIPTION OF THE
   direction from the first and second front support elements                        PREFERRED EMBODIMENTS
   towards the rear support element of the support frame until           Referring now to the drawings, wherein like reference
   the camera is in a position between and is releasably held by 10 numerals refer to like elements throughout the several
   the rear support element and the first and second front            views, FIG. 1 is a perspective view of the camera clip
   support elements. In the preferred embodiment, the rear            invention. FIG. 1 shows generally a camera apparatus 10
   support element has means to protect a lens of the camera          having a camera 12 and a camera clip 14. Camera clip 14 is
   which is a cover mounted at a distal end of the rear support       further comprised of a hinge member 16 and a support frame
   element. The lens of the camera faces a direction of rotation
                                                                   15 18. Camera 12 is comprised of housing 20 and lens 22, and
   about the second axis from the first and second front support      has a housing backside 24 which is the side of the housing
   elements to the rear support element of the support frame to       opposite of lens 22. Hinge member 16 is rotatably attached
   allow the lens of the camera to be fitably received into the       to camera 12, where camera 12 rotates over a first axis 26 in
   cover when the camera is releasably held between the rear          a direction shown by arrow 28 relative to hinge member 16.
   support element and the first and second front support
                                                                   20 Support frame 18 is hingedly attached to hinge member 16
   elements.                                                          to engagingly support hinge member 16 on an object 30 (see
      In the preferred embodiment, the first and second front         also, FIG. 2). Hinge member 16 rotates over a second axis
   support elements are spaced a distance apart at a distance         32 in the direction shown by arrow 34 relative to support
   less than a diameter of a housing of the camera, where the         frame 18. First axis 26 is perpendicular to second axis 32.
   camera is rotated about the second axis in the direction 25 Second axis 32 is substantially parallel to a first surface 36
   towards the rear support element so that the housing passes        when hinge member 16 is engagingly supported on object 30
   between the first and second front support elements. The first     (see also, FIG. 2). Support frame 18 has a first portion
   and second front support elements resiliently and outwardly        consisting of first support element 38 and a second portion
   flex to accommodate passage of the housing. The housing is         consisting of a first front support element 40 and a second
   releasably held after passing between the first and second 30 front support element 42. Housing 20 has a first indentation
   front support elements by the rear support element engaging        25 and a second indentation 27 to slidably and fittably
   the housing at the lens, where the first and second front          receive distal end 41 of first front support element 40 and
   support elements engage the housing backside at a first            distal end 43 of second front support element 42 when first
   indentation and a second indentation respectively to resil-        front support element 40 and second front support element
   iently urge the housing towards the rear support element. 35 42 are rotated in the direction of arrow 34 to engage housing
      In the preferred embodiment, the hinge member is further        backside 24.
   comprised of a body having a proximal and a distal end                FIG. 2 is a side view showing a first mode of a preferred
   where a pivot element at the proximal end of the body              embodiment of the present invention. Rear support element
   rotatably attaches the camera to the body so that the camera       38, first front support element 40 and second front support
   rotates about the first axis relative to the body. A hinge 40 element 42 support camera 12 in the first position 44, on the
   element at the distal end of the body hingedly attaches the        first surface 36, when rear support element 38, first front
   body to the support frame so that the body rotates about the       support element 40 and second front support element 42 are
   second axis relative to the support frame. In the preferred        engaging first surface 36 and first surface 36 is substantially
   embodiment, the camera has an electrical wiring harness to         level. In the first position 44, camera 12 may be pivoted
   couple from an interior to an exterior of the camera, and the 45 upon support frame 18 from a position 46 to a position 48.
   pivot element has a bore parallel to the first axis of rotation    It is recognized that camera 12 may be pivoted to any
   to receive the electrical wiring harness to pass the wiring        number of positions about second axis 32 in the direction
   harness from the interior to the exterior of the camera.           shown by arrow 34. In the preferred embodiment, rear
          BRIEF DESCRIPTION OF THE DRAWINGS                           support element 38, first front support element 40 and
                                                                   50 second front support element 42 support the camera in first
      Other objects of the present invention and many of the
                                                                      position 44, on first surface 36, when rear support element
   attendant advantages of the present invention will be readily
                                                                      38, first front support element 40 and second front support
   appreciated as the same becomes better understood by
                                                                      element 42 engage first surface 36 at three locations in a
   reference to the following detailed description when con-
                                                                      plane 50 of first surface 36. Engagement of first surface 36
   sidered in connection with the accompanying drawings, in
                                                                   55 at three or more locations prevents rotation of support frame
   which like reference numerals designate like parts through-
                                                                      18 relative to first surface 36 in any direction within plane
   out the figures thereof and wherein:
                                                                      50 of first surface 36. It is understood that in the preferred
      FIG. 1 is a perspective view of the "Camera Clip"               embodiment, rear support element 38, first front support
   invention;                                                         element 40 and second front support element 42 may utilize
      FIG. 2 is a side view showing a first mode of a preferred 60 any number of desired geometries to engage first surface 36
   embodiment of the present invention;                               to prevent rotation of support frame 18 relative to first
      FIG. 3 is a detailed front view of the "Camera Clip"            surface 36 in any direction within plane 50 of first surface
   invention;                                                         36. In the preferred embodiment, when support frame 18 is
      FIG. 4 is a side view showing a second mode of the              in the first position 44, the object may be a top of a table and
   preferred embodiment of the present invention;                  65 first surface 36 may be a top surface of the table. Likewise,
      FIG. 5 is a side view showing a third mode of the               object 30 may be a desk top, where first surface 36 is a top
   preferred embodiment of the present invention;                     surface of the desk.



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      FIG. 4 is a side view showing a second mode of the             position, distal end 41 of first support element 40 and distal
   preferred embodiment of the present invention. The second         end 43 of second front support element 42 slidably and
   mode occurs when rear support element 38, first front             fittably engage first indentation 25 and second indentation
   support element 40 and second front support element 42            27 respectively of housing 20 at housing backside 24.
   support camera 12 in a second position 52 on a first surface      Camera 12 is then releasably held between rear support
   54 adjacent an edge 56. Second position 52 corresponds to         element 38 and first front support element 40 and second
   first surface 54 being inclined from the substantially level      front support element 42. Rear support element 38 further
   position (see also, FIG. 2). In FIG. 4, object 58 has a second    has means to protect a lens 22 of camera 12, which is cover
   surface 60, where a thickness dl between first surface 54 and     90. Cover 90 is mounted at a distal end 92 of rear support
   second surface 60 defines the edge 56 therebetween. Camera 10 element 38. Lens 22 of camera 12 faces in the direction of
   12 is maintained adjacent edge 56 in second position 52           arrow 92, which is the direction of rotation about second
   when the uppermost portion of object 58 is edge 56. Rear          axis 32 from first front support element 40 and second front
   support element 38 engages first surface 54, and first front      support element 42 to rear support element 38 of support
   support element 40 and second front support element 42            frame 18. Cover 90 fitably receives lens 22 of camera 12.
   engage edge 56 and second surface 60. Rear support element 15 Cover 90 has a raised portion 95 sized to be accommodated
   38, first front support element 40 and second front support       by lens 22 of camera 12. Support frame 14, in a third mode
   element 42, in combination, maintain camera 12 adjacent           of the preferred embodiment of the present invention, releas-
   edge 56 and prevent rotation of support frame 18 along an         ably holds and protects camera 12 during storage.
   axis substantially parallel to second axis 32, where second           FIG. 3 is a detailed front view of the camera clip inven-
   axis 32 is substantially parallel to edge 56. Rear support 20 tion. FIG. 3 shows first front support element 40 and second
   element 38, first front support element 40 and second front       front support element 42 being spaced a distance apart by a
   support element 42 support camera 12 in second position 52        distance 94. Camera 12 further has a housing 20 which may
   on the first surface 54 adjacent edge 56 when a first distance    be spherical in shape in the preferred embodiment. Housing
   64 measured between edge 56 and position 66 is greater than       20 has a diameter shown as distance 96, wherein the
   a second distance 68. Second distance 68 is measured 25 preferred embodiment, distance 96 is greater than distance
   between edge 56 and position 70, where first front support        94. When camera 12 is rotated about the second axis 32 in
   element 40 and second front support element 42 engage             the direction towards rear support element 38 in the direc-
   second surface 60. The center of gravity shown in the             tion of arrow 92 so that housing 20 passes between first front
   direction of arrow 72 of camera 12 and hinge member 16            support element 40 and second front support element 42,
   being adjacent and external to first surface 54 in combina- 30 first front support element 40 and second front support
   tion with first distance 64 being greater than second distance    element 42 resiliently and outwardly flex to accommodate
   68 prevent rotation in the direction of arrow 62 of support       passage of housing 20. Housing 20 is releasably held once
   frame 18. In the preferred embodiment, object 58 may be a         passing between first front support element 40 and second
   display screen for a laptop computer when support frame 18        front support element 42 by rear support element 38 engag-
   is in second position 52, where second surface 60 is the front 35 ing housing 20 at lens 22 and distal end 41 of first front
   of the display screen and first surface 54 is the back of the     support element 40 and distal end 43 of second front support
   display screen. FIG. 4 shows hinge member 16 comprised of         element 42 slidably and fittably engaging first indentation 25
   a body 74 having a proximal end 76 and a distal end 78. A         and second indentation 27 respectively of housing 20 at
   pivot element 80 at proximal end 76 of body 74 rotatably          housing backside 24. When housing 20 is releasably held,
   attaches camera 12 to body 74 so the camera may rotate 40 first front support element 40 and second front support
   about first axis 26 relative to body 74. A hinge element 82       element 42 resiliently urge housing 20 towards rear support
   at distal end 78 of body 74 hingedly attaches body 74 to          element 38 so that lens 22 of camera 12 is fitably received
   support frame 18 so body 74 rotates about second axis 32          into cover 90.
   relative to support frame 18. FIG. 4 further shows camera 12          Having thus described the preferred embodiments of the
   having an electrical wiring harness 84 to couple from an 45 present invention, those of skill in the art will readily
   interior 86 to an exterior 88 of camera 12. Pivot element 80      appreciate that yet other embodiments may be made and
   has a bore 90 parallel to first axis 26 to receive electrical     used within the scope of the claims hereto attached.
   wiring harness 84 to pass wiring harness 84 from interior 86         What is claimed:
   to exterior 88 of camera 12. While the embodiments shown              1. Apparatus for supporting a camera, having a lens, on
   in the drawing figures and discussed herein illustrate a 50 any generally horizontal, substantially planar surface and on
   wiring harness 84 passing through a bore 90 parallel to first     an object having a first surface and a second surface and an
   axis 26, it will be understood that other embodiments are         edge intersecting the first surface and the second surface,
   contemplated. For example, wiring harness could enter body        comprising:
   74 at a location angularly spaced upward from bore 90.                a. a hinge member adapted to be rotatably attached to the
      FIGS. 5-7 show various perspectives of a third mode of 55             camera, said camera, when the hinge member is so
   the preferred embodiment of the present invention. FIG. 5 is             attached, rotating, about a first axis of rotation, relative
   a side view, FIG. 6 is a detailed side view showing the lens             to said hinge member; and
   of the camera being fitably received by the cover, and FIG.          b. a support frame rotatably attached to said hinge mem-
   7 is a front view. The third mode of the preferred embodi-               ber and configured to support said hinge member on the
   ment of the present invention is shown when camera 12 is 60              surface and the object, said hinge member rotating
   rotated about second axis 32 along the direction shown by                about a second axis of rotation relative to said support
   arrow 34 in a direction from the first front support element             frame, said first axis of rotation being generally per-
   40 and the second front support element 42 towards rear                  pendicular to said second axis of rotation, said second
   support element 38 of support frame 18. This rotation is                 axis of rotation being substantially parallel to the first
   continued in the third mode until camera 12 is in a position 65          surface when said hinge member is supported on the
   between rear support element 38 and first front support                  object, said support frame having a first disposition
   element 40 and second front support element 42. In this                  positioned on said generally horizontal, substantially



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         planar surface, and said support frame having a second               frame, said first axis of rotation being generally per-
         disposition attached to the object when said first surface           pendicular to said second axis of rotation, said second
         and said second surface are inclined from a generally                axis of rotation being substantially parallel to the first
         horizontal orientation, the camera being maintained                  surface when said hinge member is supported on the
         adjacent said edge in said second disposition of said                object, the support frame having a rear support element
         support frame.                                                       and a first and a second front support element, said
      2. Apparatus according to claim 1 wherein the support                   support frame having a first disposition positioned on
   frame comprises a first portion and a second portion, the                  said generally horizontal, substantially planar surface
   support frame being in the first disposition on the generally              when said rear support element and said first and
   horizontal, substantially planar surface when distal extremi- 10           second front support elements are engaging said gen-
   ties of said first portion and said second portion are engaging            erally horizontal, substantially planar surface, said sup-
   the generally horizontal, substantially planar surface, and the            port frame having a second disposition attached to the
   support frame being in the second disposition on the object                object when the first surface is inclined from a sub-
   when said first portion is engaging the first surface and said             stantially horizontal position so that an uppermost
   second portion is engaging the second surface, said first 15               extremity of the object is the edge, the support frame
   portion and said second portion in combination maintaining                 being maintained in said second disposition by said rear
   the camera adjacent the edge.                                              support element engaging said first surface and said
      3. Apparatus according to claim 2 wherein the support                   first and second front support elements engaging the
   frame includes a cover adapted to protect the camera lens                  second surface, said rear support element and said first
   when the camera is rotated about the second axis until the 20              and second front support elements in combination
   camera is between the first portion and the second portion.                preventing rotation of the support frame.
      4. Apparatus according to claim 3 wherein the first portion          11. Apparatus according to claim 10 wherein the support
   of the support frame further includes said cover, said cover         frame adapted to protect the camera when the camera is
   being mounted at the distal end of the first portion and             rotated about the second axis towards the rear support
   adapted the lens of the camera.                                   25 element of the support frame until the camera is between the
      5. Apparatus according to claim 2 wherein the support             rear support element and the first and second front support
   frame is in the first disposition when the first portion and the     elements, and is releasably held between the rear support
   second portion engage the generally horizontal, substantially        element and the first and second front support elements.
   planar surface at three or more locations in a common plane,            12. Apparatus according to claim 11 wherein the first and
   thereby preventing rotation of the support frame relative to 30 second front support elements are spaced a distance apart,
   the generally horizontal, substantially planar surface in any        and wherein said distance is less than a diameter of the
   direction.                                                           housing of the camera so that as the camera is being rotated
      6. Apparatus according to claim 2 wherein the support             about the second axis in the direction towards the rear
   frame is in the second disposition when a first distance from        support element, said housing passes between the first and
   the edge to a location where the first portion engages the first 35 second front support elements and the first and second front
   surface is greater than a second distance from the edge to a         support elements resiliently flex outwardly to accommodate
   location where the second portion engages the second                 passage of said housing, said housing being releasably held
   surface, thus preventing rotation of the support frame.              once passing between the first and second front support
      7. Apparatus according to claim 1 wherein the object is a         elements by the rear support element engaging said housing
   display screen for a laptop computer, and the second surface 40 at the lens.
   is the front of the display screen and the first surface is the         13. Apparatus according to claim 11 wherein the first
   back of the display screen.                                          portion of the support frame further has a cover, said cover
      8. Apparatus according to claim 1 wherein the hinge               being mounted at a distal end of the rear support element and
   member includes a body having a proximal and a distal end,           adapted to receive the lens of the camera when the camera
   a pivot element at said proximal end of said body adapted to 45 is releasably held between the rear support element and the
   rotatably attach the camera to the body so that the camera           first and second front support elements.
   rotates about the first axis relative to the body, and a hinge          14. Apparatus according to claim 10 wherein the support
   element at said distal end of said body hingedly attaching           frame is in the first disposition when the rear support
   said body to the support frame so that said body rotates,            element and the first and second front support elements
   about the second axis, relative to the support frame.             50 engage the generally horizontal, substantially planar surface
      9. Apparatus according to claim 8 wherein the pivot               at three or more locations in a common plane of the
   element has a bore along the first axis of rotation to receive       generally horizontal, substantially planar surface to prevent
   an electrical wiring harness and pass said wiring harness to         rotation of the support frame relative to the generally
   the camera.                                                          horizontal, substantially planar surface.
      10. Apparatus for supporting a camera, having a housing 55           15. Apparatus according to claim 10 wherein the support
   and a lens, on any generally horizontal, substantially planar        frame is in the first disposition positioned on the generally
   surface and on an object having a first surface and a second         horizontal, substantially planar surface when the rear sup-
   surface, and an edge intersecting the first surface and the          port element and the first and second front support elements
   second surface, comprising:                                          engage the generally horizontal, substantially planar surface
      a. a hinge member adapted to be rotatably attached to the 60 to prevent rotation of the support frame relative to the
         camera, said camera, when the hinge member is so               generally horizontal, substantially planar surface.
         attached, rotating, about a first axis of rotation relative       16. Apparatus according to claim 10 wherein support
         to said hinge member; and                                      frame is in the second disposition when a first distance from
      b. a support frame rotatably attached to said hinge mem-          the edge to a location where the rear support element
         ber and configured to support said hinge member on the 65 engages the first surface is greater than a second distance
         surface and the object, said hinge member rotating             from the edge to a location where the first and second front
         about a second axis of rotation relative to said support       support elements engage the second surface, the first dis-



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   tance being greater than the second distance thus preventing               support frame having a first portion and a second
   rotation of the support frame.                                             portion wherein said support frame protects the camera
      17. Apparatus according to claim 10 wherein the hinge                   when said hinge member is not supported on the
   member includes a body having a proximal and a distal end,                 generally horizontal, substantially planar surface, and
   a pivot element at said proximal end of said body adapted to               when the camera is rotated around said second axis in
   rotatably attach the camera to the body so that the camera                 a direction from said second portion towards said first
   rotates about the first axis relative to the body, and a hinge             portion of said support frame until the camera is
   element at said distal end of said body hingedly attaching                 between said first portion and said second portion and
   said body to the support frame so that said body rotates                   is releasably held between said first portion and said
   about the second axis relative to the support frame.              10
                                                                              second portion.
      18. Apparatus according to claim 17 wherein the pivot
                                                                           21. Apparatus for supporting a camera, having a lens, on
   element has a bore along the first axis of rotation to receive
                                                                        an object having a first surface and a second surface,
   said electrical wiring harness and pass said wiring harness to
   the camera.                                                          wherein a thickness measured between the first surface and
      19. A camera clip for supporting a camera on a laptop 15 the second surface defines an edge therebetween, compris-
   computer, the laptop computer having a display screen                ing:
   which can be inclined from a generally horizontal position,             a. a hinge member adapted to be rotatably attached to the
   an uppermost portion of the display screen defining an edge,               camera, said camera, when the hinge member is so
   comprising:                                                                adapted, rotating about a first axis of rotation relative to
      a. a hinge member adapted to be rotatably attached to the 20            said hinge member; and
         camera, said camera rotating about a first axis of                b. a support frame rotatably attached to said hinge mem-
         rotation relative to said hinge member;                              ber and configured to support said hinge member on the
      and                                                                     object, said hinge member rotating about a second axis
                                                                              of rotation relative to said support frame, said first axis
      b. a support frame hingedly attached to said hinge mem- 25              of rotation being generally perpendicular to said second
         ber to engagingly support said hinge member on the                   axis of rotation, said second axis of rotation being
         display screen, said hinge member rotating over a                    substantially parallel to the first surface when said
         second axis of rotation relative to said support frame,              hinge member is supported by said support frame on
         the camera being maintained adjacent the edge, rotation              the object, said support frame supporting said hinge
         of said support frame being prevented along an axis 30               member on the object when said first surface is inclined
         substantially parallel to said second axis where said                from a substantially horizontal position, the camera
         second axis is substantially parallel to said edge.                  being maintained adjacent the edge when an uppermost
      20. Apparatus for supporting a camera having a lens on a                extremity of the object is the edge, rotation of said
   substantially level surface, comprising:                                   support frame being precluded about an axis substan-
      a. a hinge member adapted to be rotatably attached to the 35            tially parallel to said second axis, said second axis
         camera, the camera rotating about a first axis of rotation           being substantially parallel to said edge, said support
         relative to said hinge member; and                                   frame having a first portion and a second portion
      b. a support frame rotatably attached to said hinge mem-                wherein said support frame releasably holds and pro-
         ber and configured to support said hinge member on a                 tects the camera when said hinge member is not sup-
         generally horizontal, substantially planar surface, said 40          ported by said support frame on the object and the
         hinge member rotating about a second axis of rotation                camera is rotated around said second axis in a direction
         relative to said support frame, said first axis of rotation          from said second portion towards said first portion of
         being generally perpendicular to said second axis of                 said support frame until the camera is between said first
         rotation, said second axis of rotation being substantially           portion and said second portion and is releasably held
         parallel to the generally horizontal, substantially planar 45        between said first portion and said second portion.
         surface when said hinge member is supported on the
         generally horizontal, substantially planar surface, said




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   United States Patent [191                                                                     [Ill    Patent Number:                         5,855,343
   Krekelberg                                                                                    [45]    Date of Patent:                      Jan. 5, 1999

   [54]     CAMERA CLIP                                                                      Primary Eraminer-Ramon 0. Ramirez
                                                                                             Assistant Examiner-Long Dinh Phan
   [75]     Inventor:      David E. Krekelberg. Minnetonka,                                  Attorney, Agent, or Firm-Nawrocki. Rooney & Sivertson.
                           Minn.                                                             P.A.

   [73]     Assignee: iREZ Research, Corporation.                                            [57]                       ABSTRACT
                      Minnetonka, Minn.
                                                                                             A clip for supporting a portable camera either on a surface
   [21]     Appl. No.: 814,168                                                               or on an edge of a housing. and for protecting the lens of the
                                                                                             camera when the camera is not being supported. The clip
   [22]     Filed:         Mar. 7, 1997                                                      provides two axis of rotation to position the camera to any
                      6
   [51]     Int. CI. ..................................................... A47G 29/00        desired viewing angle. The clip may be rotated to a first
   [52]     U.S. Cl ............................ 248/121; 248/126; 248/918                   position to support the camera on a surface of a table or desk.
   [58]     Field of Search ..................................... 248/121. 126.              The dip may be rotated to a second position to support the
                          248/440.1, 166. 176.1. 688. 918; 224/908;                          camera on the display screen of a laptop computer. When the
                            396/421.422.423.424.425.426.427.                                 camera is not being supported in the first position or the
                                                                428                          second position. the camera may be rotated to be rekasably
                                                                                             held by the clip to protect the camera and lens clw·ing
   [56]                        References Cited
                                                                                             storage.
                       U.S. PATENT DOCUMENTS
          1,208,344 12/1916 McAll ..................................... 248/126                               21 Claims, 2 Drawing Sheets




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                  Fig. 1 2s
                            26 27
                              ,...--12




                                             Fig. 4
                                                      ,-12

               Fig. 3




                                                                          ADJCAM000015




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                                      Fig. 5
                                                         22




                            41

                           40




                                                         Fig. 6

                                                                                95


                       Fig. 7
                     10\                                                  .....________,. 38
                38         --r--~




                                                --27              84
           41                                       43




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                        CAMERA CLIP                                   desired viewing angle. The clip may be rotated to a first
                                                                      position to support the camera on a surface of a table or desk.
                 FIELD OF THE INVENTION                               The clip may be rotated to a second position to support the
                                                                      camera on a display screen of a laptop computer. When the
    This invention relates to a clip for holding a camera. More       camera is not being supported in the first position or the
 particularly it relates to a clip for supporting a portable          second position, the camera may be rotated to be releasably
 camera either on a surface or on an edge of a housing. and           held by the clip to protect the camera and lens during
 for protecting the lens of the camera when the camera is not         storage.
 being supported.                                                        In a preferred embodiment of the present invention. an
                                                                  10 apparatus is provided for supporting a camera on an object
           BACKGROUND OF THE INVENTION                                where the apparatus comprises a hinge member and a
    With portable cameras, it is desirable to have an apparatus       supp01t frame. The hinge member is rotatably attached to the
 which can support the camera in any number of desired                camera where the camera rotates over a first axis of rotation
 configurations. The apparatus must easily accommodate                relative to the hinge member. A support frame is hingedly
 repositioning the camera to new orientations during use. and 15 attached to the hinge member to engagingly support the
 must be easily transportable. This is especially true when           hinge member on the object. where the hinge member
 using the camera with a portable computer, such as a laptop          rotates over a second axis of rotation relative to the support
 computer. With increasing improvements in technology.                frame. The first axis of rotation is perpendicular to the
 both the laptop computer and camera have become smaller              second axis of rotation. and the second axis of rotation is
 over time, emphasizing the need for a compatible camera 20 substantially parallel to a first surlace of the object when the
 support apparatus. The camera support apparatus must be              hinge member is engagingly supported on the object. In the
 versatile. light in weight. and be easily transportable to           preferred embodiment. the support frame further has a rear
 accommodate the new camera and laptop designs. and must              support element and frrst and second front support elements.
 desirably facilitate easy and safe storage of the camera.            In the preferred embodiment, the rear support element and
 Often times portable computers are stored in carry bags 25 the first and second front support elements support the
 which may be fully loaded with other hardware devices.               camera in the first position on the first surface when the rear
 such as disk drives or printers, as well as with personal            support clement and the first and second front support
 effects, making for cramped storage conditions. The camera           elements are engaging the first surface when the first surface
 support apparatus must desirably protect the camera from             is substantially level. In the preferred embodiment. the rear
 damage during transport under these cramped storage con- 30 support element and the first and second front support
 ditions to avoid the necessity for separate storage means in         clements engage the first surface at three locations in a plane
 order to maintain camera portability.                                of the first surface to prevent rotation of the support frame
    In the past, camera support apparatus were not easily             relative to the first surface in any direction within the plane
 transportable. Often times these apparatus utilized designs          of the first surlace. In the preferred embodiment. when the
 which incorporated a tripod approach, or which used one or 35 support frame is in the first position. the object may be the
 more telescoping arms to support the camera. These designs           top of a table where the first surface is a top surface of the
 attempted to support the camera during use. and then col-            table. The object may also be a desk top where the first
 lapse to a smaller size to facilitate storage or transportation.     surface is a top surlace of the desk.
 While these designs were transportable, often times even the            In the preferred embodiment, the rear support element and
 collapsed size of the prior art camera support apparatus 40 the first and second front support elements support the
 could not be easily accommodated by a laptop computer                camera in a second position on the first surface adjacent an
 bag. These prior art apparatus also did not provide means to         edge when the first surlace is inclined from the substantially
 protect the camera during transport. and if constructed of           level position. 'lbc object has a second surlace wherein a
 hard. exposed materials. tended to damage the cameras.               thickness•. between the first surface and the second surface
                                                                  45 defines an edge therebetween. The camera is maintained
    Another problem with prior art camera support apparatus
                                                                      adjacent to the edge in the second position where the
 was that they could not easily accommodate the variety of
                                                                      uppermost portion of the object is the edge. The rear support
 applications desired for portable cameras. These applica-
                                                                      element engages a first surlace and the first and second
 tions ranged from supporting the camera on the surlace of a
                                                                      support elements engage the edge and the second surface.
 desk or table to supporting the camera on the upright display
                                                                  so The rear support element and the first and second front
 screen of a laptop computer. With the prior art. often times
                                                                      support elements. in combination, maintain the camera
 more than one camera support apparatus was necessary in
                                                                      adjacent the edge and prevent rotation of the support frame
 order to support the desired range of applications. This
 unfortunately adversely impacted portability of the camera.          along an axis substantially parallel to the second axis where
                                                                      the second axis is substantially parallel to the edge. In a
    Thus, a desire was created within the industry for a smalL 55 preferred embodiment, the rear support element and the first
 easily transportable camera support apparatus for supporting         and second front support elements support the camera in the
 the camera on both horizontal surfaces, such as the surlacc          second position on the first surface adjacent the edge when
 of a desk or table. and vertical surlaces, such as the display       a first distance from the edge to the position where the rear
 screen of a laptop computer. and to protect the camera               support element engages the flrst surface is greater than a·
 during storage and transport.                                    C>O second distance from the edge to the position where the first
                                                                         and second front support elements engage the second sur-
             SUMMARY OF THE INVENTION
                                                                         face. A center of gravity of the camera and the hinge member
   Accordingly, it is an object of the invention to provide a            hein~ adjac1~nl and external to the first surface in romhina
 dip for supporting 11 p011nhle camt~ra dllwr on u ~urfurc or            lion with the hr~t distance !wing grcall"r than thc SITond
 on 11n 11dgt1 of 11 houNinjl. 1111<1 for prolrrllng thr lrn.~ ol llw n1 dL~Ianrr ptrwnl~· 1nllllion ol lhr MIJlJllllt l'rnnw nlong lht·
 mmern when the cnmcrn J~ not being suppot1cd. The dip                   axis substantially parallel to the sl'rond axis of rotation. In
 provides two nxls of rotntion to position the cumnu to <my              the p•l"lr11cd l'lllhodilucnl. wlwn the support franw is inlhc




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     second position. the object may be a display screen for a                FIG. 6 is a detailed side view showing the third mode
     laptop computer, where the second surface is the front of the         wherein the lens of the camera is being fitably received by
     display screen and the first surface is the back of the display       the cover; and
     screen.
                                                                             FIG. 7 is a front view showing the third mode of the
        In the preferred embodiment, the support frame has means           preferred embodinlent of the present invention.
     to releasably hold and protect the camera during storage.
     The camera may be rotated about the second axis in a                              DErAILED DESCRIPTION OF THE
     direction from the first and second front support elements                          PREl'ERRED EMBODIMENTS
     towards the rear support element of the support frame until             Referring now to the drawings, wherein like reference
     the camera is in a position between and is releasably held by 10 numerals refer to like elements throughout the several
     the rear support element and the first and second front              views, FIG. 1 is a perspective view of the camera clip
     support elements. In the preferred embodiment, the rear              invention. FIG. 1 shows generally a camera apparatus 10
     support element has means to protect a lens of the camera
                                                                          having a camera 12 and a camera clip 14. Camera clip 14 is
    which is a cover mounted at a distal end of the rear support          further comprised of a hinge member 16 and a support frame
     element. The lens of the camera faces a direction of rotation
                                                                      15 18. Camera 12 is comprised of housing 20 and lens 22, and
     about the second axis from the first and second front support        has a housing backside 24 which is the side of the housing
    elements to the rear support element of the support frame to          opposite of lens 22. Hinge member 16 is rotatably attached
    allow the lens of the camera to be fitably received into the          to camera 12, where camera 12 rotates over a first axis 26 in
    cover when the camera is releasably held between the rear             a direction shown by arrow 28 relative to hinge member 16.
    support element and the first and second front support
                                                                      20 Support frame 18 is hingedly attached to hinge member 16
    elements.                                                             to engagingly support hinge member 16 on an object 30 (see
       In the preferred embodiment. the first and second front            also, FIG. 2). Hinge member 16 rotates over a second axis
    support elements are spaced a distance apart at a distance            32 in the direction shown by arrow 34 relative to support
    Jess than a diameter of a housing of the camera. where the            frame 18. First axis 26 is peipCndicular to second axis 32.
    camera is rotated about the second axis in the direction 25 Second axis 32 is substantially parallel to a first surface 36
    towards the rear support element so that the housing passes           when hinge member 16 is engagingly supported on object 30
    between the first and second front support elements. The first        (see also, FIG. 2). Support frame 18 has a first portion
    and second front support elements resiliently and outwardly           consisting of first support element 38 and a second portion
    flex to accommodate passage of the housing. The housing is            consisting of a first front support element 40 and a second
   releasably held after passing between the first and second 30 front support clement 42. Housing 20 has a first indentation
    front support elements by the rear support element engaging           25 and a second indentation 27 to slidably and fittably
    the housing at the lens, where the first and second front            receive distal end 41 of first front support element 40 and
    support elements engage the housing backside at a first              distal end 43 of second front support element 42 when first
   indentation and a second indentation respectively to resil-           front support element 40 and second front support element
   iently urge the housing towards the rear support element. 35 42 are rotated in the direction of arrow 34 to engage housing
       In the preferred embodiment, the hinge member is further          backside 24.
   comprised of a body having a proximal and a distal end                    FIG. 2 is a side view showing a first mode of a preferred
   where a pivot element at the proximal end of the body                 embodiment of the present invention. Rear support element
   rotatably attaches the camera to the body so that the camera          38. first front support element 40 and second front support
   rotates about the first axis relative to the body. A hinge 40 element 42 support camera 12 in the first position 44. on the
   element at the distal end of the body hingedly attaches the           first surface 36. when rear support element 38. first front
   body to the support frame so that the body rotates about the          support element 40 and second front support element 42 are
   second axis relative to the support frame. In the preferred           engaging first surface 36 and first surface 36 is substantially
   embodiment, the camera has an electrical wiring harness to            level. I~ the first position 44, camera 12 may be pivoted
   couple from an interior to an exterior of the camera, and the 45 upon support frame 18 from a position 46 to a position 48.
   pivot element has a bore parallel to the first axis of rotation       It is recognized that camera 12 may be pivoted to any
   to receive the electrical wiring harness to pass the wiring           number of positions about second axis 32 in the direction
   harness from the interior to the exterior of the camera.              shown by arrow 34. In the preferred embodiment. rear
           BRIEF DESCRIPTION OF THE DRAWINGS                             support element 38. first front support element 40 and
       Other objects of the present invention and many of the
                                                                     so second front support element 42 support the camera in first
   attendant advantages of the present invention will be readily         position 44. on first sutfacc 36. when rear support clement
   appreciated as the same becomes better understood by                  38, first front support element 40 and second front support
   reference to the following detailed description when con-             element 42 engage first surface 36 at three locations in a
                                                                         plane 50 of first surface 3l•. Engagement of first surface 36
   sidered in connection with the accompanying drawings. in
   which like reference numerals designate like pruts through- 55 at three or more locations prevents rotation of support frame
   out the figures thereof and wherein:                                  IS relative to first surface 36 in any direction within plane
                                                                         50 of first surface 36. It is understood that in the preferred
       FIG. 1 is a perspective view of the "Camera Clip"
                                                                         embodiment. rear support element 38. first front support
   invention;
                                                                         element 40 and second front support element 42 may utilize
       FIG. 2 is a side view showing a first mode of a preferred 60 any number of desired geometries to engage first surface J(,
   embodiment of the present invention;                                  to prevent rotation of suppo1t frame 18 relative to first
       FIG. 3 is a detailed front view of the "Camera Clip"              surface 36 in any direction within plane 50 of first surface
   invention;                                                            36. In the preferred embodiment. when support frame 18 is
       FIG. 4 is a side view showing a second mode of the                in the first position 44. the object may be a top of a table and
   preferred embodiment of the present invention;                    65 first surface 36 may be a top swface of the table. Likewise.
       FIG. 5 is a side view showing a third mode of the                 object 30 may be a desk top. where first surface 36 is a top
   preferred embodiment of the present invention;                        surface of the desk.




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       FIG. 4 is a side view showing a second mode of the                       position. distal end 41 of first support element 40 and distal
   preferred embodiment of the present invention. The second                    end 43 of second front support element 42 slidably and
    mode occurs when rear support element 38. first front                       fittably engage flrst indentation 25 and second indentation
    support element 40 and second front support element 42                      27 respectively of housing 20 at housing backside 24.
    support camera 12 in a second position 52 on a first surface                Camera 12 is then releasably held between rear support
   54 adjacent an edge 56. Second position 52 corresponds to                    element 38 and first front support element 40 and second
   first surface 54 being inclined from the substantially level                 front support element 42. Rear support element 38 ftlfther
   position (see also. FIG. 2). In FIG. 4. object 58 has a second               has means to protect a lens 22 of camera 12. which is cover
   surface 60. where a thickness dl between frrst surface 54 and                90. Cover 90 is mounted at a distal end 92 of rear support
   second surface 60 defines the edge 56 therebetween. Camera 10 clement 38. Lens 22 of camera 12 faces in the direction of
   12 is maintained adjacent edge 56 in second position 52                      arrow 92. which is the direction of rotation about second
   when the uppermost portion of object 58 is edge 56. Rear                     axis 32 from first front support element 40 and second front
   support element 38 engages first surface 54. and first front                 support element 42 to rear support element 38 of support
   support element 40 and second front support element 42                       frame 18. Cover 90 fitably receives lens 22 of camera 12.
   engage edge 56 and second sutface 60. Rear support element 15 Cover 90 has a raised portion 95 sized to be accommodated
   38. first front support element 40 and second front support                  by lens 22 of camera 12. Support frame 14. in a third mode
   element 42. in combination. maintain camera 12 adjacent                      of the preferred embodiment of the present invention. releas-
   edge 56 and prevent rotation of support frame 18 along an                    ably holds and protects camera 12 during storage.
   axis substantially parallel to second axis 32. where second                     FIG. 3 is a detailed front view of the camera clip inven-
   axis 32 is substantially parallel to edge 56. Rear support 20 tion. FIG. 3 shows first front support element 40 and second
   element 38. first front support element 40 and second front                  front support element 42 being spaced a distance apart by a
   support element 42 support camera 12 in second position 52                   distance 94. Can1era 12 further has a housing 20 which may
   on the first surface 54 adjacent edge 56 when a fust distance                be spherical in shape in the preferred embodiment. Housing
   64 meastlfed between edge 56 and position 66 is greater than                 20 has a diameter shown as distance 96. wherein the
   a second distance 68. Second distance 68 is measured 25 preferred embodiment. distance 96 is greater than distance
   between edge 56 and position 70. where first front support                   94. When camera 12 is rotated about the second axis 32 in
   element 40 and second front support element 42 engage                        the direction towards rear support element 38 in the direc-
   second surface 60. The center of gravity shown in the                        tion of arrow 92 so that housing 20 passes between first front
   direction of arrow 72 of camera 12 and hinge member 16                       support element 40 and second front support element 42.
   being adjacent and external to first surface 54 in combina- 3o first front support element 40 and second front support
   tion with first distance 64 being greater than second distance               element 42 resiliently and outwardly flex to accommodate
   68 prevent rotation in the direction of arrow 62 of support                  passage of housing 20. Housing 20 is releasably held once
   frame 18. In the preferred embodiment. object 58 may be a                    passing between first front support element 40 and second
   display screen for a laptop computer when support frame 18                   front support element 42 by rear support element 38 engag-
   is in second position 52. where second surface 60 is the front 35 ing housing 20 at lens 22 and distal end 41 of first front
   of the display screen and first surface 54 is the back of the                support element 40 and distal end 43 of second front support
   display screen. FIG. 4 shows hinge member 16 comprised of                    element 42 slidably and fittably engaging first indentation 25
   a body 74 having a proximal end 76 and a distal end 78. A                    and second indentation 27 respectively of housing 20 at
   pivot element SO at proximal end 76 of body 74 rotatably                     housing backside 24. When housing 20 is releasably held.
   attaches camera 12 to body 74 so the camera may rotate 40 first front support element 40 and second front support
   about first axis 26 relative to body 74. A hinge element 82                  element 42 resiliently urge housing 20 towards rear support
   at distal end 78 of body 74 hingedly attaches body 74 to                     element 38 so that lens 22 of camera 12 is fitably received
   support frame IS so body 74 rotates about second axis 32                     into cover 90.
   relative to support frame 18. FIG. 4 further shows camera 12                    Having thus described the preferred embodiments of the
   having an electrical wiring harness 84 to couple from an 45 present.,.invention. those of skill in the art will readily
   interior 86 to an exterior 88 of camera 12. Pivot element 80                 appreciate that yet other embodiments may be made and
   has a bore 90 parallel to first axis 26 to receive electrical                used within the scope of the claims hereto attached.
   wiring harness 84 to pass wiring harness 84 from interior 86                    What is claimed:
   to exterior 88 of camera 12. While the embodiments shown                         1. Apparatus for supporting a camera. having a lens. on
   in the drawing figtlfes and discussed herein illustrate a so any generally horizontal. substantially planar surface and on
   wiring harness 84 passing through a bore 90 parallel to first                an object having a first surface and a second surface and an
   axis 26. it will be understood that other embodiments are                    edge intersecting the first surface and the second surface.
   contemplated. For example. wiring harness could enter body                   comprising:
   74 at a location angularly spaced upward from bore 90.                          a. a hinge member adapted to be rotatably attached to the
      FIGS. 5-7 show various perspectives of a third mode of 55                        camera. said camera. when the hinge member is so
   the preferred embodiment of the present invention. FIG. 5 is                        attached. rotating. about a first axis of rotation. relative
   a side view. FIG. 6 is a detailed side view showing the lens                        to said hinge member; and
   of the camera being fitably received by the cover. and FIG.                     b. a support frame rotatably attached to said hinge mem-
   7 is a front view. The third mode of the preferred embodi-                          ber and configured to suppon said hinge me01her on the
   ment of the present invention is shown when camera 12 is 6n                         ~urf;we and the object. said hinge member rotating
   rotated about second axis 32 along the direction shown hy                           ahoul a st~cond axis of rotation rdativ~ to said suppm1
   arrow 34 in 11 direction from the first front support ekn~<·nt                      l•illll<', ,,;~id flr.~l <~xis ol rotatio11 ht"ing gt:tH"tiiiiY I"''
   40 nnd thr Mwnntl frotll ~uppnrt 11knwnt •ll tnwaHI' trill                          pr11d11 ttl,u I" '1111d hl'·l'llllil il\h 11l 11•l•tli1111, i>illd ~or1 ~tlld
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   clement 40 ant.! second front support dement 42. In this                            l'"~itioucd on said generally horiw11tal. suhsta11tially




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           planar surface, and said support frame having a second               frame, said first axis of rotation being generally per-
           disposition attached to the object when said first surface           pendicular to said second axis of rotation. said second
           and said second surface are inclined from a generally                axis of rotation being substantially parallel to the first
           horizontal orientation, the camera being maintained                  surface when said hinge member is supported on the
           adjacent said edge in said second disposition of said                object, the support frame having a rear support element
           support frame.                                                       and a first and a second front support element said
       2. Apparatus according to claim 1 wherein the support                    support frame having a first disposition positioned on
   frame comprises a first portion and a second portion, the                    said generally horizontal, substantially planar surface
    support frame being in the first disposition on the generally               when said rear support element and said first and
    horizontal. substantially planar surface when distal extremi- 10            second front support elements are engaging said gen-
    tles of said first portion and said second portion are engaging             erally horizontal. substantially planar surface, said sup-
    the generally horizontal, substantially planar surface. and the             port frame having a second disposition attached to the
    support frame being in the second disposition on the object                 object when the first surface is inclined from a sub-
   when said first portion is engaging the first surface and said               stantially horizontal position so that an uppermost
    second portion is engaging the second surface, said first IS                extremity of the object is the edge. the support frame
   portion and said second portion in combination maintaining                   being maintained in said second disposition by said rear
   the camera adjacent the edge.                                                support element engaging said first surface and said
       3. Apparatus according to claim 2 wherein the support                    first and second front support elements engaging the
   frame includes a cover adapted to protect the camera lens                    second surface. said rear support element and said first
   when the camera is rotated about the second axis until the 20                and second front support elements in combination
   camera is between the first portion and the second portion.                  preventing rotation of the support frame.
       4. Apparatus according to claim 3 wherein the first portion           11. Apparatus according to claim 10 wherein the supp011
   of the support frame further includes said cover. said cover          frame adapted to protect the camera when the camera is
   being mounted at the distal end of the lirst portion and              rotated about the second axis towards the rear support
   adapted the lens of the camera.                                    25 element of the support frame until the camera is between the
       5. Apparatus according to claim 2 wherein the support             rear support element and the first and second front support
   frame is in the first disposition when the first portion and the      elements, and is releasably held between the rear support
   second portion engage the generally horizontal, substantially         element and the first and second front support elements.
   planar surface at three or more locations in a common plane.              12. Apparatus according to claim 11 wherein the first and
   thereby preventing rotation of the support frame relative to 30 second front support elements are spaced a distance apart.
   the generally horizontal, substantially planar surface in any         and wherein said distance is less than a diameter of the
   direction.                                                            housing of the camera so that as the camera is being rotated
       6. Apparatus according to claim 2 wherein the support             about the second axis in the direction towards the rear
   frame is in the second disposition when a first distance from         support element. said housing passes between the first and
   the edge to a location where the first portion engages the first 35 second front support elements and the first and second front
   surface is greater than a second distance from the edge to a          support elements resiliently flex outwardly to accommodate
   location where the second portion engages the second                  passage of said housing. said housing being releasably held
   surface. thus preventing rotation of the SUpPOrt frame.               once passing between the first and second front support
       7. Apparatus according to claim 1 wherein the object is a         elements by the rear support element engaging said housing
   display screen for a laptop computer, and the second surface 40 at the lens.
   is the front of the display screen and the first surface is the           13. Apparatus according to claim 11 wherein the first
   back of the display screen.                                           portion of the support frame further has a cover, said cover
       8. Apparatus according to claim 1 wherein the hinge               being mounted at a distal end of the rear support element and
   member includes a body having a proximal and a distal end.·           adaptetj,_ to receive the lens of the camera when the camera
   a pivot element at said proximal end of said body adapted to 45 is releasably held between the rear support element and the
   rotatably attach the camera to the body so that the camera            first and second front support elements.
   rotates about the first axis relative to the body. and a hinge            14. Apparatus according to claim 10 wherein the support
   element at said distal end of said body hingedly attaching            frame is in the first disposition when the rear support
   said body to the support frame so that said body rotates.             clement and the first and second front support elements
   about the second axis. relative to the support frame.              so engage the generally horizontal. substantially planar surface
       9. Apparatus according to claim 8 wherein the pivot               at three or more locations in a common plane of the
   element has a bore along the first axis of rotation to receive        generally horizontal, substantially planar surface to prevent
   an electrical wiring harness and pass said wiring harness to          rotation of the support frame relative to the generally
   the camera.                                                           horizonta.l, substantially planar surface.
       10. Apparatus for supporting a camera, having a housing 55            15. Apparatus according to claim 10 wherein the support
   and a lens, on any generally horizontal, substantially planar         frame is in the frrst disposition positioned on the generally
   surface and on an object having a first surface and a second          horizontal, substantially planar surface when the rear sup-
   surface, and an edge intersecting the first surface and the           port element and the first and second front support elements
   second surface, comprising:                                           engage the generally horizontal. substantially planar surface
       a. a hinge member adapted to be rotatably attached to the oo to prevent rotation of the support frame relative to the
          camera. said camera. when the hinge member is so               generally horizontal. substantially planar surface.
          attached, rotating, about a flrst axis of rotation relative        H>. Apparatus according to claim 10 wherein supp011
          to said hinge member; and                                      frame is in the second disposition when a first distance from
       b. a support frame rotatably attached to said hinge mem-          the edge to a location where the rear support element
          ber and configured to support said hinge member on the 65 engages the first surface is greater than a second distance
          surface and the object, said hinge member rotating             from the edge to a location where the frrst and second front
          about a second axis of rotation relative to said support       support elements engage the second surface. the flrst dis-



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 tance being greater than the second distance thus preventing              support frame having a first portion and a second
 rotation of the support frame.                                            portion wherein said support frame protects the camera
    17. Apparatus according to claim 10 wherein the hinge                  when said hinge member is not supported on the
 member includes a body having a proximal and a distal end,                generally horizontal, substantially planar surface, and
 a pivot element at said proximal end of said body adapted to 5            when the camera is rotated around said second axis in
 rotatably attach the camera to the body so that the camera                a direction from said second portion towards said first
 rotates about the first axis relative to the body, and a hinge            portion of said support frame until the camera is
 element at said distal end of said body hingedly attaching                between said first portion and said second portion and
 said body to the support frame so that said body rotates                  is releasably held between said first portion and said
 about the second axis relative to the support frame.             10       second portion.
    18. Apparatus according to claim 17 wherein the pivot              21. Apparatus for supporting a camera, having a lens, on
 element has a bore along the first axis of rotation to receive      an object having a first surface and a second surface,
 said electrical wiring harness and pass said wiring harness to
                                                                     wherein a thickness measured between the first surface and
 the camera.                                                         the second surface defines an edge therebetween, compris-
    19. A camera clip for supporting a camera on a laptop 15
                                                                     ing:
 computer, the laptop computer having a display screen
 which can be inclined from a generally horizontal position.            a. a hinge member adapted to be rotatably attached to the
 an uppermost portion of the display screen defining an edge.              camera. said camera, when the hinge member is so
                                                                           adapted, rotating about a first axis of rotation relative to
 comprising:
                                                                           said hinge member; and
    a. a hinge member adapted to be rotatably attached to the 20
                                                                        b. a support fran1e rotatably attached to said hinge mem-
       camera, said camera rotating about a first axis of
                                                                           ber and configured to support said hinge member on the
       rotation relative to said hinge member~
                                                                           object. said hinge member rotating about a second axis
    and                                                                    of rotation relative to said support frame. said tirst axis
    b. a support frame hingedly attached to said binge mcm- 25             of rotation being generally pe1pendicular to said second
       ber to engagingly support said hinge member on the                  axis of rotation. said second axis of rotation being
       display screen, said hinge member rotating over a                    substantially parallel to the first surface when said
       second axis of rotation relative to said support frame.             hinge member is supported by said support frame on
       the camera being maintained adjacent the edge. rotation             the object. said support frame supporting said hinge
       of said support frame being prevented along an axis 30              member on the object when said first surface is inclined
       substantially parallel to said second axis where said               from a substantially horizontal position. the camera
       second axis is substantially parallel to said edge.                  being maintained adjacent the edge when an uppermost
    20. Apparatus for supporting a camera having a lens on a                extremity of the object is the edge. rotation of said
  substantially level surface, comprising:                                  support frame being precluded about an axis substan-
    a. a hinge member adapted to be rotatably attached to the 35            tially parallel to said second axis, said second axis
       camera. the camera rotating about a first axis of rotation           being substantially parallel to said edge. said support
       relative to said hinge member; and                                   frame having a first portion and a second portion
    b. a support frame rotatably attached to said hinge mem-                wherein said support frame releasably holds and pro-
       ber and configured to support said hinge member on a                 tects the camera when said hinge member is not sup-
       generally horizontal. substantially planar surface. said 40          ported by said support frame on the object and the
       hinge member rotating about a second axis of rotation                camera is rotated around said second axis in a direction
       relative to said support frame, said fust axis of rotation           from said second pbrtion towards said fust portion of
       being generally perpendicular to said second axis of                 said support frame until the camera is between said first
       rotation, said second axis of rotation being substantially           portjon and said second portion and is releasably held
       parallel to the generally horizontaL substantially planar 45         between said first portion and said second portion.
        surface when said hinge member is supported on the
        generally horizontal, substantially planar surface. said                              * * * * *




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                           Abstract of the Disclosure

              A clip for    supporting a      portable camera either on a
       surface or on an edge of a housing, and for protecting the
       lens of the camera when the camera is not being supported.

 5     The clip provides two axis of rotation to position the camera
       to any desired viewing angle. The clip may be rotated to a
       first position to support the camera on a surface of a table

       or desk.    The clip may be rotated to a second position to
       support the camera on the display screen of a laptop computer.

10     Wh~n   the camera is not being supported in the first position

       or the     second position,    the     camera may be    rotated to be

       releasably held by the clip to protect the camera and lens

       during storage.




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                                                          CAMERA CLIP

                                                  Field of the Invention
                               This invention relates to a clip for holding a camera.

                        More   particularly       it    relates          to   a    clip     for    supporting a

                 5      portable      camera    either    on     a       surface     or     on    an    edge     of    a

                        housing, and for protecting the lens of the camera when the

                        camera is not being supported.
                                                Background of the Invention

                               With    portable       cameras,       it       is    desirable          to    have     an

                 10     apparatus      which    can    support       the      camera        in    any       number    of

                        desired configurations.          The apparatus must easily accommodate
         •r,
 '
                        repositioning the camera to new orientations during use, and
         C"):,



                        must be easily transportable.                     This is especially true when

 ·; .,
                        using the camera with a portable computer, such as a laptop
            ·.
                 15     computer.       With increasing improvements in technology, both

                        the laptop computer and camera have become smaller over time,
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     ,_ ":::.~          emphasizing       the    need     for        a     compatible            camera       support
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                        apparatus .      The camera support apparatus must be versatile,
     "
    ..
  ' '                   light in weight, and be easily transportable to accommodate

                 20     the    new    camera     and    laptop           designs,         and    must       desirably

                        facilitate easy and safe storage of the camera.                                 Often times

                        portable computers are stored in carry bags which may be fully

                        loaded with other hardware devices,                        such as disk drives or

                        printers, as well as with personal effects, making for cramped

                 25     storage       conditions.        The     camera            support       apparatus          must

                        desirably protect the            camera          from damage during transport

                        under these cramped storage conditions to avoid the necessity




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       for   separate    storage   means   in       order    to   maintain    camera

       portability.

             In the past,    camera support apparatus were not easily

       transportable.     Often times these apparatus utilized designs

 5     which incorporated a tripod approach,                or which used one or

       more telescoping arms to support the camera.                 These designs

       attempted to support the camera during use, and then collapse

       to a smaller size to facilitate storage or transportation.

       While these designs were transportable, often times even the

10     collapsed size of the prior art camera support apparatus could

       not be easily accommodated by a laptop computer bag.                    These

       prior art apparatus also did not provide means to protect the

       camera during transport, and if constructed of hard, exposed

       materials, tended to damage the cameras.

15           Another problem with prior art camera support apparatus

       was that they could not easily accommodate the variety of

       applications desired for portable cameras.             These applications

       ranged from supporting the camera on the ~urface of a desk or

       table to supporting the camera on the upright display screen
                                                ~




20     of a laptop computer.       With the prior art, often times more

       than one camera support apparatus was necessary in order to

       support the desired range of applications.             This unfortunately

       adversely impacted portability of the camera.

             Thus,   a desire was created within the industry for a

25     small,   easily   transportable     camera       support     apparatus     for

       supporting the camera on both horizontal surfaces, such as the


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                    surface of a desk or table, and vertical surfaces, such as the

                    display screen of a laptop computer, and to protect the camera

                    during storage and transport.

                                                Summary of the Invention

              5             Accordingly, it is an object of the invention to provide

                    a clip for supporting a portable camera either on a surface or

                    on an edge of a housing, and for protecting the lens of the

                    camera when the camera is               not being supported.              The clip

                    provides two axis of rotation to position the camera to any

             10     desired viewing angle.             The clip may be rotated to a first

                    position to support the camera on a surface of a table or

                    desk.     The clip may be rotated to a second position to support
']   ."..;
                    the camera on a display screen of a laptop computer.                      When the

                    camera is not being supported in the first position or the

             15     second position, the camera may be rotated to be releasably

                    held     by    the   clip    to   protect      the   camera    and   lens   during

                    storage.

                            In a preferred embodiment of the present invention, an

                    apparatus is provided for supporting a camera on an object
                                                                    ~.




             20     where the apparatus comprises a hinge member and a support

                    frame.        The hinge member is rotatably attached to the camera

                    where     the    camera      rotates    over    a    first    axis   of   rotation

                    relative to the hinge member.                  A support frame is hingedly

                    attached to the hinge member to engagingly support the hinge

             25     member on the object, where the hinge member rotates over a

                    second axis of rotation relative to the support frame.                            The


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                    first axis of rotation is perpendicular to the second axis of

                    rotation,      and the second axis of rotation is substantially

                    parallel to a        first   surface of the object when the hinge

                    member    is    engagingly    supported       on   the   object.      In   the

           5        preferred embodiment,        the support frame further has a rear

                    support element and first and second front support elements.

                    In the preferred embodiment, the rear support element and the

                    first and second front support elements support the camera in

                    the first position on the first surface when the rear support

          10        element and the first and second front support elements are

                    engaging       the   first   surface       when    the   first   surface      is

                    substantially level.         In the preferred embodiment, the rear

i .. .:             support     element    and   the   first     and    second   front   support

                    elements engage the first          surface at three locations in a

          15        plane of the first surface to prevent rotation of the support

                    frame relative to the first surface in any direction within

                    the plane of the first surface.             In the preferred embodiment,

                    when the support frame is in the first position, the object

                    may be the top of a table where the first surface is a top

          20        surface of the table.        The object may also be a desk top where

                    the first surface is a top surface of the desk.

                          In the preferred embodiment, the rear support element and

                    the first and second front support elements support the camera

                    in a second position on the first surface adjacent an edge

          25        when the first        surface is   inclined from the substantially

                    level position.        The object has a second surface wherein a


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                 thickness between the first surface and the second surface

                 defines     an    edge       therebetween.         The     camera    is    maintained

                 adjacent     to    the       edge     in   the    second     position      where      the

                 uppermost portion of the object is the edge.                       The rear support

           5      element engages         a    first    surface and the            first    and second

                  support elements engage the edge and the second surface.                             The

                  rear support element and the first and second front support

                  elements,   in combination, maintain the camera adjacent the
                  edge and prevent rotation of the support frame along an axis

          10      substantially parallel to the second axis where the second

                  axis is substantially parallel to the edge.                         In a preferred

                  embodiment, the rear support element and the first and second

                  front    support    elements         support      the   camera      in    the    second

                  position on the first surface adjacent the edge when a first

                  distance from the edge to the position where the rear support

                  element engages the first surface is greater than a second

                  distance from the edge to the position where the first and
:.   ;
     I:
                  second front support elements engage the second surface.                                A

                  center of gravity of the camera and the hinge member being

          20      adjacent and external to the first surface in combination with

                  the first distance being greater than the second distance

                  prevents    rotation          of   the    support       frame     along    the      axis

                  substantially parallel to the second axis of rotation.                           In the

                  preferred embodiment, when the support frame is in the second

          25     position,    the object may be a display screen for a                             laptop

                  computer, where the second surface is the front of the display


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                          screen and the       first    surface       is     the    back of      the display

                          screen.

                                 In the preferred embodiment, the support frame has means

                         to releasably hold and protect the camera during storage.                          The

                   5     camera may be rotated about the second axis in a direction

                         from the first and second front support elements towards the

                         rear support element of the support frame until the camera is

                         in a     position between and is             releasably held by the rear

                         support     element      and   the    first        and    second     front    support
                  10     elements.        In the    preferred        embodiment,        the     rear   support

                         element has means to protect a lens of the camera which is a

                         cover mounted at a distal end of the rear support element.

                         The lens of the camera faces a direction of rotation about the

                         second axis from the first and second front support elements

                  15     to the rear support element of the support frame to allow the

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                         lens of the camera to be fitably received into the cover when
            "
        -:;:..·
                         the camera is releasably held between the rear support element

                         and the first and second front support                     el~ments.

                                 In the preferred embodiment, the first and second front
                                                                        "
                  20     support elements are spaced a distance apart at a distance

                         less than a diameter of a housing of the camera, where the

                         camera     is   rotated about the           second axis        in the direction

                         towards the rear support element so that the housing passes

                         between the first and second front                       support elements.        The

                  25     first    and    second    front      support       elements     resiliently       and

                         outwardly flex to accommodate passage of the housing.                             The


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                           housing is releasably held after passing between the first and

                           second front        support elements by the            rear support element

                           engaging the housing at the lens, where the first and second

                           front support elements engage the housing backside at a first

                    5      indentation         and     a    second       indentation     respectively       to

                           resiliently urge the housing towards the rear support element.

                                   In the preferred embodiment, the hinge member is further

                           comprised of a body having a proximal and a distal end where

                           a pivot element at the proximal end of the body rotatably
                   10      attaches the camera to the body so that the camera rotates

                           about the first axis relative to the body.                  A hinge element at
     :,\ :::~

                           the distal end of the body hingedly attaches the body to the
         ~'~


                           support frame so that the body rotates about the second axis

     '}1 .·~;              relative to the support frame.                 In the preferred embodiment,
         .~   ..   15     the camera has an electrical wiring harness to couple from an

                          interior to an exterior of the camera, and the pivot element
         '"
                          has a bore parallel to the first axis of rotation to receive

                          the electrical wiring harness to pass the wiring harness from

                          the interior to the exterior of the camera.
                   20                      Brief Description of the Drawings

                                  Other objects of the present invention and many of the

                          attendant advantages of the present invention will be readily

                          appreciated as the same becomes better understood by reference

                          to    the   following       detailed   description         when   considered     in

                   25     connection     with        the   accompanying drawings,           in   which   like

                          reference numerals designate like parts throughout the figures


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        thereof and wherein:
              FIG.       Vis     a   perspective         view    of   the   "Camera     Clip"

        invention;
              FIG. 2/is a side view showing a first mode of a preferred
                     I
 5      embodiment of the present invention;

              FIG.       yis a detailed front view of the                    "Camera Clip"

        invention;

              FIG.       /s     a    side view      showing a         second mode of the

       preferred embodiment of the present invention;

10            FIG.       ;!is    a   side    view   showing       a   third mode      of   the

       preferred embodiment of the present invention;

              FIG. f s          a detailed side view showing the third mode

       wherein the lens of the camera is being fitably received by

        the cover; and
                          /
15            FIG.       7jis a front view showing the third mode of the
       preferred /mbodiment of the present invention.
              Detailed Description of the Preferred Embodiments

              Referring now to the drawings,                    wherein like reference

        numerals refer to like elements throughout the several views,

20      Fig. 1 is a perspective view of the camera clip invention.

        Fig. 1 shows generally a camera apparatus 10 having a camera

        12 and a camera clip 14.             Camera clip 14 is further comprised

        of a hinge member 16 and a support frame 18.                          Camera 12 is

        comprised        of   housing   20    and       lens    22,   and   has   a   housing

25      backside 24 which is the side of the housing opposite of lens

        22.   Hinge member 16 is rotatably attached to camera 12, where


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                camera 12 rotates over a first axis 26 in a direction shown by

                arrow 28 relative to hinge member 16.                             Support frame 18 is

                hingedly attached to hinge member 16 to engagingly support

                hinge member 16 on an object 30 (see also,                               Fig.   2).        Hinge

          5     member 16 rotates over a second axis 32 in the direction shown

                by arrow 34 relative to support frame 18.                               First axis 26 is

                perpendicular       to     second      axis           32.         Second      axis        32    is

                substantially parallel to a first surface 36 when hinge member

                16 is engagingly supported on object 30                            (see also, Fig.             2).

         10     Support    frame    18    has    a   first        portion         consisting of            first

                support element 38 and a second portion consisting of a first

                front support element 40 and a second front support element

                42.     Housing 20        has   a    first       indentation            25   and     a    second

                indentation 27 to slidably and fittably receive distal end 41

         15     of first front support element 40 and distal end 43 of second

                front support element 42 when first front support element 40

                and   second    front      support      element             42    are     rotated        in    the
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                direction of arrow 34 to engage housing backside 24.

                     Fig. 2 is a side view showing a first mode of a preferred
                                                  "·
         20     embodiment of the present invention. Rear support element 38,

                first   front      support      element          40    and       second      front       support

                element 42 support camera 12 in the first position 44, on the

                first surface 36, when rear support element 38, first front

                support element 40 and second front support element 42 are

         25     engaging    first         surface      36         and       first       surface          36     is

                substantially level.            In the first position 44, camera 12 may


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            be pivoted upon support frame                   18 from a position 46 to a

            position 48.           It is recognized that camera 12 may be pivoted
            to     any    number      of   positions    about     second   axis    32    in   the

            direction shown by arrow 34.                    In the preferred embodiment,

      5     rear support element 38, first front support element 40 and

            second front support element 42 support the camera in first

            position 44, on first surface 36, when rear support element

            38, first front support element 40 and second front support

            element 42 engage first surface 36 at three locations in a

     10     plane 50 of first surface 36.               Engagement of first surface 36

            at three or more locations prevents rotation of support frame

            18 relative to first surface 36 in any direction within plane

            50     of    first    surface     36.      It    is   understood    that     in   the

            preferred embodiment,             rear support element 38,            first front

     15     support element 40 and second front support element 42 may

            utilize any          number of     desired geometries          to   engage     first

            surface 36 to prevent rotation of support frame 18 relative to

            first surface 36 in any direction within plane 50 of first

            surface 36.          In the preferred embodiment, when support frame

     20     18 is in the first position 44, the object may be a top of a

            table and first surface 36 may be a top surface of the table.

            Likewise, object 30 may be a desk top, where first surface 36

            is a top surface of the desk.

                    Fig.    4    is   a    side view    showing a       second mode of the

     25     preferred embodiment of the present invention.                         The second

            mode occurs when rear support element 38, first front support


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                         element 40 and second front support element 42 support camera
                         12 in a second position 52 on a first surface 54 adjacent an

                         edge 56.    Second position 52 corresponds to first surface 54

                         being inclined from the           substantially level position                  (see

                  5      also, Fig. 2).      In Fig. 4, object 58 has a second surface 60,

                         where a    thickness d1     between first              surface 54    and second

                         surface 60 defines the edge 56 therebetween.                       Camera 12 is
                         maintained adjacent edge 56 in second position 52 when the
                         uppermost portion of object 58                 is   edge 56.       Rear support
                 10      element 38 engages first surface 54, and first front support

                         element 40 and second front support element 42 engage edge 56

                         and second surface 60.       Rear support element 38, first front

                         support element 40 and second front support element 42,                          in

                         combination, maintain camera 12 adjacent edge 56 and prevent
    i't
     -;..~
     !
                 15      rotation of      support   frame   18      along an       axis    substantially

                         parallel    to   second    axis    32,         where     second    axis    32    is

                         substantially parallel to edge 56.                  Rear support element 38,

     '"1:
 --,.1.
                         first   front    support   element        40    and    second     front   support

                         element 42 support camera 12 in second position 52 on the

                 20      first surface 54 adjacent edge 56 when a first distance 64

                         measured between edge 56 and position 66 is greater than a
                         second distance 68.        Second distance 68 is measured between
                         edge 56 and position 70, where first front support element 40

                         and second front support element 42 engage second surface 60.

                 25     The center of gravity shown in the direction of arrow 72 of

                        camera 12 and hinge member 16 being adjacent and external to


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               first surface 54 in combination with first distance 64 being

               greater    than   second     distance         68   prevent    rotation    in     the

               direction of arrow 62 of support frame 18.                     In the preferred

               embodiment, object 58 may be a display screen for a laptop

        5      computer when support frame 18 is in second position 52, where

               second surface 60 is the front of the display screen and first

               surface 54 is the back of the display screen.                       Fig. 4 shows

               hinge member 16 comprised of a body 74 having a proximal end

               76 and a distal end 78.        A pivot element 80 at proximal end 76

       10      of body 74 rotatably attaches camera 12 to body 74 so the

               camera may rotate about first axis 26 relative to body 74.                         A

               hinge element 82 at distal end 78 of body 74 hingedly attaches

               body 74 to support frame 18 so body 74 rotates about second

               axis 32 relative to support frame 18.                  Fig. 4 further shows

       15      camera 12 having an electrical wiring harness 84 to couple

               from an interior 86 to an exterior 88 of camera 12.                           Pivot
._;:
               element 80 has a bore 90 parallel to first axis 26 to receive

               electrical wiring harness 84 to pass wiring harness 84 from

               interior    86    to    exterior    88    of       camera     12.     While      the

       20      embodiments shown in the drawing figures and discussed herein

               illustrate a      wiring harness         84    passing through a         bore     90

               parallel to first axis 26, it will be understood that other

               embodiments are contemplated.                 For example, wiring harness

               could enter body 74 at a location angularly spaced upward from

       25     bore 90.

                    Figs. 5-7 show various perspectives of a third mode of


                                                    12




                                                                                         ADJCAM000035




                                                  A2861
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         the preferred embodiment of the present invention.                      Fig. 5 is

         a side view, Fig. 6 is a detailed side view showing the lens

         of the camera being fitably received by the cover, and Fig. 7

         is a front view.      The third mode of the preferred embodiment

 5       of the present invention is shown when camera 12 is rotated

         about second axis 32 along the direction shown by arrow 34 in

         a direction from the first front support element 40 and the

         second front support element 42 towards rear support element

         38 of support frame 18.        This rotation is continued in the

10       third mode until      camera 12    is    in a        position between rear

         support element 38 and first            front       support element 40 and

         second front support element 42.          In this position, distal end

         41 of first support element 40 and distal end 43 of second

         front support element 42 slidably and fittably engage first

15       indentation    25   and   second   indentation         27     respectively      of

         housing   20   at   housing   backside        24.      Camera      12   is   then

         releasably held between rear         support element             38 and first

         front support element 40 and second front support element 42.

         Rear support element 38 further has means to protect a lens 22

20       of camera 12, which is cover 90.              Cover 90 is mounted at a

         distal end 92 of rear support element 38.                   Lens 22 of camera

     ¥   12 faces in the direction of arrow 92, which is the direction

         of rotation about second axis            32   from first        front    support

         element 40 and second front support element 42 to rear support

25       element 38 of support frame 18.               Cover 90 fitably receives

         lens 22 of camera 12.      Cover 90 has a raised portion 95 sized


                                            13




                                                                                   ADJCAM000036




                                        A2862
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        to be accommodated by lens 22 of camera 12.                              Support frame 14,

        in a third mode of the preferred embodiment of the present

        invention,        releasably holds                and protects           camera 12 during

        storage.

 5             Fig.   3    is    a    detailed            front       view of     the    camera     clip

        invention.        Fig. 3 shows first front support element 40 and

        second front support element 42 being spaced a distance apart

       by a distance 94.                  Camera 12 further has a housing 20 which

       may     be   spherical             in    shape      in     the    preferred       embodiment.

10     Housing 20 has a diameter shown as distance 96, wherein the

       preferred embodiment, distance 96 is greater than distance 94.

       When camera 12 is rotated about the second axis 32 in the

       direction towards rear support element 38 in the direction of

       arrow 92 so that housing 20 passes between first front support
15     element 40 and second front support element 42, first front

       support      element          40    and       second       front     support      element       42

       resiliently        and    outwardly            flex       to     accommodate       passage      of

       housing      20.     Housing             20   is    releasably           held    once   passing

       between      first       front          support         element    40    and     second     front

20     support element 42 by rear support element 38 engaging housing

       20 at lens 22 and distal end 41 of first front support element

       40    and distal         end       43    of   second       front        support    element      42

       slidably and fittably engaging first indentation 25 and second

       indentation 27 respectively of housing 20 at housing backside

25     24.     When housing 20 is releasably held, first front support

       element 40 and second front support element 42 resiliently


                                                          14




                                                                                                 ADJCAM000037




                                                     A2863
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               urge housing 20 towards rear support element 38 so that lens

               22 of camera 12 is fitably received into cover 90.

                     Having thus described the preferred embodiments of the

               present invention,      those of skill     in the art will     readily

      5        appreciate that yet other embodiments may be made and used

               within the scope of the claims hereto attached.




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                What is Claimed:

                 1.      An   apparatus    for    suppoJting           a   camera      on   an   object,

                         comprising:

                         a.    a   hinge                                attached to the camera,

                               said camera                             a first axis of rotation

                               relative to said               nge member; and

                         b.    a   support frame              ingedly attached to           said hinge

                               member to engagin ly support said hinge member on

                               the    object,     said        hinge    member        rotating    over    a

                               second axis of                          relative to said support

                               frame,      said       f"r st        axis    of       rotation      being
                                                          I
                               perpendicular to taid second axis of rotation, said

                               second      axis       o       rotation      being       substantially

                               parallel to a fi~st surface when said hinge member

                               is engagingly s pported on the object, said support

                               frame supportin            said camera in a first position on
'    '·
··--~~


                               the object when said first surface is substantially

                               level, said su port frame supporting the camera in

                               a   second posifion on              ~he object when said first
                               surface is injlined from said substantially level

                               position,     th1          object      having     a    second     surface

                               wherein a thi kness between the first surface and

                               said second                      defines an edge therebetween,

                               the camera being maintained adjacent said edge in

                               said second p sition when the uppermost portion of

                               the object       i~ the edge, rotation of said support
                                                  I           16



'    1




                                                                                                 ADJCAM000039




                                                          A2865
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                      frame being pre ented along an axis substantially

                      parallel   to         second    axis 1   said    second    axis

                      being substanti lly parallel to said edge.



      2.      An apparatus accor ing to claim 1 wherein the support

              frame comprises a first portion and a second portion 1

              said first portion and said second portion supporting the

              camera in the first position on the first surface when

              said first porti n and said second portion are engaging

              the first surfac        when the first surface is substantially



~\            supporting the      amera in the second position on the first

              surface adjace t        the edge when said first portion is

              engaging the                         and said second portion is

              engaging the       dge and the second surface 1           said first

              portion             said    second     portion     in    combination

              maintaining t e camera adjacent the edge and preventing

              rotation            the    support     frame     along    the      axis

              substantiall       parallel to the second axis.



      3.      An apparltus according to claim 2 wherein the support

              frame   ha~ns to releasably hold and protect the camera
              during {torage.



              An apparatus lccording to claim 3 wherein the means to
                             I



              releasably     old and protect the         camera comprises the


                                             17




                                                                              ADJCAM000040




                                          A2866
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                     camera     being      rotated                    the     second       axis   in    a

                     direction      from    the                               towards       the   first

                     portion of the support                                  the camera is in a

                     position between the fir t portion and the second portion

                     and is releasably held             etween the first portion and the

                     second portion, the fir t portion having means to protect

                     a lens of the camera.



               5.    An apparatus accordin              to claim 4 wherein the means to

                     protect the lens of t e camera is a cover mounted at the

                     distal end of the fi st portion, the lens of the camera

_,_1\
                     facing in the directi                   rotation about the second axis

                     from the      second po tion to the                   first   portion of        the

                     support frame to ailow the                 lens        of the    camera to be
                                                  i
                     fitably      received    irto      said    cover when           the    camera     is

                     releasably held be        ~een the first portion and the second
                     portion.



               6.    An   apparatus          ording to         claim 2 wherein              the   first

                     portion and the                     " support the camera in the
                                             econd portion

                     first    position            the    first    surface          when     the   first

                     portion and th         second portion engage the first surface

                     at   three    or m           locations      in    a    plane     of    the   first

                                              rotation of the support frame relative

                     to the first s rface in any direction within said plane

                     of the first     /urface.
                                      I                 18




                                                                                              ADJCAM000041




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                  7.   An apparatus         acco ding to                claim 2 wherein         the   first

                       portion and the s cond portion support the camera in the
                       first    position             on    the    first    surface      when    the   first
                       portion and                   second portion engage the first surface
                       to prevent         futi~-of the support frame relative to the
                                                 /
                                          ?--/
                       first            e in any direction within a plane of the
                       first sur ace.




     ~~>     7   a.
                       An   apparatus       accor ing to                claim 2 wherein

                       portion and the se and portion support the camera in the
                                                                                                the   first



                       second position                n the first surface adjacent the edge

                       when a first dis ance from the edge to the position where

                       the first port on engages the first surface is greater

                       than a     secon      distance from the edge to the position

-   I'~
                       where the s cond portion engages the second surface, a

                       center of     ravity of the camera and said hinge member

                       being adj cent                and   external       to   the    first    surface   in

                       combinat"on with the first distance being greater than

                       the sec nd distance preventing rotation of the support



                       axis    f rotation.



                 9.    An apparatus according to claim 1 wherein the object is
                       a top of      table when the support frame is in the first

                                    t e first surface being a top surface of the




                                                                 19




                                                                                                  ADJCAM000042




                                                           A2868
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                10.   An apparatus according to claim 1 wherein the object is

                      a    desk   p    when   the   support    frame    is   in   the   first

                              ~~ first surface being a top surface of the




                11.   An apparatus      ccording to claim 1 wherein the object is



                                         second position, the second surface being

                                              display screen and the first surface

                      being the ba k of the display screen.



                12.   An   apparatus    according    to    claim   1 wherein      the   hinge




I':;--
                      body rotatabl     attaching the camera to the body so that

                      the camera ro ates about the first axis relative to the

                      body, a hing      element at said distal end of said body

                      hingedly atta hing said body to the support frame so that

                      said body rot tes about the second axis relative to the

                      support frame.



                13.   An apparatus     ccording to claim 12 wherein the camera has

                      an electrica     wiring harness to couple from an interior

                      to an exteri r, the pivot element having a bore parallel

                      to the first axis of rotation to receive said electrical

                      wiring harn ss     to pass     said wiring harness          from said


                                                    20




                                                                                    ADJCAM000043




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             interior to said exte ior of the camera.



       14.   An   apparatus    for      su porting         a    camera        on    an   object,

             comprising:
             a.    a hinge member rotatably attached to the camera,
                   said camera rot ting over a first axis of rotation

                   relative to                hinge member; and

             b.    a   support                hingedly attached to                  said hinge

                   member to             ingly support said hinge member on

                   the    object,               hinge      member          rotating       over    a

                   second axis of rotation relative to said support

                   frame,      said      first        axis           of     rotation        being

                   perpendicular         o said second axis of rotation, said

                   second     axis       of     rotation             being       substantially

                   parallel to a         irst surface when said hinge member

                   is engagingly supported on the object, the support

                   frame having a rear support element and a first and

                   second front         support       element,            said   rear     support

                   element     and      said     first         and    said       second     front
                                                      ~-




                   support eleme ts supporting the camera in the first

                   position        on   said    first      surface           when    said     rear

                   support elem nt and said first                          and second front

                   support              nts are engaging said first                       surface

                   when     said               surface     is        substantially         level,

                   said rear su port element and said first and said

                   second front support elements supporting the camera


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                                                                                          ADJCAM000044




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                   in a second position on                  aid first surface adjacent

                   an edge when said firs                    surface is inclined from

                   said     substantially             1            position,      the     object

                   having a second surfac                  wherein a thickness between



                   said edge therebetwe                    the camera being maintained

                   adjacent said edge                  said second position when the

                   uppermost portion                  the object is the edge,               said

                   rear support elem                      engaging said first           surface

                   and said first an                 second front         support elements

                   engaging the edge and the second surface, said rear

                   support       element              said first          and    second front

                   support       element        in        combination       maintaining      the

                   camera adjacent j he edge and preventing rotation of

                   the     support     f~ame         along       an    axis     substantially
                                           I
                   parallel to the/second axis, said second axis being

                   substantially rarallel to said edge.


       15.   An appara us according to claim 14 wherein the support

                                      releasably hold and protect the camera

             during          ge.



             An apparatus accor ing to claim 15 wherein the means to

             releasably     hold      nd protect             the      camera    comprises        the

             camera      being     r tated       around          the    second     axis     in     a

             direction      from     the       first       and     second       front     support


                                 J               22




                                                                                        ADJCAM000045




                                           A2871
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                          support element and the firs         and second front support

                          elements and is releasably h        d between the rear support

                          element and the first and se                  support elements,

                          the rear support element ha ing means to protect a lens

                          of the camera.



                    17.   An apparatus according to claim 16 wherein the first and

                          second front support elem nts are spaced a distance apart

                          at a distance less than a diameter of a housing of the

                          camera, the camera             rotated around the second axis

.. _.....::
~                         in the direction toward     the rear support element so that



                          support    elements,       first    and   second front   support

                          elements resiliently     nd outwardly flexing to accommodate

                          passage of said hous ng,       said housing being releasably

                          held once passing                             and second front

                          support elements        the rear support element engaging

                          said housing at          lens,   the first and second front

                          support    elements    ngaging     said   housing   backside     to

                          resiliently            id housing towards the rear support

                          element.



                    18.   An apparatus ace rding to claim 16 wherein the means to

                          protect the lens of the camera is a cover mounted at the


                                                      23

                                            J


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             distal end of the rear support element, the lens of the

             camera facing in              direction of           rotation about the

             second axis       from        first      and    second    front        support



             to allow the lens o          the camera to be fitably received

             into    said                   the     camera     is    releasably        held

             between the rear su              element and the first and second

             front support elem



       19.   An    apparatus                  to    claim    14     wherein    the     rear



             elements support         he camera in the first position on the

             first surface wh n the rear support element and the first

             and    second             support      elements       engage     the     first

             surface at               or more locations in a plane of the

             first surface t          prevent rotation of the support frame

             relative to th       first surface in any direction within

             said plane of



      20.    An    apparatus    ccording to         claim    14     wherein    the     rear

             support eleme t      and the first and second front support

             elements supp rt the camera in the first position on the

             first surface when the rear support element and the first

             and    second     rant    support      elements      engage      the     first

             surface to pr vent rotation of the support frame relative

             to the first surface in any direction within a plane of


                                            24




                                                                                    ADJCAM000047




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                        the first        urface.



                  21.   An   appara us      according to         claim   14 wherein    the     rear

                        support element and the first and second front support
                                     I
                                     I


                        elements s pport the camera in the second position on the

                        first sur            adjacent the edge when a first distance

                        from the         dge to the position where the rear support

                        element     e gages       the   first    surface    is   greater   than    a

                        second distance from the edge to the position where the

                        first and        econd front support elements engage the second

                        surface,         center of gravity of the camera and said hinge

                                     ng adjacent and external to the first surface

                        in combin tion with the first distance being greater than

                        the secon        distance preventing rotation of the support

                        frame alo                   substantially parallel to the second

                        axis of r

.-   .:~




                  22.   An apparatus according to clafrn 14 wherein the object is

                        a top of a table when            th/s·~pport frame is in the first
                                                          ,/

                        position, the first sniface being a top surface of the

                        table.                /


                  23.   Anapparatu~ording to claim 14 wherein the object is
                        a desk ft._? _ _w.hen the support frame is in the first

                        positio , the first surface being a top surface of the




                                                           25




                                                                                           ADJCAM000048




                                                        A2874
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                  24.   An apparatus accordi g to claim 14 wherein the object is

                        a display screen fo      a laptop computer when the support

                        frame is in the se 5hd ~osition, the second surface being

                        the front of th     ~lay screen and the first surface
                        being the back     f the display screen.




         ~~725. member is comprised of a body having a proximal and a
                        An apparatus according t         claim 14 wherein the hinge



                        distal end, a pivot el ment at said proximal end of said

                        body rotatably attac ing the camera to the body so that

                        the camera rotates about the first axis relative to the

                        body, a hinge el ment at said distal end of said body

                        hingedly attach"ng said body to the support frame so that

                        said body rot     es about the second axis relative to the




                  26.   An appara    s according to claim 25 wherein the camera has

                        an elect ical wiring harness to couple from an interior
=---\·

                        to an e terior, the pivot element having a bore parallel

                        to the first axis of rotation to receive said electrical

                        wiri g harness    to pass    said wiring harness from said

                        int rior to said exterior of the camera.




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                                                 A2875
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   COMBINED DECLARATION/POWER OF ATTORNEY FOR PATENT APPLICATION

As a below named inventor, I hereby declare that:

My residence, post office address and citizenship are as stated
below next to my name.

I believe that I am the original, first and sole inventor (if only
one name is listed below) or an original, first and joint inventor
(if plural names are listed below) of the subject matter which is
claimed and for which a patent is sought on the invention entitled
 CAMERA CLIP , the specification of which (check one)

                        XX is attached hereto

                           was filed on
                           as U.S. Application
                           Serial No.

                           and was amended on (if
                           applicable)

I hereby state that I have reviewed and understand the contents of
the above-identified specification, including the claims, as
amended by any amendment referred to above.

I acknowledge the duty to disclose information which is material to
the examination of this application in accordance with Title 37,
Code of Federal Regulations, §1.56(a).

I hereby claim foreign priority benefit(s) under Title 35, United
States Code §119 of any foreign application ( s) for patent or
inventor's certificate listed below and have also identified below
any foreign application(s) for patent or inventor's certificate
having a filing date before that of the application on which
priority is claimed:
                                                          Priority
Prior Foreign Application(s)                              Claimed


   (Number)          (Country)      (Day/Month/Year Filed)       YES         NO

   (Number)          (Country)      (Day/Month/Year Filed)       YES         NO

   (Number)         (Country)       (Day/Month/Year Filed)       YES         NO

I hereby claim the benefit under Title 35, United States Code, §120
of any United States application(s) listed below and, insofar as
the subject matter of each of the claims of this application is not
disclosed in the prior United States application in the manner
provided by the first paragraph of Title 35, United States Code,
§112, I acknowledge the duty to disclose material information as
defined in Title 37, Code of Federal Regulations, §1.56(a) which




                                                                       ADJCAM000050




                                     A2876
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 occurred between the filing date of the prior application and the
 national or PCT international filing date of this application:
 (Serial No.)             (Filing Date)     (Status) (patented, pending, abandoned)


 (Serial No.)             (Filing Date)      (Status-patented, pending, abandoned)

 POWER OF ATTORNEY:    As a named inventor, I hereby appoint the
 following attorney(s) and/or agent(s) to prosecute this application
 and transact all business in the Patent and Trademark Office
 connected therewith.

                John L. Rooney, Reg. No. 28,898;
                Lawrence M. Nawrocki, Reg. No. 29,333;
                Wayne A. Sivertson, Reg. No. 25,645;
                David M. Crompton, Reg. No. 36,772;
                Glenn M. Seager, Reg. No. 36,926;
                Steven E. Dicke, Reg. No. 38,431;
                Brian N. Tufte, Reg. No. 38,638;
                Craig F. Taylor, Reg. No. 40,199;
                Donald A. Jacobson, Reg. No. 22,308; and
                Lew Schwartz, Reg. No. 22,067

 Send correspondence to:

                Lawrence M. Nawrocki
                NAWROCKI, ROONEY & SIVERTSON, P.A.
                Suite 401, Broadway Place East
                3433 Broadway Street Northeast
                Minneapolis, Minnesota 55413
                (612) 331-1464

I hereby declare that all statements made herein of my own
knowledge are true and that all statements made on information and
belief are believed to be true; and further tQat these statements
were made with the knowledge that willful false statements and the
like so made are punishable by fine or imprisonment, or both, under
Section 1001 of Title 18 of the United States Code and that such
willful false statements may jeopardize the validity of the
application or any patent issued thereon, I further declare that I
understand the content of this declaration.

Full name of sole or first inventor    David E. Krekelberg
Inventor's Signature                           Date
Residence 15604 Dawn Drive, Minnetonka, Minnesota 55345
                                             Citizenship U.S.A.
Post Office Address   15604 Dawn Drive
                      Minnetonka, Minnesota 55345




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                                                         -3-
  1.56 Duty to disclose infor.ation material to patentability.

           (a) A patent by its very nature is affected with a public interest. The public interest is best served,
  and the most effective patent examination occurs when, at the time an application is being examined, the Office
  is aware of and evaluates the teachings of all information material to patentability.            Each individual
  associated with the filing and prosecution of a patent application has a duty of candor and good faith in
  dealing with the Office, which includes a duty to disclose to the Office all information known to that
  individual to be material to patentability as defined in this section. The duty to disclose information exists
  with respect to each pending claim until the claim is cancelled or withdrawn from consideration, or the
  application becomes abandoned. Information material to the patentability of a claim that is cancelled or
  withdrawn from consideration need not be submitted if the information is not material to the patentability of
  any claim remaining under consideration in the application. There is no duty to submit information which is
  not material to the patentability of any existing claim. The duty to disclose all information known to be
  material to patentability is deemed to be satisfied if all information known to be material to patentability
  of any claim issued in a patent was cited by the Office or submitted to the Office in the manner prescribed by
  §§1.97(b)-(d) and 1.98. However, no patent will be granted on an application in connection with which fraud
  on the Office was practiced or attempted or the duty of disclosure was violated through bad faith or intentional
  misconduct. The Office encourages applicants to carefully examine:
          (1) prior art cited in search reports of a foreign patent office in a counterpart application, and
           (2) the closest information over which individuals associated with the filing or prosecution of a patent
  application believe any pending claim patentably defines, to make sure that any material information contained
  therein is disclosed to the Office.
           (b) Under this section, information is material to patentability when it is not cumulative to
  information already of record or being made of record in the application, and

          (1) It establishes, by itself or in combination with other information, a prima facie case of
  unpatentability of a claim; or
           C2) It refutes, or is inconsistent with, a position the applicant takes in:

          (i) Opposing an argument of unpatentability relied on by the Office, or
          (ii) Asserting an argument of patentability.
  A prima facie case of unpatentability is established when the information compels a conclusion that a claim is
  unpatentable under the preponderance of evidence, burden-of-proof standard, giving each term in the claim its
  broadest reasonable construction consistent with the specification, and before any consideration is given to
  evidence which may be submitted in an attempt to establish a contrary conclusion of patentability.
          (c) Individuals associated with the filing or prosecution of a patent application within the meaning
  of this section are:
           (1) Each inventor named in the application:
           (2) Each attorney or agent who prepares or prosecutes the application; and

          C3) Every other person who is substantively invol,;ed 1n the preparat1on or prosecutwn of the
 application and who is associated with the inventor, with the assignee or w1th anyone to whom there 1s an
 obligation to assign the application.

          (d) Individuals other than the attorney, agent or inventor may comply with this section by disclosing
 information to the attorney, agent, or inventor.




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               Case: 13-1665          Document: 97-3                               Page: 352       Filed: 12/11/2014


Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 45 of 124 PageID #: 4416




                                             67137 U.s. PTO

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                                                  03j07j97
Applicant or Patentee: David E. Krekelberg                      Attorney's Docket No.: 19139/1 03/1 01
Serial or Patent No.:....:..N~A,____ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Filed or lssued:_,H....:;e:..:r..:::e_,_,w"-'it::..:.h_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
For: CAMERA CLIP
                 VERIFIED STATEMENT (DECLARATION) CLAIMING SMALL ENTITY
                 STATUS (37 CFR 1.9(f) AND 1.27(c)) -- SMALL BUSINESS CONCERN

I hereby declare that I am
        []      the owner of the small business concern identified below:
        [X]     an official of the small business concern empowered to act
                on behalf of the concern identified below:


         NAME OF CONCERN iREZ Research, Corporation
         ADDRESS OF CONCERN 15604 Dawn Drive, Minnetonka, Minnesota 55345


I hereby declare that the above-identified small business concern qualifies as a small business concern
as defined in 13 CFR 121.3-18, and reproduced in 37 CFR 1.9(d), for purposes of paying reduced fees
under section 41 (a) and (b) of Title 35, United States Code, in that the number of employees of the
concern, including those of its affiliates, does not exceed 500 persons. For purposes of this statement,
(1) the number of employees of the business concern is the average over the previous fiscal year of the
concern of the persons employed on a full-time, part-time or temporary basis during each of the pay
periods of the fiscal year, and (2} concerns are affiliates of each other when either, directly or indirectly,
one concern controls or has power to control the other, or a third party or parties controls or has the
power to control both.

I hereby declare that rights under contract or law have been conveyed to and remain with the small
business concern identified above with regard to the invention, entitled CAMERA CLIP by inventor(s)_
David E. Krekelberg described in

         [X]      the specification filed herewith
         []       application serial no.             , filed __________
         [1       patent no.                       , issued _ _ _ _ _ ----'-------

If the rights held by the above-identified small business cancer!) are not exclusive, each individual, concern
or organization having rights to the invention is listed below· and no rights to the invention are held by any
person, other than the inventor, who could not qualify as a small business concern under 37 CFR 1.9(b)
or by any concern which would not qualify as a small business concern under 37 CFR 1.9(d) or a nonprofit
organization under 37 CFR 1.9(e).

·NOTE:          Separate verified statements are required from each named person, concern or
organization having rights to the invention averring to their status as small entities. (37 CFR 1.27)

NAME
ADDR~ES~S-----------------------------------------------------------

[ ] INDIVIDUAL            [ ] SMALL BUSINESS CONCERN                                     [ ] NONPROFIT ORGANIZATION

NAME_______________________________ - - - - - - - - - - - - - - - - - - - - -
ADDRESS ___________________________________________________________
[ ] INDIVIDUAL            [ ] SMALL BUSINESS CONCERN                                     [ 1 NONPROFIT ORGANIZATION
I acknowledge the duty to file, in this application or patent, notification of any change in status resulting
in loss of entitlement to small entity status prior to paying, or at the time of paying, the earliest of the issue




                                                                                                                 ADJCAM000053




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             Case: 13-1665               Document: 97-3                Page: 353            Filed: 12/11/2014


Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 46 of 124 PageID #: 4417




 fee or any maintenance fee due after the date on which status as a small entity is no longer appropriate.
 (37 CFR 1.28(b))

 I hereby declare that all statements made herein of my own knowledge are true and that all statements
 made on information and belief are believed to be true; and further that these statements were made with
 the knowledge that willful false statements and the like so made are punishable by fine or imprisionment,
 or both, under Section 1001 of Title 18 of the United States Code, and that such willful false statements
 may jeopardize the validity of the application, any patent issuing thereon, or any patent to which this
 verified statement is directed.

 NAME OF PERSON SIGNING...!D:::..::a:!..!v.!::id:...;E~·c..!K~r.!:.ek~e::!!lb~e:::!.r,l:1.g_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 TITLE OF PERSON OTHER THAN OWNER ---"C=E=O,___,a=n=d'--'C"""'T'--"0,___ _ _ _ _ _ _ _ _ _ _ __
 ADDRESS OF PERSON SIGNING 15604 Dawn Drive. Minnetonka. Minnesota 55345


 SIGNATURE_ _ _ _ _ _ _ _ _ _ _~DATE_________________________




                                                                                                                 ADJCAM000054




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                         Case: 13-1665   Document: 97-3   Page: 354   Filed: 12/11/2014


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           Case 6:10-cv-00329-LED     Document 575-2 Filed 12/19/11 Page 47 of 124 PageID #: 4418
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         Case: 13-1665       Document: 97-3        Page: 355                 Filed: 12/11/2014


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                              L"GS    575-2 Filed 12/19/11 Page 48 of 124 PageID #: 4419
              AS ORIGINA,   ffiED                                                     08/R 74168




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                                                                                                 08/814168
       IN THE UNITED S.fATES PATENT AND TRADEMARK OFFICE
    In re Application of:
                                        67137 U.S. PTO
} ~rekelberg
                                        IIIII/I IIIII IIIII 11111111111111111111111
    Serial No. :       N/A
                                              03f07j97
    Filing Date:           Herewith

    For:     CAMERA CLIP

    Docket No.:        19239/103/101

                                      TRANSMITTAL SHEET
   Assistant Commissioner for Patents
   Washington, D.C. 20231

    Sir:

      CERTIFICATE UNDER 37 c.F.R. 1.10: The undersigned hereby certifies that
    this paper or papers, as described herein, are being deposited in the United
      states Postal service, rtExpress Mail Post Office to Addresseert having an
      Expr&S$ Mail m~ilirtg label number of : EM 609 179 413 us, in an envelope
     address to: Assistant co issioner fo              washin9t~, D.c., 20231 on
                      this 1           of                , 19':::1_(




   We are transmitting herewith the attached Patent Application
   including the following:

    [XXXX]         15        sheet(s) of specification.

    [XXXX]         11        sheet(s) of claim(s).

    [XXXX]             1     sheet(s) of             Abstract~

    [XXXX]             2     sheet(s) of drawings.

    [XXXX]       Unexecuted Declaration and Power of Attorney.

    [XXXX]       An unexecuted verified statement(s) to establish small
                 entity status under 37 C.F.R. 1.9 and/or 1.27 is
                 enclosed.

                 An Assignment of the invention to iREZ Research,
                 Corporation is being filed contemporaneous with this
                 patent application.

                 A certified copy of a              application, serial
                 no.                                                   , filed
                                                                , 19 ___ ,
                 the right of priority of which is claimed under 35
                 u.s.c. 119.

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 Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 50 of 124 PageID #: 4421




                                       CLAIMS AS FILED
                              ( 1)              (2 )       SMALL ENTITY                 OTHER
    FOR:                  # FILED         # EXTRA          Rate      Fee         Rate       Fee
    BASIC FEE                                                        $385                   $770
    TOTAL CLAIMS          26-20 =                 6         xll=     $ 66            x22=   $
    INDEPENDENT             2 -3 =                0         x40=     $     0         x80=   $
    CLAIMS
    (    )   MULTIPLE DEPENDENT CLAIM                      +130=     $     0     +260=      $
             PRESENTED
                         TOTAL                             $451.00               $

  *If the difference in Column (1) is less than zero, enter "0" in
  Column 2.
                  Other


                  Checks in the amounts of $______ and$ _ _~ are
                  enclosed.
                  Please charge any deficiencies or credit any
                  overpayment in the enclosed fees to Deposit Account 14-
                  0620.

                                          By:
                                                   Lawrence ~. Nawrocki
                                                   Reg. No. -=2~9~3=3=3______________

    NAWROCKI 1 ROONE_Y.___~- _.~)VERT SON~ P. A.
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   --&UI£oe::::xo-x;:.:B:io-ad~_9;y       East
____]_4]_3 Broadway Street ~&--:-:E--:---- --- -·-- --
-- MinMSJ:QQrl.§ I !:!I nn_§\_~ru:ce 5_5A r:L
   Telephone:      (612) 331-1464
   Facsimile:      (612) 331-2239




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      Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 51 of 124 PageID #: 4422




                                                                                                    UNITED STAT~ro..... DEPARTMENT OF COMMERCE
                                                                                                    Patent and Trademark Office
                                                                                                    Address: COMMISSIONER OF PATENTS AND TRADEMARKS
                                                                                                              Washington. D.C. 20231



                                                            FILING/RECEIPT DATE                 FIRST NAMED APPLICANT         ATTORNEY DOCKET NO.fTITLE




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                                                                                                               DATE MAILED:


                                                    NOTICE TO FILE MISSING PARTS OF APPLICATION
                                                                  Filing Date Granted

  An Application Number and Filing Date have been assigned to this application. However, the items indicated below are missing. The
  required items ~n!!jf~es identified below m~st be timely submitted ALONG WITH THE PAYMENT OF A SURCHARGE for items 1 and
  3·6 only of$ 1 -· ' • 1- ()            for <¥!3a large entity 0 small entity in compliance with 37 CFR 1.27. The surcharge is set forth in
  37 CFR 1.16(e). Applicant is given TWO MONTHS FROM THE DATE OF THIS NOTICE within which to file all required items and pay
  any fees required above to avoid abandonment. Extensions of time may be obtained by filing a petition accompanied by the extension
  fee under the provisions of 37 CFR 1.136(a).

 Vf all requln;d Items on this form are filed within the perfod s_~_t E!llo_ve, th~. total amount owed by applicant as a
I'EJ large enttfy 0 small entity (verified statement filed}, ts $ !..:_____ ~-- ~ -~-1__/· _ .
  ;2{ 1. T~e statutory basic filing fee is:
        ..1SJ missing.
          0 insufficient.         -' J '               f{ , :.()
          Applicant must submit$~~-·~~~~­ to complete the basic filing fee and/or file a verified small entity
          statement claiming such status (37 CFR 1.27).
 ffi 2. Additional claim fees of$ / J --~ ' (: /)                                      ,
                                                            including any multiple dependent claim fees, are required.
          Applicant must either submit the additional claim fees or cancel additional claims for which tees are due.
  0   3. The oath or declaration:
          0 is missing.
          0 does not cover the newly submitted items.
          0 does not identify the application to which it applies.
          0 does not include the city and state or foreign country of applicant's residence.
          An oath or declaration in compliance with 37 CFR 1. 63, including residence information and identifying the application by
          the above Application Number and Filing Date is required.
      4. IJ;le si~n~ture(s) to the oath or declaration is/are:
      / ! j m1ss1ng.
          0 by a person other than inventor or person qualified under 37 CPA 1.42, 1.43, or 1.47.
          A properly signed oath or declaration in compliance with 37 CFR 1.63, identifying the application by the above
          Application Number and Filing Date, is required.
  0 5. The signature of the following joint inventor(s) is missing from the oath or declaration:
         --~~~---------------------------------~--··-"---~-----




         An oath or declaration listing the names of all inventors and signed by the omitted inventor(s), identifying this application by
         the above Application Number and Filing Date, is required.
 0 6. A $                     processing fee is required since your check was returned without payment (37 CFR 1.21 (m)).
 0 7. Your filing receipt was mailed in error because your check was returned without payment.
 0    a. The application does not comply with the Sequence Rules.
       See attached "Notice to Comply with Sequence Rules 31 CFR 1.821-1.825."
 0 9. OTHER:
 Direct the response and any questions about this notice to "Attention: Box Missing Parts."


/, !,_(:), c;r f! Ce ':::':_~                       of this notice MUST be returned with the response.

 Customer ?~rvice Center
 Initial Patent Examination Division (703) 308-1202

 FORM PT0-1533 (REV.7·96)
                                                                                  PART 3- OFFICE COPY                                      "U.S, GPO: 1996-404-496/4051 5


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                                                                            P A T E N T

            IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


 In re Application of:

 David E. Krekelberg

 Serial No.:       08/814,168

 Filed:    March 7, 1997

 For:     CAMERA CLIP

 Docket No.:       19239/103/101



                                     COMMUNICATION

Assistant Commissioner                                       CERTIFICATE UNDER 37 C.F.R. 1.8
                                                   I hereby certify that this correspondence is being
 for Patents                                       deposited with the United States Postal Service on
Washington, D.C. 20231                             the date shown below with sufficient postage as
                                                   first class mail in an enveloped addressed to the
                                                   Assistant Commiss· e for Pa        ts, Washington,
                                                   D.C. 20231 on this       ay               , 199ll




 Sir:
        Applicant    filed     the    application           covered       by     the     caption

indicated above on March 7, 1997.                  The signature of the inventor

was,    however,    missing on the DECLARATION.                      In response to the

filing,     the United States Patent and Trademark Office issued a

NOTICE TO FILE MISSING PARTS OF APPLICATION - FILING DATE GRANTED

document (FORM PT0-1533).            That paper documented the fact that the

filing date was granted for the application.                       Further, however, it

documented a       requirement that a properly signed Declaration in

compliance with         37   CFR   §1. 63,       identifying        the     application          by


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        Case: 13-1665       Document: 97-3        Page: 360    Filed: 12/11/2014


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 Application Number and Filing Date, be submitted.                   That paper also

 required that     a    surcharge       in the   amount   of   $130,    for    a     large

 entity, or $65, for a small entity, be submitted.                   It documented a

 requirement that the statutory basic filing fee be paid, and that

 large entity filing fees in the amount of $770 be submitted.                        Also,

 it documented that additional claim fees in the amount of $132.00

 for a large entity, including any required multiple dependent claim

 fees be submitted.

       In   view       of   the     filing       of   small    entity         affidavit

 contemporaneous with this document, and the other documents filed

 with this package, the surcharge is in the amount of $65.00, the

 filing fees are in the amount of $385.00, and the additional claim

 fees are in the amount of $66.00, for a total amount of $516.00.

      The period for response was set to expire two months from the

 date of that paper.         The unextended deadline for responding is,

 therefore, August 25, 1997.

      Please find enclosed the "RESPONSE" copy of the NOTICE TO FILE

MISSING PARTS OF APPLICATION -               FILING DATE GRANTED document,                a

 Declaration    signed      by    the    named    inventor,    one     (1)    VERIFIED

 STATEMENT (DECLARATION) CLAIMING SMALL" ENTITY STATUS, and a check

 in the amount of $516.00 (the amount of the surcharge for a small

 entity, the small entity filing fees, and additional claim fees for

a small business entity).

      In view of the action taken herein,                 Applicant would submit

that the requirements imposed by the NOTICE TO FILE MISSING PARTS

OF APPLICATION- FILING DATE GRANTED paper have been complied with.


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 It is,   therefore,      requested that the application be passed for

issuance of the formal FILING RECEIPT document.
                                     Respectfully submitted,

                                     David E. Krekelberg

                                     By his attorney,



Dated:       ~t :lf>, 1117          Lawrence M. Nawr cki, Reg. No. 29,333
                                    NAWROCKI, ROONEY & SIVERTSON, P.A.
                                    Suite 401, Broadway Place East
                                    3433 Broadway Street Northeast
                                    Minneapolis, MN 55413
                                    Telephone:   (612) 331-1464
                                    Facsimile:   (612) 331-2239




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               Case: 13-1665     Document: 97-3       Page: 362   Filed: 12/11/2014


       Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 55 of 124 PageID #: 4426




                                          OF ATTORNEY FOR PATENT APPLICATION

           a below named inventor, I hereby declare that:

                                        address and citizenship are as stated
                                                                               /'
                                                                    ;t"~.,.,

       I believe that I am the original, first and sole inventor (if only
       one name is listed below) or an original, first and joint inventor
       (if plural names are listed below) of the subject matter which is
       claimed and for which a patent is sought on the invention entitled
        CAMERA CLIP , the specification of which (check one)

                                  is attached hereto

                               XX was filed on March 7, 1997
                                  as U.S. Application
                                  Serial No. 08/814,168

                                  and was amended on (if
                                  applicable)

       I hereby state that I have reviewed,..ati"ct understand the contents of
       the above-identified specificati6n, including the claims, as
} -~
       amended by any amendment referred to above.
                                                  /


       I acknowledge the duty to disclose      ~ormation
                                                    which is material to
       the examination of this application in accordance with Title 37,
       Code of Federal Regulations, §1.56(a).

       I hereby claim foreign priority benefit(s) under Title 35, United
       States Code §119 of any foreign application( s) for patent or
       inventor's certificate listed below and have also identified below
       any foreign application(s) for patent or inventor's certificate
       having a filing date before that of the a:r,plication on which
       priority is claimed:
                                                                 Priority
       Prior Foreign Application(s)                              Claimed


          (Number)          (Country)      (Day/Month/Year Filed)                   YES         NO

          (Number)          (Country)      (Day/Month/Year Filed)                   YES         NO

          (Number)         (Country)       (Day/Month/Year Filed)                   YES         NO

       I hereby claim the benefit under Title 35, United States Code, §120
       of any United States application(s) listed below and, insofar as
       the subject matter of each of the claims of this application is not
       disclosed in the prior United States application in the manner
       provided by the first paragraph of Title 35, United States Code,
       §112, I acknowledge the duty to disclose material information as
       defined in Title 37, Code of Federal Regulations, §1.56(a) which




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         Case: 13-1665      Document: 97-3       Page: 363    Filed: 12/11/2014


Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 56 of 124 PageID #: 4427




 occurred between the filing date of the prior application and the
 national or PCT international filing date of this application:
 (Serial No. )             (Filing Date)     (Status) (patented, pending, abandoned)


 (Serial No.)              (Filing Date)      (Status-patented, pending, abandoned)

 POWER OF  ATTORNEY:   As a named inventor, I hereby appoint the
 following attorney(s) and/or agent(s) to prosecute this application
 and transact all business in the Patent and Trademark Office
 connected therewith.

                 John L. Rooney, Reg. No. 28,898;
                 Lawrence M. Nawrocki, Reg. No. 29,333;
                 Wayne A. Sivertson, Reg. No. 25,645;
                 David M. Crompton, Reg. No. 36,772;
                 Glenn M. Seager, Reg. No. 36,926;
                 Steven E. Dicke, Reg. No. 38,431;
                 Brian N. Tufte, Reg. No. 38,638;
                 Craig F. Taylor, Reg. No. 40,199;
                 Donald A. Jacobson, Reg. No. 22,308; and
                 Lew Schwartz, Reg. No. 22,067

 Send correspondence to:

                Lawrence M. Nawrocki
                NAWROCKI, ROONEY & SIVERTSON, P.A.
                Suite 401, Broadway Place East
                3433 Broadway Street Northeast
                Minneapolis, Minnesota 55413
                (612) 331-1464

I hereby declare that all statements made herein of my own
knowledge are true and that all statements made on information and
belief are believed to be true; and further that these statements
were made with the knowledge that willful false statements and the
like so made are punishable by fine or imprisonment, or both, under
Section 1001 of Title 18 of the United States Code and that such
willful false statements may jeopardize the validity of the
application or any patent issued thereon, I further declare that I
understand the content of this declaration.

Full name of sole or fir                                  E. Krekelber
Inventor's Signature                                        Date JC: t-1 7
Residence 15604 Dawn                                   innesota 55345
                                                         Citizenship U.S.A.
Post Office Address         15604 Dawn Drive
                            Minnetonka, Minnesota         55345




                                                                            ADJCAM000064




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            Case: 13-1665             Document: 97-3              Page: 364        Filed: 12/11/2014


Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 57 of 124 PageID #: 4428




                                                        -3-

 1.56 Duty to disclose infor110tion 11aterial to patentability.
          (a) A patent by its very nature is affected with a public interest. The public interest is best served,
 and the most effective patent examination occurs when, at the time an application is being examined, the Office
 is aware of and evaluates the teachings of all information material to patentability.            Each individual
 associated with the filing and prosecution of a patent application has a duty of candor and good faith in
 dealing with the Office, which includes a duty to disclose to the Office all information known to that
 individual to be material to patentability as defined in this section. The duty to disclose information exists
 with respect to each pending clii!im until the claim is cancelled or withdrawn from consideration, or the
 application becomes abandoned. Information material to the patentability of a claim th~:~t is cancelled or
 withdrawn from consideration need not be submitted if the information is not material to the patentability of
 any claim remaining under consideration in the application. There is no duty to submit information which is
 not material to the patentability of any existing claim. The duty to disclose all information known to be
 material to patentability is deemed to be satisfied if all inform~:~tion known to be material to patentability
 of any claim issued in a patent was cited by the Office or submitted to the Office in the manner prescribed by
 §§1.97(b)-(d) and 1.98. However, no patent will be granted on an application in connection with which fraud
 on the Office was practiced or attempted or the duty of disclosure was violated through bad faith or intentional
 misconduct. The Office encourages applicants to carefully examine:
          (1) prior art cited in search reports of a foreign p~:~tent office in a counterpart application, and
          (2) the closest information over which individuals associated with the filing or prosecution of a patent
 application believe any pending claim patentably defines, to make sure that any materi~:~l information cont~:~ined
 therein is disclosed to the Office.
          (b) Under this section, information is material to patentability when it is not cumulative to
 information already of record or being made of record in the application, and
         (1) It establishes, by itself or in combination with other information, a prima facie case of
 unpatentability of a claim; or

         (2) It refutes, or is inconsistent with, a position the applicant takes in:
         (i) Opposing an argument of unpatentability relied on by the Office, or
         (ii) Asserting an argument of patentability.
 A prima facie case of unpatentability is established when the information compels a conclusion that a claim is
 unpatentable under the preponderance of evidence, burden-of-proof standard, giving each term in the claim its
 broadest reasonable construction consistent with the specification, and before any consideration is given to
 evidence which may be submitted in an attempt to establish a contrary conclusion of patentability.

          (c) Individuals associated with the filing or prosecution of a patent application within the meaning
 of this section are:
         (1) Each inventor named in the application:
         (2) Each attorney or agent who prepares or prosecutes the application; and
          (3) Every other person who is substantively involved"· in the preparation or prosecution of the
 application and who is associated with the inventor, with the assignee or with anyone to whom there is an
 obligation to assign the application.
          (d) Individuals other than the attorney, agent or inventor may comply with this section by disclosing
 information to the attorney, agent, or inventor.




                                                                                                       ADJCAM000065




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                  VERIFIED STATEMENT (DECLARATION) CLAIMING SMALL ENTITY
                  STATUS (37 CFR 1.9(ft AND 1.27(c)) --SMALL BUSINESS CONCERN

 I hereby declare that I am
         [1      the owner of the small business concern identified below:
         [X]     an official of the small business concern empowered to act
                 on behalf of the concern identified below:


         NAME OF CONCERN iREZ Research. Corporation
         ADDRESS OF CONCERN 15604 Dawn Drive, Minnetonka, Minnesota 55345


 I hereby declare that the above-identified small business concern qualifies as a small business concern
 as defined in 13 CFR 121 .3-18, and reproduced in 37 CFR 1.9(d), for purposes of paying reduced fees
 under section 41 (a) and (b) of Title 35, United States Code, in that the number of employees of the
 concern, including those of its affiliates, does not exceed 500 persons. For purposes of this statement,
 (1) the number of employees of the business concern is the average over the previous fiscal year of the
 concern of the persons employed on a full-time, part-time or temporary basis during each of the pay
 periods of the fiscal year, and (2) concerns are affiliates of each other when either, directly or indirectly,
 one concern controls or has power to control the other, or a third party or parties controls or has the
 power to control both.

 I hereby declare that rights under contract or law have been conveyed to and remain with the small
 business concern identified above with regard to the invention, entitled CAMERA CLIP by inventor(s)_
 David E. Krekelberg described in

         (X]      the specification filed herewith
         (]       application serial no.             , filed _ _ _ _ _ _ _ __
         []       patent no.                       , issued _ _ _ _ _:.._:..___

 If the rights held by the above-identified small business conce(./1 are not exclusive, each individual, concern
 or organization having rights to the invention is listed below· and no rights to the invention are held by any
 person, other than the inventor, who could not qualify as a small business concern under 37 CFR 1.9(b)
 or by any concern which would not qualify as a small business concern under 37 CFR 1.9(d) or a nonprofit
 organization under 37 CFR 1.9(e).

 *NOTE:          Separate verified statements are required from each named person, concern or
 organization having rights to the invention averring to their status as small entities. (37 CFR 1.27)


 NAME~---------------------------------------------------------
 ADDRESS _________________________________________________________
 [ ] INDIVIDUAL            [] SMALL BUSINESS CONCERN                   [ ] NONPROFIT ORGANIZATION

 NAME.___________________________________________________________
 ADDRESS _________________________________________________________
 [ ] INDIVIDUAL            [ ] SMALL BUSINESS CONCERN                  [ ] NONPROFIT ORGANIZATION

 I acknowledge the duty to file, in this application or patent, notification of any change in status resulting
 in loss of entitlement to small entity status prior to paying, or at the time of paying, the earliest of the issue




                                                                                                       ADJCAM000066




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fee or any maintenance fee due after the date on which status as a small entity is no longer appropriate.
(37 CFR 1.28(b))

I hereby declare that all statements made herein of my own knowledge are true and that all statements
made on information and belief are believed to be true; and further that these statements were made with
the knowledge that willful false statements and the like so made are punishable by fine or imprisionment,
or both, under Section 1001 of Title 18 of the United States Code, and that such willful false statements
may jeopardize the validity of the application, any patent issuing thereon, or any patent to which this
verified statement is directed.

 NAME OF PERSON SIGNING_.!_Mll.!i~chl.!!a:!!:e:!...l=::D_,_.!...!H~ar~ri~s_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

TITLE OF PERSON OTHER THAN OWNER ...!P...!.re::::::s~id::!!:e~n~t- - - - - - - - - - - - - - - -
                                                          Minnetonka Minnesota 55345




                                                                                                    ADJCAM000067




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                                                                                                              UNITED STAl. _,.. DEPARTMENT OF COMMERCE
                                                                                                              Patent and Trademark Office
                                                                                                              Address: COMMISSIONER OF PATENTS AND TRACEMARKS
                                                                                                                        Washington. D.C. 20231



                                                                                                          FIRST NAMED APPLICANT            ATIOANEY DOCKET NO./TITLE




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                                                                                                                         DATE MAILED:


                                                                  NOTICE TO FILE MISSING PARTS OF APPLICATION
                                                                                Filing Date Granted

    An Application Number and Filing Date have been assigned to this application. However, the items indicated below are missing. The
    required items a,ng/E!es ideQtified below m4~t be timely submitted ALONG WITH THE PAYMENT OF A SURCHARGE for items 1 and
    3·6 only of$ I ·J (j , () lJ           for~ large entity n small entity in compliance with 37 CFR 1.27. The surcharge is set forth in
    37 CFR 1.16(e). Applicant is given TWO MONTHS FROM THE DATE OF THIS NOTICE within which to file all required items and pay
    any fees required above to avoid abandonment. Extensions of time may be obtained by filing a petition accompanied by the extension
    fee under the provisions of 37 CFR 1.136(a).

1
    )1 all required Items on this form are filed within the period s_e_t l!!'ove, th~ total amount owed by applicant as a
1-GJ large entity 0 small entity (verified statement filed), is $ ,_,_..:__::_··._.__:_·_.
    jl[ 1. The statutory basic filing fee is:
           .b missing.
             0   insufficient.
             Applicant must submit $
                                     1 J ,   -'1  · "/"
                                           {1 I) C/
                                                                      1
                                                             to complete the basic filing fee and/or file a verified small entity
             stEitememt:laiming such status· {37 CFR 1.27) .
    .BJ 2. Additional claim fees of $ / 3 ,J.,' · () (         , including any multiple dependent claim fees, are required .
          . · Applicant must either submit the additional claim fees or cancel additional claims for which fees are due.
    0   3. The oath or declaration:
            0 is missing.
            0 does not cover the newly submitted items.
            0 does not identify the application to which it applies.
            0 does not include the city and state or foreign country of applicant's residence.
            An oath or declaration in compliance with 37 CFR 1. 63, including residence information and identifying the application by
            the above Application Number and Filing Date is required.
        4. tl:)e si~n~ture(s) to the oath or declaration is/are:
        ..-/EJ miSSing.                                                                                        "
             0   by a person other than inventor or person qualified under 37 CFR 1.42, 1.43, or 1.47.
             A properly signed oath or declaration in compliance with 37 CFR 1. 63, identifying the application by the above
             Application Number and Filing Date, is required.
    0   5. The signature of the following joint inventor(s) is missing from the oath or declaration:

             An oath or declaration listing the names of all inventors and signed by the omitted inventor(s), identifying this application by
             the above Application Number and Filing Date, is required.
    0   6. A$                                         processing fee is required since your check was returned without payment (37 CF~m)).
    0   7. Your filing receipt was mailed in error because your check was returned without payment.                                                      gg;g
    0   e. The application does not comply with the Sequence Rules.                                                                                ~~~!2
          See attached "Notice to Comply with Sequence Rules 37 CFR 1.821-1.825."                                                                  ~
    0   9. OTHER:                                                                                                                                  ~
    Direct the response and any questions about this notice to "Attention: Box Missing Parts."                                                     ~
f. J;·.~l,         0 lU!k'.:                      copy. of this notice MUST be returned with the response. :

    Customer e, ice Center                                                                                                                         ~
    Initial Pate~t'Examination Division (703) 308-1202                                                                                             ;::
                                                                                                                                                   g:::-l"lln
    FORM PT0-1533 (REV. 7-96)
                                                                               PART 2- COPY TO BE RFTURNUJ W!TH Hi:'S!'ONSE
                                                                                                                                                  .............
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                                                                                    :;;"I:~c TUk
         THE UNITED STATES PATENT AND TRADEMARK OFFICE                                             41
          Application of:

 David E. Krekelberg

 Serial No.:     08/814,168

 Filing Date:     March 7, 1997

 For:     CAMERA CLIP

 Docket No.:     19239/103/101

                               TRANSMITTAL SHEET
 Assistant Commissioner for Patents
 Washington, D.C. 20231

 Sir:




We are transmitting herewith the attached:

              Amendment

                   No additional fee required
                   The fee has been calculated as shown:

                                 CLAIMS AS AMENDED
                  ( 3)            ( 4)        ( 5)     SMALL ENTITY             OTHER
               REMAINING       HIGHEST    EXTRA        RATE       ADD'L     RATE    ADD'L
               CLAIMS          PAID                               FEE               FEE
 TOTAL             ~
                                   =                       xll=   $          x22=   $
 CLAIMS
  INDEPEN~         -               =                       x40=   $          X80=   $
 DENT
 CLAIMS
  (     ) FIRST MULTIPLE DEPENDENT CLAIM               +13Qo=     $         +260    $
                                                                            =
                       TOTAL                           $                    $


                                          1

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Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 62 of 124 PageID #: 4433




[XXXX]      Checks in the amounts of $516.00 and $40.00 are
            enclosed.
            Small entity status of this application under 37 C.F.R.
            1.9 and 1.27 has been established by verified statement
            previously submitted.

[XXXX)      Other: Response Copy of Notice to File Missing Parts
            of Application-Filing Date Granted; Communication;
            Combined Declaration/Power of Attorney for Patent
            Application; Verified Statement (Declaration) Claiming
            Small Entity Status; Recordation Form Cover Sheet-
            Patents Only; Assignment.

[XXXX]      Please charge any deficiencies or credit any over
            payment in the enclosed fees to Deposit Account 14-
            0620.


                             By:




NAWROCKI, ROONEY & SIVERTSON, P.A.
Suite 401, Broadway Place East
3433 Broadway Street N.E.
Minneapolis, Minnesota 55413
Telephone:  (612) 331-1464
Facsimile:  (612) 331-2239




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                                                                     ADJCAM000070




                                     A2896
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                                                                     UNITED STATE..:; DEPARTMENT OF COMMERCE
                                                                     Patent and Trademark Office
                                                                     Address:     COMMISSIONER OF PATENTS AND TRADEMARKS
                                                                                  Washington, D.C. 20231


                                                                                                         ATTORNEY DOCKET NO.
                                                                                                   D             19239/103/10


                                                  F'tvl::::: :1. / 0 ::;:: (I(.                          EXAMINER
               LAWRENCE M NAWROCKI                                                               F'HPlhl ,, L.
               NAWROCKI ROONEY & SIVERTSON
               BROADWAY PLACE EAST SUITE 401                                                 ART UNIT             PAPER NUMBER            I
               3433 BROADWAY STREET NORTHEAST
               MINNEAPOLIS MN 55413                                                                                                 -.f-1 ell
                                                                                          DATE MAILED:           0 :;;:· / 0 6/ '):::::




       Please find below and/or attached an Office communication concerning this application or
       proceeding.

                                                                                       Commissioner of Patents and Trademarks




PT0·80C (Rev. 2/05)
                                                                                                                        1· File Copy
"U.S. GPO: 1996-404-496/40510


                                                                                                                 ADJCAM000071




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                                                                                  Application No.           Applicant(s)
                                                                                       08/814,168                             David E. Krekelberg
                       Office Action Summary                                      Examiner                                 Group Art Unit
                                                                                             Long Dinh Phan                      3632


       lXI Responsive to communication(s) filed on .:.:Mc.:..:ac:..:.r...:..l:...!,---'-'19::..:9::....:..._7_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      LJ This action is FINAL.
      rl Since this application is in condition for allowance except for formal matters, prosecution as to the merits is closed
            in accordance with the practice under Ex parte Quayle, 1935 C. D. 11; 453 O.G. 213.
       A shortened statutory period for response to this action is set to expire     3      month(s), or thirty days, whichever
       is longer, from the mailing date of this communication. Failure to respond within the period for response will cause the
       application to become abandoned. (35 U.S.C. § 133). Extensions of time may be obtained under the provisions of
       37 CFR 1.136(a).

       Disposition of Claims
            lXI Claim (s) ...:...1-=-2:..::6'-------------·- __.._ ..___ ......______ ·--·          ____ .. ______ is/are pending in the application.

                 Of the above, claim(s) - - - - - - - - - - - - - - - - - - - - i s / a r e withdrawn from consideration.
           ::J Claim(s)
                              ---------------------------- is/are allowed.
           lXI Claim(s) _ 1 _ - 2 - - ' 6 ' - - - - - - - - - - - - - - - - - - - - - - - - - - - - - is/are rejected.
           [] Claim(s)                                                                                                  is/are objected to.

           D Claims _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ are subject to restriction or election requirement.
      Application Papers
           iX1 See the attached Notice of Draftsperson's Patent Drawing Review, PT0-948.
           [[ The drawing(s) filed on                                  is/are objected to by the Examiner.
           U The proposed drawing correction, filed on - - - - - - - - is                             Olpproved        lJ:Jisapproved.
           0 The specification is objected to by the Examiner.
           ,. ] The oath or declaration is objected to by the Examiner.

      Priority under 35 U.S.C. § 119
           D Acknowledgement is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d).
             0 All LJ Some'"· LJ None of the CERTIFIED copies of the priority documents have been
               D received.
               D received in Application No. (Series Code/Serial Number) - - - - - - - -
                     0 received in this national stage application from the International Bureau (PCT Rule 17.2(a)).
                *CertKied copies not received: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           U Acknowledgement is made of a claim for domestic priority under 35 U.S.C. § 119(e).

      Attachment(s)
           lXI Notice of References Cited, PT0-892
           [1 Information Disclosure Statement(s), PT0-1449, Paper No(s). ______ __
           r·l Interview Summary, PT0-413
           !XJ Notice of Draftsperson's Patent Drawing Review, PT0-948
           ....J Notice of Informal Patent Application, PT0-152




                                                   ---SEE OFFICE ACTION ON THE FOLLOWING PAGES---
· U. S. Patent and Trademluk Office
 PT0-326 (Rev. 9-95)                                                 Office Action Summary                                         Part of Paper No.      4


                                                                                                                                             ADJCAM000072




                                                                                   A2898
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j
     Serial Number: 08/814,168                                                                     Page 2

     Art Unit: 3632



                                           DETAILED ACTION

            This is the first Office Action for serial number 08/814,168, Camera Clip, filed on March

     07, 1997. This application contains 1-26 claims.

                                              Claim Objections

            Claims 2-13 and 15-26 are objected to because of the following informalities: on line 1 of

     claims 2-13 and 15-26, before "apparatus", "An" should be replaced with --The--. Appropriate

     correction is required.

                                      Claim Rejections- 35 USC§ 112

            Claim 1-26 are rejected under 35 U.S.C. 112, second paragraph, as being indefinite for

     failing to particularly point out and distinctly claim the subject matter which applicant regards as

     the invention.

            The preamble of claim 1 is drawn to a subcombination of an apparatus comprising a hinge

     member and a support frame per se whereas line 3 appears to positi':ely recite "rotatable attached

     to the camera" this implying a combination claim. On lipes 12 and 13, "being substantially parallel

     to a first surface" is a combination claim. On lines 20-28, "the object having a second surface ... ,

     the camera being maintained ... " is also claiming combination. It is not clear whether applicant

     intends to claim a subcombination or combination.

            In claim 2, lines 3-6, "said second portion supporting the camera" and "said second

     portion are engaging the first surface" are claiming combination.

            In claim 3, line 2, "to releasably hold and protect the camera" is a combination claim.




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 Art Unit: 3632



        On lines 2, 3, 5, 8, and 9 of claim 4, "comprises the camera" and" to protect a lens of the

 camera" are claiming combination.

        On lines 2, 3, 6, and 7 of claim 5, "to protect the lens of the camera" and "the camera" are

 a combination claim.

        In claims 6 and 7, lines 2~7, "support the camera" and "engage the first surface" are

 claiming combination.

        On lines 2, 5, 7, and 8 of claim 8, "support camera", "engage the first and the second

 surfaces", and "a center gravity of the camera" are not a sucombination claim.

        On lines 1 and 3 of claims 9 and 10, "the object" and "the first surface" are not claiming

 subcombination.

        In claim 11, lines 1, 3, and 4, "the object", "the second surface", and "the first surface" are

 a combination claim.

        In claim 12, line 4, "rotatably attaching the camera" is claiming combination.

        On lines 1 and 6 of claim 13, "the camera" is a combination claim.

        Claims 14-26 are having the same 112 problems of combination and subcombination as

 indicated in the above claims 1-14.

        Applicant is advised to make all the necessary corrections for all the above claims 1~26.

                                       Allowable Subject Matter

        Claims 1~26 would be allowable if rewritten or amended to overcome the rcjection(s)

 under 35 U.S.C. 112 set forth in this Office action.




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 Art Unit: 3632



                                            Conclusion

        The prior art made of record and not relied upon is considered pertinent to applicant's

 disclosure. U.S. Patent 1,208,344 to McAll discloses a camera holding device.

        Any inquiry concerning this communication or earlier communications from the examiner

 should be directed to Long Dinh Phan whose telephone number is (703) 308-3409. The examiner

 can normally be reached on Tuesday through Friday from 8:00A.M. to 6:00P.M. E.S.T.

        Any inquiry of a general nature or relating to the status of this application or proceeding

 should be directed to the Group receptionist whose telephone number is (703) 308-2168. The fax

 number for this Group is (703) 305-3597 or 3598.



 Long Dinh Phan     Li> 1

 January 30, 1998




                                                                                          ADJCAM000075




                                               A2901
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FORM PTO 948 (REV. Ol-97)      U.S. DEPARTMENT OF COMMERCE-Patent and Trademark Office                                            Application No.   81 UJ128
                                                         NOTICE OF DRAFTPERSON'S
                                                          PATENT DRAWING REVIEW

The drawing filied (insert date)   r..Ej'JIQ]     arc:
A.                     not objected to by the Draftperson under 37 CFR 1.84 or 1.152.
B.   :;:><:::        objected to by tl~e Draftperson under 37 CFR 1.84 or 1.152 as indicated hclow. The Examiner will r~quirc submission of new, corrected
drawings wh:ilecessary. Corrected drawings must be submined according to the instructions on l~e hack of this notice.                                  __...__ ___

 I. DRAWINGS. 37 CFR 1.84(a): Acceptable categories of dwwing:.:                   7. SECTIONAL VIEWS. 37 CFR 1.84(h)(3)
    Black ink. Color.                                                                   _ _ _ Hatching not indicated for sectional portions of an ohjcct.
     _ _ _ Color drawing are not acceptable until petition is granted.                           Fig.(s)___ _
           Hg.(s) _ _ _ __                                                              ~---Stctiunal dL''tgnattnn should he noted with Arabtc <Jr
     _ _ _ Pencil and non black ink is not permiued. Fig(s)______ _                              Roman numbers. f'ig.(:.). ______
2. PHOTOGRAPHS. 37 CFR 1.84(b)                                                     R. ARRANGEMENT OP VIEWS. 37 CFR l.K4(i)
   _ _ _ Photographs are not acceptable until petition is granted,
                                                                                      ...... _____ Words do nut app,_·ar on a lmri!(l!ltal, ldt-to-rit•ht Ia:· hi on whe•:
     _ _ _ 3 full-tone sets are required. Fig(s)·~---­                                             page is either upri~ht or turned, so that the top hecotncs the rif•i1!
     - - - Photographs not properly mounted (must brystol hoard ur                               side, CXi'cptlor gr,tphs. Fig.(s) _ ~---
              photographic double-weight paper). Fig(s)·--~-~-                          ------ Views not on the same plane nn drawing sheet. Fig.(:._)
     - - - Poor quailty (half-tone). Fig(s),______ _ __                            9. SCALE. 37 CPR I R4(k)
3. TYPE OF PAPER. 37 CFR 1.84(e)                                                        _ _ _ Stale not large enough to show mechansim with crowrltng
   _ _ _ Paper not flexible, strong, white and durable.                                       when drawing is reduced in size to two-thirds in reproduction.
         Fig.(s)._ _ _ __                                                                        Fig.(s) _____~--
   _ _ _ Erasures, alterations, overwritings, interlineations,                     IOXACTER OF LINES, NUMBERS, & LETIERS. 37 ( 'FR I X4(1)
         folds, copy machine marks not acceptable. (too thin)
                                                                                              ___ Lines, numh<:rs & lctlers not uniformly thick and well detlncd,
   _ _ _ Mylar, vellum paper is not acceptable (too thin).
                                                                                                  clean, dunfJic and ~ck (poor line quality).
         Fig(s)._ _ _ __
                                                                                                 Fig.(s)    J -      lO.
4. SIZE OF PAPER. 37 CFR 1.84(F): Acceptable sizes:                                II. SHADING. 37 CFR 1.84(m)
     _ _ _ 21.0 em by 29.7 em (DIN size A4)                                           _ _ _ Solid black areas pale. Pig.(s) _ _ _ _ __
     _ _ _ 21.6 em by 27.9 em (8 1/2 x II inches)
                                                                                        ---Solid black >hading not permitted. Fig.(s) _ _~~-~
     _ _ _ All drawings sheets not the same size.
                                                                                        ---Shade lines, pale, rough :md blurred. Fig.(s)
         Sheet(s)·.,...-----                                                       12.NUMllERS, LETIERS, & REFERENCE CHARACTERS.
5. MARGINS. 37 CFR 18.4(g): Acceptable margins:                                       37 CFR 1.48(p)
             Top 2.5 em Left 2.5 em Right 1.5 em Bottom 1.0 em                          _ _ _ Numbers and reference characters not plain and legihle.
             SIZE: A4 Size                                                                    Fig.(s) _ _ _ _~-
             Top 2.5 em Left 2.5 em Right 1.5 em Bottom 1.0 em                          - - - Figure legend~ are poor. Pig.(s)_ _ _ _ _~
           SIZE: 81/2 x 11                     , -~
                                                                                        _ _ _ Numbers and reference characters not oriented in the same
     ~Margins nxable. Fig(s)                   _ ;.2_
                                                                                                 direction as the view. 37 CFR 1.84(p)(3) Fig.(sL,._\_____ _
     -..L---rop (T)        Left (L)
                                                                                        _ _ _ Engligh alphahct not used. 37 CFR 1.84(p)(3) Fig.(sL__~
     _ _ Right (R) _ _ Bottom (B)
                                                                                        ~Numbers, letters and reference characters must be at least/.                   /~.
6. VIEWS. CFR l.84(h)
   REMINDER: Specification may require revision to                                               .32 em ( 118 inch) in height. 37 CFR 1.84(p)(3) Fig.(sL_____I____.=_(,£!'__
   correspond to drawing changes.                                                  13. LEAD LINES. 37 CFR 1.84(q)
     _ _ _ Views connected by projection lines or lead lines.                           _ _ _ Lead lines cross each other. Pig.(s)'---------
           Fig.(s,\J--_ _ __                                                         ----· Lead lines missing. Fig.(s)·~-----
     Partial views. 37 CFR 1.84(h)(2)                                              14. NUMBERING OJ· SHEETS OF DRAWINGS. 37 CFR 14X(t)
     _ _ _ Brackets needed to show figure as one entity.                                _ _ _ Sheets not numbered consecutively, and in Ahabic numerals
               Fig.(s)._ _ _ __                                                                  h,~ginning with number I.     Fig.(s)_ _ __
     _ _ _ Views not labeled separately or properly.                               IS. NUMBERING OF VIEWS. 37 CFR I.R4(u)
           Fig.(s)._ _ _ __                                                             _ ___''Views not numbered consecutively, and in Ahrahic numerals.
     _ _ _ Enlarged view not labeled separately or properly.                                     beginning with number I. Fig.(s)_ _·····-·--
             Fig.(s),_ _ _~-                                                       16. CORRECTIONS. 37 CFR 1.84(w)
                                                                                        _ _ _ Corrections not made from PT0-948 dated~---~
                                                                                   17.DESIGN DRAWINGS. 37 CFR 1.152
                                                                                        ________ Surface shading shown not appropriate. Fig.(s)~--~~--­
                                                                                        - - - Solid black shading not used for color contrast.
                                                                                              Fig.(s)_ _ _ _~
                                                                                                                   -----------······------------
COMMENTS




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                                          Case: 13-1665               Document: 97-3                      Page: 376               Filed: 12/11/2014


                              Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 69 of 124 PageID #: 4440




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                                                                                     Application No.
                                                                                           08/814,168                              David E. Krekelberg
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                                                                           U.S. PATENT DOCUMENTS

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                     Case: 13-1665        Document: 97-3        Page: 377         Filed: 12/11/2014


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                       IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


            In re Application of:

            David E. Krekelberg          ~

            Serial No.      08/814,168         .-'
                                                     ·"
                                                                               Examiner:         Phan, L.

            Filed          March 71 1997                                    Group Art Unit:             3632

            For            CAMERA CLIP         ,/
            Docket No.:     19239/103/101



            Assistant Commissioner                                     CERTIFICATE UNDER 37 C.F.R. 1.8
                                                             I hereby certify that this correspondence is being
             for Patents                                     deposited with the United States Postal Service on
            Washington, D.C.  20231                          the date shown bel ow with sufficient postage as
                                                             first class mail in an enveloped addressed to the
                                                             Assistant Commissio      for Patents, Washington,
                                                             D.C. 20231 on this        ay of           , 19JU{




            Sir:
                                      PETITION FOR EXTENSION OF TIME
                    It is requested that the time for filing the enclosed

            AMENDMENT, now set to expire on May 7, 1998, be extended for one

            month to now expire on June 7,                 1998.     A check in the amoune ·:;of:·
                                                                                                         '(       '

            $55.00 is enclosed.

                                             Respectfully submitted,
                                                                                                                      . ".!
                                             David E. Krekelberg

                                             By his attorney                                              rv
                                                                                                              N



            Date


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                              Case: 13-1665             Document: 97-3         Page: 378       Filed: 12/11/2014


            Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 71 of 124 PageID #: 4442




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( l\\\\ '    1 \'!~~ (,) \
                  IN.~HE UNITED STATES PATENT AND TRADEMARK OFFICE
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       :'1 J r~              Application of:

            David E. Krekelberg

            Serial No.:                08/814,168                                          Examiner:        Phan, L.

            Filing Date:                   March 7, 1997                                Group Art Unit:                  3632

            For:             CAMERA CLIP

            Docket No.:                19239/103/101

                                                        TRANSMITTAL SHEET
            Assistant Commissioner for Patents
            Washington, D.C. 20231

            Sir:

               CERTIFICATE UNDER 37 C.F.R. 1.8: I hereby certify that this correspondence
                                    and the documents described herein
                are being deposited with the Urtited States Postal Service on the date shown
              below with sufficient postage as firs~~cl:s mail in an envelope address~~
             the: Assistant Commissioner for ~ents         shingtX~/D.c. 20231, on this
                                       day/of/"1 tl   'o     , 19~/~Y~
                                 By                              J/7 /L             -                                          ··--I
                                                        ( prM:yn Y. Erickson
                                                                /
            We are transmitting herewith the attached:                                                          '''t"'




            [XXX]                Amendment

                                 [ ] No additional fee required      .                                                    '   ;
                                 [XX] The fee has been calculated as shown:                                               : •• 1




                                                          CLAIMS AS AMENDED
                                           ( 3)            (4)          ( 5)     SMALL ENTITY            OTHER
                                  REMAINING             HIGHEST    EXTRA        RATE       ADD' L    RATE      ADD' L
                                  CLAIMS                PAID                               FEE                 FEE
             TOTAL                    21 -                2&:           0         xl1=     $         x22=      $
             CLAIMS
             INDEPEN-                  5    -              :r-          2         x41=     $82       X82=      $
             DENT
             CLAIMS
                   ) FIRST MULTIPLE DEPENDENT CLAIM                             +135=      $         +270      $

                                                TOTAL                           $82.00               $



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                                                                   A2905
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[XXXX]     Checks in the amounts of $55.00 and $82.00 are
           enclosed.

[XXXX]     Small entity status of this application under 37 C.F.R.
           1.9 and 1.27 has been established by verified statement
           previously submitted.

[XXXX]     Other:    Petition for Extension of Time.

[XXXX]     Please charge any deficiencies or credit any over
           payment in the enclosed fees to Deposit Account 14-
           0620.


                             By:
                                   Lawrence M. N~wrocki
                                   Reg. No. -~2...,9~3"'---'='--3""-3_ _ _ _ _ _ __


NAWROCKI, ROONEY & SIVERTSON, P.A.
Suite 401, Broadway Place East
3433 Broadway Street N.E.
Minneapolis, Minnesota 55413
Telephone:   (612) 331-1464
Facsimile:   (612) 331-2239




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                                                                                 ADJCAM000080




                                     A2906
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                                                                                                   P A T E N T

                          IN THE                                      PATENT AND TRADEMARK OFFICE

            In reApplication of:
                                             -~---
            David E. Krekelberg                        __.....-"'"~


            Serial No.:            08/814,168                              Examiner:    Phan, L.

            Filed                  March 7, 1997                           Group Art Unit:     3632

            For                    CAMERA CLIP                        /'
            Docket No.:            19239/103/101

            Assistant Commissioner for Patents
            Washington, D.C. 20231

             CERTIFICATE UNDER 37 C. F. R. 1. 8:           I hereby cer.'t ify that this correspondence is
             being deposited with the United States Postal Service on the date shown below
             with sufficient postage as first class mail in an envelope addressed to the:

                                                      J
             Assistant Commissio~v~o. r Patents, Washington, D. c., 20231 on this
                                -~f,..l-.,.__;;_"'\.._ day       une           19---:::....:98"----




            Sir:


                                                            AMENDMENT

                   This Amendment is being filed in response to the                                   presently~
                                                                                                             [   ~ _)     " ' ')




            outstanding Official Action issued by the Examiner regarding?'th~.:

            above-captioned matter.                  Please amend the case as follows.                                             . I




                                                                                                                        ,.,
                                                                                                                        : .)
            In the claims

                   Please amend Claim 1 as follows:



                   1.       (Amended)     [An apparatus] Apparatus for supporting a
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                           ~m~a.        having a lens, on any generally horizontal,
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                           substantially planar surface and on an object having a

                           first surface and a second surface and an edge




 /)
                                                                                                        ADJCAM000081




                                                                      A2907
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             intersecting the first surface and the second surface,

             comprising:

            a.    a hinge member adapted to be rotatably attached to

                  the camera, said camera, when the hinge member is

                  so attached,     rotating~    [over] about a first axis

                  of   rotation~   relative to said hinge memberi and

            b.    a support frame     [hingedly] rotatably attached to

                  said hinge member [to engagingly support said

                  hinge member on the object] and configured to

                  support said hinge member on the surface and the

                  object, said hinge member rotating [over] about a

                  second axis of rotation relative to said support

{jl               frame,   said first axis of rotation being generally

                  perpendicular to said second axis of rotation,

                  said second axis of rotation being substantially

                  parallel to [a] the first surface when said hinge

                  member is [engagingly] supported on the object,

                  said support frame     [supporting       ~aid   camera in]

                  having a first     [position] disposition positioned
                                                ·~-


                  on [the object when said first surface is]             said

                  generally horizontal, substantially [level] planar

                  surface, and said support frame           [supporting the

                  camera in] having a second [position on]

                  disposition attached to the object when said first

                  surface and said second surface are [is]             inclined

                  from [said] a generally horizontal orientation


                                         ?.




                                                                          ADJCAM000082




                                      A2908
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                            [substantially level position],            [the object having

                            a second surface wherein a thickness between the

                            first surface and said second surface defines an

                            edge therebetween,]        the camera being maintained

                            adjacent said edge in said second disposition of

                            said support frame         [position when the uppermost

                           portion of the object is the edge, rotation of

                            said support frame being prevented along an axis

                            substantially parallel to said second axis, said

                            second axis being substantially parallel to said

                            edge] .

          {__ Please amend Claim 2 as follows:              -'")
              2.      (Amended)    [An apparatus] Apparatus according to claim 1

                      wherein the support frame comprises a first portion and

                      a second portion,      [said first portion and said second

                      portion supporting the camera in]            the support frame

                      being in the first      [position] disposition on the

                       [first] generally horizontal, substantially planar

                      surface when      distal extremities of          said first portion

                      and said second portion are engaging the generally

                      horizontal,      [first surface when the first surface is]

                      substantially [level] planar surface,             [said first

                      portion and said second portion supporting the camera

                      in] and the support frame being in the second

                       [position] disposition on the [first surface adjacent

                      the edge] object when said first portion is engaging


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                                                                                    ADJCAM000083




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              the first surface and said second portion is engaging

              [the edge and] the second surface, said first portion

              and said second portion in combination maintaining the

              camera adjacent the edge               [and preventing rotation of

              the support frame along the axis substantially parallel

              to the second axis] .
--------------------~------·· - - - - " · - - ·---------···




       Please cancel Claim 3 v-· ---- ·



       Please amend Claim 4 as follows:

              (Amended)      [An apparatus] Apparatus according to claim

              [3] ,£ wherein the support frame includes a               cove~~~-cl~
              [means to releasably hold and] protect the camera

              [comprises] lens when the camera [being]                is rotated

              [around] about the second axis               [in a direction from the

              second portion towards the first portion of the support

              frame]    until the camera is [in a position] between the

              first portion and the second portion [and is releasably

              held between the first portion and the second portion,

              the first portion having means to protect a lens of the

              camera] .



       Please amend Claim 5 as follows:
                                                                                   ~:.
              (Amended)      [An apparatus] Apparatus according to Claim,A'"

              wherein the [means to]           first portion of the support

              frame further includes said cover,               [protect the lens of


                                                 4




                                                                                ADJCAM000084




                                             A2910
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                       the camera is a] said cover being mounted at the distal
                                                  O..v'"-(/!-~ <J'-d-D.-(--:f:W~Cl--'
                       end of the first portion[,]~ee~~~ the lens of the
                                                                IL--'
                       camera [facing in the direction of rotation about the

                       second axis from the second portion to the first

                       portion of the support frame to allow the lens of the

                       camera to be fitably received into said cover when the

                       camera is releasably held between the first portion and

                       the second portion] .



          (       Please amend Claim 6 as follows:                      )

              Y../     (Amended)    [An apparatus] Apparatus according to Claim 2

                       wherein the [first portion and the second portion

                       support the camera] support frame is in the first

                       [position on the first surface] disposition when the

                       first portion and the second portion engage the [first]

                       generally horizontal, substantially planar surface at

                       three or more locations in a common plane [of the first

                       surface to prevent] , thereby preventing rotation of the

                       support frame relative to the,, [first] generally

                       horizontal, substantially planar surface in any

                       direction [within said plane of the surface] .
              .   ~----------~---     --·· ---·   - - ------------


                  Please cancel Claim 7.            --
                  Please amend Claim 8 as follows:


                                                            5




  )

"""'                                                                                      ADJCAM000085




                                                       A2911
        Case: 13-1665      Document: 97-3   Page: 385        Filed: 12/11/2014


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             (Amended)    [An apparatus] Apparatus according to Claim 2

             wherein the [first portion and the second portion

             support the camera] support frame is in the second

             [position on the first surface adjacent the edge]

             disposition     when a first distance from the edge to

             [the position] a location where the first portion

             engages the first surface is greater than a second

             distance from the edge to [the position] a location

             where the second portion engages the second surface,                [a

             center of gravity of the camera and said hinge member

             being adjacent and external to the first surface in

             combination with the first distance being greater than

             the second distance] thus preventing rotation of the

             support frame    [along an axis substantially parallel to

             the second axis of rotation]



       Please cancel Claims 9-10, inclusive.



      Please amend Claim 11 as follows:     . -   Fj   ---




             (Amended)   [An apparatus] Apparatus according to Claim 1

            wherein the     object is a display screen for a laptop

            computer [when the support frame is in the second

            position], and the second surface [being]             is the front

            of the display screen and the first surface [being] is

            the back of the display screen.

      Please amend Claim 12 as follows:




                                                                          ADJCAM000086




                                     A2912
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              (Amended)     [An apparatus] Apparatus according to Claim 1

              wherein the hinge member [is comprised of]                    includes a

              body having a proximal and a distal end, a pivot

              element at said proximal end of said body adapted to

              rotatably [attaching] attach the camera to the body so

              that the camera rotates about the first axis relative

              to the body, and a hinge element at said distal end of

              said body hingedly attaching said body to the support

              frame so that said body rotatesL about the second axisL

              relative to the support frame.




   ~ ~
         Please amend Claim 13 as follows:
                                                     /    /
                                                         ..


     ~-       (Amended)     [An apparatus] Apparatus according to Claim

                 wherein [the camera has an electrical wiring harness

              to couple from an interior to an exterior,] the pivot

             element      [having] has a bore[ parallel to] along the

              first axis of rotation to receive an electrical wiring

             harness   [to] and pass said wiring harness                 [from said

              interior] to [said exterior of]                 the camera.
                                          "·


    Ulease amend Claim 14 as follows: )

  / ~/        (Amended)    [An apparatus] Apparatus for supporting a

             camera, having a housing and a lens, on any generally

             horizontal, substantially planar surface and on an

             object having a first surface and a second surface, and

             an edge intersecting the first surface and the second


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                                                                                 ADJCAM000087




                                       A2913
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                          surface, comprising:
                          a.    a hinge member adapted to be rotatably attached to

                                the camera, said camera, when the hinge member is

                                so attached,    rotating~      [over] about a first axis

                                of rotation relative to said hinge memberi and

                          b.    a support frame    [hingedly]      rotatably attached to

                                said hinge member [to engagingly support said

                                hinge member on the object] and configured to

                                support said hinge member on the surface and the

                                object, said hinge member rotating [over] about a

                                second axis of rotation relative to said support

                                frame,   said first axis of rotation being generally

                                perpendicular to said second axis of rotation,

                                said second axis of rotation being substantially

                                parallel to [a] the first surface when said hinge

                                member is [engagingly] supported on the object,

                                the support frame having a rear support element

                                and a first and ~ second front support element,

                                said [rear support element and said first and said

                                second front support elements supporting the

                                camera in the]    support frame having a first

                                [position] disposition positioned on [said first]

                                said generally horizontal, substantially planar

                                surface when said rear support element and said

                                first and second front support elements are

                                engaging said [first] generally horizontal,


                                                          8



    )   "
    -~
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                                                                                       ADJCAM000088




                                                   A2914
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                  substantially planar surface [when said first

                  surface is substantially level] , said [rear

                  support element and said first and said second

                  front support elements supporting the camera in]

                  support frame having a second [position]

                  disposition attached to the object [on said first

                  surface adjacent an edge] when [said]                 the first

                  surface is inclined from [said]              ~    substantially

                  [level] horizontal position so that an uppermost

                  extremity of the object is the edge,                 [the object

                  having a second surface wherein a thickness

                  between said first surface and said second surface

                  defines said edge therebetween, the camera] the

                  support frame being maintained [adjacent said

                  edge]   in said second [position when the uppermost

                  portion of the object is the edge,] disposition by

                  said rear support element engaging said first

                  surface and said first and second front support

                  elements engaging [the edge and]                 the second
                                              ~.



                  surface, said rear support element and said first

                  and second front support elements in combination

                  [maintaining the camera adjacent the edge and]

                  preventing rotation of the support frame                     [along an

                  axis substantially parallel to the second axis,

                  said second axis being substantially parallel to

                  said edge] .
                                                                            --~--~-·-----
                                                   ---------   -""-'   -·


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                                                                                   ADJCAM000089




                                     A2915
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                   Please cancel Claim 15.



                   Please amend Claim 16 -------
                                           as ------
                                                 follows:
                                          -~------·-




                                  ,e
                            (Amended)     [An apparatus) Apparatus according to claim

                            [15]~wherein               the [means to]   support frame           _ ___ ,).__
                                                             ~:;;.·::({-;~.. z(o-:--~:>h:f--c.C:.·c. /
                            [releasably hold and protect] ~~eet~Athe camera

                            [comprises] when the camera [being] is rotated [around]

                           about the second axis             [in a direction from the first

                           and second front support elements] towards the rear

                           support element of the support frame until the camera

                           is   [in a position] between the rear support element and

                           the first and second front support elementsL and is

                           releasably held between the rear support element and

                           the first and second front support elements[, the rear

                           support element having means to protect a lens of the

                           camera] .



              (""Please amend Claim 17 as follows:                        .-)

            ,'"V"=~-,
                   ,§(_
                       .   (Amended)
                           Jl            [An apparatus) Apparatus
                                                          ~
                                                                  according to Claim

                           ..)!'((wherein the first and second front support elements

                           are spaced a distance apart               [at a]L and wherein said

                           distance i£ less than a diameter of                  [a]   the housing of

                           the camera[,] so that as the camera is being rotated

                           [around] about the second axis in the direction towards

                           the rear support elementL [so that]                  said housing passes

                           between the first and second front support elements[,]


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                                                                                               ADJCAM000090




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                  and the first and second front support elements

                  resiliently [and outwardly flexing]           flex outwardly to

                  accommodate passage of said housing, said housing being

                  releasably held once passing between the first and

                  second front support elements by the rear support

                  element engaging said housing at the lens[, the first

                  and second front support elements engaging said housing

                  backside to resiliently urge said housing towards the

                  rear support element] .



         (_ Please amend Claim 18 as follows:           /)

          ~       (Amended)   [An apparatus] Apparatus according to Claim
                  )4
                 ~wherein the       [means to]     first portion of the support

                  frame further has a cover,        [protect the lens of the

                  camera is a] said cover being mounted at [the]_£ distal
                                                 c"'--.0~ ~~~rL-­
                  end of the rear support element[,] to receive the lens
                                                          A
                  of the camera [facing in the direction of rotation

                  about the second axis from the first and second front

                  support elements to the rear ,,,support element of the

                  support frame to allow the lens of the camera to be

                  fitably received into said cover] when the camera is

                  releasably held between the rear support element and

                  the first and second front support elements.




        ~~~Please amend Claim 19 as follows'


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_')
                                                                              ADJCAM000091




                                           A2917
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       ~~-- (Amended)           [An apparatus] Apparatus according to Claim
                   ,o
                   ~wherein     the [rear support element and the first and

                    second front support elements support the camera]

                    support frame is in the first         [position on the first

                    surface] disposition when the rear support element and


u       -~------- the first and second front support elements engage the
      ··--


                    [first] generally horizontal, substantially planar
                    surface at three or more locations in a common plan~ of

                    the [first] generally horizontal, substantially planar

                    surface to prevent rotation of the support frame

                    relative to the [first] generally horizontal,

                    substantially planar surface [in any direction within

                    said plane of the first surface] .



    (__ ____   ~lease amend Claim 20 as follows:           /)
       ~~· ~~ended)             [An apparatus] Apparatus according to Claim

                   ~wherein the      [rear support element and the first and

                    second front support elements suppo~t the camera]

                    support frame is in the first          [position] disposition

                    positioned on the [first] generally horizontal,

                    substantially planar surface when the rear support

                    element and the first and second front support elements

                    engage the [first] generally horizontal, substantially

                    planar surface to prevent rotation of the support frame

                    relative to the [first] generally horizontal,

                    substantially planar surface [in any direction within a


                                                  12




                                                                                ADJCAM000092




                                           A2918
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                             plane of the first surface] .



               (__ __ Please amend Claim 21 as follows'
      ·--...




                 J{p . . ~   (Amended)   [An apparatus] Apparatus according to Claim
                   /L        ff)
                             ~wherein    the [rear support element and the first and

                             second front support elements support the camera]

                             support frame is in the second [position on the first

                             surface adjacent the edge] disposition when a first

                             distance from the edge to [the position] a location

                             where the rear support element engages the first

                             surface is greater than a second distance from the edge

                             to [the position] a location where the first and second

                             front support elements engage the second surface,         [a

                             center of gravity of the camera and said hinge member

                             being adjacent and external to the first surface in

                             combination with]   the first distance being greater than

                             the second distance thus preventing rotation of the

                             support frame   [along an axis substantially parallel to

                             the second axis of rotation] .
               -~~---------------            -----

                     Please cancel Claims 22-24;- inclusive.

                     Please amend Claim 25 as follows:
-~- ----·-----------------~-------




                             (Amended)   [An apparatus] Apparatus according to Claim
                             JQ}
                             ~wherein the hinge member       [is comprised of]   includes

                             a body having a proximal and a distal end, a pivot


                                                       13




  ;   \,

                                                                                     ADJCAM000093




                                                     A2919
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                element at said proximal end of said body adapted to

                rotatably [attaching] attach the camera to the body so

                that the camera rotates about the first axis relative

                to the body, and a hinge element at said distal end of

                said body hingedly attaching said body to the support

                frame so that said body rotates about the second axis

                relative to the support frame.



   ~lease amend Claim 26 as followso ~
    Jl   y.- (Amended) [An apparatus] Apparatus according to claim
         '     1{1/
              ~ wherein [the camera has an electrical wiring harness
                to couple from an interior to an exterior,] the pivot

                element [having] has a bore [parallel to]       along the

                first axis of rotation to receive said electrical

                wiring harness [to] and pass said wiring harness [from

                said interior]   to [said exterior of]     the camera.




                (Newly presented) A camera clip for supporting a camera
                                                ~-



                on a laptop computer, the laptop computer having a

                display screen which can be inclined from a generally

                horizontal position, an uppermost portion of the

               display screen defining an edge, comprising:

                a.    a hinge member adapted to be rotatably attached to

                      the camera, said camera rotating about a first

                      axis of rotation relative to said hinge member;


                                          14




                                                                         ADJCAM000094




                                       A2920
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                      and

                b.    a support frame hingedly attached to said hinge

                      member to engagingly support said hinge member on

                      the display screen, said hinge member rotating

                      over a second axis of rotation relative to said

                      support frame, the camera being maintained

                      adjacent the edge, rotation of said support frame

                      being prevented along an axis substantially

                      parallel to said second axis where said second

                      axis is substantially parallel to said edge.



                 (Newly presented) Apparatus for supporting a camera

                having a lens on a substantially level surface,

                comprising:

                a.    a hinge member adapted to be rotatably attached to

                      the camera, the camera rotating about a first axis

                      of rotation relative to said hinge member; and

                b.    a support frame rotatably at tac):1ed to said hinge

                      member and configured to support said hinge member
                                                  '·'
                      on a generally horizontal, substantially planar

                      surface, said hinge member rotating about a second

                      axis of rotation relative to said support frame,

                      said first axis of rotation being generally

                      perpendicular to said second axis of rotation,

                      said second axis of rotation being substantially

                      parallel to the generally horizontal,


                                            15




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                                                                          ADJCAM000095




                                         A2921
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                  substantially planar surface when said hinge

                  member is supported on the generally horizontal,

                  substantially planar surface, said support frame

                  having a first portion and a second portion

                  wherein said support frame protects the camera

                  when said hinge member is not supported on the

                  generally horizontal, substantially planar

                  surface, and when the camera is rotated around

                  said second axis in a direction from said second

                  portion towards said first portion of said support

                  frame until the camera is between said first

                  portion and said second portion and is releasably

                  held between said first portion and said second

                  portion.



            (Newly presented) Apparatus for supporting a camera,

            having a lens, on an object having a first surface and

            a second surface, wherein a thickness measured between

            the first surface and the second surface defines an

            edge therebetween, comprising:

            a.    a hinge member adapted to be rotatably attached to

                  the camera, said camera, when the hinge member is

                  so adapted, rotating about a first axis of

                  rotation relative to said hinge memberi and

            b.    a support frame rotatably attached to said hinge

                  member and configured to support said hinge member


                                        16




                                                                      ADJCAM000096




                                     A2922
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                         on the object, said hinge member rotating about a

                         second axis of rotation relative to said support

                         frame,   said first axis of rotation being generally

                        perpendicular to said second axis of rotation,

                         said second axis of rotation being substantially

                        parallel to the first surface when said hinge

                        member is supported by said support frame on the

                        object, said support frame supporting said hinge

                        member on the object when said first surface is

                         inclined from a substantially horizontal position,

                        the camera being maintained adjacent the edge when

                        an uppermost extremity of the object is the edge,


       ar               rotation of said support frame being precluded

                        about an axis substantially parallel to said

                         second axis, said second axis being substantially

                        parallel to said edge, said support frame having a

                         first portion and a second portion wherein said

                         support frame releasably holds and protects the

                         camera when said hinge member is not supported by
                                                     "·
                         said support frame on the object and the camera is

                         rotated around said second axis in a direction

                        from said second portion towards said first

                        portion of said support frame until the camera is

                        between said first portion and said second portion

                        and is releasably held between said first portion

                        and said second portion .

..   ---------~~----·
                                               17




                                                                             ADJCAM000097




                                             A2923
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                                  R E MA R K S

              The preceding amendment and following remarks are

      submitted in response to the presently outstanding Official

      Action of the examiner.       Having fully responded to each

      objection and ground of rejection of the examiner, all

      pending claims are believed to be in condition for

      allowance.      Entry of these amendments and reconsideration by

      the examiner to that end is respectfully requested.

              The examiner objected to claims 2-13 and 15-26 because,

      at line 1 of claims 2-13 and 15-26, before "apparatus",             "An"

      should be replaced with --The--.         In response, Applicant has

      amended claims 1-2, 4-6, 8, 11-14, 16-21 and 25-26 to make

      appropriate correction.

              Claims 1-26 were rejected under 35 U.S.C. §112, second

      paragraph, as being indefinite for failing to particularly

      point out and distinctly claim the subject matter which

      Applicant regards as the invention.          The Examiner stated

      that the preamble of claim 1 is drawn to a subcombination of

      an apparatus comprising a hinge member and a support frame

      per se whereas line 3 appears to positively recite
      11   rotatable attached to the camera", thus implying a

      combination claim.       The Examiner further stated that, at

      lines 12 and 13, "being substantially parallel to a first

      surface" is a combination claim.         The Examiner further

      stated that, at lines 20-28,       "the object having a second

      surface .        ., the camera being maintained .          " is also


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                                                                       ADJCAM000098




                                      A2924
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       claiming a combination.      The Examiner stated that it is not

       clear whether Applicant intends to claim a subcombination or

       a combination.

             In response, Applicant has amended claim 1 to more

       clearly identify the "work pieces" in the preamble and

       thereby focus upon the elements of the invention, e.g. the

       hinge member and the support frame,          in the claim body.

       Applicant has amended the preamble of claim 1 to recite "a

       camera having a lens on an object, the object having a first

       surface and a second surface" wherein a thickness between

       the first surface and the second surface defines an edge

       therebetween.     Applicant has also amended other portions of

       claim 1 to be consistent with the above changes.

             The Examiner stated that in claim 2, lines 3-6,           "said

       second portion supporting the camera" and "said second

       portion are engaging the first surface" are claiming

       combination.     In response, Applicant has amended claim 2 to

       remove the language "said first portion and said second

       portions supporting the camera in" and replace it with "the
                                               ,,
       support frame being in ... ".

             The Examiner stated that in claim 3, line 2 "to

       releasably hold and protect the camera" is a combination

       claim.     Claim 3 has been cancelled.

            The Examiner stated that on lines 2, 3, 5, 8, and 9 of

       claim 4,    "comprises the camera" and "to protect a lens of

       the camera" are claiming combination.          In response Applicant


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                                                                       ADJCAM000099




                                     A2925
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       has amended claim 4 to make it clear that the camera is a

        "work piece" and to make other clarifications.

                 The Examiner stated on lines 2, 3, 6, and 7 of claim 5,

       "to protect the lens of the camera" and "the camera" are a

       combination claim.                In response, Applicant has amended claim

       5, and it is clear that the camera and the lens of the

       camera are "work pieces" and to make other amendments for

      clarification.

                 The Examiner stated that in claims 6 and 7, lines 2-7,

       "support the camera" and "engage the first surface" are

      claiming combination.                 In response, Applicant has amended

      claims 6 and 7 to clarify inv~ntive structure and "work

      pieces".

                The Examiner stated on lines 2, 5, 7, and 8 of claim 8,
       11
            support camera 11 ,    "engage the first and the second

      surfaces", and "a center of gravity of the camera" are not a

      subcombination claim.                 In response, Applicant has amended

      claim 8 to remove            11
                                        first portion and the . second portion

      support the camera" to replace it,, with "support frame".

      Applicant has amended claim 8 to remove any ambiguity

      regarding combination/subcombination issues.

                The Examiner states in lines 1 and 3 of Claims 9 and

      10, "the object" and "the first surface" are not claiming

      subcombination.             In response, Applicant has cancelled Claims

      9 and 10.

                The Examiner states that in claim 11, lines 1, 3 and 4,


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                                                                                ADJCAM000100




                                               A2926
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      "the object", and "the second surface", and "the first

      surface" are a combination claim. In response, Applicant has

      amended claim 11 to make amendments to further clarify the

      combination/subcombination issues.

            The Examiner stated that in claim 12, line 4,

      "rotatably attaching the camera" is claiming combination.

      In response, Applicant has amended claim 12 to define the

      interaction between the work piece, the camera, and the

      body, an element of the invention.

            The Examiner stated on lines 1 and 6 of claim 13, "the

      camera" is a combination claim.         In response, Applicant has

      amended claim 13 to remove "the camera" as an element of the

      invention.

            The Examiner stated that claims 14-26 have the same

      §112 problems of combination and subcombination as indicated

      in the above claims 1-14.       In response, Applicant has

      amended these claims to overcome the §112 problems of

      combination and subcombination as were discussed above.

           Applicant has added newly presented claims 27-29.
                                       "'
      Applicant submits that, in view of the above arguments

      regarding pending Claims 1-2, 4-6, 8, 11-14, 16-21, and 25-

      26; Claims 27-29 are also in condition for allowance.

            Having thus addressed each objection and ground of

      rejection of the Examiner, pending claims 1-2, 4-6, 8, 11-

      14, 16-21, and 25-26, as well as newly presented claims 27-

      29, are now believed to be in condition for allowance.


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                                                                      ADJCAM000101




                                     A2927
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      Entry of the present amendment and reconsideration to that

      end is respectfully requested.

            Please charge any deficiencies or credit any

      overpayment to Deposit Account 14-0620.



                                   Respectfully submitted,

                                   David E. Krekelberg

                                   By his attorney,

                                                                    /
                                                               /"
      Dated:                                        '/"!//   :(:
                                            M.     awrocki
                                   Reg. No. 2 9, 3 3 3
                                   NAWROCKI, ROONEY & SIVERTSON, P.A.
                                   Suite 401, Broadway Place East
                                   3433 Broadway Street Northeast
                                   Minneapolis, MN 55413
                                   Telephone:    (612) 331-1464
                                   Facsimile:    (612) 331-2239




                                        22




                                                                          ADJCAM000102




                                     A2928
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                                                                         Application No.
                                                                                 08/814,168                      David E. Krekelberg
                          Interview Summary                              Examiner                              Group Art Unit
                                                                                    Long Dinh Phan                  3632


     All participants (applicant, applicant's representative, PTO personnel):

     (1 ) Long Dinh Ph an                                                        (3) _____________________________

     (2) Lawrence M. Nawroki                                                     (4) _ __

     Date of Interview _ _ _ _ _.j_y/7, 1998


     Type:        1XJ Telephonic       '] Personal (copy is given to   1· i applicant      C applicant's representative).

     Exhibit shown or demonstration conducted:              n Yes      lXJ No.    If yes, brief description:




     Agreement           lXI was reached. 0 was not reached.

     Claim (s) discussed: -=4~,-=5"-,--'1-=6"--,-"a.:..:.n.:::..d--'1-=8'--------------

     Identification of prior art discussed:
     None


     Description of the general nature of what was agreed to if an agreement was reached, or any other comments:
    ~.J]Jicant agreed to amend the claims to overcome possible             112 problems a'!S!J]_ass the case to issue.




    (A fuller description, if necessary, and a copy of the amendments, if available, which the examiner agreed would render
    the claims allowable must be attached. Also, where no copy of the amendents which would render the claims allowable
    is available, a summary thereof must be attached.)

    1.    rzJ    It is not necessary for applicant to provide a separate record of the substance of the interview.
    Unless the paragraph above has been checked to indicate to the contrary, A FORMAL WRITTEN RESPONSE TO THE
    LAST OFFICE ACTION IS NOT WAIVED AND MUST INCLUDE THE SUBSTANCE OF THE INTERVIEW. (See MPEP
    Section 713.04). If a response to the last Office action has already been filed, APPLICANT IS GIVEN ONE MONTH
    FROM THIS INTERVIEW DATE TO FILE A STATEMENT OF THE SUBSTANCE OF THE INTERVIEW.

    2. [l        Since the Examiner's interview summary above (including any attachments) reflects a complete response to
                 each of the objections, rejections and requirements that may be present in the last Office action, and since the
                 claims are now allowable, this completed form is considered to fulfill the response requirements of the last
                 Office action. Applicant is not relieved from providing a separate record of the interview unless box 1 above
                 is also checked.




    Examiner Note: You must sign and stamp this form unless it is an attachment toil signed Office uction.

U. S. Potent ond Trodemork Office
PT0-413 (Rev. 10-95)                                             Interview Summary                                              Paper No.


                                                                                                                                ADJCAM000103




                                                                          A2929
                                Case: 13-1665                         Document: 97-3                                       Page: 403     Filed: 12/11/2014


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                                                                                                             UNITED STATES 1...-PARTMENT OF COMMERCE
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        APPLICATION NO.                FILING DATE                                     FIRST NAMED INVENTOR                                           ATTORNEY DOCKET NO.

           08/814,168                        03/07/97

                                                                                                                                                      EXAMINER
                                                                                 F' j;j ::::: :i. i I) ";:-' :!. _I_::;.
           LAWRENCE M.                    NAWROCKI                                                                                        j>j-j(·,j\1. :_
           !i(,i·JF::;:)C::I< l ,. I::;_•()C11\lF:Y 8-: :-:~-;I '•-/F:r:<:T:·il.'i\i
                                                                                                                                       ART UNIT
           F:i:·:C:J,l/-Jti·/ F'L . ?-'iC:F: L:ri·:::;r '··liJ I ·1-F. . ! u-i
           34~3 BROADWAY STREET NORTHEASl
           MINNEAPOLIS MN 55413
                                                                                                                                    DATE MAILED:




     Please find below and/or attached an Office communication concerning this application or
     proceeding.
                                                                                                                                  Commissioner of Patents and Trademarks




PT0·90C (Rev. 2/95)                                                                                                                                                1· File Copy

'U.S. GPO: 1998-437-638/80022
                                                                                                                                                                 ADJCAM000104




                                                                                                      A2930
                                    Case: 13-1665     Document: 97-3             Page: 404         Filed: 12/11/2014


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        ----1b·~-----------------------------------r---------------.----------------------------------,
                                                                      Application No.
                                                                           08/814,168                     David E. Krekelberg
                       Notice of Allowability                        Examiner                          Group Art Unit
                                                                                long Dinh Phan              3632


     All claims being allowable, PROSECUTION ON THE MERITS IS (OR REMAINS) CLOSED in this application. If not included
     herewith (or previously mailed), a Notice of Allowance and Issue Fee Due or other appropriate communication will be
     mailed in due course.

     iXl This communication is responsive to amenciment filed on 06/12/1998 ···-·-----------------------·-------
     lXI The allowed claim(s) is/are 1, 2, 4-6, B,. .1!.-14, 76-21, and?-5-29.
     -~   The drawings filed on _ _ _ _ _ _ _ _ _ are acceptable.

     :1 Acknowledgement is made of a claim for foreign priority under 35 U.S. C. § 119(a)-(d).
          · _, All    LJ Some* U None        of the CERTIFIED copies of the priority documents have been
               ::::J received.
               ::J received in Application No. (Series Code/Serial Number) ____________
               U received in this national stage application from the International Bureau (PCT Rule 1 7. 2(a)).
          ·•certified copies not received: _________________ · - - - - - - - - - - - - - - ·--------· - - - -
     1 I Acknowledgement is made of a claim for domestic priority under 35 U.S.C. § 119(e).


     A SHORTENED STATUTORY PERIOD FOR RESPONSE to comply with the requirements noted below is set to EXPIRE
     THREE MONTHS FROM THE "DATE MAILED" of this Office action. Failure to timely comply will result in
     ABANDONMENT of this application. Extensions of time may be obtained under the provisions of 37 CFR 1. 136(a).

     0 Note the attached EXAMINER'S AMENDMENT or NOTICE OF INFORMAL APPLICATION, PT0-152, which discloses
          that the oath or declaration is deficient. A SUBSTITUTE OATH OR DECLARATION IS REQUIRED.

     !XI Applicant MUST submit NEW FORMAL DRAWINGS
          ["_j because the originally filed drawings were declared by applicant to be informal.
          lXI including changes required by the Notice of Draftsperson's Patent Drawing Review, PT0-948, attached hereto or
              to Paper No. _4_ .
          [J including changes required by the proposed drawing correction filed on - - · - - - - - - ·            , which has been
              approved by the examiner.
          lJ including changes required by the attached Examiner's Amendment/Comment:.
          Identifying indicia such as the application number (see 37 CFR 1.84(c)) should be written on the reverse side of the
          drawings. The drawings should be filed as a separate paper with a transmittal lettter addressed to the Official
          Draftsperson.

     n Note the attached Examiner's comment regarding REQUIREMENT FOR THE DEPOSIT OF BIOLOGICAL MATERIAL.
    Any response to this letter should include, in the upper right hand corner, the APPLICATION NUMBER (SERIES
    CODE/SERIAL NUMBER). If applicant has received a Notice of Allowance and Issue Fee Due, the ISSUE BATCH NUMBEP
    and DATE of the NOTICE OF ALLOWANCE should also be included.

    Attachment(s)
          0 Notice of References Cited, PT0-892
          0 Information Disclosure Statement(s), PT0-1449, Paper No(s). ~--­
          [] Notice of Draftsperson's Patent Drawing Review, PT0-948
          0 Notice of Informal Patent Application, PT0-152
          D<1 Interview Summary, PT0-413
          lXI Examiner's Amendment/Comment
          I] Examiner's Comment Regarding Requirement for Deposit of Biological Material
          :xJ Examiner's Statement of Reasons for Allowance
U. S. Potent and Trademark Office
PT0-37 (Rev. 9-95)                                          Notice of Allowability                            Part of Paper No.       9



                                                                                                                        ADJCAM000105




                                                                      A2931
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  Serial Number: 08/814,168                                                                    Page 2

 Art Unit: 3632



                                  EXAMINER'S AMENDMENT

         An examiner's amendment to the record appears below. Should the changes and/or

 additions be unacceptable to applicant, an amendment may be filed as provided by 3 7 CFR 1.312.

 To ensure consideration of such an an1endment, it MUST be submitted no later than the payment

 ofthe issue fee.

         Authorization for this examiner's amendment was given in a telephone interview with Mr.

 Lawrence M. Nawrocki on July 07, 1998.

         The application has been amended as follows:

         In the Claims:     /

         Claim 4- line 2: aftr'cover", inserted --adapted--.

        Claim 5- line 5: /efore "to receive", inserted --and adapted--.

        Claim 16- line 3: "h'efore "the camera", replaced "protects" with --adapted to protect--.

        Claim 18- line 5: befle"to receive", inserted --and    adapted~-.
        The following is an examiner's statement of reasons for allowance: The prior art of record

 does not disclose nor suggest apparatus for supporting a camera, comprising a hinge member

 adapted to be rotatably attached to the camera about a first axis of rotation; and a support frame

rotatably attached to the hinge member about a second axis of rotation and configured to support

the hinge member on a surface and an object. Applicant's invention is deemed to be novel and

unobvious over the prior art of record and thus allowable for patent.

        Any comments considered necessary by applicant must be submitted no later than the




                                                                                           ADJCAM000106




                                                A2932
          Case: 13-1665         Document: 97-3           Page: 406                   Filed: 12/11/2014


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Serial Number: 08/814,168                                                                                   Page 3

Art Unit: 3632



payment of the issue fee and, to avoid processing delays, should preferably accompany the issue

fee. Such submissions should be clearly labeled "Comments on Statement of Reasons for

Allowance."

                                           Conclusion

       Any inquiry concerning this communication or earlier communications from the examiner

should be directed to Long Dinh Phan whose telephone number is (703) 308-3409. The examiner

can normally be reached on Tuesday through Friday from 8:00A.M. to 6:00P.M. E.S.T.

       Any inquiry of a general nature or relating to the status of this application or proceeding

should be directed to the Group receptionist whose telephone number is (703) 308-2168. The t"i1x

number for this Group is (703) 305-3597 or 3598.

Long Dinh Phan    1... .t> ~


July 14, 1998
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                                                         ' RAMnr,~ o RC:MIRtz                     ~
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                                                           ,,   lj,i; I iJ l\i i I 35fr -:u :_-<:, -?._




                                                                                                          ADJCAM000107




                                               A2933
                                           Case: 13-1665                                Document: 97-3                                 Page: 407                 Filed: 12/11/2014


              Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 100 of 124 PageID #: 4471




                                                                                                                                  UNITED STATES DEPARTMENT OF COMMERCE
                                                                                                                                  Patent and Trademark Office




                                                              NOTICE OF ALLOWANCE AND ISSUE FEE DUE


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              MINNE0POL.IS MN 5541~

          APPLICATION NO.                            I   FILING DATE            I       TOTAL CLAIMS                  I                    EXAMINER AND GROUP ART UNIT                       I    DATE MAILED


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   First Named
   Applicant        I<HI:::T:E:~LBFh:(~ ,,

TITLE OF
INVENTIONCJ\I'<IFT::{:\            Ci.. J F'




       AnY'S DOCKET NO.                          I CLASS-SUBCLASS I BATCH NO. I                                           APPLN.TYPE               I SMALL ENTITY I    FEE DUE
                                                                                                                                                                                            I          DATE DUE


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THE APPLICATION IDENTIFIED ABOVE HAS BEEN EXAMINED AND IS ALLOWED FOR ISSUANCE AS A PA 'TENT.
PROSECUTION ON THE MERITS IS CLQSED.

THE ISSUE FEE MUST BE PAID WITHIN THREE MONTHS FROM THE MAILING DATE OF THIS NOTICE OR THIS
APPLICATIQN SHALL BE REGARDED AS ABANDONED. THIS STATUTORY PERIOD CANNOT BE EXTENDED.

HOW TO RESPOND TO THIS NOTICE:
I. Review the SMALL ENTITY status shown above.                                                                                             ...
   If the SMALL ENTITY is shown as YES, verify your                                                             If the SMALL ENTITY is shown as NO:
   current SMALL ENTITY status:

  A. If the status is changed, pay twice the amount of the
     FEE DUE shown above and notify the Patent and                                                              A. Pay FEE DUE shown above, or
     Trademark Office of the change in status, or
  B. If the status is the same, pay the FEE DUE shown
     above.                                                                                                     B. File verified statement of Small Entity Status before, or with,
                                                                                                                   payment of 1/2 the FEE DUE shown above.
II. Part BwJssue Fee Transmittal should be.completed and returned to the Patent and Trademark Office (PTO) with your
    ISSUE FEE. Even if the ISSUE FEE has already been paid by charge to deposit account, Part B Issue Fee Transmittal
    should be completed and returned. If you are charging the ISSUE FEE to your deposit account, section "4b" of Part
    Bwlssue Fee Transmittal should be completed and an extra copy of the form should be submitted.
Ill. All communications regarding this application must give application number and batch number.
     Please direct all" communications prior to issuance to Box ISSUE FEE unless advised to the contrary.

IMPORTANT REMINDER: Utility patents issuing on applications filed on or after Dec. 12, 1980 may require payment of
                    maintenance fees. It is patentee's responsibility to ensure timely payment of maintenance
                    fees when due.
                                                                                    PATENT AND TRADEMARK OFFICE COPY
PTOL-85 (REV. 10-96) Approved for use through 06/30199. (0651-0033)
                                                                                                                                                                                   •u_s_ GPO. 1998-437-639/80023
                                                                                                                                                                                            ADJCAM000108




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                                    Case: 13-1665                         Document: 97-3                           Page: 408                         Filed: 12/11/2014


               Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 101 of 124 PageID #: 4472




                                                                            PART B-ISSUE FEE TRANSMITTAL
   Complete and mwll this form, together with app,                      .a fees, to:         Box ISSUE FEE
                                                                                             Assistant Commissioner for Patents
                                                                                             Washington, D.C. 20231


 MAILING INSTRUCTIONS: This form should be used for transmitting the ISSUE FEE. Blocks 1
 through 4 should be completed where appropriate. All further correspondence including the Issue Fee                              Note: The certificate of mailing below can only be used for d~Mestic
                                                                                                                                  mailings of the Issue Fee Transmittal. This certificate cannot be used
 Receipt, the Patent, advance orders and notification of maintenance fees will be mailed to the current
                                                                                                                                  for any other accompanying papers. Each additional paper, such as an
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 maintenance fee notifications.                                                                                                                             Certificate of Mailing
 CURRENT CORRESPONDENCE ADDRESS (Note: Legibly mark-up with any corrections or use Block 1)                                       I hereby certify that this Issue Fee Transmittal is being deposited with
                                                                                                                                  the United States Postal Service with sufficient postage for first class
                                                                                                                                  mall In an envelope addressed to the Box Issue Fee address above on
                                                                                      i:'i\i:~l 1 / i.R,·;E-'1C':·.e· IVEO        the date indicated below.
               LAWRENCE M. NAWROCKI
               l\!(~l,JF(()C:J< I , I;:C:IONEY 8.~ ·:.::;I \lET( n.:;CJJ\!                       Publish;ng O;v;s;o
               BRODWAY PLACE EAST SUITE 40:                                                                                         Carolyn             ~    Erickson                               (Deposito~s name)

               3483 BROADWAY STREET
                                                                                                                                                                                                    (Signature)
               MINNEAPOLIS MN 55413
                                                                                                                                                                                                    (Date)
             APPLICATION NO.                          FILING DATE                                                                                                                                  DATE MAILED


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   Applicant        I< P E I< E 1.... BE: F: Gi ,.
TITLE OF
INVENTION(:: {'\IYII~: F( (~   C1... I F'



            ATTY'S DOCKET NO.                 I      CLASS-SUBCLASS          I BATCH NO. I APPLN.TYPE I SMALL ENTITY I                                            FEE DUE
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  1. Change of correspondence address or indication of • Fee Address• (37 CFR 1.363).                     2. For printing on the patent front page, list
     Use of PTO form(s) and Customer Number are recommended, bu1 not required.                            (1) the names of up to 3 registered patent              1
                                                                                                                                                                       NAWROCKI, ROONE'i &
                                                                                                          attorneys or agents OR, alternatively, (2)                           SJ.VERl SUN, p .L.
     0 Change of correspondence address (or Change of Correspondence Address form                         the name of a single firm (having as a
     PTO/SB/12<') attached.                                                                               member a registered attorney or agent)                 2
                                                                                                          and the names of up to 2 registered patent
     0 "Fee Address• Indication (or "Fee Address" Indication form PTO/SB/47) attached.                    attorneys or agents. If no name is listed, no
                                                                                                          name will be printed.                                  3

  3. ASSIGNEE NAME AND RESIDENCE DATA TO BE PRINTED ON THE PATENT (print or type)                                              4a. The following fees are enclosed (make check payable to Comissioner
     PLEASE NOTE: Unless an assignee Is Identified below, no assignee data will appear on the patent.                              of Patents afld Trademarks):
     Inclusion of assignee data is only appropiate when an assignment has been previously submitted to
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                                                                                                                                 JXl Issue Fee
     filing an assignment.                                                                                                       IXl Advance Order - # of Copies ]Q
     (A) NAME OF ASSIGNEE                                                                                                '·
         iREZ Research, Corporation                                                                                            4b. The following fees or deficiency 1n these fees should be ctrged to:
     (B) RESIDENCE: (CITY & STATE OR COUNTRY)                                                                                     DEPOSIT ACCOUNT NUMBER                                                           ----
        Minnetonka, Minnesota                                                                                                     (ENCLOSE AN EXTRA COPY OF THIS FORM)
     Please check the appropriate assignee category Indicated below (will not be printed on the patent)
                                                                                                                                 0 Issue Fee
     0 individual         l]l:corporation or other private group entity      0 government                                        U Advance Order - # of Copies




  NOTE; The Issue Fee will not be accepted from anyone other than the applicant; a registered attorney                             10/23/1998 CASHBY             00000026 08814168
  or agent; or the assignee or other party In interest as shown by the records of the Patent and
  Trademark Office.                                                                                                                01 FC:242                                   660.000P
                                                                                                                                   02 FC:561                                    30.0C OP
  Burden Hour Statement: This form is estimated to take 0.2 hOurs to complete. Time will vary
  depending on the needs of the individual case. Any comments on the amount of tirne required
  to complete this form should be sent to the Chief Information Officer, Patent and Trademark
  Office, Washington, D.C. 20231. DO NOT SEND FEES OR COMPLETED FORMS TO THIS
  ADDRESS. SEND FEES AND THIS FORM TO: Box Issue Fee, Assistant Commissioner for
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             Case: 13-1665         Document: 97-3                 Page: 409               Filed: 12/11/2014


Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 102 of 124 PageID #: 4473




            IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
  In reApplication of:

 David E. Krekelberg

 Serial No.: 08/814,168                                                                     Examiner: L. Phan

  Filing Date: March 7, 1997                                                          Group Art Unit: 3632

 For: CAMERA CLIP

 Docket No.: 19239/103/101

                                    TRANSMITTAL SHEET

 Assistant Commissioner for Patents
 Washington, D.C. 20231

 Sir:

       CERTIFICATE UNDER 37 C.F.R. 1.8:  I hereby certify that this correspondence
                            and the documents described herein
    are being deposited with the United States Postal Service on the dQte shown below
     with sufficient postage as first class mail in an enveJope addre:;y~iJ to the:
  Assistant Commissioner for Patents,~~shington, ~·)(· 20231, on this ~ day of
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                  By________   ~~--~---+~,/~/~)_:·~/~~~~~~-------
                                       Caroly


 We are transmitting herewith the attached:

                Amendment

                      No additional fee required
                      The fee has been calcula~ed as shown:

                                      CLAIMS AS AMENDED
                     (3)              ( 4)                 (5)            SMALL ENTITY                 OTHER
                 REMAINING         HIGHEST             EXTRA              RATE        ADD'L     RATE         ADD'L
                 CLAIMS            PAID                                               FEE                    FEE
  TOTAL               -                =                                      x11"'   $             x22"'    $
  CLAIMS

  INDEPEN-            -                =                                      x41=    $             X82=     $
  DENT
  CLAIMS
  (     )   FIRST MULTIPLE DEPENDENT CLAIM                                +135=       $         +270         $
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                           TOTAL                                          $                     $

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          Case: 13-1665   Document: 97-3             Page: 410                      Filed: 12/11/2014


Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 103 of 124 PageID #: 4474




 [XXXX)      A check in the amount of $ 690.00 is enclosed.

 [XXXX]      Small entity status of this application under 37 C.F.R.
             1.9 and 1.27 has been established by verified statement
             previously submitted.

 [XXXX]      Other:   Part B-Issue Fee Transmittal (with Certificate of
             Mailing); Letter to Official Draftsperson; Two (2) Sheets
             of Formal Drawings.

 [XXXX]      Please charge any deficiencies or credit any over payment
             in the enclosed fees to Deposit Account 14-0620.


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                              By:        IA-r;t rJ/u.J / L· ;u.. d      - 'c. tL
                                        Lawrence M. Nawrocki
                                        Reg. No. --~2~9~3~3~3~--------------


 NAWROCKI, ROONEY & SIVERTSON, P.A.
 Suite 401, Broadway Place East
 3433 Broadway Street N.E.
 Minneapolis, Minnesota 55413
 Telephone:   (612) 331-1464
 Facsimile:   (612) 331-2239




                                            2

                                                                                                 ADJCAM000111




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         Case: 13-1665      Document: 97-3       Page: 411           Filed: 12/11/2014


Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 104 of 124 PageID #: 4475




                                                      '    t;




                                                                                P A T E N T

                                                                Serial No.: 08/814,168
                                                                  Filed: March 7, 1997
                                                                        Batch No. : G54

          IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

In re Application of:

David E. Krekelberg

Serial No.: 08/814,168                   R.ECEIVED                Examiner:             L. Phan
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                                                      .sn,.,
Filed: March 7       1997                                              Group Art: 3632
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                                      OCT 2 01998
For:    CAMERA CLIP
                                               16
Docket No.: 19239/103/101


Assistant Commissioner                               CERTIFICATE UNDER 37 C.F.R. 1.8
                                           I hereby certify that this correspondence is being
 for Patents                               deposited with the United States Postal Service on
Washington, D.C.  20231                    the date shown below with sufficient postage as
                                           first class mail in an enveloped addressed to the
                                           Assistant Comrni ss i~nert_ for _Paten*,, , Wash i ngtonJ
                                           D.C. 20231 on this _si!;.;;Jay of OcqbJ•/ , 19~
                                                                                  /'~


                                           By;



Sir:

                      LETTER TO OFFICIAL DRAFTSPERSON

       Submitted herewith are two (2)          sheets of formal drawings for

filing in the above-identified application.

                              Respectfully submitted,

                              David E. Krekelberg



Date
                              Lawrence M. Nawrocki
                              Reg. No. 29,333
                              NAWROCKI, ROONEY & SIVERTSON, P.A.
                              Suite 401, Broadway Place East
                              3433 Broadway St. N.E.
                              Minneapolis, MN 55413
                              (612) 331-1464


                                                                                         ADJCAM000112




                                      A2938
                     Case: 13-1665              Document: 97-3                                 Page: 412          Filed: 12/11/2014


       Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 105 of 124 PageID #: 4476




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                                         Fig. 3


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                         Case: 13-1665        Document: 97-3      Page: 413       Filed: 12/11/2014


           Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 106 of 124 PageID #: 4477




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                                                    Fig. 5
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                                                                  Fig. 6
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                                          Fig. 7                                           90
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              Case: 13-1665        Document: 97-3             Page: 414             Filed: 12/11/2014


Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 107 of 124 PageID #: 4478




                                                                 PTO UTILITY GRANT
                                                                 Paper Number_      ,_t..\.O-'--
                                                                                    1
                                         The Commissioner of Patents
                                              and Trademarks
                                        Has received an appUcationfor a patent for a
                                        new and useful invention. The title and de-
                                        scription of the invention are enclosed. The
                                        requirements of law have been complied with,
                                        and it has been determined that a patent on
                                        the invention shall be granted under the law.

                                        Therefore, this

                                                 United States Patent
                                        Grants to the person(s) having title to this
                                        patent the right to exclude others from mak~
                                        ing, using, offering for sale, or selling the in~
                                         vention throughout the United States of
                                        America or importing the invention into the
                                        United States ofAmerica for the term set forth
                                        below, subject to the payment ofmaintenance
                                        fees as provided by law.
                                        If this application was filed prior to June 8,
                                        1995, the term of this patent is the longer of
                                        seventeen years from the date of grant of this
                                        patent or nventy years from the earliest effec~
                                        tive U.S. filing date of the application, sub-
                                        ject to any statutory extension.
                                        If this application was filed on or after June
                                        8, 1995, the term of this patent is twenty years
                                        from the U.S. filing date, subject to an statu·
                                        tory extension. If the application contains a
                                        specific reference to an earlier filed applica·
                                        tionorapplications under 35 U.S. C. 120, 121
                                        or 365fc), the term·ofthe patent is twenty years
                                        from the date on which thu earliest applica-
                                        tion was filed, subject to any statutory exten·
                                        sion.

                                                 ~~
                                               Cf)mmissioner of Patents and Trademarks


                                               {!)~7n~~
                                               Attest



   Form PT0.1584 (Rev. 2/fiT)




                                (RIGHT INSIDE)                                                         FPI LOM
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                  Case: 13-1665      Document: 97-3   Page: 415   Filed: 12/11/2014


         Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 108 of 124 PageID #: 4479




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                        Case: 13-1665     Document: 97-3    Page: 416   Filed: 12/11/2014


           Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 109 of 124 PageID #: 4480




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          US PAT NO:         4,403,717 [IMAGE AVAILABLE]            L1: 1 of 2
          TITLE:             Camera carrying device

          4,103,717 (IMAGE AVAILABLE]        5 CLASSIFICATIONS      L1: 1 of 2

                  1. 224/666         OR
                  2. 224/268         XR
                  3. 224/269         XR
                  4. 224/667         XR
               5.    224/908         XR
         .US PAT NO:      3,962,711 [IMAGE AVAILABLE]             L1: 2 of 2
          TITLE:          Accessory adapter for photographic apparatus

          3,962,711 (IMAGE AVAILABLE]        3 CLASSIFICATIONS      L1: 2 of 2

                  1.    396/544         OR
                  2.    396/529         XR
                  3.    D16/211         XR

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                         Case: 13-1665        Document: 97-3   Page: 417    Filed: 12/11/2014


            Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 110 of 124 PageID #: 4481




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           us PAT NO:         5,111,983 [IMAGE AVAILABLE]             L1: 1 of 5

           5,111,983 [IMAGE AVAILABLE]          3 CLASSIFICATIONS     L1: 1 of 5

                  1.    224/258         OR
                  2.    224/908         XR
                  3.    248/118         XR
           us   PAT NO:      5,025,320 [IMAGE AVAILABLE]              L1: 2 of 5

           5,025,320 [IMAGE AVAILABLE]          4 CLASSIFICATIONS     Ll: 2 of 5

                  1.    348/373         OR
                  2.    348/335         XR
                  3.    348/722         XR
                  4.    379/202         XR
           us   PAT NO:      4,676,622 [IMAGE AVAILABLE]              L1: 3 of 5

           4,676,622 [IMAGE AVAILABLE]          2 CLASSIFICATIONS     L1: 3 of 5

                  1.    396/428         OR
                  2.    248/179.1       XR
          us    PAT NO:      4,297,756 (IMAGE AVAILABLE]              L1: 4 of 5

           4,297,756 [IMAGE AVAILABLE]          2 CLASSIFICATIONS     Ll:   4 of 5

                  1.    7/127            OR
                  2.    81/367           XR
          us    PAT NO:       4,198,150 [IMAGE AVAILABLE]             L1: 5 of 5

           4,198,150 (IMAGE AVAILABLE]          2 CLASSIFICATIONS     L1: 5 of 5

                  1.     396/422         OR
                  2.     362/3           XR

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                          Case: 13-1665                        Document: 97-3                      Page: 418             Filed: 12/11/2014


        Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 111 of 124 PageID #: 4482




                                                                                                                        AppHcat;on o' Doc71umbe'
         PATENT APPLICATION FEE DETERMINATION RECORD
                                         Effective October 1, 1996

                               CLAIMS AS FILED - PART I                                                                                        OTHER THAN
                                                                                                                SMALL ENTITY          OR       SMALL ENTITY
  FOR                                                                                                                       FEE


  BASIC FEE                                                                                                               385.00      OR
  TOTAL CLAIMS
                                                                                                               x$11=                  OR
  INDEPENDENT CLAIMS
                                                           minus 3 =                                            x40=                  OR
  MULTIPLE DEPENDENT CLAIM PRESENT
                                                                                                              +130=                   OR
  * If the difference In column 1 is less than zero, enter "0" in column 2
                                                                                                                TOTAL
                                                                                                                                      OR

                           CLAIMS AS AMENDED- PART II                                                                                           OTHER THAN
                                                                        (Column 2)           (Column 3)         SMALL ENTITY          OR       SMALL ENTITY
                                                                    HIGHEST
  <(                                                                NUMBER                   PRESENT                       ADD I-                        ADD I-
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  z                                                                 PAID FOR                                                FEE                           FEE
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  :E     Total
  c                                                                                                           x$11=                   OR     x$22=
  z
  W     Independent                              Minus                                                                                        x80=
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         FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM
                                                                                                                                             +260=

                              (Column 1)                                (Column 2)           (Column 3)
                            CLAIMS                                  HIGHEST
                           REMAINING                                 NUMBER                  PRESENT                       ADD I-                        ADD I-
                             AFTER                                 PREVIOUSLY                 EXTRA            RATE       TIONAL              RATE      TIONAL
                          AMENDMENT                                 PAID FOR                                                FEE                           F[[

                                                 Minus                                                        x$11=                   OR     x$22=
                                                 Minus                                                         x40=                   OR      x80=
         FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM
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                              (Column 1)                                                                    ADDIT. FEE                OR ADDIT. FEE
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                            CLAIMS                                  HIGHEST
                           REMAINING                                NUMBER                   PRESENT                       ADD I-                        ADD I-
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                          AMENDMENT                                 PAID FOR                                                FEE                           FEE

        Total                                    Minus                                                        x$11=                   OR     x$22=
         ndependent       *                      Minus            ***
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         FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM
                                                                                                              +130=                   OR    +260=
   * If the entry In column 1 Is less than the entry In column 2, write "0" In column 3.               TOTAL
  **II the "Highest Number Previously Paid For'' IN THIS SPACE is less than 20, enter "20."                                    OR ADDI~O.FTEAELL.----4
 ***It the "Highest Number Previously Paid For" IN THIS SPACE is less than 3. enter "3."        ADDIT. FEE                                 -
     The "Highest Number Previously Paid For'' (Total or Independent) is the highest number found in tho appropriate box in column 1.
FORM PT0-875                       'U.S. Government Prrnting Office· 1996- 4 t 3-288/49191                Patent and Trademark Qff,ce. U.S. DEPARTMENT OF COMM<RCf-
(Rev. 10/96)
                                                                                                                                            ADJCAM000119




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                    Case 6:10-cv-00329-LED Document 575-2 Filed 12/19/11 Page 112 of 124 PageID #: 4483

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                                                                                                              Ferre PTO 1130                                                                          U.S. DEPARTMENT OF COMMERCE
                                                                                                                                                                                                              Patent and Trademark Office   1ST EXAMINER       ft/ fj~LL~+,J DATE         &:-c230z       I




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                                                                                                                                                        PACE DATA ENTRY CODING SHEET                                                                                 v
                                                                                                                                                                                                                                            2ND EXAMINER                          DATE
                                                                                                                                                                              TYPE                   FILING DATE                SPECIAL            GROUP                                  SHEETS OF
Filed: 12/11/2014




                                                                                                                                              A~PLICATION NUMBER
                                                                                                                                                                              APPL            MONTH      DAY      YEAR         HANDLING           ART UNIT                CLASS            DRAWING
                                                                                                                                              08/R14l68                        [2]            [) :{ (}         71 9'7             42]          l3l5!v l51                lc<I~WI          I ! 01
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                                                                                                                                               TOTAL        INDEPENDENT        SMALL                                  FOREIGN
                                                                                                                                               CLAIMS          CLAIMS         ENTITY?          FILING FEE             LICENSE                     ATTORNEY DOCKET NUMBER

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                                                                                                                                                                                                     CONTINUITY DATA                               '
Page: 419




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                                                                                                                 CONT STATUS                   PARENT APPLICATION                                                                                      PARENT PATENT                      DATE
                                                                                                                 CODE CODE                       SERIAL NUMBER                         PCT APPLICATION SERIAL NUMBER                                      NUMBER                  MONTH    DAY    YEAR
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Document: 97-3




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Case: 13-1665




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                                                                                                                                        CLAIMED          CODE                      PCT/FOREIGN APPLICATION SERIAL NUMBER                                     MONTH       DAY   YEAR
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                                             E. S. McALL.
                                      CAMERA HOLDING DEVICE.
                                    APPLICATION FILED APR. 29, 1915.

           1,208,344.                                                      Patented Dec. 12, 1916.
                                                                                     2 SHEETS-SHEET I,




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                                                                                             INVENTOR.




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                                       E. S. McALL.
                                 CAMERA HOLDIII!G DEVICE.
                               APPLICATION FILED APR. 29, 1915,

            1,208,344.                                              Patented Dec. 12, 1916.
                                                                              2 SHEETS-SHEET 2.




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                                                                                    INVENTOR.
                                                                       ~ S.1tt~att




                                                                                             ADJCAM000122




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                                  EDWARD S. ],VIcALL, OF ILION, NEW YORK.

                                              CAMERA-HOLDING DEVICE.

    1,208,344.                                 Specification of Letters Patent.          Patented Dec. 12, 1916.
                                   Application filed April2!!, 191~.   Seri.alJ.'1o. 2.4,666.

   To all ~o hom it may concern:                                or when the device stands, as shown in Fig.
      Be it known that I, EowARD S. MoALL,                      4, on a small and inclined surface b, such as
   a citizen ot the United States, and a resi-                  that of a rock, log, or branch of a tree, or
   dent of Ilion, in the county of Herkimer                     on a flat surface which is too small to en- 60
 5 and State of New York, have invented a                       able a common tripod to stand on it and
   certain new and useful Improvement in                        which may be the top of a post, stump of a
   Camert\-Holding Devices, of which the :fol-                  tree, or something else.
   lowing is a full, clear, and exact descrip-                      The tripod and platform of this device
   tion, reference being made to the accom-                     are made from thin sheet metal, the head of 65
10 parrying drawings, forming part of this                      the tripod consisting of ::J, single piece of
   specification.                                               stock and being the base on whieh the plat-
      This invention relates to improvements in                 form is mounted. This base is an approxi-
   camera-holding devices which include means                   mately V-shaped frame including the flat
   to enable a camera to be adjusted for use                    portion 1 (Fig. 2), the lateml flanges or sides 70
15 by moving it angularly on a horizontal axis,                 2 and 3, which are preferably straight, and
   the main object of the invention being to                    t!1e perforated parts 4 and 5 whieh are con-
   facilitate the operation of cameras under                    tinuations of the flanges and :form a pair of
   conditions which now are apt to be more or                   eyes at the broad end of the base. The pro-
   less troublesome.                                            jeetion 6, consisting of a struck up portion 75
20    The invention consists of a camera-hold-                  of the stock of the frame or base, is one of
   ing device comprising the parts, and having                  the feet of the tripod. The platform, which
   the construction and arrangement of parts,                   is also a single piece of stock,, includes the
   which are hereinafter decf?cribed and speci-                 part 7, the lateral flanges or sides 8 and 9,
   fied in the claims.                                          and the perforated continuations 10 and 11 80
25     On the accompanying two sheets of draw-                  of the flanges, the part 7 being flat except
   ings, on which like reference-numerals                       ·where it :forms the annular struek up
   designate like parts of different views: Fig-                camera-seat 12, and the portions 10 and 11
   ure ~ is a side elevation of a camera-holding                forming eyes similar to the eyes 4 and 5 of
   device which embodies the invention in its                   the base. The eyes of the platform fit 85
30 preferred :form; Fig. 2~ a front elevation of                loosely between the eyes of the base and the
   this device; Fig. 3, a plan thereof; Fig. 4,                 fl!l,nges of the platform between the flanges
   another side elevation thereof; Fig. 5,                      of the base, so that the platform and base
   another plan, the relative positions of the                  m~y lie close together as appears by Figs.
   parts differing from thos.e shown in Fig. 3 ;                5 and 6. The screw 13 having the milled 90
35 and Fig. 6, :1 side and sectional view, the                  head 14 extends loosely through the part 7
   relative positiops of the parts being the                    at the center of the s.eat 12, the cotter pin
   same as shown in Fig. 5.                                     15, which passes through the stem of the
       The partivular c:;tmera-holding device                   screw and lies close to the :face of the plat-
   shown comprises what is essentially a low                    form, bei11g a keeper for the screw.            95
40 tripod, a platform hinged thereto, and a                         The bolt 16, h:win.g at one end the head 17
   clamp which is effective to hold the plat-                   a.n.d at the other the winged nut 18, passes
   form adjusted with relat~on to the base in                   through the eyes of the platform and base,
   any of a large number of pqsitions. That                     and on this bolt are also the spaeing-sleeve
   it differs much in character from ordinary                   19, the :f:J;iction-washers 20 and 21, and a 100
45 tripods is plainly indicated by its utility                  yoke comprising the bai;' 22, eyes 23 and 24,
   in various places wl)..ere any of them are                   and parts :?5 :mel 26 which :form both the
   useless, as well :;ts by peculiarities Qf it.s con-          ends of the yoke and the two other feet of
   struction and it_s mo.de of operatiQn. For                   the tripod. The sleeve 19 fits closely be-
   example, it wiJI properly support a camera                   tween .the eyes 10 and 11, each :fi·iction- 105
50 in a desired position 'Yhen the devic.e is held              washer is between an eye of the base and
   by the han,d ~ga~"Q.st a wall, or post, o.r trunk            the aclj acent eye of the platform, and the
   of a tree, or the .steeply sloping or vertical               eyes. of the yoke surroun.d the holt outside
   :fa,ce of a rock or cli:f;f, a,s illustrated in Fig.         of the eyes of the base.
   1, in which the surface against which the                        Although the pa:r;ts of the device might be llO
55 device is he~d is represented by th.e irregu-                otherwise ~urang(ld, the at'rangewent shown
   lar lin~ a, and th.e Q~n:teJ;a by bro.ken lines,             and desc:dbed is p:refened because it en-

                                                                                                                                  ADJCAM000123




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                                                          1,208,344


                 ables the parts to fit together as shown in of the base and less than the width of that
                 Figs. 5 and 6, and renders the distance be- part of the base which is next to the hinge.
                 tween the :feet 25 and 26 greater than the            2. A camera-holding device comprising t1
                 width of the base or frame at its broad base, a platform hinged thereto, a clamp
              5 encl. The bolt and three pairs of eyes con- effective to hold the platform adjusted with ~~
                 stitute means by which the base, platform relation to the base, and angularly movable
                 and yoke are hinged together, each of these feet adjacent to tho ends of the hinge, those
                 three parts being angularly movable on the feet being fast together and their length
                 axis o:f the bolt with relation to the two being less than thn t of the base and less
            10 others, and the bolt, spacing-sleeve and nut than the width of that part of the base ?5
                 form a clamp by which the parts may be which is next to the hinge.
                 tightly held in various positions to which            3. A camera,- holding device compri:-:ing
                 they may be adjusted.                               a base, a plt1tform hinged thereto, a clamp
                     It will be seen that whether the base is effective to hold the pbtform ndjnsted \Yith
            15 vertical or nearly horizontal the platform relation to the base, and three short feet S0
                  may be either horizontal or Yertical or may which with the base form a low tripod, two
                  be inclined at any desired angle to the plane of the feet being adjacent to the ends of the
                  of the horizon. The yoke so turns that the hinge, and the other being fast on the base.
                  feet 25 and 26, which are fast together and           4. A camera-holding device comprising a
            20 turn together on the t1xis of the bolt, may base, a platform hinged thereto, a clamp 8',-
                  be located behind the bolt as they are shown e±rective to hold the platform adjnstecl with
                  i.n Figs. 1, 3 and 4, or at the sides of the base relation to the base, and three short feet
                  as they are shown in Figs. 5 and 6, their which with the base form a low tripod, two
                  length being much less than that of the base of the feet being adjacent to the ends of
             25 or that of the bolt, so that they do not pro- the hinge and being· pivotally connected 00
                  ject far :from .the base at the sides thereof with the base, and the other being fast on
                  and so that when the device either is held the base.
                   against a vertical or steeply sloping surface,        5. A camera-holding device comprising a.
                  or rests on a :fit1t or slightly inclined surface, base, a platform hinged thereto, a -fastening
             SO there is but little space between the base and to secure tl1e can1era. on the plntforn1~ n 95
                  that surface and the device is far more clamp effective to hold the platform adjust-
                   stable than an ordinary tripod having legs ed with relation to the base, and three short
                   that are many times as long as the head of feet which with the base form a low tripod,
                   the tripod. The camera rests on the set1t 12 two of the feet being adjacent to the ends
             85 and is rastened to the platform by the screw of the hinge and the other being fast on 100
                   13, when the holding-device and camem are the base.
                   in use, the screw fitting in a hole in the            6. A camera-holding device comprising a
                   frame of the camera and engaging with an base, a. platform hinged thereto, a. screw at-
                   internal screw-thread formed in that frame. tached to and extending throng'l1 the plat-
             40 Then the feet 25 and 26 are behind the bolt. form, a clamp effective to hold the platform 105
                   The platform may be readily adjusted and adjusted with relation to the base, and three
                   clamped in the desired position when the short feet which with the base form a low
                   feet rest on the object on which the device is tripod, two of the feet being adjacent to the
                   to stand or against which it is to be held. ends of the hinge, and the platform in-
              45 Of course the axis of the bolt will usually be cluding a. camera-seat surrounding the screw 110
                   horizontal when the platform is adjusted and the other being fast on the base.
                   and the camera operated.                              7. A camera-holding device comprising t1
                      A camera-holding device like that de- base, a platform, a yoke, and a bolt on which
                    scribed and suitable to hold a small camera the three other parts are mounted and on
              50 may be conveniently carried in an ordinary which they are angularly movable, the ends 115
                    coat-pocket.                                      o:f the yoke forming feet.
                      It will be understood that the invention           8. A camera-holding device comprising a
                    may be embodied in devices differing in de- base, a platform, a yoke, a bolt on which
                    tails of construction from the camera-hold- said three other parts are mounted and on
              65 ing device shown and particularly described which they are angularly movable, a spac- 120
                    herein.                                           ing-sleeve, and a pair of friction-washers,
                       Having thus described my invention, what the ends of the yoke forming feet, the base,
                    I claim as new and desire to secure by Let- platform and yoke each having t1 pair of
                    ters Patent, is:                                  eyes through which the bolt extends, the
              60       1. A camera-holding device comprising a spacing-sleeve being on the bolt between the 125
                    base, a platform hinged thereto, feet adj a- eyes of each pair, each of the friction-wash-
                    cent to the ends of the hinge, and a clamp ers being on the bolt between an eye of the
                    effective to hold the platform adjusted with base and an eye of the platform, and the
                    relation to the base, these feet being fast to- eyes of both the base and platform being be-
               65 gether and their length being less than that tween those of the yoke.                            130


                                                                                        ADJCAM000124




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                                                1,208,344


      9. A camera-holding device comprising a          which extends through the eyes of the base
   base, a platform hinged thereto, a clamp,           and platform and on which at one end is a
   and two feet which are pivotally connected          winged nut, the eyes of the platform being 40
   with the base, the clamp being effective to         between those of the base, a spacing-sleeve
 5 hold the platform and feet adjusted with            which surrounds the bolt and fits between
   relation to the base.                               the eyes of the platform, and three feet
      10. A camera-holding device comprising           which with the base form a tripod, one of
   a base, a platform hinged thereto, a clamp,         the feet being on the base close to its nar- 45
   and three feet which with the base form a           row end and the others being on the bolt
10 tripod, two of the feet being adjacent to the       and being angularly movable thereon, one
   ends of the hinge, the clamp being effective        of them being next to the head of the bolt
   to hold the platform adjusted with relation         and the other next to the winged nut.
   to the base, and the base and platform each            13. A camera-holding device comprising 50
   having lateral flanges, those of one part fit-      a base which is narrow at one end and the
15 ting between those of the other.                    lateral edges of which diverge as they re-
      11. A camera-holcling device comprising          cede from that end, tt platform which is
   a base which is narrow at one end and the           broader nt one end than at the other and
   lateral edges of which are straight and eli-        has on it a camera-seat, the base and plat- 55
   verge as they recede from that end and              form being pivotally connected together at
20 which has eyes at its broad end, a platform         their broad ends, a fastening to secure a
   which is broader at one end than at the other       camera on the platform, and a clamp effec-
   and which has eyes at its broad end and a           tive to hold the platform adjusted with re-
   camera-seat at its narrow end, a bolt which         lation to the base.                          60
   extends through the eyes of the base and               14. A camcnt-holding device comprising
25 platform, a spacing-sleeve on the bolt, and         a base which is narrow at one end and has
   three feet which with the base form a tripod,       lateral ihnges svhich diverge as they recede
   two of the feet being adjacent to the eyes          from that end, a platform which is broader
   of the base and the other being on the base         at one end than at the other and has on it 70
   close to its narrow end.                            a camera-seat, the base n,nd platform being
30    12. A camera-holding device comprising           pivotally connected together at their broad
   a base which is narrow at one end and the           ends, a fastening to secure a camera on the
   lateral edges of which are straight and di-         platform, and a clamp effective to hold the
   yerge as they recede from that end and              platform adjusted with relation to the base, 7 5
   which has eyes at its broad end, a platform         the platform being adjustable to a position
35 which is broader at one end than at the             in which it fits close to the base from end
   other and which has eyes at its broad end           to end and between the flanges of the base.
    and a camera-seat at its narrow end, a bolt                             EDWARD S. McALL.
    Copies of this patent may be obtained for five cents each, by addressing the "Commissioner of Patents,
                                              Washington, :r. C."




                                                                                                    ADJCAM000125




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             It is hereby certified that in Letters Patent No. 1,208,344, granted December 12,
           1916, upon the application of Edward S. McAll, of Ilion, New York, for an im-
           provement in "Camera-Holding Devices," errors appear in the printed specifica-
           tion requiring correction as follows: Page 2, line 109, claim 6, after the word "hinge"
           and before the comma insert the words and ihe other being fast on the basej same
           page and claim, at the end of line 110 insert a period and strike out line 111; and
           thnt the said Letters Patent should be read with these corrections therein that the
           same may conform to the record of the case in the Patent Office.
             Signed and sealed this 9th day of January, A. D., 1917.
                [SEAL.)                                                F. W. H. CLAY,
                                                              Acting Commissioner of Patents.




                                                                                       ADJCAM000126




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 MPI Family Report (Family Bibliographic and Legal Status)
 In the MPI Family report, all publication stages are collapsed into a single record, based on identical application
 data. The bibliographic information displayed in the collapsed record is taken from the latest publication.

 Report Created Date: 2010-02-22
 Name of Report:
 Number of Families: 1
 Comments:

 Table of Contents
 1.     US5855343A 19990105 IREZ RESEARCH CORP                                               US
        Camera clip ..........................................................................................................................................................   1




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 Family Bibliographic and Legal Status                                                                                     1



 Family1

 1 records in the family.
 US5855343A             19990105

 (ENG) Camera clip
 Assignee: IREZ RESEARCH CORP                 US
 Inventor(s): KREKELBERG DAVID E US
 Application No: US 81416897 A
 Filing Date: 19970307
 Issue/Publication Date: 19990105

 Abstract: (ENG) A clip for supporting a portable camera either on a surface or on an edge of a housing, and for
           protecting the lens of the camera when the camera is not being supported. The clip provides two axis of
           rotation to position the camera to any desired viewing angle. The clip may be rotated to a first position
           to support the camera on a surface of a table or desk. The clip may be rotated to a second position to
           support the camera on the display screen of a laptop computer. When the camera is not being supported
           in the first position or the second position, the camera may be rotated to be releasably held by the clip to
           protect the camera and lens during storage.
 Priority Data: US 81416897 19970307 A I;
 IPC (International Class):          A47G02900
 ECLA (European Class):            F16M01302; F16M01112; F16M01120; G06F00116P2C
 US Class: 248121; 248126; 248918
 Agent(s):     Nawrocki, Rooney & Sivertson, P
 Examiner Primary: Ramirez, Ramon O.
 Examiner Assistant: Phan, Long Dinh
 US Post Issuance:
     --US Litigations: NOTICE OF LITIGATION; NOTICE OF LITIGATION PAR Technologies, Inc. v. Philips
     Electronics North America Corporation, et al, Filed Jul. 9, 2001, D.C.
     Arizona (Phoenix), Doc. No. CIV '01 1273 PHX MHM; NOTICE OF LITIGATION Logitech, Inc. v. Par
     Technologies, Inc. ,
     Filed May 21, 2001, D.C. N.D. California, Doc. No. C01-1983 SI Order
     of dismissal with prejudice pursant to the parties' settlement agreement,
     Filed January 14, 2002,HonorableSusan Illston, United States District
     Court, Northern District of California
 Assignments Reported to USPTO:
     Reel/Frame: 08730/0592 Date Signed: 19970813 Date Recorded: 19970827
     Assignee: IREZ RESEARCH, CORPORATION SUITE 485 5929 BAKER ROAD MINNETONKA
               MINNESOTA 55345
      Assignor: KREKELBERG, DAVID E.
      Corres. Addr: NAWROCKI, ROONEY & SIVERTSON, P.A. LAWRENCE M. NAWROCKI 3433
                    BROADWAY STREET N.E., SUITE 401 MINNEAPOLIS, MN 55413
      Brief: ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).



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 Family Bibliographic and Legal Status                                                                                2



      Reel/Frame: 09669/0507 Date Signed: 19981219 Date Recorded: 19981231
      Assignee: ANCHOR BANK NA 1055 E. WAYZATA BLVD. WAYZATA MINNESOTA 55391
      Assignor: IREZ RESEARCH CORP.
      Corres. Addr: HUGH D. JAEGER 1000 SUPERIOR BLVD., STE. 302 WAYZATA, MN 55391
      Brief: ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).

      Reel/Frame: 09671/0084 Date Signed: 19981219 Date Recorded: 19981231
      Assignee: PAR TECHNOLOGIES, INC. 14605 AIRPORT DRIVE, SUITE 304 SCOTTSDALE ARIZONA
                85260
      Assignor: ANCHOR BANK NA
      Corres. Addr: HUGH D. JAEGER 1000 SUPERIOR BLVD., SUITE 302 WAYZATA, MN 55391
      Brief: ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).

      Reel/Frame: 12745/0992 Date Signed: 20020312 Date Recorded: 20020403
      Assignee: WIYN INVESTMENTS 865 EAST SWEETWATER AVENUE SCOTTSDALE ARIZONA
      Assignor: PAR TECHNOLOGIES, INC.
      Corres. Addr: KINNEY & LANGE, P.A. ALANA BERGMAN 312 SOUTH THIRD STREET
                    MINNEAPOLIS, MN 55415-1002
      Brief: ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FORDETAILS).

      Reel/Frame: 12813/0714 Date Signed: 20020312 Date Recorded: 20020422
      Assignee: GLOBALMEDIA GROUP 15020 NORTH 74TH STREET SCOTTSDALE ARIZONA 85260
      Assignor: WIYN INVESTMENTS
      Corres. Addr: KINNEY & LANGE, P.A. ALANA T. BERGMAN 312 SOUTH THIRD STREET
                    MINNEAPOLIS, MN 55415-1002
      Brief: ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENTFOR DETAILS).

      Reel/Frame: 17198/0952 Date Signed: 20060222 Date Recorded: 20060222
      Assignee: WIYN INVESTMENTS, LLC 8665 E. SWEETWATER SCOTTSDALE ARIZONA 85260
      Assignor: PAR TECHNOLOGIES, INC.
      Corres. Addr: JOEL E. BARTHELEMY 8281 EAST GELDING DRIVE SCOTTSDALE, AZ 85260
      Brief: ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).

      Reel/Frame: 17207/0320 Date Signed: 20060223 Date Recorded: 20060223
      Assignee: GLOBALMEDIA GROUP, LLC 8281 EAST GELDING DRIVE SCOTTSDALE ARIZONA
                85260
      Assignor: WIYN INVESTMENTS, LLC
      Corres. Addr: JOEL E. BARTHELEMY 8281 EAST GELDING DRIVE SCOTTSDALE, AZ 85018
      Brief: ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).


 Legal Status:
     Date               +/-              Code        Description
     19970827           ()               AS          New owner name: IREZ RESEARCH, CORPORATION,
                                                     MINNESOTA; : ASSIGNMENT OF ASSIGNORS
                                                     INTEREST;ASSIGNOR:KREKELBERG, DAVID
                                                     E.;REEL/FRAME:008730/0592; Effective date: 19970813;



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 Family Bibliographic and Legal Status                                                                               3



      19970827          ()               AS02        ASSIGNMENT OF ASSIGNOR'S INTEREST New owner name:
                                                     IREZ RESEARCH, CORPORATION SUITE 485 5929 BAKER
                                                     RO; Effective date: 19970813;
      19970827          ()               AS02        ASSIGNMENT OF ASSIGNOR'S INTEREST New owner name:
                                                     KREKELBERG, DAVID E.; Effective date: 19970813;
      19970827          ()               AS02        New owner name: IREZ RESEARCH, CORPORATION SUITE
                                                     485 5929 BAKER RO; Effective date: 19970813;
      19970827          ()               AS02        New owner name: KREKELBERG, DAVID E.; Effective date:
                                                     19970813;
      19981231          ()               AS          New owner name: ANCHOR BANK NA, MINNESOTA; :
                                                     ASSIGNMENT OF ASSIGNORS INTEREST;ASSIGNOR:IREZ
                                                     RESEARCH CORP.;REEL/FRAME:009669/0507; Effective date:
                                                     19981219;
      19981231          ()               AS          New owner name: PAR TECHNOLOGIES, INC., ARIZONA; :
                                                     ASSIGNMENT OF ASSIGNORS
                                                     INTEREST;ASSIGNOR:ANCHOR BANK
                                                     NA;REEL/FRAME:009671/0084; Effective date: 19981219;
      19981231          ()               AS02        ASSIGNMENT OF ASSIGNOR'S INTEREST New owner name:
                                                     PAR TECHNOLOGIES, INC. 14605 AIRPORT DRIVE, SUITE;
                                                     Effective date: 19981219;
      19981231          ()               AS02        ASSIGNMENT OF ASSIGNOR'S INTEREST New owner name:
                                                     ANCHOR BANK NA; Effective date: 19981219;
      19981231          ()               AS02        New owner name: PAR TECHNOLOGIES, INC. 14605 AIRPORT
                                                     DRIVE, SUITE; Effective date: 19981219;
      19981231          ()               AS02        New owner name: ANCHOR BANK NA; Effective date:
                                                     19981219;
      20020403          ()               AS          ASSIGNMENT New owner name: WIYN INVESTMENTS 865
                                                     EAST SWEETWATER AVENUE SCOTTS; : ASSIGNMENT OF
                                                     ASSIGNORS INTEREST;ASSIGNOR:PAR TECHNOLOGIES,
                                                     INC.;REEL/FRAME:012745/0992; Effective date: 20020312;
      20020403          ()               AS          ASSIGNMENT New owner name: WIYN INVESTMENTS 865
                                                     EAST SWEETWATER AVENUESCOTTSD; : ASSIGNMENT
                                                     OF ASSIGNORS INTEREST;ASSIGNOR:PAR
                                                     TECHNOLOGIES, INC. /AR;REEL/FRAME:012745/0992;
                                                     Effective date: 20020312;
      20020403          ()               AS          New owner name: WIYN INVESTMENTS, ARIZONA; :
                                                     ASSIGNMENT OF ASSIGNORS INTEREST;ASSIGNOR:PAR
                                                     TECHNOLOGIES, INC.;REEL/FRAME:012745/0992; Effective
                                                     date: 20020312;
      20020403          ()               AS          New owner name: WIYN INVESTMENTS 865 EAST
                                                     SWEETWATER AVENUE SCOTTS; : ASSIGNMENT OF
                                                     ASSIGNORS INTEREST;ASSIGNOR:PAR TECHNOLOGIES,
                                                     INC.;REEL/FRAME:012745/0992; Effective date: 20020312;
      20020403          ()               AS          New owner name: WIYN INVESTMENTS 865 EAST
                                                     SWEETWATER AVENUESCOTTSD; : ASSIGNMENT OF
                                                     ASSIGNORS INTEREST;ASSIGNOR:PAR TECHNOLOGIES,
                                                     INC. /AR;REEL/FRAME:012745/0992; Effective date: 20020312;
      20020422          ()               AS          ASSIGNMENT New owner name: GLOBALMEDIA GROUP
                                                     15020 NORTH 74TH STREET SCOTTSDA; : ASSIGNMENT OF
                                                     ASSIGNORS INTEREST;ASSIGNOR:WIYN
                                                     INVESTMENTS;REEL/FRAME:012813/0714; Effective date:
                                                     20020312;



         MicroPatent Patent Index - an enhanced INPADOC database

                                                                                                      ADJCAM000130
                                                               A2956
                 Case: 13-1665                Document: 97-3        Page: 430      Filed: 12/11/2014

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 Family Bibliographic and Legal Status                                                                            4



      20020422          ()               AS          ASSIGNMENT New owner name: GLOBALMEDIA GROUP
                                                     15020 NORTH 74TH STREETSCOTTSDAL; : ASSIGNMENT
                                                     OF ASSIGNORS INTEREST;ASSIGNOR:WIYN
                                                     INVESTMENTS /AR;REEL/FRAME:012813/0714; Effective
                                                     date: 20020312;
      20020422          ()               AS          New owner name: GLOBALMEDIA GROUP, ARIZONA; :
                                                     ASSIGNMENT OF ASSIGNORS INTEREST;ASSIGNOR:WIYN
                                                     INVESTMENTS;REEL/FRAME:012813/0714; Effective date:
                                                     20020312;
      20020422          ()               AS          New owner name: GLOBALMEDIA GROUP 15020 NORTH
                                                     74TH STREET SCOTTSDA; : ASSIGNMENT OF ASSIGNORS
                                                     INTEREST;ASSIGNOR:WIYN
                                                     INVESTMENTS;REEL/FRAME:012813/0714; Effective date:
                                                     20020312;
      20020422          ()               AS          New owner name: GLOBALMEDIA GROUP 15020 NORTH
                                                     74TH STREETSCOTTSDAL; : ASSIGNMENT OF ASSIGNORS
                                                     INTEREST;ASSIGNOR:WIYN INVESTMENTS
                                                     /AR;REEL/FRAME:012813/0714; Effective date: 20020312;
      20060222          ()               AS          ASSIGNMENT New owner name: WIYN INVESTMENTS, LLC,
                                                     ARIZONA; : ASSIGNMENT OF ASSIGNORS
                                                     INTEREST;ASSIGNOR:PAR TECHNOLOGIES,
                                                     INC.;REEL/FRAME:017198/0952; Effective date: 20060222;
      20060222          ()               AS          New owner name: WIYN INVESTMENTS, LLC, ARIZONA; :
                                                     ASSIGNMENT OF ASSIGNORS INTEREST;ASSIGNOR:PAR
                                                     TECHNOLOGIES, INC.;REEL/FRAME:017198/0952; Effective
                                                     date: 20060222;
      20060222          ()               AS          New owner name: WIYN INVESTMENTS, LLC, ARIZONA; :
                                                     ASSIGNMENT OF ASSIGNORS INTEREST;ASSIGNOR:PAR
                                                     TECHNOLOGIES, INC.;REEL/FRAME:017198/0952; Effective
                                                     date: 20060222;
      20060223          ()               AS          ASSIGNMENT New owner name: GLOBALMEDIA GROUP,
                                                     LLC, ARIZONA; : ASSIGNMENT OF ASSIGNORS
                                                     INTEREST;ASSIGNOR:WIYN INVESTMENTS,
                                                     LLC;REEL/FRAME:017207/0320; Effective date: 20060223;
      20060223          ()               AS          New owner name: GLOBALMEDIA GROUP, LLC, ARIZONA; :
                                                     ASSIGNMENT OF ASSIGNORS INTEREST;ASSIGNOR:WIYN
                                                     INVESTMENTS, LLC;REEL/FRAME:017207/0320; Effective
                                                     date: 20060223;
      20060223          ()               AS          New owner name: GLOBALMEDIA GROUP, LLC, ARIZONA; :
                                                     ASSIGNMENT OF ASSIGNORS INTEREST;ASSIGNOR:WIYN
                                                     INVESTMENTS, LLC;REEL/FRAME:017207/0320; Effective
                                                     date: 20060223;




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                                                                                                   ADJCAM000131
                                                               A2957
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                                USPTO Maintenance Report
   Patent Bibliographic Data                                                    02/22/2010 05:21 PM
   Patent                                             Application
                   5855343                                            08814168
   Number:                                            Number:
   Issue Date:     01/05/1999                         Filing Date:    03/07/1997
   Title:          CAMERA CLIP
   Status:         12th year fee window opens: 01/05/2010             Entity:            Small
   Window
                   01/05/2010    Surcharge Date:      07/07/2010      Expiration:        N/A
   Opens:
   Fee Amt Due: $2,055.00        Surchg Amt Due:      $0.00           Total Amt Due:     $2,055.00
   Fee Code:       2553          MAINTENANCE FEE DUE AT 11.5 YEARS
   Surcharge
   Fee Code:
   Most recent     08/23/2006    Payment of Maintenance Fee, 8th Yr, Small Entity.
   events (up to   08/23/2006    7.5 yr surcharge - late pmt w/in 6 mo, Small Entity.
   7):             07/26/2006    Maintenance Fee Reminder Mailed.
                   08/19/2002    Payment of Maintenance Fee, 4th Yr, Small Entity.
                   08/19/2002    Surcharge for late Payment, Small Entity.
                   07/23/2002    Maintenance Fee Reminder Mailed.
                                 --- End of Maintenance History ---
   Address for     GLOBAL MEDIA GROUP, LLC
   fee purposes:   15020 N. 74TH STREET, SUITE B
                   SCOTTSDALE, AZ
                   85260




                                                                                        ADJCAM000132
                                               A2958
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                   NO. 6:10 cv 329 LED




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  PLAINTIFF’S CLAIM CONSTRUCTION TUTORIAL

CEP IP                                                                                      1
                                              A2959
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                    U.S. PATENT NO. 5,855,343
                          CAMERA CLIP




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                                                                                                Page: 433
                                                                                                Filed: 12/11/2014
CEP IP                                                                                      2
                                              A2960
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                    U.S. PATENT NO. 5,855,343




                                                                                                Case: 13-1665
  • The ‘343 patent is entitled “Camera Clip.”

  • Apparatuses which comprise camera clips are often
    referred to as “webcams.”




                                                                                                Document: 97-3
  • At a high level
              level, the invention of the‘343
                                      the 343 patent comprises
    a novel adjustable camera clip comprising one disposition
    on a generally horizontal, planar surface (for example a




                                                                                                Page: 434
    table top), and another disposition when, for example,
    attached to the screen of a laptop computer.




                                                                                                Filed: 12/11/2014
CEP IP                                                                                      3
                                              A2961
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   ‘343 PATENT – EXEMPLARY FIGS. 2 & 4
   Exemplary Fig
               Fig. 2 shows a preferred embodiment webcam in a first




                                                                                                Case: 13-1665
   disposition on a table top.




                                                                                                Document: 97-3
   Exemplary Fig. 4 shows the same webcam in a second disposition




                                                                                                Page: 435
   when (in an exemplary embodiment) attached to the screen of a
   laptop computer, as follows:




                                                                                                Filed: 12/11/2014
CEP IP                                                                                      4
                                              A2962
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                                    ‘343 PATENT




                                                                                                    Case: 13-1665
       Exemplary commercial webcams:




                                                                                                    Document: 97-3
.




                                                                                                    Page: 436
                                                                                                    Filed: 12/11/2014
    CEP IP                                                                                      5
                                                  A2963
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                                    ‘343 PATENT




                                                                                                    Case: 13-1665
                                                                                                    Document: 97-3
       The ‘343 patent has five independent claims, which
.      are claims 1, 10, 19, 20 and 21.




                                                                                                    Page: 437
                                                                                                    Filed: 12/11/2014
    CEP IP                                                                                      6
                                                  A2964
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                 ‘343 Patent, Exemplary Claim 1
   1. Apparatus
       pp       for supporting
                      pp     g a camera,, havingg a lens,, on anyy generally
                                                                   g       y horizontal,,




                                                                                                         Case: 13-1665
   substantially planar surface and on an object having a first surface and a second surface and
   an edge intersecting the first surface and the second surface, comprising:

      a. a hinge member adapted to be rotatably attached to the camera, said camera, when the
         hinge member is so attached, rotating, about a first axis of rotation, relative to said
         hi
         hinge member;
                   b andd




                                                                                                         Document: 97-3
      b. a support frame rotatably attached to said hinge member and configured to support said
         hinge member on the surface and the object,

        said hinge member rotating about a second axis of rotation relative to said support
        frame,




                                                                                                         Page: 438
        said first axis of rotation being generally perpendicular to said second axis of rotation,

        said second axis of rotation being substantially parallel to the first surface when said
        hinge member is supported on the object,




                                                                                                         Filed: 12/11/2014
        said support frame having a first disposition positioned on said generally horizontal,
        substantially planar surface,
                             surface

        and said support frame having a second disposition attached to the object when said
        first surface and said second surface are inclined from a generally horizontal
        orientation,

        the camera being maintained adjacent said edge in said second disposition of said
        support frame.
CEP IP                                                                                               7
                                                  A2965
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          Exemplary Claim 1 vis-a-vis an Exemplary Embodiment




                                                                                                Case: 13-1665
                                                                                                Document: 97-3
                                                                                                Page: 439
                                                                                                Filed: 12/11/2014
CEP IP                                                                                      8
                                              A2966
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              ‘343 Patent, Claims 10, 20 & 21




                                                                                                Case: 13-1665
   Independent claim 10 is similar to claim 1, except it comprises additional
   claim limitations related to the support frame being comprised of “a rear
   supportt element
             l     t andd a first
                            fi t andd a secondd front
                                                f t supportt element.
                                                              l    t . .””




                                                                                                Document: 97-3
   Independent claim 20 is similar to claim 1, except it comprises additional
   claim limitations related to “wherein said support frame protects the
   camera when
            h said id hinge
                      hi     member
                                  b isi nott supported
                                                   t d on the
                                                          th generally
                                                                   ll
   horizontal, substantially planar surface . . .”




                                                                                                Page: 440
   Independent claim 21 is similar to claim 1, except that it comprises
   additional claim limitations related to “wherein
                                           “ herein said support
                                                         s pport frame
   releasably holds and protects the camera when said hinge member is not
   supported by said support frame on the object. . .”




                                                                                                Filed: 12/11/2014
CEP IP                                                                                      9
                                              A2967
         Case 6:10-cv-00329-LED Document 575-3 Filed 12/19/11 Page 10 of 19 PageID #: 4505



                         ‘343 Patent, Claim 19




                                                                                                  Case: 13-1665
   Independent claim 19 covers a “camera clip for supporting a camera on a
   laptop computer” . . . comprising . . .

     a hinge member adapted to be rotatably attached to the camera, said
     camera rotating about a first axis of rotation relative to said hinge




                                                                                                  Document: 97-3
     member; and

     a support
         pp frame hingedly
                     g y attached to said hinge
                                             g ...




                                                                                                  Page: 441
     Claims 1,
            1 10,
               10 20 & 21: “s
                           “support
                              pport frame rotatably
                                            t t bl attached
                                                    tt h d to said hinge
     member.. .”




                                                                                                  Filed: 12/11/2014
     Claim 19: “support frame hingedly attached to said hinge member. . .”




CEP IP                                                                                       10
                                               A2968
           Case 6:10-cv-00329-LED Document 575-3 Filed 12/19/11 Page 11 of 19 PageID #: 4506



       Hinge member: rotatable attachment
   Hinge
       g member: a structural element that joins
                                           j     to another for rotation in at




                                                                                                    Case: 13-1665
   least one axis of rotation

   Including structurally, a hinge member comprises: (1) for rotatable
   attachment to a camera;; and (2)
                                 ( ) for rotatable (claims
                                                   (       1,, 10,, 20 & 21)) or
   hinged (claim 19) attachment to a support frame.




                                                                                                    Document: 97-3
   E.g.,

   “a hinge member adapted to be rotatably attached to the camera” Claims
   1, 10, 19, 20 & 21




                                                                                                    Page: 442
   “Hinge
    Hinge member 16 is rotatably attached to camera 12,  12 where camera 12
   rotates over a first axis 26 in a direction shown by arrow 28 relative to
   hinge member 16.” Col. 4, lns. 17-19.




                                                                                                    Filed: 12/11/2014
                   Exemplary embodiment


CEP IP                                                                                         11
                                                 A2969
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       Hinge member: rotatable and hinged attachment




                                                                                                    Case: 13-1665
   Hinge member: a structural element that joins to another for rotation in at least one
   axis of rotation

   Including structurally, a hinge member comprises: (1) for rotatable attachment to a
   camera; and (2) for rotatable (claims 1,
                                         1 10,
                                            10 20 & 21) or hinged (claim 19)
   attachment to a support frame.




                                                                                                    Document: 97-3
   E.g.,
   “a support frame rotatably attached to said hinge
   member and configured to support said hinge member
   on the surface and the object” Claims 1, 10, 20 & 21




                                                                                                    Page: 443
   “aa support frame hingedly attached to said hinge
   member to engagingly support said hinge member on the
   display screen” Claim 19




                                                                                                    Filed: 12/11/2014
   “Support
       pp frame 18 is hingedly
                            g y attached to hinge  g member
   16 to engagingly support hinge member 16 on an object
   30 (see also, FIG. 2). Hinge member 16 rotates over a
   second axis 32 in the direction shown by arrow 34
   relative to support frame 18. .” Col. 4, lns. 120-24


                                   Exemplary embodiment
CEP IP                                                                                         12
                                                 A2970
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           Support Frame: structural support
   Support
      pp frame: a structural element that supports
                                            pp     another structure (e.g.,
                                                                     ( g , supports
                                                                             pp     a




                                                                                                    Case: 13-1665
   hinge)

   E.g.,
   “aa support frame rotatably attached to said hinge
   member and configured to support said hinge member




                                                                                                    Document: 97-3
   on the surface and the object” Claims 1, 10, 20 & 21

   “a support frame hingedly attached to said hinge
   member
        b tot engagingly
                    i l supportt said
                                    id hinge
                                       hi    member
                                                  b on the
                                                       th
   display screen” Claim 19




                                                                                                    Page: 444
   “Support frame 18 is hingedly attached to hinge member
   16 to engagingly support hinge member 16 on an object
   30 (see also, FIG. 2). Hinge member 16 rotates over a
   second axis 32 in the direction shown by arrow 34
   relative to support frame 18. .” Col. 4, lns. 20-24.




                                                                                                    Filed: 12/11/2014
   “Support
   “S   pport frame 18 has a first portion consisting of first
   support element 38 and a second portion consisting of a
   first front support element 40 and a second front support
   element 42.” Col.; 4, lns. 27-30.



                                  Exemplary embodiments
CEP IP                                                                                         13
                                                 A2971
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             Maintained adjacent said edge




                                                                                                          Case: 13-1665
                                                                                                          Document: 97-3
                                                                                  E
                                                                                  Exemplary
                                                                                       l    embodiment:
                                                                                              b di




                                                                                                          Page: 445
                                                                                                          Filed: 12/11/2014
CEP IP                                                                                              14
                                               A2972
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   Display screen which can be inclined from a
           generally horizontal position




                                                                                                     Case: 13-1665
                                                                                                     Document: 97-3
                                                                             Exemplary embodiment:




                                                                                                     Page: 446
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CEP IP                                                                                        15
                                               A2973
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     Display screen which can be inclined from a
             generally horizontal position




                                                                                                   Case: 13-1665
                                                                                                   Document: 97-3
 Exemplary embodiment:




                                                                                                   Page: 447
                                                                                                   Filed: 12/11/2014
CEP IP                                                                                        16
                                                A2974
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                                   Pivot Element




                                                                                                     Case: 13-1665
                                                                                                     Document: 97-3
Exemplary embodiment:




                                                                                                     Page: 448
                                                                                                     Filed: 12/11/2014
CEP IP                                                                                          17
                                                  A2975
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   Rotation of said support frame being prevented along an
         axis substantially parallel to said second axis




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                                                                                                  Page: 449
                                                                                                  Filed: 12/11/2014
                 Exemplary embodiment:
CEP IP                                                                                       18
                                               A2976
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            ADJUSTACAM, LLC
                  V.




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         AMAZON.COM, INC., ET AL.




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                    NO. 6:10-cv-329-LED
                             cv 329 LED




                                                                                                  Filed: 12/11/2014
                    END OF
                        O
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CEP IP                                                                                       19
                                               A2977
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          THE AMERICAN HERITAGE
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f~&OF THE ENGLISH LANGUAGE
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                                          A2978
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                                       such investigation is impracticable. Words that are known to
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                                             Library of Congress Catalog Card Number 76-86995




                                           A2979
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               atomic
Case 6:10-cv-00329-LED attain          I
                        Document 575-4 Filed 12/19/11 Page 3 of 9 PageID #: 4517
                                      a•tom•ic (:...tom'lk) adj. 1. Of or relating to an atom or atoms.                             at·ra·b!l·i~us (at'r...bii'Y"s) adj. Also at·ra·bil·i·ar (·bii'O-<lr).
                                       2. Of or employing atomic· energy: an atomic 'submarine.                                      1. lncbned to melancholy. 2. Having a peevish· disposition;
                                       3. Very small; infinitesimal. """&•tom'i·cai·IY adv.·' ·                                      surly. [From Latin atra bilis. blaclc bile (translation of Greek
                                      atomic age. Also Atomic Age. The current era as characterized                                  melankJzQI.ia, MELANCHOLY) : iitra, feminine of iiter· black (See
                                       by the discovery,                           ·ons, and sociopolitical                          iter- in Appendix*) + bilill, BILE.]' -at'ra·bil'ious·~ n.
                                       consequences of a                                            ·· ·
                                     atomic bomb, 1. An ex                 e weapon of great destructive                            A~~f!it~~et'Jrd!r ri~~;:,r~nn.io'!f%~tes:!v1~~nu~!~o:i~
                                       power derived from the rapid release of energy in the fission of                              300-mile course to the Caspian Sea..            .    · ·
                                       heavy atomic nuclei, as of uranium 235. 2. Any bomb deriving                                 A·treus •<(a'troos', a'uc;..,s). Greek' Mythology. A king of
                                       its destructive power from the release of nuclear. energy. Also                               Mycenae, father of Agamemnon and Menelaus; .                  ·
                                       called ..atom bomb," ..A-bomb." See hydrogen bomb.                                          a-tri•o•ven•trieou·lar (li'tte-0-ven·tr!k'Y>br) adj. Anatomy. Per-
                                     atomic clock. An extremely precise timekeeping device regu-                                     taining to the .atria and ·:the· ventricles of the heart. .
                                      lated in correspondence with a characteristic invariant frequen-                             a•trip (>trip') iuiJ. ·,Just cleat' of the bottom. ·Said of an anchor
                                      cy of an atomic or molecular system.                                                           [A· (on) + 'IlUP (to .raise· an anchor}.] -"a•trip' adv.              '
                                     atomic energy. 1. The energy released from an atomic nucleus                                  a•tri•um (a'tril-<lm) ·n..;, pl. .au;a (a'tte-3). or ·ums. 1. An. open
                                      in fission or fusion. 2. This energy regarded as a source of                                  central court, especially . in an. ancient Roman, house. 2. A
                                      practical power.                                                                              bodily cavity or. chamber, as in· the heart. Also called "auricle."
                                     Atomic Energy Commission. Abbr. AEC, A.E;C. A five-                                             [Latin atrium. See iter" .in Appendix.*] -a'trW.I adj.
                                      member advisory board formed in the United States in 1946 for                                a•tro•cious (>trO'sh"s) adj. 2. El<tremely evil or cruel; mon-
                                      the domestic control of atomic energy.                                                        strous: an atrocious crime. . 2. Exceptionally bad; abominable:
                                     at•O•rriic·i·ty· (at'>mis':...te) n. 1. The state of being· composed                           atrocious decor; atrocious behaYior. [From Latin .iitt'Ox (stem
                                      of atoms. 2. Chemistry. a. The' number of atoms in a molecule.                                iitroc:), "dark-looking,"· horrible; .. crueL See .:ater· in Ap-
                                      b. Valence.                                                                                   pendix.*] -a·tro'cious·ly adv. -a>'tl'ltcious-ness·n. · .
                                     atomic mass, The mass of an atomic system or .constituent,                                    a-troc-i•ty" {>tros'>te) ·II., pl. ·ties.:-.. 1; Atrocious condition,
                                       usually expressed in atomic mass units.                                                      quality, or behavior; monstrousness; vileness. 2. An atrocious
                                     atomic mass unit. Abbr. amu A unit of mass equal toy., the                                     action.· situation, or obj~' outrage.
                                       mass of the carbon isotope with mass number 12, approxunate-                                at•ro-phy (at'r.>-re) n.,' pl. -phies. c'J',:.Pathology. The emaciation
                                      ly 1.6604 X 10-24 gram.                                                                       or wasting of tissues, organs, ·or: the entire body:           ,_,Any
                                     atomic number. Symbol Z The number of protons in an                                            wasting away or diminution:· mora1 atrophy.- -v. atrophied,
                                      atomic nucleus.                                                                               -pitying, -phies. -tr. To cause to:IIVftlie<;. affect with atrophy.
                                    atomic pile. A nuclear raactor (see}.                                                           -intr. .To waste away; wither. [Late ·.r;atin atrophia, from
                                     atomic reactor. A nuclear reactor (see).                                                       Greek, from atroplws, ill-nourishi:d" : a.,· without + trop/oe,
                                     atomic theory. 1. The physical theory of the structure, prop-                                  nourishment (see threph- in Appendix*).]' -a·troph'ic (a-uof'·
                                      erties, and behavior of the atom. 2. Atomism.                                                 ik), at'ro·phous (-ms) adj.
                                     atomic weight. Abbr. at wt The average weight of an atom of                                   at•ro•pine (it'r.>-pen', -pin) 11. Also at·ro-pin (-pin). An ex-
                                                                                                                                    ~::!~Yfro~·~H~o~~in~.;i:l:ept!~~~~·j~~~~~late
                                      an element, usually expressed relative to one atom of the carbon
                                      isotope taken to have a standard weight of 12.
                                    at•om·ism (at'~m-iz'::>m) n. 1. The ancient theorY of Democ-                                   the pupil of the eye and as a'n anesthetic and antispasmodic.
                                      ritus, Epicurus, and Lucretius, according to which simple,                                   ·[German Atropin, from New Latin Atropa,:genus of bellados-
                                      indivisible, and indestructible atoms are the basic components                               na, deadly nightshade, from Greek atroJiosi' unchangeable, in-:
                                      of the entire universe. 2. Sociology. Any theory according to                                flexible. See Atropos.]       ·                .    : .·
                                                                                                                                   Af~~'id~~~~~~ 1't:!p!'fn!x~ia~:,1rifl~~Ie0;;:,e~~~
                                      which social institutions and processes arise solely from the acts
                                      of individual men. 3. Political Science. a. The division or
                                     tendency to divide into subclasses, groups, or units of a given                                troJJ-, stem of trepein, to turn (see trep-% in Appendix*).]
                                     society. b. The foregoing tendency accompanied by or arising                                  A.T.S. 1. American Temperance Society. 2.-Army
                                     from a strong subjective individualism. -at'om·ist n. -at'-                                    Service.
                                     om·is'tic (-is'tik), at'om·is'ti•cal adj. -at'om·is'ti·cal·ly adv.                            att. 1. attached. 2. attention. 3. attorney;
               atomizer         •   at-om·ize (lit'::>m-iz') tr.v. -ized, -izing, -izes. 1. To requce or                           at•tacb '(q-tach') v. -tached, -taching. -taches. -tr.
     . French .penume·!!tomizer      separate into atoms. 2. a. To reduce (a liquid) to a spray. b. To                              on or affix to; connect or join. 2. To            as an.acr1uncnor
                                                                                                                                   ~~~;'::':;;;>:~~ :;.~~: ajf~tt~;h,--:;;,~;ii~ifl~~;;;,;;7f;
                                     spray (a liquid) in this form. 3. To subject to bombardment
                                     with atomic weapons. -at'om•i·ze'tion n.
                                                                                                                                                                ,!ias~o~f·~~~~~~~f~;~~~~~~~~~
                                    at•om·iz·er (iit'::>m-i'~r) n. A device for producing a fine spray,
                                     especially of perfume or medicine.                                                            attached to by
                                                                                                                                   5. To bind  his personal
                                                                                                                                                   mother. 6.
                                    atom smasher. An atomic particle accelerator (see}.                                            assign (personnel) to
                                    at•o-my1 (lit',...me) n .. pl. ·mies: Archaic. 1. A tiny particle.                             assign. 8. Law. To
                                     2. A tiny being: "Drawn with a team rq little atomies" (Shake-                                -intr. To adhere.
                                     speare). [From Latin atomi. plural of atomus. ATOM.]              .                           French altacher,
                                    at•o-mY" (at'>me) n.. pl. -mies. Archaic. A skeleton or a gaunt
                                     person. [From anatomy, improper spelling of ANATOMY.]                                                        ~f~ro:m~~;~!~!~~k~~~~~~;~!·~•·st~-•m
                                    a•to-nal (a-to'nQl) adj. Music. Lacking a tonal center. -a-to'-                                ;;.~~~h:iii·...; '
                                     nal•ly adv.
                                    a•tO-nal·ism (a-to'n::>l·iz'"m) 11. Music. 1. The lack of a tonal
                                     center or key, as a principle of musical composition. 2. The
                                     theory of atonal composition.
                                    a·to·naloi•ty (ii!tO·na!'::>·te) n. Music. A style of composition in
                                    ·which tonal center· or key is disregarded.
                                    a;:O::~:"!~n;J/~ a:;:':;;: ;:.t;;;:nf)s!f:,'iii, -;;;:.nt~. ~~J;~i~a:~
                                     agree. -tr; Archaic. 1. To expiate. 2. To reconcile or bar-
                                    ·. ~~gitJiJ,0f~:,ci:,a.:.~~f'::'.:!·mg;{f1g~=:.r~~t!n~':<i3
                                    '""'a·'tOJi'a•ble, a·tOne'a·ble adj. -a•ton'er n.
                                    a•toi'Mi'm&nt (,...ton'm::>nt) n. 1. Amends or reparation made for
                                      an injury ·or wrong; expiation; recompense. 2. In the Hebrew
                                    · S'cii:!:>tl.ttes';~m'an's reconciliation with God after having trans-
                                    ·gresSe(l'tbe'coVe!l!lnt. 3. Capital A. Theology. a. The t'ed!:mp-
                                     tive:1ifecand ·~<h·of Christ. b. The reconciliation of God and
                                     man 'th.ll$ l:iro!lii'ht about by Christ. 4. Christian Science. The
                                     radical'·o ·
                                                                iii~an~d~p~u:n~~·fi=lcat!~ti:~o:!n~,:~exemplified
                                                                 1                                                in the life of
                                                                                                an's oneness with God.




                                                                                   A2980
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      adj. -:-at•m05•
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                   ~tropia'                                                                                             140
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                                   attaclllllent plug 12/19/11           Page
                                                      n : a plug consisting usn. of a9screw-shell
                                                                                        of 9 PageID #: 4523
                                    bo<ly and cap and connecting a flexible conductor to a lamp
                                                                                      ,~t ~k'\.'~~~~:iefly substand ·kt\ vb attacked '-·kt.
                                                                                          1

                                                                                       chiefly suhstand -kt¢<1\ attacked; attacking; attack.S [MF
                                                                                       attaquer, ft. Olt attaccare to attach, attack, alter. (influenced
                                                                                       by a to, !r. L ad) of (assumed) Olt estaccare to attach, fr.
                                                                                       (assumed) Olt stacca stake, of Orne origin; akin to OE staca
                                                      opin, lr. NL Atropa              stake - more at AT, STAKE] vt 1 a : to set upon or work
                                                     in -ine1 : a poisonous            against forcefully<- a man without warning) (if we study any
                                                      extracted from the               modern river we note how determinedly it ~s its banks
           belladonna and other plants of             Solanaceae and. used
           esp. in the form of its sulfate to relieve spasms, to ditninish             ;;~n'.~·~~~'i,':{.>: :•!~~~ 'i~ fi:JC:.t"ud ;e~.;l~l~wf'J:
          secretions, to relieve pain. and to dilate tlie pupil of the eye;            sexual mtent : subject to indecent assaufi.': RAPE~ RAVlSR
          raeemic·hyoscyamine                                                          2 : to threaten (a piece in chess) with immediate capture (the
        at.ro•pin•ize \·po,niz\ vt ·EP/·tNGI-s: to bring under the in·                 rook is ...-;ng the queen) 3 : to assail with unfriendly or bitter
          fluence of atropine                                                          words :        ·    controversy with : attempt to overthrow or
        at.rO•POU.S \'a·tr~\ adj [Gk atropos not to be turned, fr. a-                  bring int                                  satire) 4 : to begin to
         •a + •tropas -trope] bot :not inverted : ORn<<YtRorous                        affect :                                  ~ed .by an embryonic
        at.ro.scine \-,sen•••s¢n\ n -s [ISV atro- (fr. NL Atropa) +                    tumor                                     bo) <~ed .by a fever)
         hyoscine l :     r ·                                                          5 a :to                                          rms ~ed the cab-
                                                                                       bage plants · b : to act upon destructively : DECOMPOSE (the
        atry '""'ttl\                                                                  acid ~s the metal cup) 6 : to set to work upon (as a problem
         sea by a bal
        atry.pa '""'t                                                                  or an investigation) esp. vigorously : TACKLS (a plan which
                                                                                                                              's Yr. Bk.) ,.., vi: to make
                                                                                                                             ~) (they -ed furiously in




                                                A
                                      imper [It, lit., attack, imper. sing. of
         attaccare to attack- more at A'l"t'ACK] : attack at once- used
         as a direction in music at the end of a movement to begin the
         nei<t. without pause
        at.ta:c.co \"'tlt(.)kO, ·ta·\ n -s [It, lit., attachment, connection,
         ir. atraccare to attach, attack] : a moti11e or sbort phrase in
         music presented in contrapuntal imitation and introduced in
         the course of a composition as development or as the feature of
        a~·=e~P:~ ':.b ·ED/·ING
                              0
                                             ME attachen, fr. MF at-
         tacker, fr. OF atachier, alter.      enced by a to, fr. L ad)
         of estachier~ fr. estache stakCt             ; akin to OE staca
         stake- more at AT, STAKE] vt 1 : to take by legal authority;
         a: to arrest by writ and bring before a CJ>urt (as to answer for
         a debt or a contempt)- now applied chiefly to a taking of the
         ~:"o~Ya ~~;'~l~=t ~o :h~~ieJ: s:n;,a~; ~~~l~d~
        ment that may be rendered in the suit - compare ATTACH·
        MeNT 1 2 obs a : tNnicr, ACCUSE <~ a person of murder)
        b : to lar bold of : SEIZE (be -ed by an illness) <~ the food
        ~~.;':!J~r    t; !h~fy,';'~;g !l'~~el~ at~~~':,r:M APri'~Dfo
        fasten (itaelf)- used reflexively (a figure of universal fame, of
        a kind that scarcely ~es itself to anyone in this age -Qsbert
        Sitwell) c: to order (an individual or unit in the military) to
        serve more or less temporarily with another organizatiO<l
        d : to place (an individual or unit in the military) under the
        con                                     n
        ratio                               )
        4 :                             (         affection or sympathy)
        : wi                           - used with to (she undertakes
        to~ bim to her by strong ties: a child, or marriage -H.M.
        Parshley) 5 : make last or join (as by string or !!lue)                                                           t can be attacked esp. with some
        •                                        tags on each arllcle)
                                                 !BE    used with to (the            af~~o';,rp"';, ; a naval ship with specially trained boat
                                                 to stones-M.R.Coben)                 crews for landing material in an amphibious· assault
                                        or adjunct (to this treasure a
                                        ...., vi 1 : to fix or fasten itself         a!~l:i~~:O ~;O:,y~~.;Kn~irfo~~ designed and armed for
        : AOHERE (the suspicion that he is guilty ~es upon his strange               attack trau.sport n : a naval ship with specially trained boat
        actions) {all the advantages that- to the office) 2: to come                  crews for landing t                           ious assault
        into legal operation : VEST (an ancient law -ed in this case)                at•ta•CUS \'ad-~bs                             akos] 1 ·ES: an edible
        syu see FAsttN                                                                insect mentioned in                            called bald locust in the
       at•taCh·a-ble \""ool\ adj 1: liable to arrest or legal seizure                 A.uthoriz.ed and R                                ns 2 cap [NL, fr.
        (goods that are- for debt) 2 a :capable of being fastened                     LLJ :a ·        ·                                 hiefly tropical moths       or fact of atten 1ng: as a : the act or state of
        or added to something (a handle- by two bolts) b: capable                     (family                                           tic Atlas moth              : ser.vice esp. at court or at a hospital (a ;
        of being attributed as an adjunct (complete cooperativeness                  at•tain                                             en, ateig11en, lr. OF      b : a being present : PRESENCE <~ at a play)
                                                                                      (i;;'{f.;'~C:mbyot ~;;,~;;;) o~· L a,;;~~J. ir~ :J!~zg:g..~~to;,;
        was not,.....; to his aetions)                                                                                                                              attending: a obs :a body of attendants: RIC




                                                         e
       a!d~~r~t\~~~9~~J· ~a~t~~:~,;:!ag'!~(.)sha~s~~ ~~\ti:~;                         touch, reach- more at TAN0£NT] Vt 1 : RFACB, GAIN, ACHlEVE,
                                                                                                                                                                    with bis ~ of court
                                                                                                                                                                    persons present (as
                                                                                                                                                                                                                  so1
                                                                                                                                                                                                                   ce
        [F, past part. of attacher to attach] : one attached to another               ACCOMPLISH (difficult· to ~ a realistic effect)         <-
                                                                                                                                           repose) <~               school) (the btoad                            do
                                                                                      his goal) 2 obs : to get at the knowledge of : ASCERTAIN <~                   diminish the .-sat
        ~fi~n)r o~ !tttr~~ U:!'J!P1:~a~!~pr~~n~ti~~1e h'~
                          0                                                                                                                                                                                       Jo
                                                                                      the meaning of a statement). 3 : to·come into possession of                  attendance area n : the territory served by
        country at a foreign capital (a inilitary       -> -see    co~o<MEJ<CIAL      : OBTAIN (~       .                referment) 4 0           TAKE              school
        ATTACHE                                                                       :get at:                           "or come to by            nor             attendance Officer n : one employed by a p1
       at•ta•che case \~'tashC-, -aash-,·aisb·, •(,)shJ:, less often one of           m ·              at - the top of the hill) <~ a              age)             tern to investigate the continued absences of
        the other pronunciations at ATrACHt,.                                         - vi : to come or arrive by motion, growth. or              ward              also truant officer           .
                                                                                      tnPt'=' ~b~.W.~tf!} :~~;,:: ~J''!,f~t;'~eoi:'euitio' ~
        sometimes a'tacha-\ n 1· : a traveling                                                                                                                     attendancy n -£S obs : ATTENDANCE
        case like a suitcase but smaller 2: BIUEF·                                                                                                                 1at.telld•ant \•'tend~nt\ adj [ME, fr. MF
        CAS£                                                                          plant ~s to a height of 10 feet) (knowledge no man has -ed                    part. of atendrel 1 : accompanYing, waiting
       attached adj 1 : permanentlY fixed                                             unto)
                                                                                                                                                                     ~~gt~~ ~rr. ~ ~;~:r: ~~~=r~msi~
                                                                                                         REACH
        when adult (an~ barnacle) (an- OY·                                           at•taill                 •bilcx:l•S, ~t'i, -i\. n ~ES! the quality or
        ster) 2 archit : ll>IGAGED                                                    state o
       at•tach-ment \o'tacbm~nt\ n ·S [ME                                            at•tain·a•ble "'ta=bol\ adj : capable of being attained                         ~u~:r2 <g~~"o~;; 1~;:~ se,;A;., ~no~
        r:::~!:i:i~~Of~;t~ ~·-~n~~~:r:n:1
        ATTACH] 1 a I a seizure or taking in:
                                                                  ·        .         at-tain·a·ble·ness n -ES : ATTAINAB!LrrY
                                                                                     at•tain
                                                                                      accuse)
                                                                                                                 s [ME attaynder, fr. MF ataindre to
                                                                                                                  : tbe act of attainting or state of
                                                                                                                                                                     with an or to. (the widow~ to the

                      0
        :ed~f ~ {eg~f~o,:'.!.,~r J'~'ir.';_Yl .,. .·attach~ case         ~~~~consequent upon :,~~.;:~\1~~~ a.;:,do<;;W;~,:>! · used With an or upon (the disadvant;;"~'!,
        precept commanding such seiz
        compare GAI<NISHMENT 2 a : tt
                                                                         act of-> (no~ of treason shall work corruption of blood or ous -F.R.Leavis)             I
                                                                         forfeiture excel't during the life of the person attainted -u.s. 'lattenllllnt \"\ n -s 11aw: one owing,dut:
                                                              .-'attached (as by
                                                    .
        (~ec:;,or;; S::,~!~hyb 0 [ ~eli~J~ -4>'ieCtlZ,iti,~ aJ;,';tid~ criminal
                                                                         Constitution) 2 obs a: dishonoring accusation: SENTENCE (a · depending on another 2 : one who attend
                                                                                  pursued by the ~s of his victims) b: the stain of dis· another in order to render a service (as a co1
        ~';;;~\:a\ ~;~f,~~;~n(:s ~;'~%~~ln~ ~~~~J'~in: ;~ at•tain•ment \"'tanm<>nt\ n -s 1 : the act of attaining : the keeper,
                                                 0                       honor (to Uve his life free from. all~>                                                              or agent) (the bride's ~s at the we
                                                                                                                                                           in a hospital);· esp : an employee who W<
        work    <-•   for a vacuum cleaner) 4 ; the physical connection cOlldition of being attained (the ~ of her Ufe ambition)
        by which one thing is attached to an
                                                                                                                                                           (a gasoline-station-> 3 :something that
                                                                         (notions difficult of-> 2 : something that is attained or at- circumstance : ACCOMl'ANlMENT, CONCOMIT
        -• of a muscle to a bone) 5 : an a                               tained to (as a mental acquirement or social accomplishment) luxury and its literary and artistic ~s -E
        nection (the ~ of a r.Ccoi:di:nilde.ilce                         {famous for his seientific ~s>                               .                    4: one who is !'resent on a given occasion'
        v~ron~~:iiyLOt'i!; ,:;~~~icC ::.;~fJ~ Ob
                                                   1                    'at.taint \ll'tant, a'·\ vt attainted; attainted or archaic at-                    <~• at· the festtval)

        l:~J· z,.p hirt~ -W.~.Mau2ham) {are not ~ow 1~~ -~~~~~t~~:~:     =\,t~~              ai~~      f~r~~:Y:~1\"t}ofr    M~~r;t~~·        2f;~~        ag~~~~~~                     n1~." ~~r~'fbe~!:',i'J l~f
                                                                         """'v • n-.m~t<::T- used esp. of a jury on trial for
                                                                                     A2986
                                                                                                                              giving a false attended past oj AT'IOND
                                                                                                                       ~   1
                                                                                                                             __ , -~ .... ..;;.;....,..., ot .. tP.'I'Irl .. P.a \:l.ten'de••a,t-; ';)•ten,de\. n ..s:: A
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                                                                                                                   US005855343A
   United States Patent                                             [19J                         [11]    Patent Number:                          5,855,343
   Krekelberg                                                                                    [45]    Date of Patent:                       Jan. 5, 1999

   [54]     CAMERA CLIP                                                                     Primary Examiner-Ramon 0. Ramirez
                                                                                            Assistant Examiner-Long Dinh Phan
   [75]     Inventor:      David E. Krekelberg, Minnetonka,                                 Attorney, Agent, or Firm---Nawrocki, Rooney & Sivertson,
                           Minn.                                                             P.A.
   [73]     Assignee: iREZ Research, Corporation,                                            [57]                       ABSTRACT
                      Minnetonka, Minn.
                                                                                             A clip for supporting a portable camera either on a surface
   [21]     Appl. No.: 814,168                                                               or on an edge of a housing, and for protecting the lens of the
                                                                                             camera when the camera is not being supported. The clip
   [22]     Filed:         Mar. 7, 1997
                                                                                             provides two axis of rotation to position the camera to any
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   [51]     Int. Cl. ..................................................... A47G 29/00        desired viewing angle. The clip may be rotated to a first
   [52]     U.S. Cl. ........................... 248/121; 248/126; 248/918                   position to support the camera on a surface of a table or desk.
   [58]     Field of Search ..................................... 248/121, 126,              The clip may be rotated to a second position to support the
                      248/440.1, 166, 176.1, 688, 918; 224/908;                              camera on the display screen of a laptop computer. When the
                            396/421, 422, 423, 424, 425, 426, 427,                           camera is not being supported in the first position or the
                                                                                  428
                                                                                             second position, the camera may be rotated to be releasably
   [56]                        References Cited                                              held by the clip to protect the camera and lens during
                                                                                             storage.
                      U.S. PATENT DOCUMENTS
          1,208,344 12/1916 McAII ..................................... 248/126                              21 Claims, 2 Drawing Sheets




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                                                 Fig. 4
                                                           ,-12

                 Fig. 3                   20




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                                   Fig. 5




                                                 Fig. 6

                                                                      95
                                           41
                                       40
                      Fig. 7
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               38         ~-r---




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                         CAMERA CLIP                                   desired viewing angle. The clip may be rotated to a first
                                                                       position to support the camera on a surface of a table or desk.
                  FIELD OF THE INVENTION                               The clip may be rotated to a second position to support the
                                                                       camera on a display screen of a laptop computer. When the
      This invention relates to a clip for holding a camera. More      camera is not being supported in the first position or the
   particularly it relates to a clip for supporting a portable         second position, the camera may be rotated to be releasably
   camera either on a surface or on an edge of a housing, and          held by the clip to protect the camera and lens during
   for protecting the lens of the camera when the camera is not        storage.
   being supported.                                                       In a preferred embodiment of the present invention, an
                                                                    10 apparatus is provided for supporting a camera on an object
             BACKGROUND OF THE INVENTION
                                                                       where the apparatus comprises a hinge member and a
      With portable cameras, it is desirable to have an apparatus      support frame. The hinge member is rotatably attached to the
   which can support the camera in any number of desired               camera where the camera rotates over a first axis of rotation
   configurations. The apparatus must easily accommodate               relative to the hinge member. A support frame is hingedly
   repositioning the camera to new orientations during use, and 15 attached to the hinge member to engagingly support the
   must be easily transportable. This is especially true when          hinge member on the object, where the hinge member
   using the camera with a portable computer, such as a laptop         rotates over a second axis of rotation relative to the support
   computer. With increasing improvements in technology,               frame. The first axis of rotation is perpendicular to the
   both the laptop computer and camera have become smaller             second axis of rotation, and the second axis of rotation is
   over time, emphasizing the need for a compatible camera 20 substantially parallel to a first surface of the object when the
   support apparatus. The camera support apparatus must be             hinge member is engagingly supported on the object. In the
   versatile, light in weight, and be easily transportable to          preferred embodiment, the support frame further has a rear
   accommodate the new camera and laptop designs, and must             support element and first and second front support elements.
   desirably facilitate easy and safe storage of the camera.           In the preferred embodiment, the rear support element and
   Often times portable computers are stored in carry bags 25 the first and second front support elements support the
   which may be fully loaded with other hardware devices,              camera in the first position on the first surface when the rear
   such as disk drives or printers, as well as with personal           support element and the first and second front support
   effects, making for cramped storage conditions. The camera          elements are engaging the first surface when the first surface
   support apparatus must desirably protect the camera from            is substantially level. In the preferred embodiment, the rear
   damage during transport under these cramped storage con- 30 support element and the first and second front support
   ditions to avoid the necessity for separate storage means in        elements engage the first surface at three locations in a plane
   order to maintain camera portability.                               of the first surface to prevent rotation of the support frame
      In the past, camera support apparatus were not easily            relative to the first surface in any direction within the plane
   transportable. Often times these apparatus utilized designs         of the first surface. In the preferred embodiment, when the
   which incorporated a tripod approach, or which used one or 35 support frame is in the first position, the object may be the
   more telescoping arms to support the camera. These designs          top of a table where the first surface is a top surface of the
   attempted to support the camera during use, and then col-           table. The object may also be a desk top where the first
   lapse to a smaller size to facilitate storage or transportation.    surface is a top surface of the desk.
   While these designs were transportable, often times even the           In the preferred embodiment, the rear support element and
   collapsed size of the prior art camera support apparatus 40 the first and second front support elements support the
   could not be easily accommodated by a laptop computer               camera in a second position on the first surface adjacent an
   bag. These prior art apparatus also did not provide means to        edge when the first surface is inclined from the substantially
   protect the camera during transport, and if constructed of          level position. The object has a second surface wherein a
   hard, exposed materials, tended to damage the cameras.              thickness between the first surface and the second surface
                                                                    45 defines an edge therebetween. The camera is maintained
      Another problem with prior art camera support apparatus
                                                                       adjacent to the edge in the second position where the
   was that they could not easily accommodate the variety of
                                                                       uppermost portion of the object is the edge. The rear support
   applications desired for portable cameras. These applica-
                                                                       element engages a first surface and the first and second
   tions ranged from supporting the camera on the surface of a
                                                                       support elements engage the edge and the second surface.
   desk or table to supporting the camera on the upright display
                                                                    50 The rear support element and the first and second front
   screen of a laptop computer. With the prior art, often times
                                                                       support elements, in combination, maintain the camera
   more than one camera support apparatus was necessary in
                                                                       adjacent the edge and prevent rotation of the support frame
   order to support the desired range of applications. This
                                                                       along an axis substantially parallel to the second axis where
   unfortunately adversely impacted portability of the camera.
                                                                       the second axis is substantially parallel to the edge. In a
      Thus, a desire was created within the industry for a small, 55 preferred embodiment, the rear support element and the first
   easily transportable camera support apparatus for supporting        and second front support elements support the camera in the
   the camera on both horizontal surfaces, such as the surface         second position on the first surface adjacent the edge when
   of a desk or table, and vertical surfaces, such as the display      a first distance from the edge to the position where the rear
   screen of a laptop computer, and to protect the camera              support element engages the first surface is greater than a
   during storage and transport.                                    60 second distance from the edge to the position where the first
                                                                  and second front support elements engage the second sur-
               SUMMARY OF THE INVENTION
                                                                  face. A center of gravity of the camera and the hinge member
      Accordingly, it is an object of the invention to provide a  being adjacent and external to the first surface in combina-
   clip for supporting a portable camera either on a surface or   tion with the first distance being greater than the second
   on an edge of a housing, and for protecting the lens of the 65 distance prevents rotation of the support frame along the
   camera when the camera is not being supported. The clip        axis substantially parallel to the second axis of rotation. In
   provides two axis of rotation to position the camera to any    the preferred embodiment, when the support frame is in the




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   second position, the object may be a display screen for a             FIG. 6 is a detailed side view showing the third mode
   laptop computer, where the second surface is the front of the      wherein the lens of the camera is being fitably received by
   display screen and the first surface is the back of the display    the cover; and
   screen.                                                               FIG. 7 is a front view showing the third mode of the
      In the preferred embodiment, the support frame has means        preferred embodiment of the present invention.
   to releasably hold and protect the camera during storage.
   The camera may be rotated about the second axis in a                            DETAILED DESCRIPTION OF THE
   direction from the first and second front support elements                        PREFERRED EMBODIMENTS
   towards the rear support element of the support frame until           Referring now to the drawings, wherein like reference
   the camera is in a position between and is releasably held by 10 numerals refer to like elements throughout the several
   the rear support element and the first and second front            views, FIG. 1 is a perspective view of the camera clip
   support elements. In the preferred embodiment, the rear            invention. FIG. 1 shows generally a camera apparatus 10
   support element has means to protect a lens of the camera          having a camera 12 and a camera clip 14. Camera clip 14 is
   which is a cover mounted at a distal end of the rear support       further comprised of a hinge member 16 and a support frame
   element. The lens of the camera faces a direction of rotation
                                                                   15 18. Camera 12 is comprised of housing 20 and lens 22, and
   about the second axis from the first and second front support      has a housing backside 24 which is the side of the housing
   elements to the rear support element of the support frame to       opposite of lens 22. Hinge member 16 is rotatably attached
   allow the lens of the camera to be fitably received into the       to camera 12, where camera 12 rotates over a first axis 26 in
   cover when the camera is releasably held between the rear          a direction shown by arrow 28 relative to hinge member 16.
   support element and the first and second front support
                                                                   20 Support frame 18 is hingedly attached to hinge member 16
   elements.                                                          to engagingly support hinge member 16 on an object 30 (see
      In the preferred embodiment, the first and second front         also, FIG. 2). Hinge member 16 rotates over a second axis
   support elements are spaced a distance apart at a distance         32 in the direction shown by arrow 34 relative to support
   less than a diameter of a housing of the camera, where the         frame 18. First axis 26 is perpendicular to second axis 32.
   camera is rotated about the second axis in the direction 25 Second axis 32 is substantially parallel to a first surface 36
   towards the rear support element so that the housing passes        when hinge member 16 is engagingly supported on object 30
   between the first and second front support elements. The first     (see also, FIG. 2). Support frame 18 has a first portion
   and second front support elements resiliently and outwardly        consisting of first support element 38 and a second portion
   flex to accommodate passage of the housing. The housing is         consisting of a first front support element 40 and a second
   releasably held after passing between the first and second 30 front support element 42. Housing 20 has a first indentation
   front support elements by the rear support element engaging        25 and a second indentation 27 to slidably and fittably
   the housing at the lens, where the first and second front          receive distal end 41 of first front support element 40 and
   support elements engage the housing backside at a first            distal end 43 of second front support element 42 when first
   indentation and a second indentation respectively to resil-        front support element 40 and second front support element
   iently urge the housing towards the rear support element. 35 42 are rotated in the direction of arrow 34 to engage housing
      In the preferred embodiment, the hinge member is further        backside 24.
   comprised of a body having a proximal and a distal end                FIG. 2 is a side view showing a first mode of a preferred
   where a pivot element at the proximal end of the body              embodiment of the present invention. Rear support element
   rotatably attaches the camera to the body so that the camera       38, first front support element 40 and second front support
   rotates about the first axis relative to the body. A hinge 40 element 42 support camera 12 in the first position 44, on the
   element at the distal end of the body hingedly attaches the        first surface 36, when rear support element 38, first front
   body to the support frame so that the body rotates about the       support element 40 and second front support element 42 are
   second axis relative to the support frame. In the preferred        engaging first surface 36 and first surface 36 is substantially
   embodiment, the camera has an electrical wiring harness to         level. In the first position 44, camera 12 may be pivoted
   couple from an interior to an exterior of the camera, and the 45 upon support frame 18 from a position 46 to a position 48.
   pivot element has a bore parallel to the first axis of rotation    It is recognized that camera 12 may be pivoted to any
   to receive the electrical wiring harness to pass the wiring        number of positions about second axis 32 in the direction
   harness from the interior to the exterior of the camera.           shown by arrow 34. In the preferred embodiment, rear
          BRIEF DESCRIPTION OF THE DRAWINGS                           support element 38, first front support element 40 and
                                                                   50 second front support element 42 support the camera in first
      Other objects of the present invention and many of the
                                                                      position 44, on first surface 36, when rear support element
   attendant advantages of the present invention will be readily
                                                                      38, first front support element 40 and second front support
   appreciated as the same becomes better understood by
                                                                      element 42 engage first surface 36 at three locations in a
   reference to the following detailed description when con-
                                                                      plane 50 of first surface 36. Engagement of first surface 36
   sidered in connection with the accompanying drawings, in
                                                                   55 at three or more locations prevents rotation of support frame
   which like reference numerals designate like parts through-
                                                                      18 relative to first surface 36 in any direction within plane
   out the figures thereof and wherein:
                                                                      50 of first surface 36. It is understood that in the preferred
      FIG. 1 is a perspective view of the "Camera Clip"               embodiment, rear support element 38, first front support
   invention;                                                         element 40 and second front support element 42 may utilize
      FIG. 2 is a side view showing a first mode of a preferred 60 any number of desired geometries to engage first surface 36
   embodiment of the present invention;                               to prevent rotation of support frame 18 relative to first
      FIG. 3 is a detailed front view of the "Camera Clip"            surface 36 in any direction within plane 50 of first surface
   invention;                                                         36. In the preferred embodiment, when support frame 18 is
      FIG. 4 is a side view showing a second mode of the              in the first position 44, the object may be a top of a table and
   preferred embodiment of the present invention;                  65 first surface 36 may be a top surface of the table. Likewise,
      FIG. 5 is a side view showing a third mode of the               object 30 may be a desk top, where first surface 36 is a top
   preferred embodiment of the present invention;                     surface of the desk.




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      FIG. 4 is a side view showing a second mode of the             position, distal end 41 of first support element 40 and distal
   preferred embodiment of the present invention. The second         end 43 of second front support element 42 slidably and
   mode occurs when rear support element 38, first front             fittably engage first indentation 25 and second indentation
   support element 40 and second front support element 42            27 respectively of housing 20 at housing backside 24.
   support camera 12 in a second position 52 on a first surface      Camera 12 is then releasably held between rear support
   54 adjacent an edge 56. Second position 52 corresponds to         element 38 and first front support element 40 and second
   first surface 54 being inclined from the substantially level      front support element 42. Rear support element 38 further
   position (see also, FIG. 2). In FIG. 4, object 58 has a second    has means to protect a lens 22 of camera 12, which is cover
   surface 60, where a thickness dl between first surface 54 and     90. Cover 90 is mounted at a distal end 92 of rear support
   second surface 60 defines the edge 56 therebetween. Camera 10 element 38. Lens 22 of camera 12 faces in the direction of
   12 is maintained adjacent edge 56 in second position 52           arrow 92, which is the direction of rotation about second
   when the uppermost portion of object 58 is edge 56. Rear          axis 32 from first front support element 40 and second front
   support element 38 engages first surface 54, and first front      support element 42 to rear support element 38 of support
   support element 40 and second front support element 42            frame 18. Cover 90 fitably receives lens 22 of camera 12.
   engage edge 56 and second surface 60. Rear support element 15 Cover 90 has a raised portion 95 sized to be accommodated
   38, first front support element 40 and second front support       by lens 22 of camera 12. Support frame 14, in a third mode
   element 42, in combination, maintain camera 12 adjacent           of the preferred embodiment of the present invention, releas-
   edge 56 and prevent rotation of support frame 18 along an         ably holds and protects camera 12 during storage.
   axis substantially parallel to second axis 32, where second           FIG. 3 is a detailed front view of the camera clip inven-
   axis 32 is substantially parallel to edge 56. Rear support 20 tion. FIG. 3 shows first front support element 40 and second
   element 38, first front support element 40 and second front       front support element 42 being spaced a distance apart by a
   support element 42 support camera 12 in second position 52        distance 94. Camera 12 further has a housing 20 which may
   on the first surface 54 adjacent edge 56 when a first distance    be spherical in shape in the preferred embodiment. Housing
   64 measured between edge 56 and position 66 is greater than       20 has a diameter shown as distance 96, wherein the
   a second distance 68. Second distance 68 is measured 25 preferred embodiment, distance 96 is greater than distance
   between edge 56 and position 70, where first front support        94. When camera 12 is rotated about the second axis 32 in
   element 40 and second front support element 42 engage             the direction towards rear support element 38 in the direc-
   second surface 60. The center of gravity shown in the             tion of arrow 92 so that housing 20 passes between first front
   direction of arrow 72 of camera 12 and hinge member 16            support element 40 and second front support element 42,
   being adjacent and external to first surface 54 in combina- 30 first front support element 40 and second front support
   tion with first distance 64 being greater than second distance    element 42 resiliently and outwardly flex to accommodate
   68 prevent rotation in the direction of arrow 62 of support       passage of housing 20. Housing 20 is releasably held once
   frame 18. In the preferred embodiment, object 58 may be a         passing between first front support element 40 and second
   display screen for a laptop computer when support frame 18        front support element 42 by rear support element 38 engag-
   is in second position 52, where second surface 60 is the front 35 ing housing 20 at lens 22 and distal end 41 of first front
   of the display screen and first surface 54 is the back of the     support element 40 and distal end 43 of second front support
   display screen. FIG. 4 shows hinge member 16 comprised of         element 42 slidably and fittably engaging first indentation 25
   a body 74 having a proximal end 76 and a distal end 78. A         and second indentation 27 respectively of housing 20 at
   pivot element 80 at proximal end 76 of body 74 rotatably          housing backside 24. When housing 20 is releasably held,
   attaches camera 12 to body 74 so the camera may rotate 40 first front support element 40 and second front support
   about first axis 26 relative to body 74. A hinge element 82       element 42 resiliently urge housing 20 towards rear support
   at distal end 78 of body 74 hingedly attaches body 74 to          element 38 so that lens 22 of camera 12 is fitably received
   support frame 18 so body 74 rotates about second axis 32          into cover 90.
   relative to support frame 18. FIG. 4 further shows camera 12          Having thus described the preferred embodiments of the
   having an electrical wiring harness 84 to couple from an 45 present invention, those of skill in the art will readily
   interior 86 to an exterior 88 of camera 12. Pivot element 80      appreciate that yet other embodiments may be made and
   has a bore 90 parallel to first axis 26 to receive electrical     used within the scope of the claims hereto attached.
   wiring harness 84 to pass wiring harness 84 from interior 86         What is claimed:
   to exterior 88 of camera 12. While the embodiments shown              1. Apparatus for supporting a camera, having a lens, on
   in the drawing figures and discussed herein illustrate a 50 any generally horizontal, substantially planar surface and on
   wiring harness 84 passing through a bore 90 parallel to first     an object having a first surface and a second surface and an
   axis 26, it will be understood that other embodiments are         edge intersecting the first surface and the second surface,
   contemplated. For example, wiring harness could enter body        comprising:
   74 at a location angularly spaced upward from bore 90.                a. a hinge member adapted to be rotatably attached to the
      FIGS. 5-7 show various perspectives of a third mode of 55             camera, said camera, when the hinge member is so
   the preferred embodiment of the present invention. FIG. 5 is             attached, rotating, about a first axis of rotation, relative
   a side view, FIG. 6 is a detailed side view showing the lens             to said hinge member; and
   of the camera being fitably received by the cover, and FIG.          b. a support frame rotatably attached to said hinge mem-
   7 is a front view. The third mode of the preferred embodi-               ber and configured to support said hinge member on the
   ment of the present invention is shown when camera 12 is 60              surface and the object, said hinge member rotating
   rotated about second axis 32 along the direction shown by                about a second axis of rotation relative to said support
   arrow 34 in a direction from the first front support element             frame, said first axis of rotation being generally per-
   40 and the second front support element 42 towards rear                  pendicular to said second axis of rotation, said second
   support element 38 of support frame 18. This rotation is                 axis of rotation being substantially parallel to the first
   continued in the third mode until camera 12 is in a position 65          surface when said hinge member is supported on the
   between rear support element 38 and first front support                  object, said support frame having a first disposition
   element 40 and second front support element 42. In this                  positioned on said generally horizontal, substantially




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         planar surface, and said support frame having a second               frame, said first axis of rotation being generally per-
         disposition attached to the object when said first surface           pendicular to said second axis of rotation, said second
         and said second surface are inclined from a generally                axis of rotation being substantially parallel to the first
         horizontal orientation, the camera being maintained                  surface when said hinge member is supported on the
         adjacent said edge in said second disposition of said                object, the support frame having a rear support element
         support frame.                                                       and a first and a second front support element, said
      2. Apparatus according to claim 1 wherein the support                   support frame having a first disposition positioned on
   frame comprises a first portion and a second portion, the                  said generally horizontal, substantially planar surface
   support frame being in the first disposition on the generally              when said rear support element and said first and
   horizontal, substantially planar surface when distal extremi- 10           second front support elements are engaging said gen-
   ties of said first portion and said second portion are engaging            erally horizontal, substantially planar surface, said sup-
   the generally horizontal, substantially planar surface, and the            port frame having a second disposition attached to the
   support frame being in the second disposition on the object                object when the first surface is inclined from a sub-
   when said first portion is engaging the first surface and said             stantially horizontal position so that an uppermost
   second portion is engaging the second surface, said first 15               extremity of the object is the edge, the support frame
   portion and said second portion in combination maintaining                 being maintained in said second disposition by said rear
   the camera adjacent the edge.                                              support element engaging said first surface and said
      3. Apparatus according to claim 2 wherein the support                   first and second front support elements engaging the
   frame includes a cover adapted to protect the camera lens                  second surface, said rear support element and said first
   when the camera is rotated about the second axis until the 20              and second front support elements in combination
   camera is between the first portion and the second portion.                preventing rotation of the support frame.
      4. Apparatus according to claim 3 wherein the first portion          11. Apparatus according to claim 10 wherein the support
   of the support frame further includes said cover, said cover         frame adapted to protect the camera when the camera is
   being mounted at the distal end of the first portion and             rotated about the second axis towards the rear support
   adapted the lens of the camera.                                   25 element of the support frame until the camera is between the
      5. Apparatus according to claim 2 wherein the support             rear support element and the first and second front support
   frame is in the first disposition when the first portion and the     elements, and is releasably held between the rear support
   second portion engage the generally horizontal, substantially        element and the first and second front support elements.
   planar surface at three or more locations in a common plane,            12. Apparatus according to claim 11 wherein the first and
   thereby preventing rotation of the support frame relative to 30 second front support elements are spaced a distance apart,
   the generally horizontal, substantially planar surface in any        and wherein said distance is less than a diameter of the
   direction.                                                           housing of the camera so that as the camera is being rotated
      6. Apparatus according to claim 2 wherein the support             about the second axis in the direction towards the rear
   frame is in the second disposition when a first distance from        support element, said housing passes between the first and
   the edge to a location where the first portion engages the first 35 second front support elements and the first and second front
   surface is greater than a second distance from the edge to a         support elements resiliently flex outwardly to accommodate
   location where the second portion engages the second                 passage of said housing, said housing being releasably held
   surface, thus preventing rotation of the support frame.              once passing between the first and second front support
      7. Apparatus according to claim 1 wherein the object is a         elements by the rear support element engaging said housing
   display screen for a laptop computer, and the second surface 40 at the lens.
   is the front of the display screen and the first surface is the         13. Apparatus according to claim 11 wherein the first
   back of the display screen.                                          portion of the support frame further has a cover, said cover
      8. Apparatus according to claim 1 wherein the hinge               being mounted at a distal end of the rear support element and
   member includes a body having a proximal and a distal end,           adapted to receive the lens of the camera when the camera
   a pivot element at said proximal end of said body adapted to 45 is releasably held between the rear support element and the
   rotatably attach the camera to the body so that the camera           first and second front support elements.
   rotates about the first axis relative to the body, and a hinge          14. Apparatus according to claim 10 wherein the support
   element at said distal end of said body hingedly attaching           frame is in the first disposition when the rear support
   said body to the support frame so that said body rotates,            element and the first and second front support elements
   about the second axis, relative to the support frame.             50 engage the generally horizontal, substantially planar surface
      9. Apparatus according to claim 8 wherein the pivot               at three or more locations in a common plane of the
   element has a bore along the first axis of rotation to receive       generally horizontal, substantially planar surface to prevent
   an electrical wiring harness and pass said wiring harness to         rotation of the support frame relative to the generally
   the camera.                                                          horizontal, substantially planar surface.
      10. Apparatus for supporting a camera, having a housing 55           15. Apparatus according to claim 10 wherein the support
   and a lens, on any generally horizontal, substantially planar        frame is in the first disposition positioned on the generally
   surface and on an object having a first surface and a second         horizontal, substantially planar surface when the rear sup-
   surface, and an edge intersecting the first surface and the          port element and the first and second front support elements
   second surface, comprising:                                          engage the generally horizontal, substantially planar surface
      a. a hinge member adapted to be rotatably attached to the 60 to prevent rotation of the support frame relative to the
         camera, said camera, when the hinge member is so               generally horizontal, substantially planar surface.
         attached, rotating, about a first axis of rotation relative       16. Apparatus according to claim 10 wherein support
         to said hinge member; and                                      frame is in the second disposition when a first distance from
      b. a support frame rotatably attached to said hinge mem-          the edge to a location where the rear support element
         ber and configured to support said hinge member on the 65 engages the first surface is greater than a second distance
         surface and the object, said hinge member rotating             from the edge to a location where the first and second front
         about a second axis of rotation relative to said support       support elements engage the second surface, the first dis-




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   tance being greater than the second distance thus preventing               support frame having a first portion and a second
   rotation of the support frame.                                             portion wherein said support frame protects the camera
      17. Apparatus according to claim 10 wherein the hinge                   when said hinge member is not supported on the
   member includes a body having a proximal and a distal end,                 generally horizontal, substantially planar surface, and
   a pivot element at said proximal end of said body adapted to               when the camera is rotated around said second axis in
   rotatably attach the camera to the body so that the camera                 a direction from said second portion towards said first
   rotates about the first axis relative to the body, and a hinge             portion of said support frame until the camera is
   element at said distal end of said body hingedly attaching                 between said first portion and said second portion and
   said body to the support frame so that said body rotates                   is releasably held between said first portion and said
   about the second axis relative to the support frame.              10
                                                                              second portion.
      18. Apparatus according to claim 17 wherein the pivot
                                                                           21. Apparatus for supporting a camera, having a lens, on
   element has a bore along the first axis of rotation to receive
                                                                        an object having a first surface and a second surface,
   said electrical wiring harness and pass said wiring harness to
   the camera.                                                          wherein a thickness measured between the first surface and
      19. A camera clip for supporting a camera on a laptop 15 the second surface defines an edge therebetween, compris-
   computer, the laptop computer having a display screen                ing:
   which can be inclined from a generally horizontal position,             a. a hinge member adapted to be rotatably attached to the
   an uppermost portion of the display screen defining an edge,               camera, said camera, when the hinge member is so
   comprising:                                                                adapted, rotating about a first axis of rotation relative to
      a. a hinge member adapted to be rotatably attached to the 20            said hinge member; and
         camera, said camera rotating about a first axis of                b. a support frame rotatably attached to said hinge mem-
         rotation relative to said hinge member;                              ber and configured to support said hinge member on the
      and                                                                     object, said hinge member rotating about a second axis
                                                                              of rotation relative to said support frame, said first axis
      b. a support frame hingedly attached to said hinge mem- 25              of rotation being generally perpendicular to said second
         ber to engagingly support said hinge member on the                   axis of rotation, said second axis of rotation being
         display screen, said hinge member rotating over a                    substantially parallel to the first surface when said
         second axis of rotation relative to said support frame,              hinge member is supported by said support frame on
         the camera being maintained adjacent the edge, rotation              the object, said support frame supporting said hinge
         of said support frame being prevented along an axis 30               member on the object when said first surface is inclined
         substantially parallel to said second axis where said                from a substantially horizontal position, the camera
         second axis is substantially parallel to said edge.                  being maintained adjacent the edge when an uppermost
      20. Apparatus for supporting a camera having a lens on a                extremity of the object is the edge, rotation of said
   substantially level surface, comprising:                                   support frame being precluded about an axis substan-
      a. a hinge member adapted to be rotatably attached to the 35            tially parallel to said second axis, said second axis
         camera, the camera rotating about a first axis of rotation           being substantially parallel to said edge, said support
         relative to said hinge member; and                                   frame having a first portion and a second portion
      b. a support frame rotatably attached to said hinge mem-                wherein said support frame releasably holds and pro-
         ber and configured to support said hinge member on a                 tects the camera when said hinge member is not sup-
         generally horizontal, substantially planar surface, said 40          ported by said support frame on the object and the
         hinge member rotating about a second axis of rotation                camera is rotated around said second axis in a direction
         relative to said support frame, said first axis of rotation          from said second portion towards said first portion of
         being generally perpendicular to said second axis of                 said support frame until the camera is between said first
         rotation, said second axis of rotation being substantially           portion and said second portion and is releasably held
         parallel to the generally horizontal, substantially planar 45        between said first portion and said second portion.
         surface when said hinge member is supported on the
         generally horizontal, substantially planar surface, said




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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

ADJUSTACAM LLC

       PLAINTIFF,                             Civil Action No. _______________

  v.

AMAZON.COM, INC.;
AUDITEK CORPORATION;
BALTIC LATVIAN UNIVERSAL
ELECTRONICS, LLC D/B/A BLUE
MICROPHONES, LLC D/B/A BLUE
MICROPHONE;
BLUE MICROPHONES, LLC;
CDW CORPORATION F/K/A CDW
COMPUTER CENTERS, INC.;
CDW, INC.;
CDW, LLC;
COMPUSA.COM, INC.;
COBRA DIGITAL, LLC;
CREATIVE TECHNOLOGY LTD.;
CREATIVE LABS, INC.;
DELL, INC.;
DIGITAL INNOVATIONS, LLC;
EASTMAN KODAK COMPANY;
EZONICS CORPORATION D/B/A EZONICS
COPORATION USA D/B/A EZONICS;
FRY’S ELECTRONICS, INC.;
GEAR HEAD, LLC;
GENERAL ELECTRIC COMPANY;
HEWLETT-PACKARD COMPANY;
INTCOMEX, INC.;
JASCO PRODUCTS COMPANY LLC D/B/A
JASCO PRODUCTS COMPANY D/B/A
JASCO;
JWIN ELECTRONICS CORPORATION;
KLIP XTREME LLC;
KMART CORPORATION;
LIFEWORKS TECHNOLOGY GROUP, LLC;
MACALLY PERIPHERALS, INC. D/B/A
MACALLY U.S.A;
MACE GROUP, INC.;
MICRO ELECTRONICS, INC. DBA MICRO

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           Case: 13-1665     Document: 97-3    Page: 469    Filed: 12/11/2014




                           CERTIFICATE OF SERVICE


         I, John J. Edmonds, being duly sworn according to law and being over the age

of 18, upon my oath depose and say that:

         On December 11, 2014, a copy of the foregoing CORRECTED NON-

CONFIDENTIAL JOINT APPENDIX – VOLUME III OF III (A2449 – A3670)

was filed electronically with the Clerk of the Court using the CM/ECF System,

which will serve via electronic mail notice of such filing to all counsel registered as

CM/ECF users.

         Upon acceptance by the Court of the electronically filed document, six paper

copies will be filed with the Court via courier within the time provided by the Court’s

rules.



 Dated: December 11, 2014                 /s/ John J. Edmonds
                                          John J. Edmonds

                                          COLLINS, EDMONDS, POGORZELSKI,
                                          SCHLATHER & TOWER, PLLC




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